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             8                                        UNITED STATES DISTRICT COURT
             9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
           10                                                SAN FRANCISCO DIVISION
           11
           12    Anatoly Sorokin,                                    Case No. 21-CV-03576

           13                                                        COMPLAINT FOR FRAUDULENT
                                          Plaintiff,                 SOLICITATION IN VIOLATION OF 7 U.S.C.
           14                                                        § 9(1), MARKET MANIPULATION IN
                                                                     VIOLATION OF 7 U.S.C. § 9(1) (USE OF
           15                                                        DECEPTIVE OR MANIPULATIVE DEVICE),
                                  v.                                 7 U.S.C. §§ 9(3) AND 13(a)(2) (PRICE
           16                                                        MANIPULATION), PRINCIPAL AGENT
                                                                     LIABILITY, AIDING AND ABETTING
                                                                     PRICE MANIPULATION IN VIOLATION OF
           17    HDR Global Trading Limited (A.K.A.                  7 U.S.C. § 25(a)(1), CONSPIRACY TO
           18    BitMEX), ABS Global Trading Limited,                CONDUCT AND CONDUCTING
                 Arthur Hayes, Benjamin Delo and                     ENTERPRISE’S AFFAIRS THROUGH A
           19    Samuel Reed,                                        PATTERN OF RACKETEERING ACTIVITY
                                                                     IN VIOLATION OF 18 U.S.C. §§ 1962(d) AND
           20                                                        (c) (RICO), FRAUD, FRAUDULENT
                                          Defendants.                INDUCEMENT, NEGLIGENT
           21                                                        MISREPRESENTATION, FALSE
                                                                     ADVERTISING, VIOLATION OF
           22                                                        CONSUMER LEGAL REMEDIES ACT,
                                                                     UNFAIR BUSINESS PRACTICES IN
           23                                                        VIOLATION OF CAL. BUS. & PROF. CODE
                                                                     §§ 17200 ET SEQ., NEGLIGENCE,
           24                                                        RESTITUTION UNDER QUASI-CONTRACT,
                                                                     CONSTRUCTIVE TRUST, ACCOUNTING,
           25                                                        CONVERSION, AIDING AND ABETTING
                                                                     CONVERSION, REPLEVIN AND
           26                                                        VIOLATION OF CAL. PEN. CODE § 496

           27                                                        DEMAND FOR JURY TRIAL

           28
CONSENSUS LAW
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    -1-     ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                                                                      COMPLAINT
             2
                         Plaintiff, Anatoly Sorokin (“Sorokin” or “Plaintiff”), by and through his undersigned
             3
                 attorneys, for his Complaint against Defendants HDR Global Trading Limited (“HDR”), ABS
             4
                 Global Trading Limited (“ABS”), Arthur Hayes (“Hayes”), Benjamin Delo (“Delo”) and Samuel
             5
                 Reed (“Reed”) (collectively “Defendants”) alleges as follows.
             6
                                                         INTRODUCTION
             7          “It just costs more to bribe them.” Defendant Arthur Hayes (about U.S. authorities).
             8           1.         Plaintiff is informed and believes and thereon alleges that popular cryptocurrency
             9   derivatives exchange platform called Bitcoin Mercantile Exchange or BitMEX (“BitMEX” or
           10    “BitMEX platform”) owned and operated from within this District by Defendants ABS, HDR,
           11    Hayes, Delo and Reed, and each of them, in a brazenly lawless manner, was deliberately designed
           12    from ground up with the purpose to engage in, facilitate, aid, abet, counsel, induce and/or procure
           13    a myriad of illegal activities including, without limitation, racketeering in violation of 18 U.S.C.
           14    §§ 1962(d) and (c) (RICO), wire fraud in violation of 18 U.S.C. § 1343; money laundering in
           15    violation of 18 U.S.C. § 1956(a); engaging in monetary transactions in property derived from
           16    specified unlawful activity in violation of 18 U.S.C. § 1957(a); conducting, controlling, managing,
           17    supervising, directing, or owning all or part of an unlicensed money transmitting business in
           18    violation of 18 U.S.C. § 1960(a), interstate transportation of stolen property in violation of 18
           19    U.S.C. § 2314 and cryptocurrency market manipulation in violation of the Commodity Exchange
           20    Act (the “CEA”), 7 U.S.C. §§ 1 et seq. (2018) and Commodity Futures Trading Commission
           21    (“CFTC”) Regulations (“Regulations”) promulgated thereunder, 17 C.F.R. §§ 1 et seq. (2019).
           22    Defendants, and each of them, specifically designed BitMEX to financially benefit from the
           23    alleged racketeering activity and other unlawful conduct, earning Defendants billions of dollars in
           24    illicit profits, Ex. 1, 2, 3.
           25            2.         Defendants Hayes, Delo and Reed are notorious fraudsters, who have been
           26    criminally charged with felony money laundering related offenses by the U.S. Department of
           27    Justice (“DOJ”) and who are currently released on bail awaiting a trial on their criminal charges.
           28
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  ATTORNEYS             COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)      -2-   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Attached hereto as Ex. 4 and 5 are true and correct copies of the DOJ criminal indictment and
             2
                 Commodity Futures Trading Commission (“CFTC”) enforcement action against Defendants and
             3
                 the corresponding announcements. Defendant Hayes publicly admitted to bribery of foreign
             4
                 government officials and bank fraud and even expressed pride in his actions, Ex. 10, 11. Ex. 17
             5
                 and 18 are true and correct copies of two sworn declarations by two of the defrauded victims of
             6
                 the Defendants, Frank Amato and Elfio Guido Capone, attesting, under oath, how Defendants
             7
                 defrauded them out of millions of dollars.
             8
                        3.         Defendants deliberately designed their cryptocurrency derivatives exchange
             9
                 platform BitMEX (“BitMEX” or “BitMEX platform”) to fraudulently induce unsuspecting
           10
                 victims to deposit his bitcoins with Defendants and then rob them blind of all their property, Ex.
           11
                 1. In reality, BitMEX was a rigged casino, set up to use sensitive insider information of its
           12
                 traders to automatically liquidate them and misappropriate their money, when it was particularly
           13
                 profitable for Defendants to do so. To entice their victims to trade on the rigged BitMEX
           14
                 platform and pay trading commissions to Defendants, Defendants engaged in fraudulent
           15
                 solicitation using a laundry list of material misrepresentations, half-truths and omissions.1 Once
           16
                 victims were fraudulently induced by Defendants to open trading accounts on BitMEX,
           17
                 Defendants used a psychological phenomenon widely-known as “revenge trading” to keep them
           18
                 trading on their rigged platform. Revenge trading is a natural, emotional response after traders
           19
                 experience a quick or large loss, where the victims will continue trading to his detriment to try to
           20
                 win back the losses, until they are completely financially ruined.
           21
                        4.         Defendants operated an undisclosed Insider Trading Desk managed by Gregory
           22
                 Dwyer with at least three key employees, including Stuart Elkington and Nick Andrianov. This
           23
           24
                 1
                   Among other, Defendants used a fraudulent solicitation that was similar to the one in SEC v.
           25    Kristijan Krstic et al., Case No. 1:21-cv-00529 (E.D.N.Y. 2021), where SEC charged fraudsters
           26    with claiming to be "the largest Bitcoin exchange in euro volume and liquidity." In the present
                 case, Defendants fraudulently claimed to provide “1500% More Bitcoin/USD liquidity than any
           27    other platform,” which is even more factual and capable of misleading consumers. Defendants
                 abruptly ceased to use this fraudulent solicitation only in March of 2021, after being sued for
           28    fraud.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   -3-   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 desk operated to continuously manipulate markets on the BitMEX platform and cause artificial
             2
                 prices for BitMEX derivatives, including derivatives of bitcoin and ether, Ex. 1, 2, 3.
             3
                        5.         The operators of the Insider Trading Desk had what BitMEX internally referred to
             4
                 as “God Access” that allowed them to see all of the information of all trader accounts, including
             5
                 any hidden orders, leverage amounts and liquidation points for all orders and all open positions.
             6
                 They were also provided with automated systems, built by BitMEX, leveraging this highly
             7
                 sensitive insider information to enable and automate their manipulation that told them how the
             8
                 market was likely to move by assessing the impact of the hidden orders and liquidations, when
             9
                 they triggered. Thus, based on the sensitive insider information of BitMEX traders, the automated
           10
                 system was able to predict a potential profit for BitMEX from liquidating its traders, triggered by
           11
                 a potential manipulation.
           12
                        6.         The traders at the Insider Trading Desk had tools that showed them which
           13
                 liquidations would occur across the entirety of BitMEX’s platform if prices moved in any given
           14
                 direction, which was used to predict profitability of potential liquidations.
           15
                        7.         Once predetermined predicted profitability was met, the manipulative trades were
           16
                 automatically executed by the BitMEX automated systems, resulting in trader liquidations. To
           17
                 prevent the conditions of the order book from changing between the profitability prediction time
           18
                 and actual liquidation time, BitMEX froze its servers, preventing traders from closing or changing
           19
                 their positions or placing new orders that could interfere with the manipulation, so that BitMEX
           20
                 would get the exact profit that was predicted.
           21
                        8.         The access to hidden information thus provided the operators of the Insider
           22
                 Trading Desk with a substantial and secret advantage over BitMEX customers. By analyzing the
           23
                 impact of hidden trade orders and liquidation prices, BitMEX Insider Trading Desk could
           24
                 determine when placing a large order would cause the liquidations and hidden orders to trigger.
           25
                 BitMEX could then assess whether these hidden orders would affect prices in a way that would
           26
                 cause liquidations resulting in a profit for BitMEX. BitMEX automated system that operated 24
           27
                 hours a day, 7 days a week was configured to automatically act based on the results of the
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   -4-    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 prediction by placing manipulative trades on BitMEX and “reference” exchanges, when BitMEX
             2
                 servers were frozen for its traders.
             3
                         9.        BitMEX used anonymous “burner” (e.g. @gmail.com) email addresses, as
             4
                 opposed to "official" BitMEX email addresses (e.g. @bitmex.com), to open trading accounts for
             5
                 its Insider Trading Desk with BitMEX exchange, to cover up the tracks of wrongdoing so the
             6
                 trading histories and illegal manipulation profits cannot be traced back to BitMEX. The “burner”
             7
                 accounts were periodically recycled and corresponding trading records deleted.
             8
                         10.       Financially ruined by Defendants’ blatant fraud, some victimized traders were
             9
                 driven by Defendants into taking their own lives. For example, Defendants fraudulently induced
           10
                 Chinese trader Hui Yi to enter into a large short position on BitMEX, which BitMEX’s Insider
           11
                 Trading Desk subsequently deliberately liquidated using Hui Yi’s confidential information,
           12
                 confiscating 2,000 bitcoins of Hui Yi clients’ money. The trader, who was the co-founder and
           13
                 CEO of cryptocurrency market analysis platform BTE.TOP, died by suicide on June 5, 2019.
           14
                         11.       On October 1, 2020, Defendants Hayes, Delo and Reed were indicted by United
           15
                 States Department of Justice on felony charges of violating the Bank Secrecy Act and conspiring
           16
                 to violate the Bank Secrecy Act, by willfully failing to establish, implement, and maintain an
           17
                 adequate anti-money laundering (“AML”) program at BitMEX.2 In announcing the indictment,
           18
                 Ex. 4, FBI Assistant Director William F. Sweeney Jr. said: “As we allege here today, the four
           19
                 defendants, through their company’s BitMEX crypto-currency trading platform, willfully violated
           20
                 the Bank Secrecy Act by evading U.S. anti-money laundering requirements. One defendant went
           21
                 as far as to brag the company incorporated in a jurisdiction outside the U.S. because bribing
           22
                 regulators in that jurisdiction cost just ‘a coconut.’ Thanks to the diligent work of our agents,
           23
                 analysts, and partners with the CFTC, they will soon learn the price of their alleged crimes will
           24
                 not be paid with tropical fruit, but rather could result in fines, restitution, and federal prison time."
           25
                 Defendant Reed was apprehended by the FBI in Boston, Massachusetts. Defendants Hayes and
           26
                 2
           27     There is also a second ongoing U.S. government criminal investigation against BitMEX,
                 entirely unrelated to the Indictment and, therefore, more criminal charges may be forthcoming
           28    against Defendants.
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             1
                 Delo remain at large and are currently fugitives wanted by the U.S. Government.
             2
                        12.        On the same day, the CFTC announced the filing of a civil enforcement action in
             3
                 the U.S. District Court for the Southern District of New York charging Defendants HDR, ABS,
             4
                 Hayes, Delo and Reed with operating an unregistered trading platform and violating multiple
             5
                 CFTC Regulations, including failing to implement required anti-money laundering procedures.
             6
                 The CFTC complaint is attached hereto as Ex. 5 and all allegations therein are made part hereof.
             7
                        13.        Among those charged were company owners Defendants Hayes, Delo, and Reed,
             8
                 who operate BitMEX’s platform through a maze of corporate entities, including Defendants HDR
             9
                 and ABS. BitMEX’s platform has received more than $11 billion in bitcoin deposits and made
           10
                 more than $1 billion in fees, while conducting significant aspects of its business from the U.S.
           11
                 and accepting orders and funds from U.S. customers.
           12
                        14.        The key facts of the racketeering scheme run by Defendants are rather simple and
           13
                 easy to understand. In 2014, Defendants launched the bitcoin derivatives trading platform
           14
                 BitMEX, which enables traders to place bets on direction of cryptocurrency prices. In designing
           15
                 their platform, Defendants decided to sidestep any financial controls mandated by the traditional
           16
                 banking system by transacting only in bitcoin and refused to implement any know your customer
           17
                 (KYC) or anti-money laundering (AML) checks what so ever, Ex. 1. In other words, Defendants
           18
                 would open account and accept unlimited funds from anyone, without a single question asked.
           19
                        15.        In fact, one can open an account, deposit unlimited funds and start trading without
           20
                 furnishing a single document, all is required is a user name and email address, which are not
           21
                 verified by BitMEX in any way. The entire account registration and funding process takes about
           22
                 10 minutes and no documents are even looked at. Understandably, because of total lack of
           23
                 controls of any kind, hackers, tax evaders, money launderers, smugglers, drug dealers all flocked
           24
                 to BitMEX flooding the platform with hot money, Ex. 1. A recent and very telling example is the
           25
                 infamous Twitter hacker, who turned out to be a BitMEX trader, Ex. 6.
           26
                        16.        Having a large pool of hot money at their disposal, Defendants designed the
           27
                 internal workings of their trading platform to enable, encourage and benefit from money
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   -6-    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 laundering and market manipulation. It all has to do with anonymity, lack of trading limits, high
             2
                 leverage and how the index price for bitcoin derivatives is calculated. Defendants deliberately
             3
                 designed this index price to be based on bitcoin spot price on two or three illiquid bitcoin spot
             4
                 exchanges. Illiquid in this context means that, to precipitously move bitcoin price on those
             5
                 exchanges, relatively small market orders will suffice. Therefore, a relatively small market order
             6
                 on a spot exchange results in a relatively large bitcoin index price move on the relatively liquid
             7
                 BitMEX.
             8
                        17.        A money launderer (Defendant) would open two exchange accounts – a helper
             9
                 account on one or more “reference” spot exchanges used by BitMEX to calculate its index price
           10
                 (Coinbase Pro, Kraken and BitStamp) and a winner account on BitMEX. The money launderer
           11
                 would then enter into a large leveraged derivatives position on BitMEX and to use automated
           12
           13
           14
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           16

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           27
                 software tools developed by BitMEX to immediately and automatically execute market orders
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   -7-   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 from the helper account with maximum slippage to move the index price in a favorable direction,
             2
                 Ex. 2, 3, 7, 16. Due to disparity in liquidity between BitMEX and the “reference” spot
             3
                 exchanges, the aforesaid deliberate design of the index price by Defendants, and the cascading
             4
                 liquidations of leveraged trader positions on BitMEX, the amount spent from the helper account
             5
                 is multiplied greatly and translates into outsized profit in the winner account on BitMEX, Ex. 2,
             6
                 3, 7, 16. Because BitMEX accounts are by design anonymous, the laundered money cannot be
             7
                 traced from the helper account to the winner account. Thus, the money laundering proceeds in
             8
                 the winner account on BitMEX appear as legitimate trading gains and the money laundering
             9
                 scheme achieves its purpose. The described money laundering and other nefarious acts are well
           10
                 documented and take place on BitMEX almost daily, Ex. 2, 3, 7, 16. Moreover, to exacerbate the
           11
                 described price manipulations, BitMEX intentionally locks users out of their accounts during
           12
                 manipulation times, falsely telling the users that their “system is overloaded”.
           13
                        18.        In the described money laundering scheme, the market manipulation gains realized
           14
                 by the launderer in the winner account and the funds confiscated by BitMEX as the result of
           15
                 liquidations induced by the launderer are generated at the expense of Plaintiff and other
           16
                 cryptocurrency traders like Plaintiff. Notably, BitMEX deposits proceeds from the user account
           17
                 liquidations into its so called “Insurance Fund,” which has steadily grown over the years and
           18
                 amounts to, as of May 3, 2021, 37,337 bitcoins valued at over $2,165,555,825, all
           19
                 misappropriated from traders, including Plaintiff Sorokin.
           20
                        19.        Defendants’ own Leaderboard, which lists the most profitable trading accounts on
           21
                 BitMEX, is replete with evidence of market manipulation and money laundering. For example,
           22
                 BitMEX’s Leaderboard account under assumed name Quick-Grove-Mind shows multimillion-
           23
                 dollar profit spikes, which exactly match known market manipulation events, while entirely
           24
                 avoiding any and all trading losses. Notably, Defendants’ own data shows that this market
           25
                 manipulator generated over $30,000,000 in profit during three market manipulation events that
           26
                 took place on September 24, 2019, November 18-19, 2019 and March 11-12, 2020, at the expense
           27
                 of retail traders, including Plaintiff. In view of the fact that to generate $30,000,000 in profit, the
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   -8-    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 manipulator would need to open at least $100,000,000 leveraged position on the BitMEX
             2
                 platform, which only Defendants themselves can do, and know the exact position sizes and
             3
                 liquidation price points as well as parameters of stop loss orders of all the other traders on
             4
                 BitMEX, the information available only to BitMEX insiders, Plaintiff is informed and believe and
             5
                 thereon allege that the Leaderboard account under the assumed name Quick-Grove-Mind was a
             6
                 market manipulation winner account used by one of the individual Defendants Hayes, Delo or
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           24
                 Reed, who traded on BitMEX despite having a clear conflict of interest.
           25
                        20.        BitMEX directly participates in and financially benefits from the market
           26
                 manipulation and money laundering through its Insider Trading Desk and indirectly, by collecting
           27
                 increased trading commissions and also by liquidating users’ accounts. Notably, because profit
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   -9-    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 from liquidating traders like Plaintiff amounts to up to a half of BitMEX revenue, Defendants are
             2
                 the primary financial beneficiaries of the described illegal market manipulation and money
             3
                 laundering activities. In addition to trader liquidations, BitMEX knowingly collects high trading
             4
                 commissions for the above money laundering transactions, which constitute “proceeds” of money
             5
                 laundering under 18 U.S.C. §§ 1956 and 1957 and which are deposited into its general account
             6
                 (bitcoin wallet), from which it pays all its employees and even its attorneys (after currency
             7
                 conversion). Thus, the salaries of all BitMEX employees as well as legal fees paid to its lawyers
             8
                 are tainted with the proceeds of money laundering in violation of 18 U.S.C. §§ 1956 and 1957.
             9
           10
                 Manipulation           Manipulative Conduct Involved              Place of Manipulative Conduct
           11    Component

           12    Helper               Defendants deliberately moved        BitStamp, Coinbase Pro and Kraken, all
                 Component            BitMEX’s .BXBT index price by        located in the United States
           13                         placing large market orders with
                                      maximum slippage from helper
           14
                                      accounts on three illiquid exchanges
           15                         that are used by BitMEX to calculate
                                      .BXBT index
           16
                 The deliberate BitMEX’s .BXBT index price move               BitMEX, having the majority of cloud
           17    by Defendants directly and proximately caused                service providers (Paragraph 94),
                 liquidation cascades on Kraken and BitMEX that               employees, engineering and software
           18
                 resulted in Plaintiff’s swap positions on those              development team and the nerve center
           19    exchanges to be liquidated, resulting in monetary            of operations in this District and
                 damages as alleged herein.                                   Kraken, also located in this District.
           20
           21
           22    Winner               Defendants capturing multiplied         BitMEX, having the majority of cloud
                 Component            (due to disparity in liquidity)         service providers (Paragraph 94),
           23
                                      manipulation profits caused by the      employees, engineering and software
           24                         deliberate .BXBT index price move       development team and the nerve center
                                      using winner account(s) on BitMEX.      of operations in this District.
           25
                 Facilitation         Defendants freezing BitMEX              This District, where all three site
           26    Component            servers and accepting orders on only    reliability engineers Jerry Aldrich, Scott
                                      one side of the market to exacerbate    H. and Armando Cerna of BitMEX, who
           27
                                      the price moves during manipulation     are responsible for the trading platform
           28                                                                 uptime and server freezes, are located
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 10 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                        times                                   and who personally perpetrated the
                                                                              BitMEX server freezes.
             2
             3          21.        Moreover, BitMEX has been recently caught red-handed doing at least

             4   $100,000,000 of business in New York and California without obtaining a money transmitting

             5   license in those states and without complying with FinCEN regulations, in violation of 18 U.S.C.

             6   § 1960(a), see Paragraphs 120-122, Ex. 8. This violation has been conclusively proven using

             7   BitMEX’s own Leaderboard, see Paragraphs 120-122. Even Defendants themselves

             8   acknowledged this fact by hastily instituting a “User Verification Programme” less than 48 hours

             9   after being caught doing unlicensed business in the United States, Ex. 9. In total, BitMEX has 65

           10    individual and 14 institutional United States traders that Plaintiff is aware of, without having any

           11    benefit of discovery, see Paragraphs 104, 105 and 110. The amount of $100,000,000 of

           12    unlicensed United States business exceeds any possible threshold for the obligation to obtain the

           13    money transmitting license under 18 U.S.C. § 1960(a). Specifically, in United States v. Faiella,

           14    39 F. Supp. 3d 544 (S.D.N.Y. 2014), the threshold for triggering 18 U.S.C. § 1960(a) liability was

           15    $1,000,000 in unlicensed bitcoin transmissions. In United States v. Klein, 6:17-CR-03056

           16    (W.D.Mo. 2017), the threshold for 18 U.S.C. § 1960(a) liability was less than $30,000 in

           17    unlicensed bitcoin transmissions. Based on these cases, Defendants have exceeded the legal

           18    threshold for triggering 18 U.S.C. § 1960(a) liability by a factor of 3,333x (two thousand three

           19    hundred thirty-three times). Consequently, all the funds that BitMEX collected from its trading

           20    operations and deposited into its general account (bitcoin wallet) are proceeds of unlicensed

           21    money transmitting business in violation of 18 U.S.C. § 1960(a) (in addition to being proceeds of

           22    money laundering in violation of 18 U.S.C. §§ 1956 and 1957, as explained above).

           23           22.        Awash with large amounts of tainted cash and encouraged by perceived lack of

           24    any accountability, Defendants grew so brazen that they do not even hesitate to publicly admit to

           25    bribery and bank fraud, Ex. 10, 11. Despite the fact that the vast majority of personnel and

           26    managers are located in this District (Paragraph 111), to avoid being subject to United States

           27    laws, regulations and taxes, Defendants established 14 false shell companies, including Defendant

           28    ABS, with intent to create an appearance that Defendant HDR has no presence, operations or
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 11 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 investors in regulated jurisdictions such as the United States. Some of the fraudulent shell
             2
                 companies used by Defendants are listed in the table below:
             3
             4
                                   Company Name                       Jurisdiction of     Company             Company Formation
             5                                                        Incorporation       Registry                  Date
                                                                                          Number
             6
                 1.         HDR Global Trading                       Seychelles          148707
             7              Limited
             8              HDR Virtual Assets
                 2.                                                  Seychelles          C8422837
             9              Trading LTD

           10    3.         BITMEX Securities                        Seychelles          C8423247
                            Facility LTD
           11
                 4.         BITMEX Securities                        Seychelles          C8423255
           12               Exchange LTD
           13
                 5.         BITMEX Clearing Agency                   Seychelles          C8423256
           14               LTD

           15    6.         ABS Global Trading                       Delaware, US        6393256             April 27, 2017
                            Limited
           16
                 7.         Shine Effort Inc Limited                 Hong Kong           2129744             August 6, 2014
           17
                 8.         HDR Total proprietary                    Hong Kong           2661339             March 5, 2018
           18
                            trading limited
           19
                 9.         HDR BMEX limited                         Hong Kong           2668623             March 20, 2018
           20
                 10.        ABS Global trading limited               Hong Kong           2614000             November 27, 2017
           21
                 11.        ABS Group (HK) Limited                   Hong Kong           2614515             November 28, 2017
           22
                 12.        HDR Global Services                      Bermuda             53775               July 3, 2018
           23               (Bermuda) Limited
           24
                 13.        HDR Capital Limited                      Bermuda             54557               April 9, 2019
           25
                 14.        100x Holdings Limited                    Bermuda             55678               June 30, 2020
           26
                        23.        The sheer magnitude of Defendants’ unlawful activity is truly staggering. In
           27
                 addition to being recently caught red-handed doing at least $100,000,000 of business in New
           28
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             1
                 York and California without obtaining a money transmitting license, see Paragraphs 120-122
             2
                 below, which by itself conclusively establishes the violation of 18 U.S.C. § 1960(a) by Defendant
             3
                 HDR3, “[s]everal sources close to the company” have disclosed to media sources that nearly 15
             4
                 percent of the BitMEX’s 2019 trading volume—or about $138 billion worth—is attributable to
             5
                 traders located in the United States. Moreover, Defendant HDR’s high volume business with
             6
                 numerous residents of the United States and this District as alleged in detail below is vast and
             7
                 pervasive. Accordingly, Defendants were unquestionably on notice of the need to obtain a money
             8
                 transmission license in the United States, which Defendants willfully and deliberately failed to
             9
                 do. Therefore, according to Defendants’ own data, Defendant HDR’s unlicensed money
           10
                 transmitting business admittedly processed, on average, $3 billion of illegal and unlicensed
           11
                 money transfers each day, all in violation of United States federal statute 18 U.S.C. § 1960(a),
           12
                 which is the record volume for such unlawful activity in the entire history of the monetary
           13
                 regulation in the United States.
           14
                        24.        Being keenly aware of the CFTC and DOJ investigations and imminently
           15
                 forthcoming civil and criminal charges, and while preparing to go on a lam from the U.S.
           16
                 authorities, Defendants Hayes, Delo and Reed siphoned about $440,308,400 of proceeds of
           17
                 various nefarious activities that took place on the BitMEX platform, from accounts of Defendant
           18
                 HDR. The looted funds were divided among Defendants and their associate substantially in
           19
                 accordance with the following table, prepared on information and belief of Plaintiff Sorokin,
           20
                 which belief was formed based on public records, public Court records, U.S. DOJ indictment of
           21
                 Defendants, CFTC civil complaint against Defendants:
           22
           23                       Shareholder of HDR Global                 Equity Ownership                     Amount of
                                         Trading Limited                         Percentage                        Distribution
           24
           25
                 3
           26      In United States v. Faiella, 39 F. Supp. 3d 544 (S.D.N.Y. 2014), the threshold for triggering 18
                 U.S.C. § 1960(a) liability was $1,000,000 in unlicensed bitcoin transmissions. In United States v.
           27    Klein, 6:17-cr-03056 (W.D.Mo. 2017), the threshold for 18 U.S.C. § 1960(a) liability was less
                 than $30,000 in unlicensed bitcoin transmissions. Based on these cases, Defendants exceeded the
           28    legal threshold for triggering 18 U.S.C. § 1960(a) liability by a factor of 3,333x.
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             1
                 1.              Arthur Hayes                                   31.67%                                  $139,430,993.33
             2
                 2.              Benjamin Delo                                  31.67%                                  $139,430,993.33
             3
                 3.              Samuel Reed                                    31.67%                                  $139,430,993.33
             4
                 4.              Sean O’Sullivan Ventures (SOSV)                5%                                      $22,015,420.01
             5
             6                                                                                           Total: $440,308,400.00

             7   These distributions of money laundering proceeds were made on the following dates, after

             8   Defendants learned about government investigations and after receiving a draft complaint in this

             9   action:

           10                                                        Distribution Date
           11                                     1.                 October 15, 2019
           12                                     2.                 November 19, 2019
           13
                                                  3.                 January 2020
           14
                 Plaintiff is informed and believes and thereon alleges that Defendants are actively looting HDR
           15
                 and trying to make funds unavailable for the collection of future judgments against it.
           16
                 Specifically, the profit distributions at a rate of $440,308,400.00 in just three months were clearly
           17
                 not performed in the ordinary course of business, as they represent $1,761,233,600 annual profit
           18
                 distribution rate, which money HDR simply does not generate. Therefore, these extraordinarily
           19
                 large distributions were clearly designed to deprive Defendant HDR of its assets. Furthermore,
           20
                 such a remarkable surge in profit distribution may also indicate that Defendants are siphoning the
           21
                 BitMEX Insurance Fund. Therefore, individual Defendants formed and used Defendant HDR to
           22
                 hide and siphon ill-gotten proceeds from various racketeering activities alleged in this Compliant
           23
                 to their personal bank accounts and bank accounts of their associates and relatives.
           24
                           25.     As soon as Plaintiff became aware of the evidence of siphoning of $440,308,400
           25
                 of funds from Defendant HDR by other Defendants, which appeared in public court filings in
           26
                 another civil action against Defendants, filed in San Francisco Superior Court Case No:
           27
                 CGC19581267, Defendants urgently moved the Court to strike or seal the discovered evidence of
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)          - 14 -      ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 asset dissipation telling the San Francisco Superior Court that the relevant documents were
             2
                 publicly filed in violation of a protective order in that case and that the revelations caused great
             3
                 damage to Defendants.
             4
                          26.        A combination of providing traders with extremely high trading leverage (up to
             5
                 100x), using .BXBT index price for relatively liquid Perpetual Swap contracts calculated based
             6
                 on prices of two or three illiquid spot exchanges, enabling manipulators and money launderers to
             7
                 avoid detection by providing them with the ability to open unlimited number of anonymous
             8
                 document check-free trading accounts without any KYC and AML compliance checks and
             9
                 without any trading and withdrawal limits, intentionally taking BitMEX platform offline during
           10
                 market manipulation events to exacerbate retail trader losses, weaponizing deliberate server
           11
                 freezes, using fraudulent “system overload” events to accept some trading orders and reject others
           12
                 during large market moves to exacerbate price fluctuations and cause the most liquidations as
           13
                 well as systematic deletion of evidence of manipulators’ identities and trading records by
           14
                 Defendants, all make BitMEX an exquisite “designer” tool for unsavory actors to launder funds
           15
                 and manipulate cryptocurrency markets. Because of the very high derivatives trading volume on
           16
                 BitMEX, the artificial prices caused by the BitMEX manipulations spread, like forest fires, from
           17
                 BitMEX to other exchanges wreaking havoc on the entire cryptocurrency ecosystem, costing
           18
                 traders and investors billions of dollars in losses and resulting in a domestic injury in the United
           19
                 States (“Domestic Injury”).
           20
                          27.        Moreover, on April 30, 2018, after repeated denials, Defendants finally admitted
           21
                 that BitMEX operates its own for-profit Insider Trading Desk operated by a first employee of
           22
                 Defendant HDR, Gregory Dwyer4 (“Dwyer”) as well as Stuart Elkington and Nick Andrianov,
           23
                 who, at all times relevant herein, were agents and employees of Defendants HDR, Hayes, Delo
           24
                 and Reed and who acted within the scope of their agency and employment with Defendant HDR.
           25
                 Dwyer has been also indicted by the DOJ on federal felony money laundering related offenses.
           26
                 The Insider Trading Desk trades against BitMEX’s own customers on their own exchange, using
           27
           28    4
                     During the vast majority of the Relevant Period, Dwyer operated from New York, New York.
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             1
                 BitMEX’s inside information about its customers’ existing trading positions, stop loss orders,
             2
                 liquidation prices and open orders and enjoys many other unfair advantages not available to other
             3
                 users of the BitMEX platform. While making money trading against BitMEX’s own customers,
             4
                 this operation, which Defendants refer to as “anchor market maker,” receives many special
             5
                 trading privileges that are not available to other exchange users. This creates even greater
             6
                 financial incentive for Defendants to manipulate cryptocurrency markets and financially benefit
             7
                 from the manipulations through the aforesaid for-profit Insider Trading Desk operation.
             8
                        28.        A substantial portion of the bitcoin-denominated proceeds of market manipulation,
             9
                 money laundering, operating unlicensed money transmitting business and multitude of various
           10
                 other nefarious acts taking place on the BitMEX platform were subsequently laundered and
           11
                 continue to be laundered, by all Defendants, through the Unknown Exchange, by means of
           12
                 converting bitcoins into various traditional (“fiat”) currencies, including United States dollars and
           13
                 Hong Kong dollars, and by Reed, Agata Reed, Barbara Reed and Trace Reed, through a real
           14
                 estate investment scheme that they set up in Wisconsin and Massachusetts. For this purpose, the
           15
                 aforesaid Defendants employed fraudulent nominee shell companies Grape Park and Mark Sweep
           16
                 to disguise or conceal the true illegal nature of the funds in the Defendants’ general account
           17
                 (bitcoin wallet), which were ultimately used to acquire the corresponding real estate properties
           18
                 and the acquired real estate’s true ownership or control, Ex. 12, 13. Agata Reed, Barbara Reed
           19
                 and Trace Reed are in possession of two real estate properties located in Lake Tomahawk, WI
           20
                 54539 and Norwell, MA 02061, with the aggregate market value of over $2,500,000, acquired
           21
                 using funds misappropriated from Plaintiff and laundered by Defendants through the Unknown
           22
                 Exchange and their real estate investment scheme.
           23
                        29.        Despite all the claims to the contrary, Defendants HDR, Hayes, Delo and Reed
           24
                 maintain numerous close connections with the United States and this District. Defendant HDR’s
           25
                 own website BitMEX.com lists San Francisco as the location of one of Defendant HDR’s offices,
           26
                 where all the technology behind BitMEX has been and continues to be developed. Defendants
           27
                 use United States – based Amazon, Inc. AWS infrastructure, with offices in northern California,
           28
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             1
                 for storing all of its customer and trading data and for executing its order matching system and its
             2
                 liquidation engine. Moreover, Defendants use Redwood City, California – based SendGrid, Inc.
             3
                 for handling all their bulk email communications with its customers. Finally, Defendants’
             4
                 website BitMEX.com is a commercial website, enabling traders to enter into binding derivative
             5
                 purchase and sale contracts, through which Defendants HDR, Hayes, Delo and Reed conduct
             6
                 high-volume derivatives trading business with numerous individuals and companies residing in
             7
                 the United States, State of California and this District and which by itself is sufficient for
             8
                 subjecting Defendants to the jurisdiction of this Court pursuant Zippo Mfg. Co. v. Zippo Dot Com,
             9
                 Inc., 952 F. Supp. 1119 (W.D. Pa. 1997).
           10
           11                                                        NATURE OF ACTION
                        30.        This is an action for conspiracy to conduct and conducting enterprise’s affairs
           12
                 through a pattern of racketeering activity, arising under Racketeer Influenced and Corrupt
           13
                 Organizations Act (“RICO”), 18 U.S.C. §§ 1961 et seq. and for cryptocurrency market
           14
                 manipulation arising under the CEA, 7 U.S.C. §§ 1 et seq. (2018).
           15
           16                                                            PARTIES
           17           31.         Plaintiff repeats and re-alleges the allegations contained in every preceding
           18    paragraph as if fully set forth herein.
           19           32.        Plaintiff Sorokin is an individual, who is a citizen of Russian Federation, and who
           20    also presently resides in Russian Federation. Plaintiff Sorokin is the real party in interest and
           21    seeks to vindicate his own rights by way of this Complaint.
           22           33.        Defendant HDR was created by individual Defendants in order to perpetrate fraud
           23    and dodge regulation and taxes and purports to be a Republic of Seychelles International Business
           24    Company, company number 148707, with a registered office at Suite 23, 1st Floor, Eden Plaza,
           25    Vistra Corporate Services Centre, Eden Island, Mahe, Seychelles. Among other illegal purposes,
           26    such as perpetrating fraud and dodging regulators, Defendants Hayes, Delo and Reed formed and
           27    used Defendant HDR to hide and then siphon ill-gotten proceeds from various racketeering
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)         - 17 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 activities alleged in this Compliant, including fraudulent solicitations, omissions and market
             2
                 manipulation, to their personal bank accounts and bank accounts of their associates and relatives.
             3
                 Defendant HDR was organized by Defendants Hayes, Delo and Reed, who are the three primary
             4
                 ultimate owners of HDR and its various subsidiaries, each holding approximately a one-third
             5
                 ownership interest in Defendant HDR, in or about 2014. Despite being incorporated in the
             6
                 Seychelles, Defendant HDR does not have, and never has had, any operations or employees in the
             7
                 Seychelles. Defendant HDR operates, or has operated during the Relevant Period, out of various
             8
                 locations and offices throughout the world, including in New York, San Francisco, Milwaukee,
             9
                 Hong Kong, Singapore, and Bermuda. When asked about the reasons for incorporating
           10
                 Defendant HDR in the Republic of Seychelles, Defendant HDR’s Chief Executive Officer (CEO)
           11
                 Defendant Hayes has publicly claimed, in July of 2019, that the government of Seychelles was
           12
                 cheaper to bribe than the government of the United States and when asked how much he had to
           13
                 pay Seychelles to bribe them, Defendant Hayes answered “a coconut”, Ex. 11.
           14
                        34.        When, in July of 2019, an early investor in BitMEX Elfio Guido Capone asked
           15
                 Defendants Hayes, Delo and Reed about a status of his investment in the BitMEX platform,
           16
                 Defendant Delo responded with a meme image, cynically suggesting that BitMEX could dodge
           17
           18
           19

           20
           21
           22
           23
           24
           25
           26
           27
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 18 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 its legal obligations to its own investors simply by using a shell company incorporated in the
             2
                 Seychelles to defeat personal jurisdiction of the United States Courts.
             3
                        35.        In addition to publicly admitting to bribery of foreign government officials as
             4
                 alleged in the preceding Paragraphs, Defendant Hayes has publicly admitted to perpetrating bank
             5
                 fraud by falsifying his residence address on bank account application documents with the purpose
             6
                 of opening a bank account in China, to which he, as a resident of Hong Kong, was not entitled,
             7
                 Ex. 10. The Chinese bank account was admittedly opened by Defendant Hayes using a fake
             8
                 Chinese residence address, which he personally falsified, in order to enrich himself on 40%
             9
                 premium in the price of bitcoin in China compared to the rest of the world, Ex. 10. In
           10
                 perpetrating the admitted bank fraud, Defendant Hayes was motivated by personal greed.
           11
                        36.        Admissions of multiple instances of personal greed-motivated illegal conduct as
           12
                 alleged in the previous Paragraphs, attempting to dodge legitimate legal obligations to its own
           13
                 investors using sham offshore companies as well as the alleged patently illegal manner in which
           14
                 BitMEX platform operates, all establish a clear pattern of brazen lawlessness on part of all
           15
                 Defendants.
           16
                        37.        Defendant HDR is controlled by Defendants Hayes, Delo and Reed, who all hold
           17
                 themselves out as co-founders of BitMEX. In fact, name “HDR” is an abbreviation composed of
           18
                 first letters of last names of Defendants Hayes, Delo and Reed. Defendant Hayes serves as the
           19
                 CEO of Defendant HDR. Defendant Reed serves as the Chief Technology Officer (CTO) of
           20
                 Defendant HDR.
           21
                        38.        According to BitMEX’s website (https://www.BitMEX.com) (“BitMEX
           22
           23
           24
           25
           26
           27
           28    website”), its owner HDR Global Trading Limited maintains three offices throughout the world,
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 19 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 located in San Francisco, Hong Kong and Singapore. BitMEX’s Terms of Service (“Terms of
             2
                 Service”), posted on the BitMEX website, provide that: “BitMEX (website:
             3
                 https://www.BitMEX.com) is a Bitcoin-based trading platform that is wholly owned by HDR
             4
                 Global Trading Limited.”
             5
                        39.        The San Francisco office of Defendant HDR is the largest of all three by both the
             6
                 employee headcount and technical staff headcount. Its addresses are 301 Battery Street, 4th
             7
                 Floor, San Francisco, California 94111, 340 Brannan Street, 2nd Floor, San Francisco, California
             8
                 94107 and/or 2 Embarcadero Center, 8th Floor, San Francisco, California 94111. Defendant
             9
                 HDR closed its other United States offices and consolidated all of its United States personnel into
           10
                 an office location in San Francisco sometime in April of 2019, as confirmed by Defendant Hayes
           11
                 in an email to Defendant HDR’s early investor Mr. Elfio Guido Capone stating, “Consolidation of
           12
                 people in one office in SF.”
           13
                        40.        Hong Kong office of Defendant HDR is located at 45/F, Cheung Kong Centre, 2
           14
                 Queen's Road Central, Hong Kong Central, Hong Kong Island, Hong Kong Special
           15
                 Administrative Region of the People’s Republic of China. The employee headcount in the Hong
           16
                 Kong office of Defendant HDR is about half of the headcount in Defendant HDR’s San Francisco
           17
                 office. Singapore office of Defendant HDR is the smallest of all three.
           18
                        41.        Defendant HDR’s affiliates and subsidiaries, including Defendant HDR’s wholly-
           19
                 owned subsidiary and alter ego Defendant ABS, are so organized and controlled, and their affairs
           20
                 are so conducted, as to make them merely an instrumentality, agency, conduit, or adjunct of a
           21
                 single unitary BitMEX enterprise. See Las Palmas Assoc. v. Las Palmas Ctr. Assoc., 235
           22
                 Cal.App. 3d 1220, 1249 (1991). Each Defendant HDR affiliate or subsidiary is so dominated in
           23
                 its finances, policies, and practices that these controlled corporations have no separate mind, will,
           24
                 or existence of their own, and are but business conduits for their principal, Defendant HDR, such
           25
                 that all of the affiliated corporations may be deemed to be a single business enterprise. See Toho-
           26
                 Towa Co., Ltd. v. Morgan Creek Prods., Inc., 217 Cal.App.4th 1096, 1107 (2013); Greenspan v.
           27
                 LADT LLC 191 Cal.App.4th 486, 514 (2010).
           28
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             1
                        42.        On information and belief, each entity in the BitMEX enterprise functions solely to
             2
                 contribute to and develop the BitMEX.com commercial website, which revenues then flow solely
             3
                 to Defendant HDR and its owners. These entities are analogous to departments within a single
             4
                 corporation and are run as such. On information and belief, each sub-entity in the BitMEX
             5
                 enterprise is funded solely by revenues provided by Defendant HDR.
             6
                        43.        Further, as Defendant Hayes has explained in a publicly filed sworn declaration, as
             7
                 CEO of Defendant HDR, he is “advised by an advisory body currently comprised of twelve
             8
                 individuals responsible for different departments within the HDR Group.” (emphasis added).
             9
                 Hayes labels Defendant HDR and its affiliates collectively as the “HDR Group” as opposed to the
           10
                 BitMEX enterprise, but in function the entities operate as a single corporate enterprise, and they
           11
                 may be properly held to account for each other’s wrongdoing.
           12
                        44.        Defendant Hayes himself has also admitted that the BitMEX enterprise entities are
           13
                 really a single entity. In a Monthly Report circulated on March 2, 2018, Defendant Hayes wrote
           14
                 “Ben [Delo], Sam [Reed], and myself are very excited to host the entire company at our Hong
           15
                 Kong office from March 12th – 25th. Given the rapid and continued growth in terms of headcount
           16
                 in 2017 and 2018, this offsite is our first chance to bond as a company.” (emphasis added).
           17
                        45.        All of this notwithstanding that Defendant HDR has submitted in multiple public
           18
                 filings that its only offices are in the Seychelles. It claims the offices in Hong Kong belong to
           19
                 another BitMEX-affiliated entity.
           20
                        46.        On April 11, 2018, Defendant Hayes wrote again to say that the Hong Kong
           21
                 “company offsite was a resounding success. Ben, Sam, and I were delighted to meet many of you
           22
                 for the first time. We continue to be amazed at the quality of people that work for the
           23
                 organization. BitMEX is a collection of individuals who are all interesting.” On information and
           24
                 belief, employees from all of the BitMEX enterprise’s entities were present at the March 2, 2018
           25
                 company-wide offsite, including those from San Francisco-based Defendant ABS.
           26
                        47.        Defendants’ casual disregard of corporate form and their regular usage of shell
           27
                 companies is also apparent through their latest corporate conduct: on July 15, 2020, Defendant
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 21 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Hayes announced that a new entity, “100x,”5 “will become the new holding structure for HDR
             2
                 Global Trading Limited” and all of BitMEX’s other assets, “including the BitMEX platform.” In
             3
                 turn, the “HDR Group” was also rebranded as the “100x Group.” This re-labeling makes little
             4
                 difference to the continued functioning of the entities as a single enterprise, however; Defendant
             5
                 Hayes explained that “[t]he BitMEX platform, brand and legal structure remain entirely
             6
                 unchanged.”
             7
                        48.        This further demonstrates that the unitary BitMEX enterprise consists of the
             8
                 various affiliates and subsidiaries worldwide, and that the enterprise and each of its constituent
             9
                 parts are fully dominated and controlled by Defendants Hayes, Delo, Reed and the other
           10
                 stakeholders as a single enterprise.
           11
                        49.        Defendant ABS is a California-based wholly owned subsidiary and alter ego of
           12
                 Defendant HDR, which designs, develops, implements, operates and supports the online
           13
                 derivatives trading platform BitMEX from within this District. Defendant ABS purports to be a
           14
                 Delaware corporation, Delaware Secretary of State file number 6393256, with registered office at
           15
                 3411 Silverside Road Tatnall Building, Ste 104, Wilmington, DE 19810. Defendant ABS was
           16
                 organized by Defendants Hayes, Delo and Reed on or about April 27, 2017. Name “ABS” is an
           17
                 abbreviation constructed of first letters of first names (Arthur, Ben and Samuel) of individual
           18
                 Defendants Hayes, Delo and Reed, who ultimately own and control Defendant ABS. Defendant
           19
                 Hayes asserted that Defendant HDR owns the entire issued share capital of Defendant ABS, and
           20
                 that Defendant ABS has an office in San Francisco, California.
           21
                        50.        Specifically, Defendant ABS, which is a United State-based alter ego of Defendant
           22
                 HDR, has two offices: 301 Battery St., 4th Fl., San Francisco, CA, 94111 and 340 Brannan Street,
           23
                 2nd Floor, San Francisco, California. Defendants Hayes, Delo and Reed continue to control
           24
                 Defendant ABS with Defendant Hayes serving as the President, CEO, Secretary and Chief
           25
                 Financial Officer thereof and Defendant Reed serving as a Chief Technology Officer of
           26
           27
                 5
                   The name 100x is a reference to traders’ ability on the BitMEX platform to trade at 100 times
           28    the leverage of their deposited bitcoin.
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             1
                 Defendant ABS.
             2
                        51.        Plaintiff is informed and believes and thereon alleges that Defendant HDR
             3
                 dominates and controls every aspect of Defendant ABS’ operations and uses its San Francisco
             4
                 offices to manage BitMEX’s engineering, security and back-office operations, such that
             5
                 Defendant ABS is a mere instrumentality of the BitMEX enterprise. In particular, all its
             6
                 operations are controlled by its principal and alter ego, Defendant HDR, wherein Defendant ABS
             7
                 provides development, software engineering, containerized application deployment, site
             8
                 reliability and digital security services, including development of the interface of the BitMEX
             9
                 Platform, through which all trading transactions take place. Thus, Defendants ABS and HDR
           10
                 operate as a single business enterprise for the purpose of operating the BitMEX derivatives
           11
                 trading platform.
           12
                        52.         Plaintiff is informed and believes and thereon alleges that Defendant HDR funds
           13
                 all of Defendant ABS operations, including paying for all of its employees, overhead, and lease
           14
                 and rent obligations, and is Defendant ABS’ sole source of income.
           15
                        53.        Defendants Hayes, Delo and Reed, collectively own a controlling interest in
           16
                 Defendant ABS through their ownership of Defendant HDR, which wholly owns Defendant ABS.
           17
                 Defendant Hayes is the sole director, president, secretary, and treasurer of Defendant ABS, and
           18
                 executes agreements on its behalf. Defendant Hayes runs Defendant ABS’s activities without
           19
                 regard to its corporate form and for the sole benefit of Defendant HDR.
           20
                        54.        Defendants Hayes, Delo and Reed have created Defendant ABS as a false “shell”
           21
                 company as part of a broader United State federal and state law, regulation and tax dodge
           22
                 designed to tell regulators and tax authorities that BitMEX has no California or United States
           23
                 operations or investors.
           24
                        55.        However, in reality, California is where most or all of its technology and services
           25
                 are managed and developed, and where almost all of the key personnel who perform those
           26
                 functions live, work and run BitMEX’s operations. Specifically, California-based Defendant
           27
                 ABS handles the majority of the development of the BitMEX Platform, and it is both the heart of
           28
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             1
                 the BitMEX enterprise and its nerve center.
             2
                        56.        Plaintiff is informed and believes and thereon alleges that Defendants intentionally
             3
                 and specifically targeted California when locating and developing the nerve center of the
             4
                 operations of the BitMEX enterprise. This is because, from the beginning of BitMEX’s existence,
             5
                 traders based in the United States accounted for the vast majority of the enterprise’s revenues, and
             6
                 even presently United States and California traders, as described below, are the most active and
             7
                 lucrative traders on the BitMEX Platform. This is also due to the fact that California’s Silicon
             8
                 Valley has some of the world’s best engineers and developers, and as such, Defendant ABS
             9
                 houses the most engineering personnel out of any BitMEX entity.
           10
                        57.        Defendant ABS aided and abetted, authorized, ratified and controlled Defendant
           11
                 HDR illegal acts described herein.
           12
                        58.        Defendants HDR and Hayes relied upon their domestic agents, employees and
           13
                 affiliates, including without limitation ABS, to help implement and conceal the illegal acts
           14
                 alleged herein. The agency relationships formed among the Defendants with respect to the acts,
           15
                 violations, and common course of conduct alleged herein were consensually formed.
           16
                        59.        Defendant ABS acted in the United States and abroad within the scope of its
           17
                 agency with the full knowledge, consent, permission, authorization and ratification, either express
           18
                 or implied, of each of the other Defendants in carrying out the acts alleged herein.
           19
                        60.        Defendants are individually sued as principals, participants, agents, aiders and
           20
                 abettors, and co-conspirators in the wrongful conduct complained of and the liability of each
           21
                 arises from each Defendant’s engagement in all or part of the illegal acts alleged herein.
           22
                        61.        Additional and other facts regarding Defendants’ joint action, alter ego status and
           23
                 aiding and abetting of one another regarding the misconduct against Defendants is hidden from
           24
                 Plaintiff at this time. Such information is uniquely within Defendants’ possession, custody and
           25
                 control. Plaintiff accordingly reserves the right to supplement and amend these allegations if
           26
                 appropriate or necessary following completion of relevant fact discovery.
           27
                        62.        Defendant HDR is the sole and exclusive owner of BitMEX brand, as evidenced,
           28
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             1
                 for example, by the Terms of Service and by numerous trademark filings for the protection of this
             2
                 brand made by Defendant HDR in the United States and throughout the world.
             3
                        63.        Grape Park is a State of Delaware limited liability company, Delaware Secretary
             4
                 of State file number 7554178, with registered office at 3411 Silverside Road Tatnall Building, Ste
             5
                 104, Wilmington, DE 19810, which was used by Defendants to further launder funds derived
             6
                 from money laundering, market manipulation, operating unlicensed money transmitting business
             7
                 and other nefarious acts taking place on the BitMEX platform through investments into United
             8
                 States real estate, Ex. 12. Defendant Reed dominates and controls every aspect of business of
             9
                 Grape Park and funds its operations. Grape Park is an alter ego of Defendant Reed.
           10
                        64.        Mark Sweep is a State of Delaware limited liability company, Delaware Secretary
           11
                 of State file number 7449568, with registered office at 3411 Silverside Road Tatnall Building, Ste
           12
                 104, Wilmington, DE 19810, which was used by Defendants to further launder funds derived
           13
                 from money laundering, market manipulation, operating unlicensed money transmitting business
           14
                 and other nefarious acts taking place on the BitMEX platform through investments into United
           15
                 States real estate, Ex. 13. Defendant Reed dominates and controls every aspect of business of
           16
                 Mark Sweep and funds its operations. Mark Sweep is an alter ego of Defendant Reed. It should
           17
                 be noted that Defendant ABS, Grape Park and Mark Sweep share the same registered office
           18
                 address in the State of Delaware.
           19
                        65.        Unknown Exchange is a cryptocurrency-to-fiat off-ramp exchange (over-the-
           20
                 counter exchange services provider). Unknown Exchange was and is being used by Defendants
           21
                 to launder funds derived from money laundering, market manipulation, operating unlicensed
           22
                 money transmitting business and other nefarious acts taking place on the BitMEX platform
           23
                 through converting the illegally obtained bitcoins into various fiat currencies, including United
           24
                 States dollars and Hong Kong dollars. Plaintiff will amend this Complaint when he ascertains the
           25
                 identity of the Unknown Exchange based on discovery propounded on Defendants.
           26
                        66.        Defendant Hayes is an individual, who is a United States citizen. On papers filed
           27
                 with California Secretary of State, Defendant Hayes claimed to have resided in Kennedy Town,
           28
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             1
                 Hong Kong Special Administrative Region of the People’s Republic of China. However, Plaintiff
             2
                 is informed and believes and thereon alleges that Defendant Hayes also resides in Buffalo, NY
             3
                 14221-1840 and was last seen at his residence there on August 18, 2020. Defendant Hayes owns
             4
                 property in the U.S., and files U.S. income tax returns. During the Relevant Period, Defendant
             5
                 Hayes held his ownership interest in the BitMEX entities through a Delaware limited liability
             6
                 company that maintains bank accounts at financial institutions in the U.S. and owns property in
             7
                 the U.S. Defendant Hayes is sued as sui juris.
             8
                        67.        Defendant Delo is an individual, who is a citizen of United Kingdom, and who
             9
                 resides in Hong Kong Special Administrative Region of the People’s Republic of China.
           10
                 Defendant Delo is sued as sui juris.
           11
                        68.        Defendant Reed is an individual, who is a United States citizen and who resides in
           12
                 Milwaukee, WI 53202. Defendant Reed is sued as sui juris. United States residence of
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           26    Defendant Reed is further evidenced by his own professional profile on LinkedIn professional
           27    network, where he lists the United States as his country of residence. Defendant Reed maintains
           28
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             1
                 an office in and conducts business from Milwaukee, Wisconsin.
             2
                        69.        Agata Reed is an individual, who is a citizen of the United States, and who resides
             3
                 in Norwell, MA 02061.
             4
                        70.        Barbara Reed is an individual, who is a citizen of the United States, and who
             5
                 resides in Lake Tomahawk, WI 54539.
             6
                        71.        Trace Reed is an individual, who is a citizen of United States, and who resides in
             7
                 Lake Tomahawk, WI 54539.
             8
                        72.        Plaintiff is informed and believes and thereon alleges that each of the individual
             9
                 Defendants sued herein was the agent and employee of each of the remaining Defendants and was
           10
                 at all times acting within the purpose and scope of such agency.
           11
           12             DEFENDANTS’ EXTENSIVE CONTACTS WITH THE UNITED STATES
                                            AND THIS DISTRICT
           13
                        73.        Plaintiff repeats and re-alleges the allegations contained in every preceding
           14
                 paragraph as if fully set forth herein.
           15
                        74.        Defendant ABS is qualified to do business in California and has appointed an
           16
                 agent for service of process in this State. Despite all the claims to the contrary, Defendants HDR,
           17
                 Hayes, Delo and Reed maintain numerous close connections with the United States, State of
           18
                 California and this District.
           19
                        75.        Corporate Defendants HDR and ABS were established by individual Defendants
           20
                 Hayes, Delo and Reed due to seed funding provided by at least two United States-based entities –
           21
                 Ohio-based RGB COIN LTD. and a startup accelerator SOSV with offices in San Francisco and
           22
                 New York.
           23
                        76.        Defendant HDR is managed by Defendants Hayes, Delo and Reed with advice of
           24
                 an advisory board consisting of 12 members, three of which are located in the United States.
           25
                        77.        Due to his role as the President, CEO, Secretary and Chief Financial Officer of
           26
                 Defendant ABS and his CEO position with Defendant HDR, Defendant Hayes manages and
           27
                 directs operations of both Defendants HDR and ABS in the United States and in this District.
           28
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             1
                        78.        On the most recent California Secretary of State Statement of Information form
             2
                 filed by Defendant ABS with the State of California on or about August 22, 2019, Defendant
             3
                 Hayes’s address in the State of California is listed as: 340 Brannan Street, 2nd Floor, San
             4
                 Francisco, California 94107.
             5
             6
             7
             8
                        79.        Due to his role as the CTO of both Defendants HDR and ABS and his supervisory
             9
                 involvement in the software development of the BitMEX platform, Defendant Reed, who resides
           10
                 in Wisconsin, manages and directs operations of both Defendants HDR and ABS in the United
           11
                 States and in this District, where the majority of the software developers and engineers working
           12
                 on the BitMEX platform are located.
           13
                        80.        As evidenced by BitMEX website, on or about April 27, 2018, Defendant Reed
           14
                 stated: “We serve customers all over the world, in five languages, and have become the premier
           15
                 platform for Bitcoin price discovery and liquidity” (emphasis added). This statement constitutes
           16
                 an admission that Defendants knowingly serve customers in the United States and the State of
           17
                 California.
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             1
                        81.        BitMEX website www.BitMEX.com/careers/ lists San Francisco as the location of
             2
             3
             4
             5
             6
             7   one of the Defendant HDR’s offices, where all the technology behind BitMEX is being
             8   developed. Defendant HDR actively recruited individuals for this office using recruiting websites
             9   such as GlassDoor.com, Angel.co and LinkedIn.com. According to professional network
           10    LinkedIn, BitMEX’s owner Defendants HDR has at least 74 current and former employees in the
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           24
           25    United States, most of which are residents of this District.
           26           82.        In a publicly released and publicly available video first aired on CNBC news
           27    channel, Defendant Hayes can be seen broadcasting from the San Francisco office of CNBC, on
           28
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           10
           11    or about July 19, 2018.

           12           83.        United States residents can freely trade on BitMEX platform from the United

           13    States because, as Defendant Hayes concedes and journalists and other commentators have

           14    explained, and BitMEX’s marketing of itself in the United States demonstrates, accessing

           15    BitMEX is trivially easy from the United States using widely available and inexpensive virtual

           16    private network (VPN) software that masks trader’s geographical location. This is because

           17    Defendants purport to restrict access to the BitMEX Platform for residents in the United States

           18    and California, by using an impotent IP-address check mechanism. Defendants, however,

           19    knowingly allow United States and California residents to circumvent the IP-address check

           20    mechanism via simple, inexpensive, and widely available software tools such as by using a VPN.

           21    Defendants have exploited this loophole to avail themselves of United States and California

           22    markets. Defendant Hayes stated in a January 2019 interview that BitMEX users can mask their

           23    location using VPNs to assign their computer an IP address from other countries, bypassing filters

           24    put in place. In fact, all web pages on BitMEX.com commercial website, except for a user

           25    account page, are freely accessible from the United States without any VPN. This is done

           26    purposefully in order to entice United States persons to trade on the BitMEX platform. If

           27    Defendants truly wanted to exclude United States traders from their platform, they would have

           28    blocked access to all web pages on the BitMEX.com commercial website from the United States.
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             1
                        84.        In fact, in an interview in January of 2019, Defendant Hayes himself publicly
             2
                 taunted the fact that users from banned jurisdictions like the United States can easily bypass the
             3
                 cryptocurrency exchange’s geoblock by using the VPN service, thereby directly encouraging
             4
                 United States traders to trade on the BitMEX platform in violation of its own Terms of Service.6
             5
                        85.        Defendant HDR uses United States based Amazon, Inc.’s Amazon Elastic
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           17
           18    Kubernetes Service (“Amazon EKS”), which combines Amazon Web Services (“Amazon AWS”)

           19    with managed high-availability Kubernetes infrastructure for containerized deployment of all of

           20    its order matching and liquidation engines and for storing all of its customer and trading data.

           21    Amazon AWS has offices in San Francisco, California. San Francisco office of Defendant HDR

           22    employs at least five Kubernetes engineers who interact with Amazon AWS in this District on a

           23
           24    6
                   To the extent Defendants are attempting to rely on the provisions of BitMEX Terms of Service
                 to absolve themselves from liability for fraudulent, willful and negligent acts directed at their U.S.
           25    and California customers, all such attempts are precluded by Cal. Civ. Code § 1668, which
           26    provides that "[a]ll contracts which have for their object, directly or indirectly, to exempt anyone
                 from responsibility for his own fraud, or willful injury to the person or property of another, or
           27    violation of law; whether willful or negligent, are against the policy of the law." Therefore, to the
                 extent BitMEX Terms of Service are used to exempt Defendants of liability for fraudulent, willful
           28    and negligent acts, they are null and void as being against the policy of the law.
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             1
                 daily basis.
             2
                         86.       Moreover, the recent email data leak of BitMEX has shown that Defendant HDR
             3
                 uses San Francisco, California – based Twilio Inc. and its subsidiary SendGrid, Inc., with offices
             4
                 at 889 Winslow St., Redwood City, California 94063, United States, for handling all of its bulk
             5
                 email communications with its customers. Twilio Inc. and its subsidiary SendGrid, Inc. as well as
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           17    Intercom, Inc. store a database of all BitMEX users in this District, including email addresses and

           18    all other contact information of all users, which BitMEX uses for all its customer

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           27
                 communications.
           28
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             1
                        87.        Defendants use ReCAPTCHA service provided by Google, Inc., headquartered in
             2
                 this District to provide human verification for the users of the BitMEX’s platform.
             3
                        88.        Defendants further use YubiKey device and YubiCloud service provided by Palo
             4
                 Alto-based YubiKey, located in this District, to provide 2-factor authentication capability to the
             5
                 users of BitMEX’s platform.
             6
                        89.        Defendants further use service operated by Jumio Netverify, based in Palo Alto,
             7
                 California, through which Jumio collects personal data from BitMEX users directly, including
             8
                 photos of user’s faces and ID documents and performs identity verification of the users for
             9
                 BitMEX platform.
           10
                        90.        Defendants further use Freshdesk service provided by Palo Alto-based
           11
                 FreshWorks, headquartered in this District, for handling all customer support queries, notes and
           12
                 replies associated with the BitMEX platform.
           13
                        91.        Defendants further use segment.io service provided by San-Francisco based
           14
                 Segment.io, Inc., and Google Analytics service provided by Google, Inc., both of which are
           15
                 headquartered in this District, for gathering data collected on BitMEX.com servers and generating
           16
                 visitor statistics for BitMEX platform.
           17
                        92.        Defendants further use services provided by San Francisco-based Functional
           18
                 Software, Inc. (Sentry.io), San Francisco-based Pagerduty and Austin, Texas-based Solarwinds
           19
                 (Papertrail) to monitor all site and service issues associated with the BitMEX platform.
           20
                        93.        Defendants further use services provided by Google Firebase and Amazon SNS
           21
                 platforms, operated by Google, Inc. and Amazon Web Services, Inc., respectively, both of which
           22
                 are headquartered in this District, to deliver mobile push notifications to all user devices.
           23
                        94.        The above-alleged facts clearly show that the vast majority of the vital services
           24
                 used by BitMEX platform are provided by United States vendors located in this District and that
           25
                 without such services of United States and California origin, BitMEX platform would not have
           26
                 existed in its present form. Therefore, BitMEX is able to operate its platform only due to its
           27
                 connections with the service providers located in the United States and this District.
           28
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             1              Service Provider to                                                                   Service Provider
                                                                     Services Provided to BitMEX
             2                      BitMEX                                                                               Location

             3   1.      Amazon Web Services                    Kubernetes infrastructure for               San Francisco, California
             4                                                  containerized deployment of all
             5                                                  of its order matching and
             6                                                  liquidation engines and for
             7                                                  storing all of its customer and
             8                                                  trading data
             9   2.      Twilio, Inc.                           Communications with all                     San Francisco, California
           10                                                   BitMEX users
           11    3.      SendGrid, Inc.                         Email communications with all               Redwood City,
           12                                                   BitMEX users                                California
           13    4.      Google, Inc.                           Human verification for the users,           Mountain View,
           14                                                   and generating visitor statistics           California
           15    5.      YubiKey, Inc.                          2-factor authentication capability          Palo Alto, California
           16
                 6.      Jumio, Inc.                            Identity verification of the users          San Francisco, California
           17
                 7.      FreshWorks                             Customer support queries, notes             Palo Alto, California
           18
                                                                and replies
           19
                 8.      Segment.io, Inc.                       Generating visitor statistics               San Francisco, California
           20
                 9.      Functional Software,                   Monitor all site and service issues         San Francisco, California
           21
                         Inc.                                   for BitMEX platform
           22
                 10.     Intercom, Inc.                         Electronic communications with              San Francisco, California
           23
                                                                all BitMEX users
           24
                 11.     ProofPoint, Inc.                       Hosting of BitMEX’s internal                Sunnyvale, California
           25
                                                                corporate email accounts,
           26
                                                                outbound data loss prevention,
           27
                                                                social media, mobile devices,
           28
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             1
                                                                digital risk, email encryption,
             2
                                                                electronic discovery, and email
             3
                                                                archiving.
             4
             5
                          95.      Furthermore, Plaintiff is informed and believes and thereon alleges that San
             6
                 Francisco, California-based quant trading firm Galois Capital freely trades on BitMEX from this
             7
                 District generating millions of dollars of business for Defendant HDR. This trading is done with
             8
                 the knowledge, permission, approval, assistance and encouragement of Defendants.
             9
                          96.      Defendants knowingly and willfully permitted United States citizens and residents
           10
                 of this District as well as United States based companies to freely trade on the BitMEX exchange
           11
                 because of the lucrative business relationships between Defendants and the aforesaid individuals
           12
                 and companies, which financially benefitted Defendants.
           13
                          97.      Moreover, Defendant’s HDR website BitMEX.com is a commercial website, in
           14
                 English language, enabling traders to enter into binding derivative purchase and sale contracts,
           15
                 through which Defendants conduct substantial business with the residents of the United States,
           16
                 the State of California and this District and which by itself is sufficient for subjecting Defendants
           17
                 to the jurisdiction of this Court pursuant Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F. Supp.
           18
                 1119 (W.D. Pa. 1997). Instead of performing a proper document check before allowing users to
           19
                 open an account on BitMEX.com, Defendants deliberately and knowingly use utterly ineffective
           20
                 IP address check, which they all well know is uniformly subverted by very simple, inexpensive
           21
                 and widely available software tools. Using the aforesaid commercial website operated by
           22
                 Defendants, residents of the United States, the State of California and this District are able to
           23
                 place binding trading orders of virtually unlimited monetary size, enter into binding derivative
           24
                 purchase and sale contracts, and transfer virtually unlimited amount of funds anywhere in the
           25
                 world.
           26
           27
           28
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             1
                        98.        Moreover, Defendants deliberately made their commercial website BitMEX.com
             2
                 accessible from the United States even without using VPN software in violation of BitMEX’s
             3
                 own Terms of Service (“Terms of Service”) in order to entice United States residents to trade on
             4
                 the BitMEX’s platform. Specifically, BitMEX’s Terms of Service provide: “[y]ou are not
             5
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             9
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           11
           12
           13    allowed to access or use the Services or the Trading Platform if you are located, incorporated or
           14    otherwise established in, or a citizen or resident of: (i) the United States of America… ‘Services’
           15    means websites, applications and any services provided by any member of the HDR Group,
           16    including: a) … the BitMEX Testnet Platform.” However, BitMEX.com website specifically
           17    induces United States resident users to try BitMEX Testnet Platform, by clearly stating: “please
           18    try our BitMEX Testnet.” This is not an innocent mistake; it is intentionally done by Defendants
           19    in order to entice United States traders to subsequently trade on the BitMEX Trading Platform in
           20    direct violation of the prohibition contained in its own Terms of Service. In fact, all web pages
           21    on BitMEX.com commercial website, except for a user account page, are freely accessible from
           22    the United States without any VPN. This is purposefully done to entice United States persons to
           23    trade on the BitMEX platform. If Defendants truly wanted to exclude United States traders from
           24    their platform, they would have blocked access to all web pages on the BitMEX.com commercial
           25    website from the United States.
           26           99.        Therefore, any and all provisions contained in the Terms of Service prohibiting
           27    United States users from using the BitMEX’s platform were in fact sham provisions and lacked
           28
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             1
                 any meaningful enforcement by Defendants. In fact, Defendants’ own actions clearly
             2
                 demonstrated complete disregard of the provisions of their own Terms of Service. Moreover,
             3
                 Defendants willfully and deliberately used IP country blocking, which has been proven utterly
             4
                 ineffective for its intended purpose and easily subverted, to leave a back door for the United
             5
                 States residents to trade on the BitMEX platform.
             6
                        100.       Furthermore, Defendants purposefully invoked the benefits and protections of the
             7
                 United States Federal laws when they filed for and obtained from the United States government
             8
                 official Notices of Allowance for seven (7) United States trademark applications all relating to
             9
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           16

           17
           18    BitMEX’s platform that is the subject of this Complaint.
           19           101.       For example, trademark applications serial Nos. 87856272 and 87607952, both for
           20    mark “BITMEX” were filed by Defendants in connection with “[d]ownloadable software for
           21    trading crypto-products and providing crypto-currency information” and “exchanging money,
           22    financial management, futures brokerage, capital investment, electronic funds transfer, providing
           23    financial information via a website, financing services, investment of funds, business liquidation
           24    services, financial services, namely, operation and management of hedge funds, commodity pools
           25    and other collective investment vehicles, and trading for others of cryptocurrency, decentralized
           26    application tokens and protocol tokens, blockchain based assets and other cryptofinance and
           27    digital assets, securities, options, futures, derivatives, debt instruments and commodities,”
           28
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             1
                 respectively, which are BitMEX’s core services. Invoking benefits and protections of the United
             2
                 States Federal laws clearly made it foreseeable for Defendants that they would end up in a United
             3
                 States Court.
             4
                           102.       In the aforesaid trademark filings with the United States Patent and Trademark
             5
                 Office, Defendant HDR swore, under penalty of perjury, that it “has a continued bona fide
             6
                 intention, and is entitled, to use the mark[s] in commerce [in the United States] on or in
             7
                 connection with all of the goods/services listed in the Notice of Allowance or as subsequently
             8
                 modified for this specific class.”
             9
                           103.       In a recent legal filing, Defendant Hayes swore that: “[i]n my capacity as CEO, I
           10
                 am advised by an advisory body currently comprised of twelve individuals responsible for
           11
                 different departments within the HDR Group. A majority of the HDR Group’s advisory
           12
                 committee has always been located in Hong Kong, and nine of the twelve members currently on
           13
                 the committee are located outside of the United States.” Therefore, three out of 12 members of
           14
                 the advisory committee of Defendant HDR are located in the United States.
           15
                           104.       Professional network LinkedIn, as well as other information available on the
           16
                 Internet, provides publicly available evidence of dozens of individuals, who reside in the United
           17
                 States and in this District and who identify themselves as cryptocurrency derivative traders on the
           18
                 BitMEX platform. Forty-three examples of the Unites States resident BitMEX traders, who trade
           19
                 on BitMEX through the aforesaid commercial website BitMEX.com, are provided in the below
           20
                 table:
           21
           22                                    BitMEX Trader Name                             BitMEX Trader Residence
           23    1.                                     Scrembo Paul                                Los Angeles, California
           24                                                                                  Greater San Diego, California,
                 2.                                     Aaron Aloyan
           25                                                                                                     Area
                 3.                              Christopher Smitherman                                  Atlanta, Georgia
           26
                 4.                                     Daniel Spivak                                Greater Chicago Area
           27
                 5.                                    Harrison Davis                           Greater New York City Area
           28
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  ATTORNEYS               COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 38 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1   6.                                      Vesko P.                                Greater Los Angeles Area
             2   7.                               Matthew Wellman                                    Lexington, Kentucky

             3   8.                                     Uriel Scott                                     Chicago, Illinois
                 9.                                  Sahand Akbari                             Sacramento, California Area
             4
                 10.                                  Malik Crypto                                  Orlando, Florida Area
             5
                 11.                                    Saif Amer                                   Greater Chicago Area
             6
                 12.                                  Nelson Riley                                      Aspen, Colorado
             7
                 13.                                  John Roberts                             Greater New York City Area
             8   14.                                Andres Santana                             Greater New York City Area
             9   15.                                 Thomas Chen                                       Evanston, Illinois
           10    16.                                 Alex Sherman                                    San Jose, California

           11    17.                                  Phillip James                              St. Cloud, Minnesota Area
                 18.                                David Siddiqui                                    La Jolla, California
           12
                 19.                                 Zach Brodsky                                        Talent, Oregon
           13
                 20.                         Philip Dustin Du Amarell                            Laguna Beach, California
           14
                 21.                                Jiale (Etta) Qin                                Cupertino, California
           15    22.                                Bokmoon Jung                                           Boise, Idaho
           16    23.                                Lionel Girardin                                 Greater Chicago Area
           17    24.                                  Arijit Santra                                  Berkeley, California

           18    25.                               Sankha Banerjee                             Greater New York City Area

           19    26.                              Connor Van Dorpe                                   Madison, Wisconsin
                 27.                                    Ryan Rim                                  San Francisco Bay Area
           20
                 28.                               Gianny R. Banda                                       Miami, Florida
           21
                 29.                               Michael Peterson                              Syracuse, New York Area
           22
                 30.                                Anthony Agrait                                      Tempe, Arizona
           23    31.                                    Dustin G.                                Burlington, Vermont Area
           24    32.                                Kevin Cotugno                                      Phoenix, Arizona
           25    33.                                  Calvin Leung                                Santa Monica, California

           26    34.                             Anthony Wittemann                                Santa Monica, California
                                                                                              Greater New York City Area,
           27    35.                                Catherine Wood
                                                                                                            New York
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)     - 39 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1   36.                                    Ryan Gill                                          Delaware, Ohio
             2   37.                              Eric J. Waidergorn                             Greater Chicago Area, Illinois
             3   38.                                   Eric Crown                                         Hillsboro, Oregon

             4   39.                       Like Martin (Venturecoinist)                            Knoxville, Tennessee Area

             5   40.                                Edward Ornelas                                 Albuquerque, New Mexico
                 41.                                  Richard Bae                                            United States
             6
                 42                                     Roger Xu                                         Brooklyn, New York
             7
                 43.                                    Wen Hou                                           Irvine, California
             8
             9
                        105.        Professional network LinkedIn as well as other Internet resources further provide
           10
                 evidence of at least fourteen companies, which are incorporated and based in the United States
           11
                 and which trade derivatives using Defendant’s HDR commercial website BitMEX.com:
           12
           13
                        Name of U.S. Company Trading on
                                                                                            Company Address
           14                                BitMEX
           15                                                               156 N Jefferson St., Suite 102, Chicago, IL
                 1.          CMT Capital Markets Trading
           16                                                                                         60661

           17                  Eastmore Group / Eastmore                    40 Wall Street, Suite 1700, New York, NY
                 2.
                                      Management, LLC                                                 10005
           18
                                                                          90 State Street Ste 700, Office 40, Albany, NY
           19    3.     Clerkenwell Asset Management LLC
                                                                                                      12207
           20
                                                                           150 Post Street, Suite 442, San Francisco, CA
                 4.                      Galois Capital
           21                                                                                         94108
           22    5.                  Adaptive Fund I, LP                         16192 Coastal Hwy, Lewes, DE 19958
           23    6.                   Swing Trade Pros                          1600 S. Indiana Ave, Chicago, IL 60616

           24    7.                          FalconX                            66 Bovet Rd #380, San Mateo, CA 94402
                 8.                   Cumberland DRW                             540 W Madison St Chicago, IL 60661
           25
                                                                                    1395 Brickel Avenue, Suite 913
           26    9.                      Circle Partners
                                                                                              Miami, FL 33131
           27
                 10.          Fund3 Capital LP/Fund3 LLC                   11244 Huntley Place, Culver City, CA 90230
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)     - 40 -      ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                                              82 W Highway 50,
                 11.               South Lake Computers
             2                                                                             Clermont, FL 34711

             3                                                                       3 East 28th Street, 7th Floor,
                 12.     ARK Investment Management LLC
                                                                                          New York, NY 10016
             4
                 13.                  Coincident Capital                  310 Lake Street, Huntington Beach, CA 92648
             5
                                                                            250W 50th Street, Apt. 3d2, New York, NY
             6   14.                    Leotank Capital
                                                                                                     10019
             7
                        106.       Adaptive Fund I, LP, which is a Delaware limited partnership, funded primarily by
             8
                 investors who are United States residents, as the result of market manipulation which took place
             9
                 on BitMEX’s platform on or about March 13, 2020, lost 60% of its equity, or roughly
           10
                 $12,000,000. These catastrophic monetary losses were suffered by numerous Unites States
           11
                 residents who invested in that fund. In communications to investors following the losses, fund
           12
                 manager Murad Mahmudov admitted to personally executing trades on BitMEX’s platform with
           13
                 United States investors’ money. Due to the high profile of the fund and fund managers involved,
           14
                 Defendants clearly knew of the United States origin of the money that the Adaptive Fund I, LP
           15
                 was trading on BitMEX platform and Defendants deliberately and willfully allowed such trading
           16
                 to proceed.
           17
                        107.       Internet video portal YouTube is replete with video evidence of traders residing in
           18
                 the United States and in this District freely placing high dollar bets through Defendant’s HDR
           19
                 commercial website BitMEX.com. The following table identifies just 40 examples of such video
           20
                 evidence:
           21
                       BitMEX Trader’s
           22                                             Trader       Video
                       YouTube Account                                                                 Video Title
           23                                           Residence      Date
                             User Name
           24
                                                          Florida,                  How Wales Manipulate Bitcoin Using
           25    1.       Jacob Canfield                   United    02/25/2020      Spoofing on Bitmex (Live $400,000
           26                                              States                                      Short Trade)
           27    2.      Edward Ornelas                    United    08/21/2018            Bitmex Leveraging Tutorial

           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)     - 41 -     ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                             States                            Introduction for Beginner
             2                                                                          Bitmex, Deribit, & Bybit Bitcoin
                                                           United
             3   3.       Crypto Gnome                               06/03/2019     Leverage Trading - Afternoon Trading
                                                           States
                                                                                                          Session
             4
                         Bitcoin Trading                   United                   Copy-Trading with Bitmex Trollbox +
             5   4.                                                  05/24/2019
                             Challenge                     States                             New Trading Challenge
             6
                                                                                        WATCH ME TURN $350 INTO
             7                                             United
                 5.       Crypto Corny                               01/14/2019        $35,000! 0.1 to 10 Bitcoin Trading
                                                           States
             8                                                                                          Challenge
             9                                             United                   Bitmex Leverage Trading Tutorial For
                 6.       Scrembo Paul                               08/27/2018
           10                                              States                                  Beginners Bitcoin

           11                                                                       Weekly Trading Bot Update - Binance
                                                           United
                 7.       Crypto Gnome                               04/03/2020       Futures, Bybit, & Bitmex Bitcoin &
           12                                              States
                                                                                                           Crypto
           13
                                                           United                      How to Automate Your Trades on
           14    8.       Crypto Gnome                               05/14/2019
                                                           States                                  Bitmex & Deribit
           15                                              United                      Goat Alerts - TradingView Bot &
                 9.       Crypto Gnome                               09/25/2019
           16                                              States                    Shadow Trading for Bybit & Bitmex

           17                                              United
                 10.      Crypto Gnome                               08/12/2018     How to Set a STOP LOSS on BitMEX
                                                           States
           18
                                                           United                  How to use a Trailing Stop on BitMEX
           19    11.      Crypto Gnome                               11/29/2018
                                                           States                                - MORE PROFITS!
           20
                                                           United
           21    12.      Crypto Gnome                               07/25/2018         How to Short Bitcoin on Bitmex
                                                           States
           22                                              United                  How to Save on Fees When Trading on
                 13.      Crypto Gnome                               08/11/2018
           23                                              States                                         BitMEX

           24                                              United                        How to SHORT/LONG Bitcoin
                 14.      Crypto Gnome                               07/25/2018
                                                           States                         Futures on BITMEX Tutorial
           25
                                                           United                    Free Profit Tracking Spreadsheet for
           26    15.      Crypto Gnome                               07/30/2018
                                                           States                                 Trading on Bitmex
           27
                 16.      Crypto Gnome                     United    01/04/2019       Bitmex & Deribit Pivot Point Robot
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)     - 42 -     ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                             States                                         Trading
             2                                                                      Get rich trading crypto? Secret tips on
                                                           United
             3   17.      Richard Heart                              08/14/2018        Bitcoin & Ethereum 100x margin
                                                           States
                                                                                             trading on Bitmex, futures
             4
                                                           United
             5   18.          Lazy MF                                07/02/2018                  Bitmex LiveTrading
                                                           States
             6
                                                           United
             7   19.          Lazy MF                                03/12/2019          Bitmex Live trading BitcoinMF
                                                           States
             8                                                                             Trading BitMEX Bitcoin On
                                                           United
             9   20.    Slingshot Futures                            02/05/2018                       NinjaTrader;
                                                           States
           10                                                                               www.SlingshotFutures.com
                                                           United                  BITMEX trading during Crash-Buying
           11    21.       CryptoSailor                              01/22/2018
                                                           States                               the Dip with Leverage
           12
                                                           United                    BEST TIME TO SHORT BITCOIN!
           13    22.       CryptoSailor                              03/07/2018
                                                           States                                        BITMEX
           14            Bitcoin Trading                   United
                 23.                                                 01/08/2019           Scalping Bitmex Liquidations
           15                Challenge                     States
           16                                                                      BitMEX Tutorial For Beginners - How
                                                           United
           17    24.   Digital Millionaire                           10/31/2019     To LONG AND SHORT Bitcoin With
                                                           States
                                                                                                      LEVERAGE!
           18
                                                                                      Beginner Method: $100-$1000/Day
           19                                              United
                 25.     Patrick Corsino                             01/13/2020     Passive Cryptocurrency Trading 2020!
           20                                              States
                                                                                         Bitcoin Bitmex, Binance, Bybit
           21                                                                           WATCH ME TURN $350 INTO
                                                           United
           22    26.      Crypto Corny                               01/14/2019        $35,000! 0.1 to 10 Bitcoin Trading
                                                           States
           23                                                                                           Challenge
                                                                                    70% DOWN, 9930% TO GO... 0.1 To
           24                                              United
                 27.      Crypto Corny                               01/31/2019               10 BITCOIN TRADING
           25                                              States
                                                                                              CHALLENGE – Bitmex
           26
                                                           United                    My Algorithmic Trading BOT trades
           27    28.      MiningTrades                               01/23/2018
                                                           States                   $XBT Bitcoin Futures LIVE! | BitMex
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)     - 43 -     ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                                                         Jan 23rd 2018
             2                                             United                      How to Long and Short Bitcoin and
                 29.      Crypto Minds                                09/07/2018
             3                                             States                                  Altcoins on Bitmex
                                                        California,                    How to get a Bitmex account in the
             4            Jaydn's Crypto
                 30.                                       United     05/06/2018           U.S. + Bitmex Cryptocurrency
             5                Channel
                                                           States                                      Walkthrough
             6
                                                        Michigan,
             7                                                                        Live BitMEX trading!!! 1 to 100 btc
                 31.       Crypt0W1SE                      United     12/30/2018
                                                                                                         challenge!
             8                                             States
             9                                                                                $100,000 1 DAY PROFIT
                       ORACLE CRYPTO                       United
           10    32.                                                  02/08/2020     LEVERAGE TRADING BITSEVEN
                           AVENGER!                        States
                                                                                                    BYBIT BITMEX
           11
                       ORACLE CRYPTO                       United                   BITMEX WATCH A SHORT TRADE
           12    33.                                                  10/15/2018
                           AVENGER!                        States                       THE ENDED OVER 103% WIN!
           13
                                                                                      50X BITMEX LIKE A BOSS OVER
                       ORACLE CRYPTO                       United
           14    34.                                                  01/23/2018       98% ROI -WHY YOU CAN'T DO
                           AVENGER!                        States
           15                                                                                               THIS.
           16                                                                         BCH MARKET MANIPULATION -
                       ORACLE CRYPTO                       United
           17    35.                                                  11/07/2018           MANIPULATE BITMEX TO
                           AVENGER!                        States
                                                                                                          PROFIT!
           18
                                                       Gainesville,
           19
                 36. Alexander Lorenzo                  FL, United    01/26/2019           Scavenger Bot Bitmex SCAM
           20                                              States
           21                                             1600 S.
           22                                             Indiana
                                                                                      Live Bitcoin Trading on Bitmex with
           23    37.    Swing Trade Pros                    Ave.      03/09/2020
                                                                                            Swing Trade Pros Indicators!
                                                       Chicago, IL
           24
                                                           60616
           25
                                                       Burlington,
           26                                                                        How to use a TRAILING STOPLOSS
                 38.      Sell The Spike                 Vermont      07/03/2019
                                                                                                         on Bitmex
           27                                               Area
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)      - 44 -     ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                         Burlington,                       Bitmex Tutorial - Placing Orders,
             2   39.      Sell The Spike                 Vermont       06/09/2018          Setting Stoplosses and Targets,

             3                                              Area                        Leverage and Margin, Walkthrough
                             Bitcoin for                   United                      How To Use BitMEX Exchange For
             4   40.                                                   12/22/2018
                             Beginners                     States                           Beginners! (BitMEX Tutorial)
             5
             6
             7          108.       “Several sources close to the company” have disclosed to media sources that

             8   nearly 15 percent of the BitMEX’s 2019 trading volume—or about $138 billion worth—is

             9   attributable to traders located in the United States. This number is consistent with the evidence

           10    available on YouTube and LinkedIn.

           11           109.       YouTube is also replete with dozens of videos teaching how to access Defendant’s

           12    HDR commercial website BitMEX.com from the United States using inexpensive and widely

           13    available VPN software to avoid Internet protocol (IP) address blocking. Below are 11 examples

           14    of such videos:

           15
                        BitMEX Trader’s                    Trader        Video
           16                                                                                             Video Title
                       YouTube User Name Residence                        Date
           17                                               United                       How to Sign Up for BitMEX in the
                 1.        Crypto Gnome                                08/09/2018
           18                                                States                                             US
           19                                               Atlanta
                                                                                           How to use Bitmex in the United
           20    2.         Bot Mentality                   United     03/22/2018
                                                                                                              States
                                                             States
           21
                                                          California                     How to get a Bitmex account in the
           22              Jaydn's Crypto
                 3.                                         United     05/06/2018           U.S. + Bitmex Cryptocurrency
           23                   Channel
                                                             States                                      Walkthrough
           24                                               United
                 4.        CryptoJunkies                               08/15/2019        How To Trade Bitmex In America!
           25                                                States
           26                                               United                     How to Trade on Bitmex for USA and
                 5.          Crypto Guru                               03/16/2019
           27                                                States                    Canada Residents | Bitcoin Generator
                 6.      Crypto Kam Kam                     United     01/08/2020      How to trade on BITMEX in the USA
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)       - 45 -     ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                               States                          100X LEVERAGE ‼ Bitcoin BTC
             2                                                                               ETH LTC EOS XRP TRX BCH &

             3                                                                                                     ADA
                                                                                            Crypto VPN - Do I Need A VPN For
             4                                              United
                 7.      Crypto Renegade                                  06/24/2019         Crypto Transactions? | Best Crypto
             5                                               States
                                                                                                 VPN's For Bitcoin Exchanges
             6
                                                            United                            BitMex Bitcoin Trading - How to
                 8.       RChrisFord.com                                  10/31/2017
             7                                               States                                     setup a U.S. account
             8                                              United
                 9.        Casey Watkins                                  08/23/2018         Bitmex - Signing up from the USA
             9                                               States

           10                                                                                       ***MEX Millionaire***
                                                            United
                 10.   Krown's Crypto Cave                                05/07/2018         EVERYTHING You Must Know!-
           11                                                States
                                                                                                    ***BITMEX Tutorial***
           12
                                                            United                              Como Usar Bitmex desde USA
           13    11.   CRYPTOCASH 305                                     02/01/2019
                                                             States                               (Bitmex Tutorial). [Spanish]
           14
           15
                        110.       Defendant HDR assigns a six-symbol alphanumeric affiliate codes to all BitMEX
           16
                 account holders and uses these affiliate codes to pay compensation to its users for enticing other
           17
                 users, including United States residents, to open accounts on BitMEX.com commercial website
           18
                 by posting a URL pointing to the BitMEX registration page and incorporating the aforesaid
           19
                 assigned affiliate code. The so assigned affiliate code uniquely identifies the corresponding
           20
                 account holder and its BitMEX account. Thus, presence of the affiliate code indicates that a
           21
                 person who invites others to register with Defendant’s HDR commercial website by way of an
           22
                 affiliate link himself has a BitMEX account. Table below provides 22 examples of BitMEX
           23
                 affiliate codes being assigned to the United States residents for receiving compensation for
           24
                 enticing other United States residents to join the BitMEX platform:
           25
                         BitMEX Trader’s                             Trader              BitMEX Assigned Affiliate Code
           26
                            Name or Alias                        Residence             (identifies trader’s BitMEX account)
           27
                 1.            Tone Vays                       United States                               cMvHXg
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)            - 46 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1   2.                Flood                       United States                                ir2Xqa
             2   3.          Crypto Corny                      United States                                0rsCIx

             3                                                   Hillsboro,
                                                             Oregon, United
             4   4.    Krown's Crypto Cave                                                                  ou4vcl
                                                              States, United
             5
                                                                     States
             6
                 5.    Crypto Hippo Trading                    United States                               gZ0Y10
             7                                                Albuquerque,
             8   6.        Edward Ornelas                      New Mexico,                                 kpdzGl
             9                                                 United States

           10    7.           CryptoSailor                     United States                               AOIyp0
                 8.          MiningTrades                      United States                                i110zC
           11
                 9.          Crypto Minds                      United States                                OIv1fe
           12
                 10.         Moonin Papa                       United States                               GG2kor
           13
                                                            Washington DC-
           14    11.        Josh Olszewicz                   Baltimore Area,                                s7sqNI
           15                                                  United States
           16    12.      Digital Millionaire                  United States                               P2DBFt

           17                                               New York, New
                 13.        Patrick Corsino                    York, United                                TD6yks
           18
                                                                     States
           19
                                                                 Michigan
           20    14.         Crypt0W1SE                                                     rLMJ0, DYBmFQ, rLMJ0L
                                                               United States
           21    15.        Casey Watkins                      United States                                lf9P89
           22           ORACLE CRYPTO
                 16.                                           United States                              WXNej9
           23                 AVENGER!

           24                                               New York, New
                 17.      Swing Trade Pros                     York, United                                G4cfM4
           25
                                                                     States
           26
                 18. Bitcoin for Beginners                     United States                                5i7rOb
           27
                 19.        Crypto Gnome                       United States                              EOsLBm
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)            - 47 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                  Burlington,
                 20.         Sell The Spike                                                                KO33NC
             2                                                Vermont Area

             3                                                 Los Angeles,
                 21.         Scrembo Paul                                                                   BlQzsA
                                                                 California
             4
                              Like Martin                        Knoxville,
             5   22.                                                                                         9e4hqj
                           (Venturecoinist)                  Tennessee Area
             6
             7
                        111.       Professional network LinkedIn provides publicly available evidence of 74
             8
                 individuals, who are United States residents and who identify themselves as present and former
             9
                 employees of Defendant HDR, located in the United States and in this District:
           10
           11
                       LinkedIn Member Name                               Position at BitMEX                             Residence
           12    1.              Max Shapiro                         Associate at BitMEX Ventures               New York, New York
           13    2.          Kumar Dandapani                           Head of BitMEX Ventures                 San Francisco Bay Area
           14                                                         Senior Software Engineer at
                 3.          Alena Gilevskaya                                                                 San Francisco, California
           15                                                                   BitMEX

           16                                                         Senior Frontend Engineer at
                 4.             Alex Manusu                                                                   San Francisco, California
                                                                                BitMEX
           17
                                                                        Former Head of Venture
           18    5.           Maxim Wheatley                                                                  San Francisco, California
                                                                        Development at BitMEX
           19                                                         Former CMO Operations at                 Greater New York City
                 6.                Lisa Loud
           20                                                                   BitMEX                                       Area
           21                                                         Senior Software Engineer at
                 7.            Lucky Odisetti                                                                  Menlo Park, California
           22                                                                   BitMEX
                 8.          Niroj Shankhadev                          Web Developer at BitMEX                San Francisco, California
           23
                                                                        Co-Founder and CTO at
           24    9.              Samuel Reed                                                                            United States
                                                                                BitMEX
           25
                 10.            Eric Zinnikas                        Security Engineer at BitMEX              San Francisco, California
           26                                                        Talent Acquisition Specialist at         San Francisco Bay Area,
                 11.            Molly Lubow
           27                                                                   BitMEX                                   California
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)            - 48 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                        Senior Software Engineer at
                 12.            Evan Ricketts                                                                    Milwaukee, Wisconsin
             2                                                                   BitMEX

             3                                                       Security Engineering Manager,
                 13.          Michael Carlson                                                                  San Francisco, California
                                                                     Application Security at BitMEX
             4
                                                                      Technical Program Manager
             5   14.         Monzer Aldimassi                                                                     Campbell, California
                                                                           (TPM) at BitMEX
             6
                                                                     Vice President Of Engineering             San Francisco Bay Area,
             7   15.           Patrick Fiscina
                                                                               at BitMEX                                  California
             8                                                                                                 San Francisco Bay Area,
                 16.          Allison Sommers                         Security Engineer at BitMEX
             9                                                                                                            California

           10    17.        Conner McNicholas                         Data Engineering at BitMEX               San Francisco, California
                                                                        Engineering Manager at
           11    18.        Brandon Schlenker                                                                  San Francisco, California
                                                                                 BitMEX
           12
                 19.         Riley Hutchinson                          Director, People at BitMEX              San Francisco, California
           13
                                                                      Senior IT Support Engineer at
           14    20.            Benson Wong                                                                      San Carlos, California
                                                                                 BitMEX
           15    21.                Peter M.                          Security Engineer at BitMEX              San Francisco, California
           16                                                          Site Reliability Engineer at
                 22.             Jerry Aldrich                                                                     Seattle, Washington
           17                                                                    BitMEX
                 23.            Emilio Rivera                        Technical Recruiter at BitMEX             San Francisco, California
           18
                                                                       Senior Product Manager at
           19    24.         Tom Dimopoulos                                                                    San Francisco, California
                                                                                 BitMEX
           20
                                                                     Head of Security Assurance at
           21    25.            Mahmoud Ali                                                                    San Francisco, California
                                                                                 BitMEX
           22                                                         Head of DevOps at BitMEX
           23                                                         (Powering the world’s largest

           24                                                        cryptocurrency trading platform
                 26.           Quentin Machu                         with Kubernetes, at the edge of           San Francisco, California
           25
                                                                       financial and infrastructure
           26
                                                                     technologies. Scaling BitMEX’s
           27
                                                                        infrastructure, culture and
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)            - 49 -     ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                       practices from 10 employees to
             2                                                         150 employees, from $1B to

             3                                                         $11B traded daily, and 150x
                                                                              more trades.)
             4
                                                                      Security Engineering Manager
             5   27.            Maus Stearns                                                                  San Francisco, California
                                                                               at BitMEX
             6
                                                                      Security Engineer - Detection
                 28.       Andrew MacPherson                                                                  San Francisco, California
             7                                                          and Response at BitMEX
             8                                                       Director of Offensive Security at         Washington, DC Metro
                 29.              Chris Gates
             9                                                                   BitMEX                                      Area

           10                                                        Software Engineer - Kubernetes
                                                                         at BitMEX (Working on
           11
                                                                           building Kubernetes
           12
                                                                      Infrastructure that can handle
           13    30.        Supriya Premkumar                                                                 San Francisco, California
                                                                     tens of thousands of low latency
           14                                                        transactions per second at one of
           15                                                           the world's largest crypto

           16                                                                  exchanges.)
                 31.             David Vidal                          Security Engineer at BitMEX             San Francisco, California
           17
                                                                       Site Reliability Engineering
           18    32.                Scott H.                                                                  San Francisco, California
                                                                             Lead at BitMEX
           19
                                                                          Vice President, Chief
           20                                                        Information Security Officer at
           21                                                         BitMEX (Leading the Security
           22                                                           & IT organizations at the

           23                                                            world’s highest volume
                 33.            Chris McCann                                                                     Palo Alto, California
                                                                             Cryptocurrency
           24
                                                                       exchange. Building a world
           25
                                                                      class Security team to protect
           26                                                           our customers, assets and
           27                                                                    brand.)
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)            - 50 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                          Staff Security Engineer at
                 34.     Javier Marcos de Prado                                                               San Francisco, California
             2                                                                  BitMEX

             3                                                          Senior Manager Security
                 35.            Shivali Singh                                                                 San Francisco, California
                                                                         Assurance at BitMEX
             4
                 36.     Felipe Loyola Andrade                        Software Engineer at BitMEX             San Francisco, California
             5
                                                                       Senior Software Engineer at
             6
                 37.              Felix Böhm                           BitMEX (Tech lead for the              San Francisco, California
             7                                                        institutional side of BitMEX)
             8                                                       Engineering Leader, Lead Data
                 38.               Neel Patel                                                                  Burlingame, California
             9                                                            Engineer at BitMEX

           10                                                          Senior Software Engineer at
                 39.        Taylor Hesselgrave                                                                San Francisco, California
                                                                                BitMEX
           11
                                                                      Product Manager at Bitmex at
           12    40.             Alisa Isovic                                                                 San Francisco, California
                                                                                BitMEX
           13
                                                                       Site Reliability Engineer at
           14                                                         BitMEX (Primary on call in a
                 41.           Armando Cerna                                                                  San Francisco, California
           15                                                            high traffic production
           16                                                                environment.)

           17    42.          Miguel Bernadin                        Kubernetes Engineer at BitMEX            San Francisco, California
                                                                     Senior Software Engineer - API
           18    43.                Elliot S.                                                                 San Francisco, California
                                                                       Technical Lead at BitMEX
           19
                                                                     Security Investigations Manager
           20    44.              Bernard S.                                                                            United States
                                                                               at BitMEX
           21                                                          HR Operations Specialist at
                 45.             Josie Pappas                                                                 San Francisco, California
           22                                                                   BitMEX
           23    46.             Jinny Wong                           Product Designer at BitMEX              San Francisco, California

           24                                                           Information Technology
                 47.                Claire F.                                                                 San Francisco, California
                                                                        Management at BitMEX
           25
                                                                       Senior Software Engineer at
           26    48.              Can Selcik                                                                  San Francisco, California
                                                                                BitMEX
           27
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)            - 51 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                         Threat Intelligence, Insider
             2   49.           Eoghan McKee                            Threat, Incident Response at           San Francisco, California

             3                                                                   BitMEX
                                                                       Head of User Experience at
             4   50.            Lawson Kight                                                                  San Francisco, California
                                                                                 BitMEX
             5
                 51.             Shawhin M.                            Project Manager at BitMEX              San Francisco, California
             6
                                                                      Platform Security Engineer at
             7   52.                 Ladi D.                                                                  San Francisco, California
                                                                                 BitMEX
             8                                                           Quality Assurance (QA)
                 53.               Neil Eads                                                                  San Francisco, California
             9                                                             Manager at BitMEX

           10                                                        Vice President, Head of Product
                 54.            Michael Curry                                                                 Oakland, California
                                                                               at BitMEX
           11
                                                                     Principal Visual Designer, User
           12    55.           Joshua Philippe                                                                San Francisco, California
                                                                          Experience at BitMEX
           13
                                                                       IT Infrastructure Engineer at
                 56.                 Tim L.                                                                   San Francisco, California
           14                                                                    BitMEX
           15                                                         Communication Director and
                 57.             Hunter Shaw                                                                  San Francisco, California
           16                                                                    BitMEX

           17                                                            Senior Security Program
                 58.            Brian Rankin                                                                  San Francisco, California
                                                                           Manager at BitMEX
           18
                                                                        Senior Product Manager at
           19    59.            Bradley Cruce                                                                 San Francisco, California
                                                                                 BitMEX
           20
                                                                       Senior Software Engineer at
                 60.        Simone Bottecchia                                                                 San Francisco, California
           21                                                                    BitMEX
           22    61.               Julia Zhu                         Former Head of Data at BitMEX San Francisco, California
           23    62.               Yifan Gu                          Kubernetes Engineer at BitMEX San Francisco, California

           24                                                         Product Manager at BitMEX
                                                                      (My average week at BitMEX
           25
                 63.            Uday Shankar                            involves product research,            San Francisco, California
           26
                                                                      market research, data analysis,
           27
                                                                     scouring through support tickets,
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)            - 52 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                        watching social channels for
             2                                                        opportunities in terms of new

             3                                                        features and improvements to
                                                                      existing features collaborating
             4
                                                                     with Engineering, Program, QA,
             5
                                                                     Security, Legal and Compliance
             6
                                                                      teams. I manage expectations
             7                                                       across Design, Engineering and
             8                                                       Management orgs and ensuring

             9                                                       the product ideas and solutions
                                                                     are communicated, wireframed
           10
                                                                     and pitched in the right fidelity
           11
                                                                     to get all stakeholders onboard
           12
                                                                      and scope our short term and
           13                                                         long term roadmaps for each
           14                                                                   projects.)
           15                                                        Principal / Lead senior software

           16                                                        engineer at BitMEX focused on
                 64.          Victor Levasseur                                                                 San Francisco, California
                                                                      a product driven approach and
           17
                                                                           with great business
           18
                                                                         Former Executive Vice
           19                                                           President of Product and
           20                                                        Engineering ( Built and led the
           21                                                          North American arm of an

           22                                                            overseas cryptocurrency
                 65.          Jason Bond Pratt                        derivatives exchange, hiring a           San Francisco, California
           23
                                                                      team of 40 during a period of
           24
                                                                     100x growth. (BitMEX was then
           25
                                                                      and remains the largest crypto
           26                                                          exchange, by volume, in the
           27                                                                    world.)
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)            - 53 -     ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                       • Grew product and engineering
             2                                                         team from 1 to 40 across 5

             3                                                       operational groups, and hired or
                                                                      developed hiring managers for
             4
                                                                              each of them.
             5
                                                                       • Established a culture that
             6
                                                                        valued diversity, respect,
             7                                                         inclusion and appreciation,
             8                                                           emphasizing team-first

             9                                                       principles and a humble, servant
                                                                     leadership ethic throughout our
           10
                                                                              organization.
           11
                                                                       • Hired or developed global
           12
                                                                       leads for Security, DevOps,
           13                                                        Recruiting, IT, UX, Mobile, and
           14                                                        API/Web Engineering, and led
           15                                                         the first D&I initiatives at the

           16                                                         company. Secured long term
                                                                        Class A space in the FiDi.
           17
                                                                     • Served on the global exec team
           18
                                                                      and coordinated regularly with
           19                                                          peers and founders in Hong
           20                                                           Kong, London, and NYC.
           21                                                        Managed a budget of $15mm.)

           22                                                        Former Project Office Manager
                                                                         – Global Marketing and
           23    66.    Ska Ska Morales-Murray                                                                   New York, New York
                                                                        Business Development at
           24
                                                                                 BitMEX
           25
                                                                       Head of Security at BitMEX
           26    67.              Tim Tickel                            (Securing cryptocurrency                 San Mateo, California
           27                                                            exchange infrastructure)
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)            - 54 -     ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                          Data Science Manager at
                 68.         Chenqi 'Ashley' X.                                                                San Francisco, California
             2                                                                   BitMEX

             3                                                           Former Senior Software
                 69.              Kev Zettler                                                                      Oakland, California
                                                                           Engineer at BitMEX
             4
                                                                     Former Art Director at BitMEX
             5
                                                                     (Led a cross-functional rebrand
             6
                                                                     project with Marketing, Product,
             7                                                       and Brand collaborators to build
             8                                                            the BitMEX brand for
             9   70.               Cynthia P.                             institutional and retail               New York, New York

           10                                                        audiences. Deliverables included
                                                                       brand and style guidelines,
           11
                                                                      visual assets, content strategy,
           12
                                                                        digital and print editorial
           13                                                                  campaigns.)
           14    71.             Natalie Case                          Technical Writer at BitMEX              Walnut Creek, California
           15                                                          Former Content Manager at
                 72.              Deb Baratz                                                                     New York, New York
           16                                                                    BitMEX
                                                                     Former Operations Supervisor at
           17    73.             Robbin Kyle                                                                    Livingston, New Jersey
                                                                                 BitMEX
           18
                                                                     Former Senior DevOps Engineer
           19
                                                                       at BitMEX (Migrated legacy
           20                                                            services to Kubernetes,
           21                                                        Established effective CI patterns
           22                                                          and provisioning strategies,
                 74.                Jacob H.                                                                      Indianapolis, Indiana
           23                                                         Worked with security team to
                                                                        integrate auth/sso into dev
           24
                                                                     workflows, Created tooling for
           25
                                                                       use by DevOps and Product
           26                                                                     Teams)
           27
                        112.       Based on the publicly available LinkedIn data, while 74 of Defendant HDR
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)             - 55 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 employees are located in the United States, only 34 are located in Hong Kong, which is the home
             2
                 for second largest Defendant HDR office. Therefore, more than two thirds of Defendant HDR
             3
                 employees worldwide are residing in the United States and in this District. Moreover, the vast
             4
                 majority of the 74 United States employees of Defendant HDR are engaged in software
             5
                 development and engineering, while in Hong Kong, there are only six software developers and
             6
                 engineers employed by Defendant HDR. Moreover, all three Site Reliability Engineers Jerry
             7
                 Aldrich, Scott H. and Armando Cerna, personally responsible for the fraudulent system overloads
             8
                 and server freezes, are located in this District. Therefore, the United States and, specifically, this
             9
                 District is unquestionably the central location where all the technology behind the BitMEX
           10
                 platform has been and continues to be developed, from which the BitMEX platform is operated
           11
                 and managed by Defendants and where the illegal acts alleged in this Complaint took place.
           12
                        113.       In addition, BitMEX website lists 17 job openings for Defendant HDR San
           13
                 Francisco office. For comparison, the other two offices of Defendant HDR – Hong Kong and
           14
                 Singapore list 14 and two job openings, respectively. Furthermore, out of 17 advertised job
           15
                 openings in Defendant HDR San Francisco office, 15 are openings in engineering and software
           16
                 development. On the other hand, in Hong Kong office, only four job openings are in software
           17
                 development and engineering. This fact further supports the conclusion that the United States
           18
                 and, specifically, this District is unquestionably the central location where all the technology
           19
                 behind the BitMEX platform has been and continues to be developed, from which the BitMEX
           20
                 platform is operated and managed and where the illegal acts alleged in this Complaint took place.
           21
                        114.       BitMEX conducts offsites for the entire company hosted at its San Francisco office
           22
                 location, at least one of which occurred in November of 2017, in which Defendant Hayes and the
           23
                 rest of BitMEX’s employees globally came to San Francisco and the San Francisco office.
           24
                        115.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 111,
           25
                 almost the entire engineering team (all but six) as well as all three Site Reliability Engineers Jerry
           26
                 Aldrich, Scott H. and Armando Cerna, as alleged in Paragraph 112, and almost all vital external
           27
                 service providers to BitMEX, as alleged in Paragraph 94, are located in this District, and because
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 56 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Defendant ABS, which develops, operates, enables, supports and services BitMEX platform is
             2
                 located in this District, this District is the home base of the largest operation of Defendant DHR,
             3
                 the nerve center of the operation of the BitMEX platform, and it is the location where the illegal
             4
                 acts alleged in this complaint took place, including, without limitation, racketeering in violation
             5
                 of 18 U.S.C. §§ 1962(d) and (c), wire fraud in violation of 18 U.S.C. § 1343; money laundering in
             6
                 violation of 18 U.S.C. § 1956(a); engaging in monetary transactions in property derived from
             7
                 specified unlawful activity in violation of 18 U.S.C. § 1957(a); conducting, controlling, managing,
             8
                 supervising, directing, or owning all or part of an unlicensed money transmitting business in
             9
                 violation of 18 U.S.C. § 1960(a), interstate transportation of stolen property in violation of 18
           10
                 U.S.C. § 2314 and cryptocurrency market manipulation in violation of the CEA, 7 U.S.C. §§ 1 et
           11
                 seq. (2018) and CFTC Regulations promulgated thereunder, 17 C.F.R. §§ 1 et seq. (2019).
           12
                 Moreover, the alleged illegal acts were all performed on servers and other IT infrastructure owned
           13
                 and operated by United States based Amazon EKS. Furthermore, the illegal acts alleged herein
           14
                 were all perpetrated by Defendants through their commercial website BitMEX.com, accessible,
           15
                 via widely available and inexpensive VPN software, by users located in the United States and this
           16
                 District. Defendants knew that users located in the United States and this District were accessing
           17
                 their commercial website BitMEX.com.
           18
                         116.      Numerous citizens and residents of the United States and this District conducted
           19
                 and continue to conduct a high-volume derivatives trading on the BitMEX platform using
           20
                 Defendants’ commercial website BitMEX.com.
           21
                         117.      The same commercial website BitMEX.com was used by Defendants to perpetrate
           22
                 all the illegal acts alleged in Paragraph 115, resulting in injuries to Plaintiff, for which Plaintiff
           23
                 seeks redress in this Complaint. Accordingly, Defendants’ connections with the United States
           24
                 and this District through the commercial website BitMEX.com, used by the United States
           25
                 residents and residents of this District, are directly related to the causes of action asserted by
           26
                 Plaintiff in this Complaint.
           27
                         118.      For the reasons stated in the previous Paragraphs of this Complaint, BitMEX is a
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 57 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 domestic United States cryptocurrency exchange.
             2
                                               U.S. TRADERS ON BITMEX LEADERBOARD
             3
                        119.       Plaintiff repeats and re-alleges the allegations contained in every preceding
             4
                 paragraph as if fully set forth herein.
             5
                        120.       While Defendants and their counsel are busy disingenuously swearing to Courts
             6
                 that “U.S. persons are expressly prohibited from trading on BitMEX platform,” Defendants’ own
             7
                 public Leaderboard posted on Defendants’ website (https://www.bitmex.com/app/leaderboard)
             8
             9
           10
           11
           12
           13
           14
           15
           16

           17
           18
           19

           20
           21
           22
           23
           24    reveals that just four U.S.-based traders who decided to reveal their real names (evidently in an
           25    effort to assist with fundraising): Roger Xu of Leotank Capital Inc. and Bryce Gilleland, Wen
           26    Hou and Sunil Shah of Coincident Capital (Ex. 8) generated almost $100,000,000 in trading
           27    profits on Defendants’ BitMEX platform. As attached Ex. 8 clearly shows, Bryce Gilleland, Wen
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 58 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Hou and Sunil Shah reside in California, while Roger Xu resides in New York.
             2
                        121.       Moreover, the above staggering amount of business was conducted by Defendants
             3
                 in the United States and the State of California without obtaining a money transmission license
             4
                 and without complying with the mandatory FinCEN regulations in violation of 18 U.S.C.
             5
                 § 1960(a). Notably, all the above evidence was obtained from Defendants’ own public website
             6
                 without any benefit of discovery. Plaintiff is informed and believes that this is a mere tip of the
             7
                 iceberg and that up to third of all traders on the BitMEX Leaderboard generating half a billion
             8
                 dollars of profits are U.S. persons.
             9
                                        ATTEMPTS TO MISLEAD COURTS REGARDING
           10                                            MATERIAL FACTS
                                  “U.S. persons are expressly prohibited from accessing and trading on
           11
                                       the BitMEX platform.” Mr. Hibbard, Defendants’ counsel.
           12           122.       It is simply inconceivable that Defendants and their litigation counsel somehow
           13    did not know that some of their top traders who generated almost $100,000,000 in profits on
           14    Defendants’ own platform were U.S. persons, Ex. 8. Obviously, such high-profile traders are
           15    universally known by name. Yet, with full knowledge that some of BitMEX’s top trading
           16    accounts which generated almost $100,000,000 in trading gains were in fact operated by U.S.
           17    persons, Defendant Hayes, with the assistance and encouragement of Defendants’ counsel,
           18    nevertheless disingenuously swore under the penalty of perjury in a California Superior Court
           19    proceeding, in a motion challenging Court’s jurisdiction that “U.S. persons are expressly
           20    prohibited from accessing or trading on the BitMEX platform.” Defendants’ counsel, not to be
           21    outdone, repeated this travesty thirteen (!) more times throughout his various motions and
           22    oppositions. Various representations of material facts made by Defendant Hayes and his counsel
           23    Stephen D. Hibbard to various Courts as well as the true facts are summarized in the table below:
           24
                  Court Name,
                                                    Defendant Hayes’     Defendants counsel’s               The True Facts and
           25       Case and            Date
                                                     Representations       Representations                       Exhibits
                   Document
           26    N.D. Cal. 3:20-      6/12/20                          “No further time and             “Contrary to requirements
                 cv-3345-WHO,                                          attention of this Court is       imposed on DCMs and
           27    Defendants’                                           warranted as there is no         SEFs, BitMEX has failed
                 Opposition to                                         need for a court to order        to maintain required
           28    Ex Parte                                              someone to do what they          records, and in fact has
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)     - 59 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1   Application for                                           are already doing.”              actively deleted required
                 Evidence                                                                                   records including critical
             2   Preservation                                              “Our clients understand          customer identification
                 Order [Dkt.                                               their document                   information.” Ex. 5, p.
             3   No. 26, p. 3, 5].                                         preservation                     16, ¶ 49.
                                                                           responsibilities and have
             4                                                             acted responsibly to             Defendants also falsified
                                                                           fulfill them. As such,           records: “Delo altered a
             5                                                             there is no dispute, and         U.S. resident’s (and
                                                                           there is no need for a           prominent BitMEX user)
             6                                                             document preservation            account location to
                                                                           order.”                          Canada for a user that
             7                                                                                              brought in 1,336 user
                                                                                                            accounts through
             8                                                                                              BitMEX’s affiliate
                                                                                                            program.” Ex. 5, p. 24, ¶
             9                                                                                              90.
                 San Francisco        2/27/20       “U.S. persons are                                       “BitMEX operated its
           10    County                             expressly                                               trading platform in large
                 Superior Court,                    prohibited from                                         part from the United
           11    CGC19581267,                       accessing or trading                                    States, and engaged in
                 Declaration in                     on the BitMEX                                           transactions with
           12    Support of                         platform under the                                      thousands of U.S. persons.
                 Motion to                          terms of service.”                                      BitMEX accepted bitcoin
           13    Quash                                                                                      deposits worth more than
                 San Francisco        2/27/20                              “HDR is a holding                $11 billion from at least
           14    County                                                    company that                     85,000 user accounts with
                 Superior Court,                                           ultimately owns the              a U.S. nexus.” Ex. 5, p. 3,
           15    CGC19581267,                                              BitMEX-branded trading           ¶ 3.
                 MPA in                                                    platform that allows the
           16    Support of                                                trading of digital assets        “BitMEX even
                 Motion to                                                 (such as cryptocurrency          maintained an internal
           17    Quash                                                     derivatives) by certain          dashboard of open
                                                                           non-U.S. persons.”               accounts from supposedly
           18    San Francisco        2/27/20                              “Further, U.S. persons           restricted jurisdictions…
                 County                                                    are prohibited                   Delo altered a U.S.
           19    Superior Court,                                           from accessing and               resident’s (and prominent
                 CGC19581267,                                              trading on the BitMEX            BitMEX user) account
           20    MPA in                                                    platform.”                       location to Canada for a
                 Support of                                                                                 user that brought in 1,336
           21    Motion to                                                                                  user accounts through
                 Quash                                                                                      BitMEX’s affiliate
           22    San Francisco        2/27/20                              “U.S. persons are                program… Hayes, Delo,
                 County                                                    prohibited from trading          and Reed received or had
           23    Superior Court,                                           on the BitMEX                    access to spreadsheets and
                 CGC19581267,                                              platform.”                       reports that showed the
           24    MPA in                                                                                     trading volume, revenue
                 Support of                                                                                 to BitMEX, and other
           25    Motion to                                                                                  account and transactional
                 Quash                                                                                      information for U.S.
           26    San Francisco        6/16/20       “U.S. persons are                                       based traders. For
                 County                             expressly                                               example, BitMEX country
           27    Superior Court,                    prohibited from                                         revenue reports from
                 CGC19581267,                       accessing or trading                                    October 2018 contain
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)         - 60 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1   Declaration in                     on the BitMEX                                         information about the
                 Support of                         platform under the                                    number of U.S traders on
             2   Motion to                          terms of service.”                                    its platform.” Ex. 5, p.
                 Quash                                                                                    24, ¶ 91.
             3   San Francisco        6/16/20                            “HDR is a holding
                 County                                                  company that                     In addition, some of
             4   Superior Court,                                         ultimately owns the              BitMEX’s most profitable
                 CGC19581267,                                            BitMEX-branded trading           trading accounts openly
             5   MPA in                                                  platform that allows the         listed on BitMEX’s public
                 Support of                                              trading of digital assets        Leaderboard, which
             6   Motion to                                               (such as cryptocurrency          generated almost
                 Quash                                                   derivatives) by certain          $100,000,000 in trading
             7                                                           non-U.S. persons.”               profits, were and continue
                 San Francisco        6/16/20                            “U.S. persons are                to be operated by four
             8   County                                                  expressly prohibited             U.S. persons Bryce
                 Superior Court,                                         from accessing and               Gilleland, Wen Hou,
             9   CGC19581267,                                            trading on                       Sunil Shah and Roger Xu.
                 MPA in                                                  the BitMEX platform.”
           10    Support of                                                                               Bryce Gilleland resides at:
                 Motion to                                                                                1400 Calle De Las Flores,
           11    Quash                                                                                    San Dimas, CA 91773,
                 San Francisco        6/16/20                            “Plaintiff Sorokin allege        Ex. 8.
           12    County                                                  that … U.S. persons
                 Superior Court,                                         trade on the BitMEX              Wen Hou resides at: 2253
           13    CGC19581267,                                            platform despite being           Martin Ct. Apt. 113,
                 MPA in                                                  prohibited from doing so.        Irvine, CA 92612, Ex. 8.
           14    Support of                                              Regardless of the truth of
                 Motion to                                               these allegations—most           Sunil Shah resides at: 310
           15    Quash                                                   of which are false               Lake St., Unit #310,
                                                                         or otherwise                     Huntington Beach, CA
           16                                                            misleading…”                     92648, Ex. 8.
                 San Francisco        6/16/20                            “Further, U.S. persons
           17    County                                                  are prohibited                   Roger Xu resides at:
                 Superior Court,                                         from trading on the              250W 50th Street, Apt.
           18    CGC19581267,                                            BitMEX platform.”                3d2, New York, NY
                 MPA in                                                                                   10019, Ex. 8.
           19    Support of
                 Motion to                                                                                Due to the enormous sizes
           20    Quash                                                                                    of the trading gains
                 San Francisco        6/16/20                            “U.S. persons are                involved and the high
           21    County                                                  prohibited from trading          profile of the traders, it is
                 Superior Court,                                         on the BitMEX                    absolutely inconceivable
           22    CGC19581267,                                            platform.”                       for Defendants and their
                 MPA in                                                                                   counsel not to have
           23    Support of                                                                               known this fact at the time
                 Motion to                                                                                Defendants and their
           24    Quash                                                                                    counsel made the material
                 San Francisco        6/23/20                            “U.S. persons are                representations to the
           25    County                                                  expressly prohibited             courts regarding
                 Superior Court,                                         from accessing and               jurisdictional facts.
           26    CGC19581267,                                            trading on the BitMEX
                 Opposition to                                           platform.”
           27    Motion to
                 Compel
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)       - 61 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1   San Francisco        6/23/20                        “Plaintiff Sorokin allege
                 County                                              that … some U.S.
             2   Superior Court,                                     persons trade on the
                 CGC19581267,                                        BitMEX platform despite
             3   Opposition to                                       being prohibited from
                 Motion to                                           doing so. Regardless of
             4   Compel                                              the truth of these
                                                                     allegations—most of
             5                                                       which are false or
                                                                     otherwise misleading.”
             6   San Francisco        6/25/20                        “U.S. persons are
                 County                                              expressly prohibited
             7   Superior Court,                                     from accessing and
                 CGC19581267,                                        trading on the BitMEX
             8   MPA in                                              platform.”
                 Support of
             9   Motion for
                 Protective
           10    Order
                 San Francisco        6/25/20                        “Plaintiff Sorokin allege
           11    County                                              that … some U.S.
                 Superior Court,                                     persons trade on the
           12    CGC19581267,                                        BitMEX platform despite
                 MPA in                                              being prohibited from
           13    Support of                                          doing so. Regardless of
                 Motion for                                          the truth of these
           14    Protective                                          allegations—most of
                 Order                                               which are false or
           15                                                        otherwise misleading.”

           16
                 THE LEADERBOARD FIASCO AND HASTY “USER VERIFICATION PROGRAMME”
           17
                        123.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           18
                 paragraph as if fully set forth herein.
           19
                        124.       Defendants’ initial strategy to deal with a mounting number of civil cases against
           20
                 them in the United States was to argue to Courts that Defendants were not subject to personal
           21
                 jurisdiction in this country due to a lack of minimum contacts with the U.S. and, specifically, due
           22
                 to “U.S. persons [being] expressly prohibited from trading on BitMEX platform.”
           23
                        125.       That defense strategy spectacularly imploded when, in early August 2020,
           24
                 Plaintiff’s counsel Pavel Pogodin stumbled upon Defendants’ Leaderboard
           25
                 (https://www.bitmex.com/app/leaderboard, Ex. 8) and discovered that, contrary to Defendants’
           26
                 denials, among top three Leaderboard traders, who meaningfully revealed their real names, all
           27
                 three turned out to be United States persons, generating over $100,000,000 in trading profits on
           28
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             1
                 Defendants’ BitMEX platform. Plaintiff’s attorney put this stunning discovery into a CMC
             2
                 Statement in a related action pending in this Court, BMA et al. v. HDR et al., 20-cv-03345-WHO,
             3
                 filed on August 11, 2020, Dkt. No. 33, which caused a bitterly angry response from Defendants’
             4
                 counsel. Defendants’ counsel first demanded that Plaintiff’s attorney remove this very damaging
             5
                 information from the CMC statement using a CMC statement page limit as an excuse. After
             6
                 receiving a negative response, Defendants’ counsel bitterly refused to file Plaintiff’s exhibits to
             7
                 the CMC statement. Moreover, in a phone call, which took place shortly thereafter,
             8
                 conspicuously shaken Mr. Stephen D. Hibbard uncontrollably screamed at Plaintiff’s counsel in a
             9
                 grossly unprofessional manner, shouting over the phone “shut your mouth.”
           10
                         126.      After Defendants and their counsel finally came to their senses and realized that
           11
                 the jurisdictional genie was out of the bottle and their plot to mislead U.S. Courts has been
           12
                 exposed, they hastily waived jurisdictional challenges in three United States civil cases against
           13
                 them and instituted a “User Verification Programme”7, designed to create an appearance that
           14
                 Defendants somehow did not know before that most of their leaderboard was filled with U.S.
           15
                 traders,8
           16
                   DEFENDANT REED’S PERJURY AT CFTC DEPOSITION AND MR. HIBBARD’S
           17    UNTRUTHFUL STATEMENTS TO COURTS WITH RESPECT TO THE SAME FACTS

           18            127.      Plaintiff repeats and re-alleges the allegations contained in every preceding
           19    paragraph as if fully set forth herein.
           20            128.      As stated above, Defendants’ strategy (or, more accurately, plot) to deal with civil
           21    litigation against them in the U.S. was to falsely claim to Courts that, despite having more that
           22    85,000 trader accounts with the U.S. nexus9, Defendants were not subject to personal jurisdiction
           23    in this country due to a lack of minimum contacts with the U.S. In furtherance of this plot to
           24
                 7
                   BitMEX operated for more than 5 years without any user verification what so ever. The “User
           25    Verification Programme” was instituted less than 48 hours after Plaintiff Sorokin’s counsel put
           26    discovered jurisdictional evidence into CMC statement, Dkt. No. 33.
                 8
                   The “User Verification Programme” was apparently instituted in order to avoid civil and
           27    criminal liability for knowingly operating an unlicensed money transmission business in the U.S.
                 in violation of 18 U.S.C. § 1960(a).
           28    9
                   CFTC Complaint, Ex. 5, p. 2-3, ¶ 3.
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             1
                 defraud U.S. and California Courts, Defendant Reed went as far as to commit perjury during his
             2
                 2019 deposition before CFTC, by denying that BitMEX maintained reports identifying U.S.
             3
                 customers on its trading platform, see Indictment, Ex. 4, p. 13, ¶ 27. In reality, in December of
             4
                 2018, Defendant Reed received a report showing trading revenue attributable to U.S. customers,
             5
                 see Indictment, Ex. 4, p. 13, ¶ 27.
             6
                        129.       Pursuant to the same plot, Defendants’ counsel Mr. Stephen D. Hibbard repeatedly
             7
                 untruthfully told San Francisco Superior Court Judge Schulman that BitMEX serves only non-
             8
                 U.S. traders and, therefore, California Courts lack jurisdiction over it, see Paragraphs above.
             9
                        130.       All these misrepresentations are parts of the same scheme to mislead U.S. and
           10
                 California Courts, which Defendants and their counsel continue to pursue even today.
           11
                                     ACCEPTANCE OF TAINTED FUNDS AS PAYMENT FOR
           12                        MISLEADING COURTS BY DEFENDANTS’ ATTORNEYS
           13           131.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           14    paragraph as if fully set forth herein.
           15           132.       Not only was Defendants’ counsel eagerly willing to mislead Courts regarding
           16    material jurisdictional facts to get Defendants off the hook no matter the cost, he also gladly
           17    accepted funds tainted with proceeds of money laundering in violation of 18 U.S.C. §§ 1956 and
           18    1957 and proceeds of operating an unlicensed money transmitting business in violation of 18
           19    U.S.C. § 1960(a) as his fee for doing so.
           20           133.       As alleged above, BitMEX knowingly collects hundreds of millions of dollars in
           21    trading commissions from the money laundering transactions taking place on its platform on a
           22    daily basis, including during each of the specific Manipulation Times, which constitute
           23    “proceeds” of money laundering under 18 U.S.C. §§ 1956 and 1957 and which are deposited into
           24    its general account (bitcoin wallet), from which all legal fees of BitMEX attorneys are paid (after
           25    currency conversion). Thus, BitMEX’s employee salaries, office rents and even legal fees that
           26    BitMEX attorneys collect are tainted with the proceeds of money laundering in violation of 18
           27    U.S.C. §§ 1956 and 1957.
           28
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             1
                        134.       Moreover, BitMEX has been recently caught red-handed doing at least
             2
                 $100,000,000 of business in New York and California without obtaining a money transmitting
             3
                 license in those states and without complying with FinCEN regulations, in violation of 18 U.S.C.
             4
                 § 1960(a), Ex. 8. This violation has been conclusively proven using BitMEX’s own Leaderboard,
             5
                 Ex. 8. Even Defendants themselves acknowledged this fact by hastily instituting a “User
             6
                 Verification Programme” less than 48 hours after being caught doing unlicensed business in the
             7
                 United States, Ex. 9. In total, BitMEX has 65 individual and 14 institutional United States traders
             8
                 that Plaintiff is aware of, see Paragraphs 104, 105, 110. The amount of $100,000,000 of
             9
                 unlicensed United States business exceeds any possible threshold for the obligation to obtain the
           10
                 money transmitting license under 18 U.S.C. § 1960(a). Specifically, in United States v. Faiella,
           11
                 39 F. Supp. 3d 544 (S.D.N.Y. 2014), the threshold for triggering 18 U.S.C. § 1960(a) liability was
           12
                 $1,000,000 in unlicensed bitcoin transmissions. In United States v. Klein, 6:17-cr-03056 (W.D.
           13
                 Mo. 2017), the threshold for 18 U.S.C. § 1960(a) liability was less than $30,000 in unlicensed
           14
                 bitcoin transmissions. Based on these cases, Defendants have exceeded the legal threshold for
           15
                 triggering 18 U.S.C. § 1960(a) liability by a factor of 3,333x (two thousand three hundred thirty-
           16
                 three times).
           17
                        135.       Consequently, all the fees that BitMEX collected from its trading operations and
           18
                 deposited into its general account (bitcoin wallet) are proceeds of unlicensed money transmitting
           19
                 business in violation of 18 U.S.C. § 1960(a) (in addition to being proceeds of money laundering
           20
                 in violation of 18 U.S.C. §§ 1956 and 1957, as explained in Paragraphs above). Legal fees for
           21
                 Defendants’ counsel’s “services” aimed at misleading Courts were paid from the same general
           22
                 account, which contained the tainted funds.
           23
                        136.       It should be further noted that the Safe Harbor Provision of 18 U.S.C. § 1957(f)(1)
           24
                 applies to criminal matters only, while Defendants’ counsel received tainted funds for
           25
                 representing Defendants in civil cases. Therefore, the Safe Harbor Provision of 18 U.S.C. §
           26
                 1957(f)(1) does not apply and the acceptance of tainted funds for counsel’s efforts to mislead
           27
                 Courts, itself constitutes money laundering in violation of 18 U.S.C. §§ 1956 and 1957.
           28
CONSENSUS LAW
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 65 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        137.       Thus, all the fees paid to Defendants’ legal counsel in this and other civil matters
             2
                 by Defendants, including fees paid for misleading Courts regarding material jurisdictional facts as
             3
                 alleged in Paragraphs 122-126, were tainted with proceeds of money laundering in violation of 18
             4
                 U.S.C. §§ 1956 and 1957 and proceeds of operating an unlicensed money transmitting business in
             5
                 violation of 18 U.S.C. § 1960(a). Moreover, Defendants’ counsel was clearly on notice of very
             6
                 serious issues with Defendant Hayes, as Mr. Hayes has previously publicly admitted to bribery of
             7
                 foreign government officials and bank fraud, Ex. 10, 11, of which Defendants’ counsel was
             8
                 specifically informed. Thus, Defendants’ counsel’s conduct of misleading Courts about material
             9
                 facts and accepting tainted money as fees for doing so was clearly intentional. Notably, some of
           10
                 the Defendants used the same tainted funds from their general account to acquire real state in
           11
                 Wisconsin and Massachusetts as alleged in Paragraph 28.
           12
                                                            JURISDICTION AND VENUE
           13
                        138.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           14
                 paragraph as if fully set forth herein.
           15
                        139.       This Court has subject matter jurisdiction over this action pursuant to 18 U.S.C. §
           16
                 1964 as well as 28 U.S.C. §§ 1331 and 1332(a). Specifically, this action arises under RICO and
           17
                 CEA, both of which present a federal question.
           18
                        140.       This Court has jurisdiction over the statutory and common law claims of violations
           19
                 under California law pursuant to this Court’s supplemental jurisdiction under 28 U.S.C. §
           20
                 1367(a).
           21
                        141.       This Court has personal jurisdiction over Defendants, and each of them, pursuant
           22
                 to California long arm statute codified in Cal. Code Civ. Proc. § 410.10 as well as RICO personal
           23
                 jurisdiction provisions of 18 U.S.C. § 1965(a) and (b).
           24
                        142.       Defendant HDR conducts and has conducted a substantial, systematic, and
           25
                 continuous business in the State of California as alleged hereinabove.
           26
                        143.       Defendant ABS conducts and has conducted a substantial, systematic, and
           27
                 continuous business in the State of California as alleged hereinabove.
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 66 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        144.       Defendant Hayes conducts and has conducted a substantial, systematic, and
             2
                 continuous business in the State of California as alleged hereinabove. Moreover, Defendant
             3
                 Hayes transacts his affairs in this District within the meaning of 18 U.S.C. § 1965(a), at least
             4
                 through his alter ego Defendant ABS, headquartered in this District, of which is he a founder,
             5
                 CEO, CFO, secretary and director. As alleged in Paragraph 49, name “ABS” is an abbreviation
             6
                 constructed of first letters of first names (Arthur, Ben and Samuel) of individual Defendants
             7
                 Hayes, Delo and Reed.
             8
                        145.       Defendant Delo conducts and has conducted a substantial, systematic, and
             9
                 continuous business in the State of California as alleged hereinabove. Moreover, Defendant Delo
           10
                 transacts his affairs in this District within the meaning of 18 U.S.C. § 1965(a), at least through his
           11
                 alter ego Defendant ABS, headquartered in this District, of which is he a founder. As alleged in
           12
                 Paragraph 49, name “ABS” is an abbreviation constructed of first letters of first names (Arthur,
           13
                 Ben and Samuel) of individual Defendants Hayes, Delo and Reed.
           14
                        146.       Defendant Reed conducts and has conducted a substantial, systematic, and
           15
                 continuous business in the State of California as alleged hereinabove. Moreover, Defendant Reed
           16
                 transacts his affairs in this District within the meaning of 18 U.S.C. § 1965(a), at least through his
           17
                 alter ego Defendant ABS, headquartered in this District, of which is he a founder and CTO. As
           18
                 alleged in Paragraph 49, name “ABS” is an abbreviation constructed of first letters of first names
           19
                 (Arthur, Ben and Samuel) of individual Defendants Hayes, Delo and Reed.
           20
                        147.       This Court clearly has personal jurisdiction over at least one of the participants in
           21
                 the alleged multi-district RICO conspiracy – Defendant ABS, which is headquartered in this
           22
                 District. In fact, this Court also has personal jurisdiction over Defendant HDR as well as other
           23
                 Defendants. In a San Francisco County Superior Court case CGC19581267, Judge Schulman
           24
                 flatly rejected some of the same Defendants’ fraudulent shell games and held that Defendants
           25
                 operated as a single enterprise for California law purposes. Therefore, Defendant HDR as well its
           26
                 California alter ego Defendant ABS is a single enterprise with extensive presence in this district
           27
                 (over 70 employees). See Systems Div., Inc. v. Teknek Elect., Ltd. 253 F. App’x 31, 37 (Fed.
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 67 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Cir. 2007) (“The exercise of jurisdiction over an alter ego is compatible with due process because
             2
                 a corporation and its alter ego are the same entity—thus, the jurisdictional contacts of one are the
             3
                 jurisdictional contacts of the other for purposes of the International Shoe due process analysis.”).
             4
                 Defendant ABS, which is an alter ego of Defendant HDR, has its headquarters and over 70
             5
                 employees in California. Attributing these contacts to Defendants HDR clearly subjects it to the
             6
                 personal jurisdiction of this Court. Moreover, Defendants and their counsels’ failed attempts to
             7
                 hide the fact that BitMEX’s top traders generating almost $100,000,000 in trading profits are U.S.
             8
                 persons clearly supports holding Defendants accountable for their actions in a United States
             9
                 District Court.
           10
                        148.       There is no other District within the United States in which a Court would have a
           11
                 personal jurisdiction over all of the alleged RICO co-conspirators. Defendant Reed resides in
           12
                 Wisconsin. Therefore, it is in the interests of justice to bring all the remaining Defendants before
           13
                 this Court pursuant to RICO's nationwide jurisdiction provision of 18 U.S.C. § 1965(b).
           14
                        149.       Venue is proper in this District pursuant to 18 U.S.C. § 1965 and 28 U.S.C. §
           15
                 1391(b)(1). Venue is similarly proper pursuant to 7 U.S.C. § 25(c) in that this is a District
           16
                 wherein a defendant is found, resides, or transacts business, or wherein any act or transaction
           17
                 constituting the violation occurred.
           18
                                                         INTRADISTRICT ASSIGNMENT
           19
                        150.       Pursuant to Civil Local Rule 3-5 of the United States District Court for the
           20
                 Northern District of California, the San Francisco division is the proper venue because substantial
           21
                 part of the events or omissions, which give rise to this action has occurred in San Francisco
           22
                 county, where Defendants’ HDR and ABS principal offices are located.
           23
                                                              BACKGROUND - BITCOIN
           24
                        151.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           25
                 paragraph as if fully set forth herein.
           26
                        152.       Bitcoin is form of cryptocurrency. It is a trustless, decentralized digital currency
           27
                 without a central bank or single centralized administrator that can be sent from user to user on the
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 68 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 peer-to-peer bitcoin network without the need for intermediaries or a trusted central authority.
             2
                          153.     Bitcoin was invented in or about 2008 and described in a whitepaper entitled
             3
                 “Bitcoin: A Peer-to-Peer Electronic Cash System” authored by an unknown person or group of
             4
                 people using the name Satoshi Nakamoto and started in 2009 when its source code was released
             5
                 as an open-source software. Bitcoins are created as a reward for a process known as mining.
             6
                 They can be exchanged for other currencies, products, and services.
             7
                          154.     Bitcoin transactions are verified by a network of nodes through cryptography and
             8
                 recorded in a public distributed ledger called a blockchain, which is maintained by multiple
             9
                 bitcoin network nodes through the use of a consensus protocol. Every bitcoin transaction starting
           10
                 from the very first one may be viewed and verified using the blockchain. The blockchain consists
           11
                 of a chronologically ordered sequence of blocks holding records of bitcoin network transactions.
           12
                 A new block is generated by miners every 10 minutes. The integrity of the blockchain is
           13
                 maintained by including a hash of each block in to the subsequent block. This way, if any block
           14
                 is altered (forged) after its creation, all the subsequent blocks would have to be also modified or
           15
                 the hash discrepancy caused by the modification will be immediately detected by all the network
           16
                 nodes.
           17
                          155.     Bitcoins are traded for United States dollars, Euros and other fiat currencies and
           18
                 cryptocurrencies on centralized online marketplaces called exchanges. Usually, transactions
           19
                 taking place inside exchanges, such as executions of buy and sell orders are not recorded on the
           20
                 public blockchain and, therefore, it is hard to independently verify them using the blockchain.
           21
                 Most exchanges do not have internal protections against bitcoin price manipulation as well as
           22
                 other fraudulent behavior, which is rampant due to low trading liquidity of the bitcoin market.
           23
                          156.     Stablecoins are cryptocurrencies designed to minimize the volatility of the price of
           24
                 the stablecoin, relative to some "stable" asset or basket of assets. The value of a stablecoin can be
           25
                 pegged to a cryptocurrency, fiat money, or to exchange-traded commodities (such as precious
           26
                 metals or industrial metals). Most frequently used stablecoins are those pegged to United States
           27
                 dollar, including, without limitation, Tether (USDT), USDC and the like.
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 69 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                         157.      Since at least 2015, the CFTC has maintained that bitcoin, and other virtual
             2
                 currencies, fit the definition of a commodity primarily through administrative actions. In re
             3
                 Coinflip, Inc., CFTC Docket No. 15-29, 2015 WL 5535736 at *3 (Sept. 17, 2015). CFTC v.
             4
                 McDonnell, 287 F. Supp. 3d 213, 228 (E.D.N.Y. 2018) was the first time the CFTC’s position
             5
                 was given judicial approval. The court noted that “[v]irtual currencies can be regulated by the
             6
                 CFTC as a commodity,” because virtual currencies can be exchanged in a market for a uniform
             7
                 quality and value. The Court’s reasoning makes clear that bitcoin and other virtual currencies fall
             8
                 within both the common law definition of commodity and the CEA’s definition of a commodity.
             9
           10                              BITCOIN PRICE MANIPULATION TECHNIQUES
                         158.      Plaintiff repeats and re-alleges the allegations contained in every preceding
           11
                 paragraph as if fully set forth herein.
           12
                         159.      On or about September 9, 2019, Chairman of the United States Security Exchange
           13
                 Commission (“SEC”) Jay Clayton stated: “[i]n the trading area, it troubles me that people look on
           14
                 these venues and think it has got the same level of protection that you’d have on an equity market
           15
                 in the US NASDAQ and MYSZ. Nothing could be further from the truth, we have lengthy
           16
                 rulebooks, all sorts of protections to make sure that prices are not manipulated in the equity
           17
                 markets, I don’t see those in the Crypto asset markets.”
           18
                         160.      Bitcoin derivatives and especially spot markets remain thinly traded making them
           19
                 particularly susceptible to pumps-and-dumps, Barts, stop loss hunts, liquidation cascades,
           20
                 spoofing, as well as other forms of market manipulation perpetrated by Defendants’ Insider
           21
                 Trading Desk. The primary beneficiaries of such illegal manipulation are the Defendants, who
           22
                 are able to fill their orders at better than market prices at the expense of other traders, as well as
           23
                 cryptocurrency exchanges, such as BitMEX, which benefit through increased trading volumes as
           24
                 well as trader position liquidations. This provides very strong financial incentive for Defendants
           25
                 to manipulate cryptocurrency markets.
           26
           27
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 70 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        161.       Pump-and-dump is the fraudulent practice of Defendants’ Insider Trading Desk
             2
                 encouraging unwitting investors to buy an asset, such as bitcoin, to inflate its price artificially,
             3
             4
             5
             6
             7
             8
             9
           10
           11
           12
                 and then selling it when the price reaches a predetermined threshold. Pumps-and-dumps are
           13
                 designed to deceive the inventors as to the state of market supply and demand for the asset by
           14
                 means of artificially increasing the price and trading volume of the asset that is designed to entice
           15
                 unwitting traders to join the hype, and to buy the asset at an artificially inflated price, which they
           16
                 would not have done otherwise. When Defendants’ Insider Trading Desk sells (dumps) his
           17
                 bitcoins and stop pumping it, the price plummets, and other BitMEX traders are left holding the
           18
                 asset that is worth significantly less than they paid for it. As the result, traders who bought the
           19
                 bitcoin on margin, may be subject to execution of stop losses as well as liquidations.
           20
                        162.       Bart patterns or simply “Barts” are a variety of pumps-and-dumps involving
           21
                 intense pumps or dumps occurring within a very short time frame causing price action to find a
           22
                 new high or low for a very short period, followed by equally violent return to the previous level.
           23
                 Defendants’ Insider Trading Desk using this manipulation tactic benefits by having its sell/buy
           24
                 orders filled, and causing the unwitting investors to open positions against the trend.
           25
           26
           27
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 71 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        163.       Barts are created by Defendants’ Insider Trading Desk using Momentum Ignition
             2
                 Algorithms, which work by creating a sharp spike in buy or sell action within a market with the
             3
             4
             5
             6
             7
             8
             9
           10
           11
           12
           13
           14
           15
           16
                 purpose of deceiving the market participants as to market-based forces of supply and demand for
           17
                 an asset and enticing unsuspecting traders, or other trading algorithms, to follow the trade and
           18
                 place orders that they would not have otherwise placed. Barts are intended to trick other market
           19
                 participants into reacting to an apparent change and imbalance of supply and demand by buying
           20
                 and selling bitcoin derivatives at times, prices and quantities that they otherwise would likely not
           21
                 have traded. Additionally, unsuspecting traders will place buy orders above significant zones, to
           22
                 catch up trends, and short sellers will place stops losses in similar areas, these are effectively buy
           23
                 orders. In order for the malicious algorithm executed by the Defendants’ Insider Trading Desk to
           24
                 be most effective it has to push price into these liquidity zones, triggering buys, and from there it
           25
                 can disengage. Sometimes, several hours later, a floor of buy orders is removed, and a
           26
                 momentum ignition may be activated in the opposite direction causing a dump.
           27
                        164.       Stop loss hunting is a type of market manipulation, wherein the Defendants’
           28
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             1
                 Insider Trading Desk attempts to artificially move the price for an asset to a predetermined price
             2
                 value to force other market participants out of their positions. This type of manipulation is
             3
                 performed by executing one or more buy or sell orders with the purpose to drive the price of an
             4
                 asset to a level where many market players have chosen to set their stop-loss orders. Stop loss
             5
                 orders are orders that get automatically executed at market price should the price of bitcoin reach
             6
                 a predetermined price threshold. Defendants’ Insider Trading Desk buys or sells spot bitcoin or
             7
                 bitcoin derivative until the price threshold is reached. When the stop loss orders are triggered due
             8
                 to a stop loss hunt manipulation, the trader’s asset holdings are sold at prevailing market prices
             9
                 causing the market to be filled with a large number of market orders, which has the ability to
           10
                 move the asset price even further triggering more stop loss orders and can even result in
           11
                 liquidations. The result is a cascading execution of a large number of market orders. Defendants’
           12
                 Insider Trading Desk places its buy or sell orders such as to have them filled at the bottom or at
           13
                 the top of the resulting stop loss execution cascade at artificially below or artificially above
           14
                 market prices, respectively. After the initial market move, the price of the asset sometimes
           15
                 recovers and Defendants’ Insider Trading Desk generates a profit due to its illicit actions.
           16
                        165.       Liquidation cascade is an extreme case of the stop loss hunt, when the Defendants’
           17
                 Insider Trading Desk pushes the price of the asset or derivative to reach position liquidations
           18
                 levels for multiple traders and the resulting multiple market liquidations take place in a very short
           19
                 time interval moving the price even further. This triggers additional liquidations causing a
           20
                 cascading execution of a large number of liquidation orders. Similarly to the stop loss hunt, the
           21
                 Defendants’ Insider Trading Desk places its buy or sell orders such as to have them filled at the
           22
                 bottom or at the top of the resulting liquidations cascade, at artificially below or artificially above
           23
                 market prices, respectively.
           24
                        166.       The manipulative price actions alleged hereinabove perpetrated by Defendants’
           25
                 Insider Trading Desk on one cryptocurrency spot or derivatives exchange quickly propagate to all
           26
                 other exchanges due to the widespread use of arbitrage bots, which are algorithms coded in
           27
                 software that take advantage of the price discrepancy between exchanges by buying or selling an
           28
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             1
                 asset in one market and simultaneously selling or buying it in another market at a more favorable
             2
                 price. Thus, a manipulative price action on one cryptocurrency exchange results in a substantially
             3
                 similar price action on all other exchanges.
             4
                         167.      Because cryptocurrency derivatives exchanges contracts are based heavily on
             5
                 bitcoin spot index price on a handful of relatively illiquid “reference” spot exchanges, a large
             6
                 bitcoin spot price move may be accomplished by executing relatively small market orders on the
             7
                 illiquid spot exchanges. For example, .BXBT index price used by Defendants for BitMEX’s
             8
                 XBTUSD Perpetual Swap contract is based substantially on bitcoin prices on United States based
             9
                 exchanges BitStamp USA Inc., which owns and operates cryptocurrency exchange online
           10
                 platform BitStamp.net (“BitStamp”), see Ex. 14; Coinbase Inc. (“Coinbase Pro”) and Kraken
           11
                 (“Kraken”), which are less liquid than BitMEX itself.
           12
                         168.      Once initiated by Defendants’ Insider Trading Desk using helper accounts on
           13
                 BitStamp, Coinbase Pro and/or Kraken, the aforesaid price move spreads, through the aforesaid
           14
                 index, to order books of very liquid derivatives exchanges, such as BitMEX and causes massive,
           15
                 multimillion dollar instant liquidations of derivatives positions of retail traders like Plaintiff.
           16
                 Such liquidations provide a financial windfall to derivatives exchanges such as BitMEX due to
           17
                 the increased trading volume as well as confiscation by the exchanges of the residual collateral of
           18
                 the liquidated retail traders, if the exchange is able to close the traders’ positions at prices better
           19
                 than bankruptcy price. In BitMEX, the amount of funds so confiscated from liquidated traders
           20
                 exceeded, as of May 3, 2021, 37,337 bitcoins valued at over $2,165,555,825, which amount is
           21
                 stored in a winner account on the BitMEX exchange.
           22
                         169.      Pumps-and-dumps, Barts, stop loss hunts and liquidation cascades may be utilized
           23
                 by Defendants for purposes of money laundering, especially when exchanges, like BitMEX, do
           24
                 not require any documents to open an account. For example, in case of a liquidation cascade, a
           25
                 first Defendant may use automated software tools developed by BitMEX to execute a relatively
           26
                 small market order to trigger the liquidation cascade and a second Defendant, acting from a
           27
                 separate exchange account, opened on the same or different exchange, may place large buy or sell
           28
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             1
                 orders, respectively, to have them filled at the artificially low or high (below or above market)
             2
                 prices caused by the liquidation cascade triggered by the actions of the first Defendant. The first
             3
                 Defendant would book a loss, while the second Defendant would book a profit. The first
             4
                 Defendant may be officially located in a high tax jurisdiction, such as California, while the
             5
                 second Defendant may be incorporated in a tax-heaven jurisdiction, such as British Virgin
             6
                 Islands. Furthermore, the first Defendant may use automated software tools developed by
             7
                 BitMEX to execute the order on an illiquid “reference” spot exchange, such as BitStamp, to
             8
                 amplify the effect of the initiating market order while the second Defendant may operate on a
             9
                 derivatives exchange such as BitMEX, which uses the price of the spot exchange in calculating its
           10
                 index.
           11
                          170.     In a criminal commodity derivatives market manipulation case USA v. Smith et al.
           12
                 (N.D. Il. 2019), the United States Department of Justice (DOJ) took a position that placing orders
           13
                 for commodity derivatives contracts in a manner that was intended to deliberately trigger or
           14
                 deliberately avoid triggering a specific price-based event, such an option execution, is unlawful.
           15
                 Consistent with that position, the all above alleged price manipulation actions are also unlawful.
           16
                          171.     In SEC v. Shuang Chen et. al. Civil Action: 1:19-cv-12127-WGY (D. MA 2019)
           17
                 “[t]he Defendants generally used at least two brokerage accounts when manipulating the price of
           18
                 a particular publicly traded stock. Defendants first typically used at least one account to place
           19
                 multiple small purchase or sale orders to create upward or downward pressure on the stock price
           20
                 (hereinafter referred to as a “helper” account). Then, the Defendants typically used at least one
           21
                 other account (hereinafter referred to as a “winner” account) to purchase or sell larger quantities
           22
                 of stock at prices that had been affected by the manipulative orders placed by the helper
           23
                 account(s). Defendants often held the winner and helper accounts at different brokerage firms to
           24
                 conceal from each brokerage firm the coordination between the two types of accounts.” The
           25
                 illegal stock price manipulation technique alleged by SEC is identical to the techniques alleged
           26
                 hereinabove and used as well as aided and abetted by Defendants on a daily basis during the time
           27
                 period starting on June 1, 2019 and until August 31, 2019 (“Relevant Period”) to manipulate the
           28
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             1
                 prices of cryptocurrencies. According to SEC, all those techniques are illegal.
             2
                        172.       Spoofing is an unlawful practice of making buy or sell orders, called deceptive
             3
                 orders, with an intent to cancel them before execution. The deceptive orders are used by
             4
                 Defendants to inject false and misleading information about genuine supply and demand for
             5
                 bitcoin or bitcoin derivatives into the markets and to deceive other participants in the market into
             6
                 believing something untrue, namely that the visible order book accurately reflected market-based
             7
                 forces of supply and demand. This false and misleading information was intended to trick other
             8
                 market participants into reacting to an apparent change and imbalance of supply and demand by
             9
                 buying and selling bitcoin derivatives at times, prices and quantities that they otherwise would
           10
                 likely not have traded.
           11
                        173.       Bitcoin price manipulation such as pumps-and-dumps, Barts, stop hunts,
           12
                 liquidation cascades, and spoofing, as well as numerous other forms of illicit market manipulation
           13
                 used by Defendants and their Insider Trading Desk are generally believed to be the abuses that
           14
                 prevent SEC from approving numerous bitcoin Exchange Traded Fund (ETF) applications that
           15
                 have been filed throughout the years by various cryptocurrency industry players.
           16
                                          BITMEX WAS DESIGNED FROM GROUND UP TO
           17                                     BENEFIT FROM MANIPULATION
           18                              “Regulatory agencies can be bought.” Defendant Arthur Hayes
                        174.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           19
                 paragraph as if fully set forth herein.
           20
                        175.       BitMEX was launched in 2014 by Defendants Hayes, Delo and Reed. BitMEX
           21
                 was one of the first cryptocurrency exchanges that offered derivative products based on the price
           22
                 of bitcoin. At its inception, as Defendant Hayes described it, BitMEX was to serve Wall Street
           23
                 institutional investors “who were going to want the same type of products” they were used to
           24
                 trading at sophisticated multinational banks. Yet for the first six months after BitMEX went live
           25
                 in late 2014, “no one came” to the trading platform, including traders from Wall Street.
           26
                 Therefore, BitMEX changed its business model to “focus[] on degenerate gamblers; [also known
           27
                 as] retail investors” by offering “100X leverage” trades. Since then, its first-mover advantage has
           28
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             1
                 paid off: it is consistently among the largest cryptocurrency derivatives traders by volume and has
             2
                 been for years. It now frequently trades over $3 billion worth of transaction in a single day.
             3
                        176.       In allowing retail customers to leverage their bets at the extraordinary ratio of
             4
                 100:1—about twenty times higher than the common ratio in derivatives trading — BitMEX
             5
                 positioned itself to benefit consistently, significantly, and predictably from the combination of
             6
                 attracting overly hopeful investors and small price fluctuations on other exchanges. This structure
             7
                 creates substantial incentives for Defendants to surreptitiously cause such fluctuations.
             8
                        177.       Implementing its business approach, Defendants deliberately based the index price
             9
                 of their Perpetual Swaps on spot-market exchanges that have limited liquidity and are thus
           10
                 relatively easy to manipulate. BitMEX would then engage in manipulative trading on those
           11
                 exchanges to change the price of bitcoin or ether. Even if only temporary, these price changes
           12
                 would then affect the prices of the Perpetual Swaps offered on BitMEX in a way that benefitted
           13
                 BitMEX by allowing it to make margin calls and liquidate its highly leveraged traders.
           14
                        178.       Automatically liquidating contracts that were out of the money, BitMEX would
           15
                 cover the trader’s losses but would also take all of the trader’s collateral. By setting the
           16
                 liquidation point higher than necessary to protect against the risk of a loss greater than the trader’s
           17
                 collateral, BitMEX consistently profited from these liquidations. BitMEX would place these
           18
                 profits in its insurance fund (“Insurance Fund”), marketed as a way to ensure that BitMEX has
           19
                 cash on hand for the rare occasions where the losses exceeded the collateral. Despite its name, the
           20
                 Insurance Fund is almost never drawn upon and instead has grown consistently such that it now
           21
                 contains assets worth hundreds of millions of dollars.
           22
                        179.       BitMEX also acted on similar financial incentives by trading against its customers,
           23
                 a secret BitMEX kept as long as it could. BitMEX employed an undisclosed Insider Trading Desk
           24
                 with special privileges and insights that allowed BitMEX to take favorable positions opposite its
           25
                 own customers. BitMEX only revealed the existence of the Insider Trading Desk in 2018, under
           26
                 pressure from an independent analyst armed with trade data reflecting its existence. As an Insider
           27
                 Trading Desk with access to otherwise-hidden information, it was in a perfect position to enhance
           28
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             1
                 BitMEX’s manipulation.
             2
                         180.      BitMEX has compounded the effect of these manipulative schemes by routinely
             3
             4
             5
             6
             7   freezing its servers—which BitMEX blames on technical glitches and limitations—to profit
             8   during moments of high volatility. During these freezes, customers are unable to change their
             9   positions, but the market continues to operate and BitMEX trades. BitMEX would thus prevent its
           10    customers from escaping positions until they fell to a level at which BitMEX could liquidate
           11    those positions at a profit to itself.
           12            181.      BitMEX’s operations on March 13, 2020, are a recent and good example. During a
           13    period in the day with high market volatility and crashing bitcoin prices (from nearly $8,000 to
           14    $4,000 per bitcoin), resulting in a substantial sell-off, BitMEX’s trading platform went offline for
           15    twenty-five minutes. As a result of the outage, BitMEX did not dip into its Insurance Fund, but
           16    rather liquated $800 million of its customers’ highly leveraged positions for its own profit. This
           17
           18
           19

           20
           21
           22
           23
           24
                 server outage, in short, effectively protected BitMEX and the Insurance Fund from the cascading
           25
                 effects of sell-offs of BitMEX’s highly leveraged and volatile products. It should be noted that
           26
                 BitMEX’ three Site Reliability Engineers, responsible for the bitMEX trading platform uptime,
           27
                 are all located in this District and the deliberated and fraudulent outage on March 13, 2020 was
           28
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             1
                 perpetrated by them from this District. To cover up their fraud, Defendants first concocted a
             2
                 story of a hardware failure that allegedly caused the BitMEX platform outage.
             3
                        182.       However, Defendants soon realized that all hardware used by BitMEX platform
             4
                 was managed by Amazon EKS and not Defendants themselves and that such a fake excuse would
             5
             6
             7
             8
             9
           10
           11
           12    clearly not hold up if Amazon is asked to investigate the alleged hardware issue. Therefore,
           13    Defendants quickly changed their story and invented a fake distributed denial-of-service attack
           14    (“DDoS Attack”) as an excuse for deliberately shutting down their own trading platform to avoid
           15    severe financial losses to themselves.
           16           183.       Even if the alleged DDoS Attack did in fact take place, Defendants were at least
           17    negligent in failing to prevent it, as proven industrial-grade solutions for prevending DDoS
           18    Attack are widely available in the marketplace, including one from Amazon AWS itself, which is
           19    provided free of charge to all AWS customers, including BitMEX. Specifically, Amazon AWS
           20    website explains with respect to AWS Shield and AWS Shield Advanced:
           21
           22           AWS Shield is a managed Distributed Denial of Service (DDoS) protection service that
                        safeguards applications running on AWS. AWS Shield provides always-on detection and
           23           automatic inline mitigations that minimize application downtime and latency, so there is
                        no need to engage AWS Support to benefit from DDoS protection. There are two tiers of
           24           AWS Shield - Standard and Advanced.
           25           All AWS customers benefit from the automatic protections of AWS Shield Standard, at no
           26           additional charge. AWS Shield Standard defends against most common, frequently
                        occurring network and transport layer DDoS attacks that target your web site or
           27           applications. When you use AWS Shield Standard with Amazon CloudFront and Amazon
                        Route 53, you receive comprehensive availability protection against all known
           28
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             1          infrastructure (Layer 3 and 4) attacks.
             2          For higher levels of protection against attacks targeting your applications running on
             3          Amazon Elastic Compute Cloud (EC2), Elastic Load Balancing (ELB), Amazon
                        CloudFront, AWS Global Accelerator and Amazon Route 53 resources, you can subscribe
             4          to AWS Shield Advanced. In addition to the network and transport layer protections that
                        come with Standard, AWS Shield Advanced provides additional detection and mitigation
             5          against large and sophisticated DDoS attacks, near real-time visibility into attacks, and
                        integration with AWS WAF, a web application firewall. AWS Shield Advanced also gives
             6          you 24x7 access to the AWS DDoS Response Team (DRT) and protection against DDoS
             7          related spikes in your Amazon Elastic Compute Cloud (EC2), Elastic Load Balancing
                        (ELB), Amazon CloudFront, AWS Global Accelerator and Amazon Route 53 charges.
             8
                        AWS Shield Advanced is available globally on all Amazon CloudFront, AWS Global
             9          Accelerator, and Amazon Route 53 edge locations. You can protect your web applications
                        hosted anywhere in the world by deploying Amazon CloudFront in front of your
           10
                        application. Your origin servers can be Amazon S3, Amazon Elastic Compute Cloud
           11           (EC2), Elastic Load Balancing (ELB), or a custom server outside of AWS. You can also
                        enable AWS Shield Advanced directly on an Elastic IP or Elastic Load Balancing (ELB)
           12           in the following AWS Regions - Northern Virginia, Ohio, Oregon, Northern California,
                        Montreal, São Paulo, Ireland, Frankfurt, London, Paris, Stockholm, Singapore, Tokyo,
           13           Sydney, Seoul, and Mumbai.
           14
           15           184.       Moreover, CloudFlare DDoS protection is very inexpensive, readily available and
           16    widely used on the market. This protection secures websites, applications, and entire networks
           17    while ensuring the performance of legitimate traffic is not compromised. According to
           18    CloudFlare website, CloudFlare’s 51 Tbps network blocks an average of 72 billion threats per
           19    day, including some of the largest DDoS attacks in history.
           20           185.       The fact of wide availability of proven and low cost solutioins for DDoS Attack
           21    prevention makes DDoS Attack against BitMEX on March 13, 2020 very unlikely and, if the
           22    DDoS Attack did in fact occur, establishes that Defendants were at least negligent in not using the
           23    available solutions to safeguard trading on the BitMEX platform by their customers, which
           24    Defendants had a clear duty to do.
           25           186.       Defendants and each of them have thus manipulated the price of bitcoin and ether,
           26    harming Plaintiff and other traders who had their positions liquidated, in violation of the
           27    Commodity Exchanges Act, 7 U.S.C. §§ 9, 25 (2018).
           28
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             1
                        187.       BitMEX’s founder and CEO, Defendant Hayes, is cryptocurrency’s P.T. Barnum.
             2
                 Describing trading on cryptocurrency as “the entertainment business,” he has embraced a role as
             3
                 showman and promoter for the “degenerate gamblers” he solicits, and encourages speculative
             4
                 trading by flaunting his lavish lifestyle and making bold predictions designed to elicit responses
             5
                 and move the market in a way that is profitable for BitMEX.
             6
                        188.       Defendant Hayes repeatedly flaunts his wealth like this to followers of the
             7
                 BitMEX platform, while also sharing his positions and profits he makes by betting on the price of
             8
                 bitcoin and other cryptocurrencies. The implication of these types of promotion is clear: you too
             9
                 could live like this, if you trade on my platform.
           10
                        189.       For example, when promoting BitMEX at a large conference in New York, Hayes
           11
                 flaunted his arrival in an exotic Lamborghini car.
           12
                        190.       The BitMEX platform also has casino features built in. It promotes “winners” with
           13
                 a leaderboard of successful traders, just like casinos showcase their successful players. All these
           14
                 features are designed to serve only one purpose - entice more gamblers to place even riskier bets.
           15
                        191.       BitMEX also runs promotions for its products to promote gambling, providing
           16
                 prizes to “[t]he trader who continuously quotes the largest two-sided volume within a 0.5 percent
           17
                 spread” or “[t]he trader who has the largest profit (in XBT) from trading the NEO (NEOG18)
           18
                 contract gets the third prize.”
           19
                        192.       These promotions attract numerous retail investors and distract them from the fact
           20
                 that BitMEX created an exchange that facilitates its own manipulative and fraudulent behavior.
           21
                        193.       Since its inception, BitMEX has flouted financial regulators worldwide for
           22
                 operating as an unregistered exchange, hiding behind its offshore status.
           23
                        194.       In 2018, the financial regulator for the province of Quebec, Canada, ordered
           24
                 BitMEX to close accounts linked to customers in Quebec because it was operating as an
           25
                 unregistered exchange.
           26
                        195.       In July 2019, according to reports, the CFTC opened an investigation to determine
           27
                 whether the exchange is targeting and allowing United States traders to use the platform, after
           28
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             1
                 numerous press reports detailed the lack of any “know your customer” practices at BitMEX and
             2
                 the ease with which users can access the site from the United States - indeed one New York
             3
                 journalist has detailed his use of BitMEX.
             4
                        196.       Most recently, on March 3, 2020, the United Kingdom’s Financial Conduct
             5
                 Authority (FCA) issued a notice that BitMEX “is not authorised by us and is targeting people in
             6
                 the UK. Based upon information we hold, we believe it is carrying on regulated activities which
             7
                 require authorisation.”
             8
                        197.       BitMEX’s flouting of financial regulators is consistent with the attitude of its
             9
                 founders, as Defendant Hayes has freely admitted to falsifying banking documentation in China
           10
                 in order to take advantage of arbitrage opportunities in the price of bitcoin.
           11
                        198.       BitMEX is not the only entity that offers swaps and futures products on bitcoin.
           12
                 BitMEX, however, structures its products and operations with features more akin to a casino,
           13
                 focusing on products that expose customers to greater volatility and an increased risk of loss.
           14
                        199.       One of BitMEX’s earliest and still most popular products is the XBTUSD
           15
                 Perpetual XBTUSD Leveraged Swap (“Perpetual Swap”).
           16

           17
           18
           19

           20
           21
           22
           23
           24
           25           200.       This product allows traders to buy or sell a contract that tracks the price of the
           26    exchange rate between bitcoin and the U.S. Dollar. If you buy the contract, you will make a profit
           27    if the price of bitcoin goes up in U.S. Dollars. Conversely, if you sell the contract, you will make
           28
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             1
                 a profit if the price of bitcoin goes down in U.S. Dollars—effectively a short sale on the price of
             2
                 bitcoin.
             3
                         201.      Unlike a typical swap contract, XBTUSD Perpetual Swap has no set expiry date.
             4
                 Further, unlike a traditional swap product, the XBTUSD Perpetual Swap price closely tracks the
             5
                 price of the underlying asset, bitcoin. Put differently, in a traditional swap market, there are
             6
                 separate prices for the swap product and for the underlying asset. If ACME Corp. is trading at
             7
                 $100 a share today, the contract to buy one share of ACME Corp. at $120 in three months might
             8
                 trade for $5. Instead, XBTUSD Perpetual Swap tracks the price of bitcoin by exchanging among
             9
                 contract holders that are long (or short) a “funding rate” every eight hours if the price of bitcoin is
           10
                 higher (or lower) than what the contract is trading for on BitMEX. These mechanics incentivize
           11
                 buying the contract when the price of the contract is lower than the price of bitcoin, thus raising
           12
                 the contract’s price, and vice- versa. The “funding rate” amount depends on the spread between
           13
                 the XBTUSD contract price and the referenced exchange rate. The funding rate is exchanged
           14
                 directly peer-to-peer among contract holders. BitMEX does not charge a fee for it.
           15
                         202.      Because BitMEX does not list bitcoin itself, it must look to other exchanges that
           16
                 do trade bitcoin to determine the price of bitcoin for products like XBTUSD. For BitMEX to
           17
                 function properly, the data from the other exchanges must be trustworthy. If the spot market for
           18
                 the underlying cryptocurrencies listed on those exchanges is thinly traded and illiquid, then the
           19
                 price of the cryptocurrency becomes susceptible to price manipulation, which in turn could affect
           20
                 the price of the products on BitMEX. BitMEX knows this. BitMEX’s products are particularly
           21
                 sensitive to price manipulation because BitMEX allows traders to operate on substantial amounts
           22
                 of leverage. BitMEX allows traders to leverage their position up to 100 times the amount of
           23
                 collateral, or “margin,” they post. Put differently, traders can buy or sell 100 bitcoin worth of
           24
                 XBTUSD contracts for only 1 bitcoin of collateral. This leverage magnifies both gains and losses:
           25
                 if the price of the XBTUSD goes up, a buyer who is 100x leveraged will experience 100 times the
           26
                 profit, but if the price declines even 1 percent, the buyer will have lost all his collateral. In this
           27
                 way, BitMEX structures its products to offer the allure of large, lottery-ticket payoffs for very
           28
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             1
                 limited money.
             2
                        203.       BitMEX’s fees, however, are calculated based on the leveraged position, not on
             3
                 the underlying collateral. Thus, where BitMEX advertises a fee of 0.075 percent for bitcoin
             4
                 Perpetual Swaps, that percentage refers to the amount of the unleveraged position. For a 100x
             5
                 leveraged Perpetual Swap, BitMEX is effectively charging a fee of 7.5 percent.
             6
                        204.       In a leveraged trade, BitMEX limits a trader’s loss to solely the posted margin. In
             7
                 contrast, major derivatives exchanges, such as the Chicago Mercantile Exchange, expose traders
             8
                 to unlimited risk. When the unrealized loss of their position exceeds the posted margins, those
             9
                 exchanges will ask traders to post additional collateral to supplement their margin. This is known
           10
                 as a margin call. For example, if you had a $10,000 position supported by $100 of margin, and
           11
                 the position fell 1 percent to $9,900, it would trigger a margin call.
           12
                        205.       To limit traders’ losses to the posted margin, BitMEX uses a liquidation engine to
           13
                 close positions with unrealized losses close to the amount of the posted collateral and prevent
           14
                 losses greater than the collateral posted by the trader while ensuring that the winner receives their
           15
                 full profits. While the promise that a trader can only lose the minimal margin put up for a highly
           16
                 leveraged bet may be alluring to retail investors, in reality BitMEX uses this promise to lure them
           17
                 into a false sense of security. BitMEX’s system encourages traders to place highly leveraged bets
           18
                 under this pseudo-protection but takes their money in liquidations. Put differently, when BitMEX
           19
                 liquidates a position, there is going to be a winning trader and a losing trader, but even beyond
           20
                 receiving the transaction fees, BitMEX almost always takes a large part of one trader’s collateral,
           21
                 allowing it to profit from the liquidation.
           22
                        206.       BitMEX’s model of encouraging its users to experience volatility disproportionate
           23
                 to their collateral through substantial leveraging requires a mechanism that prevents those users
           24
                 from experiencing losses greater than they can handle—there is, after all, someone on the other
           25
                 end of the transaction that expects to get paid. BitMEX achieves this through the use of an
           26
                 automatic liquidation system. This system, however, does more than liquidate positions with
           27
                 insufficient collateral—it also creates substantial profits for BitMEX at the expense of its
           28
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             1
                 customers.
             2
                         207.      Because BitMEX allows traders to make purchases with large amounts of
             3
                 leverage, there is a risk that that a trader may not be able to pay the winner for his position. In
             4
                 order to prevent winners from being adversely affected by the lack of a counterparty’s collateral,
             5
                 BitMEX agrees to cover their winnings. In exchange, it automatically takes the loser’s collateral.
             6
                 It then seeks to sell the position on the market at the best price available, with the purchaser
             7
                 stepping into the shoes of the liquidated party with responsibility for covering the counterparty’s
             8
                 profits after sale.4 This process of taking the loser’s collateral in exchange for covering the
             9
                 winner’s profits until a counterparty is found is the automatic-liquidation system. BitMEX,
           10
                 however, does not wait to liquidate until the collateral can no longer cover the losses. Instead, it
           11
                 liquidates when the collateral is worth approximately twice the losses incurred, even though the
           12
                 trader has half of the initial collateral remaining. Even if the system is able to find a price for the
           13
                 position after the liquidation that would have allowed the trader to recoup some his losses,
           14
                 however, the trader receives nothing. Instead, BitMEX keeps that recovery for itself and puts it
           15
                 into the Insurance Fund.
           16
                         208.      To use an example from BitMEX’s own website, consider a trader who has taken a
           17
                 long position on 100 ether using only 1 bitcoin as collateral while bitcoin and ether are each
           18
                 trading at $4,000. This trader is 100x leveraged, such that a rise in the price of ether by $10 will
           19
                 cause the trader to gain $1,000. Because of this level of leverage, the trader runs a substantial risk
           20
                 of not being able to pay off an unsuccessful contract; his collateral can absorb only a $40 decrease
           21
                 in the price of ether. The price at which the trader’s collateral can no longer cover the losses on
           22
                 the position is the “bankruptcy price.” In this example, the bankruptcy price is slightly over
           23
                 $3,960, as ether falling to that price would mean that the 1 bitcoin used as collateral would
           24
                 exactly cover the losses. Rather than using this bankruptcy price as the liquidation point, BitMEX
           25
                 imposes a 0.5 percent “maintenance margin,” such that the position will automatically be
           26
                 liquidated if the price of ether falls to $3,980. This maintenance margin is remarkable relative to
           27
                 the amount of leverage in the position, as a change of less than 1 percent in the price of bitcoin
           28
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             1
                 can result in an automatic liquidation. If the price hits $3,980 and this liquidation occurs, BitMEX
             2
                 will seize the collateral and then seek to sell the 100-bitcoin position to another customer, while
             3
                 covering the gains of and without terminating the contract of the original counterparty. If this sale
             4
                 occurs at a price of $3,978, reflecting a $2 bid-ask spread, the purchase as a whole will have
             5
                 incurred a loss of $2,200 against the initial $4,000 wagered—a $22 loss multiplied by the 100x
             6
                 leverage. BitMEX, which takes the full collateral, has accordingly profited $1,800 from the
             7
                 liquidation of its customers’ position and places this profit in the Insurance Fund. The trader,
             8
                 meanwhile, loses the full $4,000.
             9
                        209.       It is possible for BitMEX to lose money in a liquidation if the market lacks
           10
                 sufficient liquidity to allow BitMEX to sell the liquidated position at the bankruptcy price. If, for
           11
                 example, the price of ether hits $3,980 but BitMEX is not able to find a purchaser to take over
           12
                 Perpetual Swap at a price above $3,920, the 1 bitcoin used as collateral will not cover BitMEX’s
           13
                 losses. Hypothetically, the Insurance Fund would be used to cover BitMEX’s losses in this
           14
                 scenario.
           15
                        210.       The profitability of the Insurance Fund is thus tied to the liquidity of the market—
           16
                 as BitMEX itself has stated, the Insurance Fund will profit from each liquidation as long as the
           17
                 bid-ask is smaller than the maintenance margin.
           18
                        211.       Despite being described as a mechanism intended “to help ensure winners receive
           19
                 their expected profits, while still limiting the downside liability for losing traders” by making sure
           20
                 that BitMEX always has cash on hand to pay off losing trades, BitMEX’s Insurance Fund shows
           21
                 substantial overall profit from these liquidations. As their own data shows, the Insurance Fund
           22
                 has grown every year, as BitMEX takes in far more from liquidating its customers’ positions than
           23
                 it pays out to cover contracts it cannot close quickly enough. Despite its role as an insurance
           24
                 backstop, it grows in value nearly every day: over the last 100 (volatile) days, it has begun only
           25
                 five of them with a balance less than it began with the day before. Its largest posted one-day loss
           26
                 in the last 100 days has been around 20 bitcoin. In fact, on August 24, 2020, the Insurance Fund
           27
                 contained over 36,830 bitcoins, representing 0.2 percent of the total bitcoin in circulation and
           28
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                 valued over $681,355,000. Moreover, BitMEX partitions the fund by contract type, and, when no
             2
                 more contracts of a given type remain (because, for example, the contract was tied to a time
             3
                 period that expired) the portion of the Insurance Fund for that contract type is given to BitMEX as
             4
                 profit.
             5
                           212.    BitMEX has thus profited from the vast majority of the automatic liquidations it
             6
                 conducts on behalf of its customers. Even independent of how these automatic liquidations can be
             7
                 used with market manipulation, the structure of BitMEX’s automatic liquidations creates an
             8
                 incentive for BitMEX to induce liquidations as long as there is sufficient liquidity in the market
             9
                 that the bid-ask spread is smaller than the maintenance margin. As long as this liquidity is
           10
                 present, BitMEX profits when it causes its customers’ positions to automatically liquidate.
           11
                 Defendants’ ability to manipulate the prices on BitMEX for their own profit and at the expense of
           12
                 Plaintiff and other cryptocurrency traders was protected and enhanced by persistent issues
           13
                 BitMEX maintained in its server that locked out users at crucial times that enabled BitMEX to
           14
                 profit.
           15
                           213.    BitMEX’s risk-management process, which performs the system’s automatic
           16
                 liquidations, must check the entire system whenever the price of a Perpetual Swap changes. This
           17
                 process, although sometimes completed quickly, supposedly causes BitMEX’s servers to freeze
           18
                 on average between two and three times a day. During these server freezes, customers lose the
           19
                 ability to trade until the servers unfreeze.
           20
                           214.    These server issues are not present in other exchanges that regularly handle far
           21
                 more transactions per second. While BitMEX has purposefully not made all of the data about its
           22
                 server capacity public, it has indicated that, as of May 2019, it was processing around
           23
                 200,000,000 trades a week, purportedly taxing its system and leading to server shutdowns. This
           24
                 works out to an average load of around 330 trades a second. BitMEX has indicated that its peak
           25
                 transactions can reach 30 times the average, for a peak of just under 10,000 trades a second.
           26
                 ByBit, which also transacts primarily in swaps and derivatives, can process 100,000 transactions
           27
                 a second. Binance, another large exchange, can process 1.4 million transactions a second, more
           28
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             1
                 than 100 times the peaks that purportedly cause BitMEX’s servers to freeze.
             2
                        215.       When BitMEX’s servers are frozen, preventing customers from executing any
             3
                 trades, the prices of the Perpetual Swap contracts are not frozen. Instead, they continue to move,
             4
                 processing some transactions while refusing to accept transactions from others. This means that a
             5
                 BitMEX trader can be prevented from executing a trade by a server freeze only to find, once the
             6
                 server reopens, that the price at which they wished to transact is no longer available. They can
             7
                 also find that an offer they had made before the freeze but wished to retract during it has since
             8
                 been accepted. Any trader with the ability to have its transactions prioritized over others during
             9
                 this period could reap substantial profits. The digital assets on which the BitMEX Perpetual
           10
                 Swaps are based, such as bitcoin or the Tokens, continued to trade on other exchanges with
           11
                 functioning servers while BitMEX’s remained frozen to most users. A privileged trader—such as
           12
                 those that operate BitMEX’s Insider Trading Desk —could see that the price of bitcoin had risen
           13
                 during a freeze and arbitrage on that information before the regular traders had the ability to react.
           14
                 Additionally, because most traders are unable to operate during these freezes, a trader who is able
           15
                 to act could survey all of the items on offer during the freeze and cherry-pick whichever seemed
           16
                 most appealing in light of the market’s movements.
           17
                        216.       The limitations of BitMEX’s server also helps enable profitable automatic
           18
                 liquidations, because these liquidations continue to occur during the freeze. A customer who has a
           19
                 100x leveraged position on one bitcoin that will liquidate if the price of bitcoin falls from $4,000
           20
                 to $3,980, for example, would be heavily incentivized to sell when the price hits $3,985,
           21
                 accepting a loss of $1,500 but retaining the capital. If the frozen servers prevent this sale from
           22
                 transpiring, however, the customer will lose all of their capital when the price hits $3,980. Such a
           23
                 scenario profits BitMEX, which collects the capital.
           24
                        217.       The timing of these freezes is not random. The most important and profitable time
           25
                 for BitMEX to freeze is during a period of high volatility. BitMEX’s automatic liquidations
           26
                 exacerbate the volatility of the derivatives that BitMEX markets, particularly in periods of high
           27
                 volatility. Specifically, by automatically executing sell orders in response to a market decline,
           28
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             1
                 BitMEX pushes prices even lower. This response could result in catastrophically cascading sell
             2
                 orders during a period of a rapid decline—that is, a “flash crash.” BitMEX does not disclose those
             3
                 risks to retail investors and, instead, uses server freezes to protect its Insurance Fund and its
             4
                 derivatives market as a form of undisclosed “circuit breaker.”
             5
                         218.      Moreover, high volatility and rapidly changing prices allow more customers to be
             6
                 liquidated. Indeed, an expert statistical analysis conducted of freeze periods reported on
             7
                 BitMEX’s website has revealed that these server freezes occur 80 percent more often during
             8
                 periods of high volatility in bitcoin prices. This result is statistically significant at a 95 percent
             9
                 confidence level. Moreover, the statistical analysis reveals that compared to periods without a
           10
                 server incident, the volatility is 130 percent higher when there is a server incident. This result is
           11
                 also statistically significant at 95 percent confidence level.
           12
                         219.      BitMEX server freezes most often occurred during the highest periods of volatility
           13
                 when BitMEX could effectively liquidate traders’ positions.
           14
                         220.      These server freezes are not justifiably caused by transaction volume, which would
           15
                 approximate server load. For example, on May 12, 2019, BitMEX announced a new record of
           16
                 over $10 billion in transaction volume, with no server incidents reported that day.
           17
                         221.      The interaction between BitMEX’s server problems and its liquidation policy was
           18
                 recently demonstrated on March 13, 2020, when the price of bitcoin fell from $7,200 to a 10-
           19
                 month low of $5,678 in just 15 minutes. This sort of event is precisely why BitMEX claims to
           20
                 maintain the Insurance Fund—a series of cascading liquidations in the face of such a rapid fall
           21
                 could prevent BitMEX from selling the liquidated positions above their bankruptcy price, causing
           22
                 losses that are designed to be covered by the Insurance Fund. Yet BitMEX’s servers shut down in
           23
                 the middle of the crash. BitMEX first blamed the server shut down on “a hardware issue with our
           24
                 cloud service provider,” before later claiming, without any support, that the server failure was the
           25
                 result of an attack by a “botnet.”
           26
                         222.      When the servers were restored, bitcoin’s price had stabilized, preventing the need
           27
                 for BitMEX to dip into its Insurance Fund. The traders who had hit their margins during the
           28
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             1
                 crash, however, were liquidated nonetheless. In short, a conveniently timed server outage turned a
             2
                 potentially catastrophic loss for BitMEX’s Insurance Fund into a profit-item.
             3
                        223.       BitMEX could remove the potential for these manipulative actions and prevent
             4
                 users from suffering from periods of denied access to a moving market by prohibiting its system
             5
                 from accepting any transactions during these freezes. Instead, BitMEX profits from the system it
             6
                 employs, either by having its for-profit Insider Trading Desk manipulate the markets in such
             7
                 freezes, by selling the right to do so, or by profiting from liquidations that occur while customers
             8
                 are unable to escape increasingly unfavorable positions.
             9
                      BITMEX TRADES AGAINST ITS CUSTOMERS USING SENSITIVE INSIDER
           10         INFORMATION FROM EXCHANGE AND STRATEGIC SERVER FREEZES
           11           224.       Plaintiff repeats and re-alleges the allegations contained in every preceding

           12    paragraph as if fully set forth herein.

           13           225.       BitMEX is not the only entity that offers bitcoin or ether swaps. BitMEX,

           14    however, deliberately structures its products and operations with features more akin to a casino,

           15    focusing on products that expose its customers to greater volatility and an increased risk of loss.

           16           226.       In order to understand how BitMEX’s products were designed to expose customers

           17    to risk and ultimately to be subject to manipulation, it is helpful to consider one of BitMEX’s

           18    earliest and still most popular product: the XBTUSD Perpetual Contract, which BitMEX

           19    describes as “the most traded cryptocurrency product of all time,” as over two trillion have been

           20    sold. This product, with features that resemble a swap, allows traders to buy or sell a contract that

           21    tracks the price of the exchange rate between bitcoin and the U.S. Dollar. If you buy the contract,

           22    you will make a profit if the price of bitcoin goes up in U.S. Dollars. Conversely, if you sell the

           23    contract, you will make a profit if the price of bitcoin goes down in U.S. Dollars— effectively a

           24    short sale on the price of bitcoin.

           25           227.       To determine the “price” of a given crypto-asset for the calculation of the funding

           26    rate for a perpetual contract based on it, BitMEX looks to other exchanges that allow customers to

           27    trade that crypto-asset directly. BitMEX employs an automated process that collects and weighs

           28    prices from these other exchanges to determine the BitMEX price. During most of the Relevant
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                 Period, BitMEX used a very small number of reference exchanges, most of which are located in
             2
                 San Francisco, California, making the BitMEX prices more volatile and more susceptible to
             3
                 manipulation.
             4
                        228.       BitMEX allows customers to buy or sell these contracts using a number of
             5
                 different order types. In addition to market orders that are executed immediately, BitMEX also
             6
                 offers Limit Orders, Stop Orders, and Take Profit orders, all of which respond to specific pricing
             7
                 conditions set by the user; these orders either come into existence or are removed from the order
             8
                 book when a specific pricing condition is met.
             9
                        229.       BitMEX also allows all three of these order types to be “Hidden,” meaning that
           10
                 they will not be visible to other users. Normal market participants cannot identify these contracts
           11
                 by looking at the list of open orders, but hidden orders will trigger when their conditions are met.
           12
                 These orders are useful to customers who do not want to signal their trading intentions to the
           13
                 market as a whole. For example, if a trader possesses a large number of XBTUSD contracts that
           14
                 they want to sell when the price reaches $1,000, public knowledge of the anticipated sale might
           15
                 decrease prices; by keeping this trade hidden, the trader avoids this undesirable effect.
           16
                        230.       BitMEX goes even further to allow its traders to hide information by allowing
           17
                 “iceberg orders”, which are mostly hidden orders that are partially visible. Thus, a trader can
           18
                 issue an order that will buy 100 XBTUSD contracts with a limit price of 100, but tell the market
           19
                 that he will only purchase 10 such contracts. This option is appealing for traders who wish to
           20
                 create the illusion of activity in the event that other traders are monitoring trades as they are
           21
                 completed. For example, if there is a hidden order to buy up to 100 XBTUSD at $100 and 10
           22
                 XBTUSD are available at that price, the XBTUSD will be purchased even though no buy order at
           23
                 that price was public. A very savvy trader could realize that this order had been hidden and
           24
                 deduce the likely presence of additional hidden volume. An iceberg order in this situation would
           25
                 mask the volume of the outstanding order. This masking is thus beneficial to the trader
           26
                 purchasing an order because it prevents other traders from seeing the full extent of orders in the
           27
           28
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                 market. BitMEX customers thus navigate a highly complicated market in which only a portion of
             2
                 the market activity is publicly visible.
             3
                        231.       To draw customers with the promise of casino-like returns, BitMEX allows traders
             4
                 to leverage their position up to 100 times the amount of collateral, or “margin,” they post. Put
             5
                 differently, traders can buy or sell 100 bitcoin worth of XBTUSD contracts for only 1 bitcoin of
             6
                 collateral. This leverage magnifies both gains and losses: if the price of the XBTUSD goes up, a
             7
                 buyer who is 100X leveraged will experience 100 times the profit, but if the price declines even 1
             8
                 percent, the buyer will have lost all his collateral. In this way, BitMEX structures its products to
             9
                 offer the allure of large, lottery-ticket payoffs at an apparently low cost.
           10
                        232.       One way in which BitMEX benefits from these highly leveraged trades is that its
           11
                 commissions are calculated based on the leveraged position, not on the underlying collateral.
           12
                 Thus, where BitMEX advertises a commission of 0.075 percent for the XBTUSD Perpetual
           13
                 Contract, that percentage refers to the amount of the unleveraged position. For a 100X leveraged
           14
                 derivative, BitMEX actually charges a commission of 7.5 percent.
           15
                        233.       BitMEX attempted to make these highly leveraged trades more appealing to its
           16
                 customers by promising to cap their liability. To do so, BitMEX relies on a system that limits
           17
                 losses to the collateral through automatic liquidation. Using a computer program known as a
           18
                 liquidation engine, BitMEX automatically closes any position with unrealized losses equal to half
           19
                 of the amount of the posted collateral.
           20
                        234.       BitMEX describes this policy as designed to prevent losses greater than the
           21
                 collateral posted by the trader and to ensure that the winner receives their full profits. But under
           22
                 the guise of capping losses, BitMEX uses this liquidation system to lure traders into a false sense
           23
                 of security. As discussed below, BitMEX’s system encourages traders to place highly leveraged
           24
                 bets under this pseudo-protection but instead takes their money in liquidations.
           25
                        235.       BitMEX’s model encourages its users to experience volatility disproportionate to
           26
                 their collateral. The lynchpin to this is BitMEX’s automatic liquidation system. The system is the
           27
                 brainchild of Delo and Dwyer, who designed and conceived it. The automatic liquidation system,
           28
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             1
                 however, does more than liquidate positions with insufficient collateral—it also creates
             2
                 substantial profits for BitMEX at the expense of its customers.
             3
                        236.       Ostensibly, in order to prevent winners from being adversely affected by the lack
             4
                 of a counterparty’s collateral, BitMEX agrees to cover their winnings. In exchange, it
             5
                 automatically takes the loser’s collateral. It then seeks to sell the position on the market at the best
             6
                 price available, with the purchaser stepping into the shoes of the liquidated party with
             7
                 responsibility for covering the counterparty’s profits after sale. This process of taking the loser’s
             8
                 collateral in exchange for covering the winner’s profits until a counterparty is found is
             9
                 accomplished through the automatic liquidation system.
           10
                        237.       BitMEX, however, does not wait to liquidate until the collateral can no longer
           11
                 cover the losses. Instead, for highly leveraged trades, it liquidates when the collateral is still worth
           12
                 approximately twice the losses incurred, even though the trader has half of the initial collateral
           13
                 remaining. Even if the system is able to find a price for the position after the liquidation that
           14
                 would have allowed the trader to recoup some losses, the trader receives nothing. Instead,
           15
                 BitMEX pockets that recovery for itself and puts it into its “Insurance Fund.”
           16
                        238.       To use an example derived from information available on BitMEX’s website,
           17
                 consider a trader who has taken a long position on 100 ether using only 1 bitcoin as collateral
           18
                 while bitcoin and ether are each trading at $4,000. This trader is 100X leveraged, such that a rise
           19
                 in the price of ether by $10 will cause the trader to gain $1,000. Because of this level of leverage,
           20
                 the trader runs a substantial risk of not being able to pay off an unsuccessful contract; his
           21
                 collateral can absorb only a $40 decrease in the price of ether. The price at which the trader’s
           22
                 collateral can no longer cover the losses on the position is the “bankruptcy price.” In this
           23
                 example, the bankruptcy price is slightly over $3,960, as ether falling to that price would mean
           24
                 that the one bitcoin used as collateral would exactly cover the losses. Rather than using this
           25
                 bankruptcy price as the liquidation point, BitMEX imposes a “maintenance margin,” commonly
           26
                 between 0.5 percent and 1 percent. If the margin is 0.5 percent, the position will automatically be
           27
                 liquidated if the price of ether falls to $3,980. This maintenance margin is remarkable relative to
           28
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                 the amount of leverage in the position, as a change of one half of one percent in the price of
             2
                 bitcoin will result in an automatic liquidation.
             3
                        239.       If the price hits $3,980 and this liquidation occurs, BitMEX will seize the
             4
                 collateral and then seek to sell the 100-ether position to another customer, while covering the
             5
                 gains and without terminating the contract of the original counterparty. If this sale occurs at a
             6
                 price of $3,978, reflecting a $2 bid-ask spread, the position as a whole will have incurred a loss of
             7
                 $2,200 against the initial $4,000 wagered—a $22 loss multiplied by the 100x leverage. BitMEX,
             8
                 which takes the full collateral, has accordingly profited $1,800 from the liquidation of its
             9
                 customers’ position and places this profit in the Insurance Fund. The trader, meanwhile, loses the
           10
                 full $4,000.
           11
                        240.       The profitability of the Insurance Fund is thus tied to the liquidity of the market—
           12
                 as BitMEX itself has stated, the Insurance Fund will profit from each liquidation as long as the
           13
                 bid-ask is smaller than the maintenance margin.
           14
                        241.       Although BitMEX calls this fund an “Insurance Fund,” BitMEX has not
           15
                 recognized any legal obligation to maintain any particular amount in reserve or to use the reserve
           16
                 for only specified purposes. At any time, BitMEX can empty some or all of the Insurance Fund
           17
                 for any purpose it chooses.
           18
                        242.       The structure of BitMEX’s liquidation system means that it almost always profits
           19
                 BitMEX to liquidate a position. For BitMEX to lose, the market has to be so illiquid that a
           20
                 position that is halfway to being so unprofitable that it consumes the posted collateral declines
           21
                 further until it completely consumes the collateral before BitMEX can sell. In the vast majority of
           22
                 cases in which there is sufficient liquidity, BitMEX will profit when it liquidates the position of
           23
                 one of its customers.
           24
                        243.       Accordingly, BitMEX’s Insurance Fund shows consistent and substantial overall
           25
                 profit from these liquidations. As their own data shows, the Insurance Fund has grown every year,
           26
                 as BitMEX takes in far more from liquidating its customers’ positions than it pays out to cover
           27
                 contracts it cannot close quickly enough, providing an enormous source of profit beyond the
           28
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             1
                 commissions it charges. In fact, the Insurance Fund grows in value nearly every day: over the 100
             2
                 days preceding January 25, 2021, it began only 15 of them with a balance less than it began on
             3
                 the day before. In fact, as of March 13, 2021 the Insurance Fund contained 37,400 bitcoin,
             4
                 representing approximately 0.2 percent of the total bitcoin in circulation. Moreover, BitMEX
             5
                 partitions the fund by contract type, and, when no more contracts of a given type remain (because,
             6
                 for example, the contract was tied to a time period that expired), the portion of the Insurance Fund
             7
                 for that contract type is retained by BitMEX as profit.
             8
                          244.       This relationship has been established through quantitative expert analysis. By
             9
                 comparing the number of recent liquidated positions to the growth of BitMEX’s Insurance Fund,
           10
                 this analysis has concluded that, on average during the period between July 26, 2019, and January
           11
                 25, 2018, the growth of the Insurance Fund increased by 0.78 bitcoin for every position that was
           12
                 liquidated in a given day, with BitMEX liquidating an average of 311 positions a day—equating
           13
                 to a daily increase in the Insurance Fund of over $11,300,000, at bitcoin’s current price.
           14
                          245.       Because BitMEX liquidates positions when they are sufficiently out of the money,
           15
                 even if for only a very short period, it profits from high volatility. In a highly volatile market,
           16
                 more traders will hit their liquidation points and be liquidated. If a market vacillates sufficiently,
           17
                 both long and short traders may be liquidated in a day that saw relatively little ultimate movement
           18
                 (i.e., a day with significant intra-day price movement). Because of the high leverage used by
           19
                 BitMEX traders, even transitory swings of one percent in each direction can cause liquidations.
           20
                 This extreme sensitivity to volatility makes the BitMEX exchange an attractive target for
           21
                 manipulation by its corporate insiders who can profit from liquidations through its Insurance
           22
                 Fund.
           23
                          246.       The relationship between volatility and liquidations has become evident through
           24
                 an expert statistical analysis of liquidations and the volatility of the popular XBTUSD Perpetual
           25
                 Contract. This analysis has shown that liquidations follow volatility almost in lockstep; this result
           26
                 is significant to a 95 percent confidence level.
           27
           28
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             1
                        247.       The correlation between volatility and liquidation volume shows a high correlation
             2
                 coefficient of 0.84 from July 2019 to January 2021, based on available data. The result is
             3
                 statistically significant to a 95 percent confidence level.
             4
                        248.       Because liquidations are more common during periods of high volatility and
             5
                 because BitMEX profits from the majority of its liquidations, we would expect to see the
             6
                 Insurance Fund grow as volatility increases. Sure enough, expert analysis has revealed that this
             7
                 relationship holds. During periods of high volatility, the insurance fund grew more than 44
             8
                 percent faster than it did generally, and more than twice as fast than it grew in periods of low
             9
                 volatility. A true “insurance fund,” by contrast, if it were serving a legitimate insurance function,
           10
                 would generally decline in periods of higher volatility, not increase. The fact that the BitMEX
           11
                 Insurance Fund systematically and predictably increases in periods of higher volatility provides
           12
                 statistical support that it is a fraudulent device designed to enrich the owners of BitMEX at the
           13
                 expense of its customers.
           14
                        249.       The growth of the Insurance Fund cannot be justified by the increased need for
           15
                 insurance based on increased trading volume. As an expert quantitative analysis has revealed, the
           16
                 Insurance Fund has grown much faster than the trading volume on BitMEX. As it was observed,
           17
                 that while BitMEX’s trading volume has increased, the Insurance Fund has grown far more
           18
                 rapidly. The ratio between the Insurance Fund and the value of the positions increased sharply
           19
                 since 2017. In 2017, every bitcoin in the Insurance Fund supported 240 bitcoin of daily trading
           20
                 volume. By 2020, the bloated Insurance Fund had one bitcoin for every 7 bitcoin of daily trading
           21
                 volume.
           22
                        250.       BitMEX has thus profited from the vast majority of the automatic liquidations it
           23
                 conducts on behalf of its customers. The structure of BitMEX’s automatic liquidations creates an
           24
                 incentive for BitMEX to induce liquidations as long as there is sufficient liquidity in the market
           25
                 that the bid-ask spread is smaller than the maintenance margin. As long as this liquidity is
           26
                 present, BitMEX profits when it causes its customers’ positions to liquidate.
           27
           28
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             1
                        251.       BitMEX routinely disadvantages its customers through server “lock-outs” during
             2
                 which customers cannot access their accounts. Defendants claim that technical issues in
             3
                 BitMEX’s server, not found in other exchanges, locked out users at crucial times. These lock-
             4
                 outs, however, enabled BitMEX to profit through its Insurance Fund by liquidating customer
             5
                 accounts that could not trade.
             6
                        252.       BitMEX’s risk-management process, which performs the system’s automatic
             7
                 liquidations, must check the entire system whenever the price of a future changes. This process,
             8
                 although sometimes completed quickly, is the supposed cause of BitMEX’s servers freezing on
             9
                 average between two and three times a day. During these server freezes, customers are locked out
           10
                 of their accounts and lose the ability to trade until the servers unfreeze.
           11
                        253.       When BitMEX’s servers are frozen, preventing customers from executing any
           12
                 trades, the prices of the derivative contracts are not frozen — trades and liquidations occur even
           13
                 while customers are locked out of their accounts. BitMEX continues processing certain
           14
                 previously placed transactions while refusing to accept transactions from others. This means that
           15
                 a trader can be prevented from executing a trade by a server freeze only to find, once the server
           16
                 reopens, that the price at which they sought to transact is no longer available. Traders can also
           17
                 find that an offer they had made before the freeze but sought to retract during it has since been
           18
                 accepted.
           19
                        254.       BitMEX’s server freezes also enable automatic liquidations, which are profitable
           20
                 to BitMEX, because these liquidations continue to occur during the freeze. A customer who has a
           21
                 100X leveraged position on 1 bitcoin that will liquidate if the price of bitcoin falls from $4,000 to
           22
                 $3,980, for example, would be expected to sell when the price hits $3,985, accepting a loss of
           23
                 $1,500 but retaining the remaining capital of $2,500. If the frozen servers prevent this sale from
           24
                 transpiring, however, the customer will lose all of her capital when the price hits $3,980. Such a
           25
                 scenario profits BitMEX, which pockets the capital.
           26
                        255.       BitMEX could remove the potential for these manipulative actions and prevent
           27
                 users from suffering from periods of denied access to a moving market by prohibiting its system
           28
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             1
                 from processing any transactions during these freezes. Instead, BitMEX has deliberately built a
             2
                 system that profits from the liquidations that predictably occur while its customers are unable to
             3
                 escape unfavorable positions.
             4
                        256.       BitMEX’s server freezes and lock-outs are not a result of unavoidable technical
             5
                 limitations. Similar server issues are not present in other exchanges that regularly handle far more
             6
                 transactions per second.
             7
                        257.       While BitMEX has not made all of the data about its server capacity public, it has
             8
                 indicated that, as of May 2019, it was processing around 200 million trades per week, purportedly
             9
                 taxing its system and leading to server shutdowns. This equates to an average load of around 330
           10
                 trades a second. BitMEX has indicated that its peak transactions can reach 30 times the average,
           11
                 for a peak of just under 10,000 trades a second. ByBit, which also transacts primarily in
           12
                 derivatives, can process 100,000 transactions a second. Binance, another large exchange, can
           13
                 process 1.4 million transactions a second, more than 100 times the peaks that purportedly cause
           14
                 BitMEX’s servers to freeze. These exchanges have not experienced the pattern of repeated and
           15
                 sustained freezes that have become commonplace on BitMEX, and BitMEX has provided no
           16
                 explanation for why its servers are supposedly so inadequate.
           17
                        258.       The server freezes on BitMEX are demonstrably not caused by server load, as
           18
                 shown by a statistical analysis of transaction volume. For example, on May 12, 2019, BitMEX
           19
                 announced a new record of over $10 billion in transaction volume, with no server incidents
           20
                 reported that day.
           21
                        259.       Expert analysis shows that the average number of trades surrounding server
           22
                 freezes falls below the top 23rd percentile of total trading volume relative to BitMEX’s historical
           23
                 averages; in other words, the average volume before a freeze would not be a notably busy day for
           24
                 BitMEX. Additionally, fewer than 10 percent of the server outages reported by BitMEX occurred
           25
                 during periods when BitMEX trading volume was in the top 5 percentile of BitMEX trading
           26
                 volumes. The analysis of freezes from March 1, 2018, to January 26, 2021, conclusively shows
           27
                 that most of BitMEX’s freezes do not come at periods of high transaction volume.
           28
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             1
                        260.       BitMEX’s servers are thus not freezing because of high volume, which would be
             2
                 the case if the freezes were a consequence of deficient servers. While promoting its trading
             3
                 platform as best-in-class, BitMEX has recklessly or intentionally failed to disclose the
             4
                 susceptibility of its platform to these freezes and their predictable, negative effects on
             5
                 customers— and beneficial effect for BitMEX.
             6
                        261.       In early 2019 BitMEX finally disclosed to customers, and only vaguely, that
             7
                 undefined system overloads might disrupt access to the trading platform. But even this disclosure
             8
                 failed to disclose the frequency of system overloads, their relationship to volatility, their selective
             9
                 effect on only certain kinds of transactions, or the likelihood that they would harm customers to
           10
                 BitMEX’s benefit.
           11
                        262.       By failing to disclose the risk of these freezes during high volatility, and the
           12
                 likelihood of their negative impact on customers, while simultaneously touting its ever-increasing
           13
                 volume and supposed technical sophistication, BitMEX deceived customers into trading by
           14
                 recklessly making misleading statements of material facts and omitting to state material facts
           15
                 necessary to make BitMEX’s statements not misleading.
           16
                        263.       Just as fundamental, with respect to its disclosures since early 2019, BitMEX has
           17
                 at least recklessly claimed that it “shall make reasonable efforts to ensure that the Services are
           18
                 available to you” and that it “will use commercially reasonable efforts to avoid downtime of the
           19
                 Services during anticipated peak hours.” As to any system overloads or freezes that BitMEX may
           20
                 not have initiated deliberately, BitMEX failed to use reasonable or commercially reasonable
           21
                 efforts to avoid them, and knowingly or recklessly claimed otherwise, further deceiving
           22
                 customers into trading on the platform.
           23
                        264.       In all of these respects regarding its server freezes, and in light of BitMEX’s
           24
                 access to the occurrences on its own servers, BitMEX has either deliberately or recklessly
           25
                 employed an artifice to defraud its customers.
           26
                        265.       At the core of BitMEX’s operation, but hidden from regular customers, was
           27
                 BitMEX’s Insider Trading Desk. This Insider Trading Desk, staffed by BitMEX employees,
           28
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             1
                 exploited unique functionality that it was granted to profit in its trades against BitMEX
             2
                 customers. This unique and hidden functionality afforded to the Insider Trading Desk meant that
             3
                 customers promised a fair playing field were in fact being manipulated by BitMEX itself.
             4
                 BitMEX used these powers to manipulate the prices of its bitcoin and ether derivatives.
             5
                        266.       Between 2015 and 2016, Hayes approached Liquidbit, an over-the-counter crypto
             6
                 trading platform, about the possibility of building into the BitMEX platform a hidden trading desk
             7
                 that would be able to utilize functionality not available to other customers. Ultimately, before
             8
                 2018, BitMEX reengineered BitMEX’s foundational software to empower the operation of what
             9
                 it internally dubbed “Risk Management” or the “Internal Trading Desk.”
           10
                        267.       The Insider Trading Desk was managed by Dwyer with at least three key
           11
                 employees, including Stuart Elkington and Nick Andrianov. This desk operated continuously
           12
                 throughout the Relevant Period to manipulate BitMEX and cause artificial prices for BitMEX
           13
                 derivatives, include derivatives of bitcoin and ether.
           14
                        268.       The traders at the Insider Trading Desk had a number of advantages that they
           15
                 exploited to profit BitMEX:
           16
                        269.       First, internal traders could view and exploit hidden information from other
           17
                 traders. As discussed above, BitMEX offered customers a number of different order types that
           18
                 purported to be “hidden.” But these offers were not in fact hidden from BitMEX and its insiders.
           19
                 The operators of the Insider Trading Desk had what BitMEX internally referred to as “God
           20
                 Access” that allowed them to see all of the information of an account, including any hidden
           21
                 orders and the liquidation points for all orders. They were also provided with automated systems,
           22
                 built by BitMEX to enable their manipulation, that told them how the market was likely to move
           23
                 by assessing the impact of the hidden orders when they triggered.
           24
                        270.       The ability to see hidden orders was combined with the ability to see another
           25
                 crucial piece of hidden information: the leverage amounts and corresponding liquidation prices
           26
                 for customers’ open positions. This information made it easy to profitably manipulate the market.
           27
                 If, for example, the Insider Trading Desk were to see that a number of short bitcoin derivatives
           28
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             1
                 are near their liquidation point, it could enter a large buy order. This order would cause the price
             2
                 of bitcoin on the BitMEX exchange to rise, triggering the liquidation of these swaps. The
             3
                 liquidation would create a buy order for the liquidated contract, further increasing the price. Once
             4
                 this chain of liquidations had caused the price to rise far beyond the price at which the Insider
             5
                 Trading Desk made its initial purchase, it could sell bitcoin at this higher price to fulfill the forced
             6
                 buy orders. Because these trades are automatic, an insider desk could execute this trade very
             7
                 quickly and with a high confidence of success. The traders at the Insider Trading Desk had tools
             8
                 that showed them what liquidations would occur across the entirety of BitMEX’s platform if
             9
                 prices moved in any given direction.
           10
                        271.       The access to hidden information thus provided the operators of the Insider
           11
                 Trading Desk with a substantial and secret advantage over BitMEX customers. By analyzing the
           12
                 impact of hidden trade orders and liquidation prices, BitMEX insiders could determine when
           13
                 placing a large order would cause the hidden orders to trigger. BitMEX could then assess whether
           14
                 these hidden orders would affect prices in a way that would cause liquidations. These liquidations
           15
                 would very likely be profitable to BitMEX—because the price shift would be driven by
           16
                 BitMEX’s own manipulative trade rather than legitimate market forces, it was likely to quickly
           17
                 reverse in time for BitMEX to sell at a profit.
           18
                        272.       But access to hidden information was not the only advantage possessed by
           19
                 BitMEX insiders.
           20
                        273.       Second, the Insider Trading Desk was able to trade during server freezes and
           21
                 customer lock-outs. Even though BitMEX told its customers that these freezes were a
           22
                 consequence of technical limitations, these same limitations did not apply to BitMEX’s internal
           23
                 traders. While its customers were unable to enter or withdraw orders, the Insider Trading Desk
           24
                 could trade freely.
           25
                        274.       Even standing alone, this ability to trade during server freezes would represent a
           26
                 massive, unfair, and undisclosed trading advantage. While normal traders were unable to
           27
                 withdraw their offers and orders, BitMEX traders would be able to exploit those positions.
           28
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             1
                 BitMEX traders could also look to prices on non-frozen exchanges, knowing that BitMEX prices
             2
                 would converge on market prices when the freeze ended.
             3
                        275.       For example, imagine that the servers freeze when the price of Bitcoin is $100.
             4
                 During the freeze, the price of Bitcoin rises to $105. The Insider Trading Desk, able to trade
             5
                 during the freeze, can purchase XBTUSD contracts that are valued at $100 from customers who
             6
                 cannot withdraw those offers in light of market movements. When the servers unfreeze, BitMEX
             7
                 would be holding XBTUSD contracts worth $105 to the detriment of the customers trapped in
             8
                 unfavorable positions during the freeze.
             9
                        276.       These two advantages enjoyed by the Insider Trading Desk—access to hidden
           10
                 information and the ability to trade during freezes—compounded each other to allow its operators
           11
                 to dominate the BitMEX platform. BitMEX’s Insider Trading Desk exploited these advantages to
           12
                 profit itself at its customers’ expense. During a freeze, BitMEX insiders would analyze the hidden
           13
                 positions of normal customers in order to determine which moves would cause profitable
           14
                 liquidations. These insiders could perform these calculations with a high degree of precision
           15
                 because other market participants were frozen; the only transactions during the freeze would
           16
                 result from the BitMEX insiders themselves and the triggered orders that they had analyzed.
           17
                 Competing against transparent customer accounts frozen in place, BitMEX was able to profit at
           18
                 the expense of its customers.
           19
                        277.       BitMEX was not able to conceal its Insider Trading Desk forever. On April 28,
           20
                 2018, an independent researcher requested comment from BitMEX regarding “information on
           21
                 record about insider accounts (possibly friends / acquittances of Bitmex staff) having special
           22
                 advantages over other Bitmex users,” BitMEX responded the same day, denying that it gave
           23
                 “preferential treatment” to any “customers.” This was false.
           24
                        278.       Just two days later, on April 30, 2018, BitMEX updated its terms of service and
           25
                 for the first time revealed that “BitMEX has a for-profit trading business that, among other things,
           26
                 transacts in products traded on the BitMEX platform,” Ex. 19. BitMEX thus revealed that it had
           27
                 historically maintained a for-profit desk trading on its own platform, which was trading against its
           28
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             1
                 own customers. What it did not reveal, however, was that the Insider Trading Desk enjoyed
             2
                 massive advantages over regular customers and exploited those advantages to profit at their
             3
                 expense, including by inducing liquidations.
             4
                        279.       BitMEX also revealed that its trading desk had the monopoly on market making
             5
                 for its bitcoin options product. BitMEX hid the role of its trading desk by labeling the employee
             6
                 in charge of the desk as part of “Risk Management.”
             7
                        280.       Almost immediately following this announcement, both BitMEX’s General
             8
                 Counsel and outside counsel left the company. The General Counsel announced his resignation
             9
                 the following day, acknowledging to other BitMEX employees that he was doing so specifically
           10
                 because he was troubled by BitMEX’s secret trades against its own customers. Within a month,
           11
                 BitMEX’s outside counsel, Sullivan & Cromwell, had terminated its relationship as well.
           12
                        281.       Even after this public revelation, BitMEX has continued to operate the Insider
           13
                 Trading Desk that exploited undisclosed advantages to profit at the expense of customers. In
           14
                 order to avoid detection, the employees of the Insider Trading Desk use anonymized “burner”
           15
                 email accounts through Google’s “gmail” platform to create accounts on the BitMEX platform
           16
                 and undertake the same secret anti-customer trading. Therefore, Defendants engaged in active
           17
                 concealment of their fraud.
           18
                        282.       The Insider Trading Desk is not even the only insider trading on BitMEX. Hayes
           19
                 himself trades on the platform, against BitMEX’s customers. The customers on the other side of
           20
                 Hayes’ contracts have no way of knowing that they are trading against an insider with access to
           21
                 non-public information about their trades, including their liquidation limits. Hayes has even
           22
                 gloated about the possibility of such misconduct: “The digital token trading markets like
           23
                 traditional forex markets are not regulated, and will struggle to be. Therefore, if you can’t
           24
                 stomach insider trading, then don’t take on short-term positions.”
           25
                        283.       In addition to placing strategic trades on its own platform using the Insider Trading
           26
                 Desk in order to liquidate its own customers, BitMEX further manipulates the prices of its
           27
           28
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             1
                 derivatives through strategic and unlawful trading of the crypto-commodities underlying its
             2
                 derivatives on reference exchanges.
             3
                         284.      During much of the Relevant Period, BitMEX deliberately used a relatively
             4
                 limited number of exchanges to price bitcoin and ether. For part of 2019, for example, BitMEX
             5
                 determined the price of ether by referring to just three “reference” spot exchanges: Coinbase Pro,
             6
                 Bitstamp, and Kraken.
             7
                         285.      Relying on only a small number of exchanges provided BitMEX with an
             8
                 additional method of manipulating the prices of the derivatives it sold its customers. By making a
             9
                 series of orders to push the price up or down on a reference exchange, Defendants could create
           10
                 short-lived price fluctuations on BitMEX. Defendants actively manipulated prices on reference
           11
                 exchanges in order to enable its Insider Trading Desk to profit by liquidating customer accounts.
           12
                         286.      In order to facilitate this manipulation, BitMEX would transfer onto other
           13
                 exchanges bitcoins it had obtained through profitable trades on its own platform. BitMEX would
           14
                 then use those funds to buy or sell the referenced crypto-commodities on its reference exchanges.
           15
                 These purchases would then cause the price of the derivative on BitMEX to move towards the
           16
                 manipulated price on the reference exchange. This effect would be short-lived, however, as
           17
                 market forces would correct the price on the reference exchange. Defendants could thus cause
           18
                 short spikes or dips in the prices of BitMEX derivatives by manipulating reference exchanges.
           19
                         287.      BitMEX was uniquely positioned to benefit from these short fluctuations for at
           20
                 least two reasons. First, as discussed above, BitMEX has access to all of the hidden information
           21
                 of its customers and trades against them on BitMEX’s platform. BitMEX can therefore calculate
           22
                 which market movements would be profitable, either by making BitMEX money on its internal
           23
                 trades or by liquidating customer accounts at a price that would be profitable for BitMEX.
           24
                 Because BitMEX had unique tools that allowed it to determine which market movements would
           25
                 profit BitMEX by liquidating its customers’ positions or advancing its trades against its
           26
                 customers, it alone knew exactly how to move its reference exchanges to maximize its
           27
                 profitability.
           28
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             1
                        288.       Second, BitMEX’s liquidation system enables it to profit from manipulation that
             2
                 would not be profitable to normal traders. A normal trader will struggle to profit from a series of
             3
                 purchases that temporarily increase the price of a crypto-commodity because, in selling the
             4
                 purchased asset to take advantage of the higher prices, the seller creates downward pricing
             5
                 pressure that deflates the prices. But BitMEX’s liquidation system means that it can benefit from
             6
                 short-lived fluctuations. If BitMEX’s Insider Trading Desk’s undisclosed access into consumer
             7
                 accounts indicated that there would be a profitable set of liquidations if the price of Bitcoin rose
             8
                 to $100 when it was currently at $95, then BitMEX could transfer funds to a reference exchange
             9
                 and pump the price of Bitcoin on that exchange. Even if BitMEX did not make money on the
           10
                 pump and dump itself, it would profit from the liquidations triggered by the price of Bitcoin
           11
                 briefly crossing that $100 threshold. Because BitMEX liquidates positions as soon as they cross a
           12
                 liquidation threshold, even short price swings can be profitable for BitMEX and harmful for its
           13
                 customers.
           14
                        289.       Defendants’ manipulation can be detected through analysis of abnormal trading
           15
                 patterns on Bitstamp, one of the reference exchanges. It was discovered that certain suspicious
           16
                 trading patterns were aligned with abnormal trading on BitMEX itself. Moreover, these instances
           17
                 occurred on days when BitMEX itself was particularly positioned to profit from them because
           18
                 Kraken, another reference exchange, was down for maintenance and unavailable for pricing
           19
                 derivatives on BitMEX.
           20
                        290.       For example, on May 17, 2019, bitcoin lost 20 percent of its value on Bitstamp for
           21
                 about 30 minutes before recovering. This flash crash followed a 15-minute period of particularly
           22
                 abnormal trading activity on Bitstamp and BitMEX. From approximately 2:55 to 3:10 AM
           23
                 (UTC), an unusually large volume of 3,071 bitcoin were sold on Bitstamp. In contrast, during the
           24
                 previous day, only 83 bitcoins were sold every 15 minutes on average.
           25
                        291.       This unusually large volume of sell orders caused the price of bitcoin on Bitstamp
           26
                 to fall precipitously from $7,730 to $6,178—a decline of 20 percent over the course of only 15
           27
                 minutes. At 3:10 AM, the volume of sale orders suddenly normalized, leading to an abrupt
           28
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             1
                 reversal in the price of bitcoin, in which it recovered to $7,350, an increase of 19 percent, during
             2
                 the following 2 to 15 minutes. This unusual trading activity on Bitstamp had an immediate and
             3
                 significant impact on the price of the XBTUSD Perpetual Contract on BitMEX, given that
             4
                 BitMEX uses Bitstamp as one of only three reference exchanges for the price of that contract.
             5
                        292.       The short volume of the BitMEX XBTUSD Perpetual Contract spiked during this
             6
                 period, in a pattern highly similar to that observed with the Bitstamp sales volume. The volume of
             7
                 short sales on BitMEX began at about the same time as the aggressive sales on Bitstamp (2:55
             8
                 AM), although the short volume on BitMEX was larger than on Bitstamp, and continued at that
             9
                 high level up until 3:10 AM. On BitMEX, however, there was an abrupt halt to the shorting
           10
                 activity at 3:10:49 AM, before resuming at a significantly lower level at 3:12:33 AM, as the price
           11
                 of bitcoin and the XBTUSD Perpetual Contract recovered. During this 104-second period with no
           12
                 shorting activity on BitMEX, the price of bitcoin on Bitstamp immediately recovered to above
           13
                 $7,000, before temporarily falling back to $6,699, when a lower volume of shorting activity
           14
                 resumed on BitMEX. After that time, the price of bitcoin and the XBTUSD Perpetual Contract
           15
                 quickly recovered again to approximately $7,350 over the following 8 to 10 minutes. This pattern
           16
                 demonstrates a high degree of correlation, and likely coordination, between the shorting activity
           17
                 on BitMEX and Bitstamp.
           18
                        293.       The relative timing of the short sales on BitMEX and the sell orders on Bitstamp
           19
                 also supports the conclusion that the trading likely involved cross-market manipulation. During
           20
                 this time period, a large increase in short positions on BitMEX was often followed by a large sell
           21
                 volume of Bitcoin on Bitstamp.
           22
                        294.       The short position on BitMEX spiked at 3:08:13 AM; three seconds later, 12.5
           23
                 bitcoin were sold on Bitstamp. Large volumes of BitMEX short sales also occurred at 03:08:26,
           24
                 03:08:36, 03:08:47, 03:08:51, and 3:08:58. All of these sales were followed by large sell volumes
           25
                 of bitcoin on Bitstamp within a few seconds. This would be consistent with a trader placing short
           26
                 orders on BitMEX in order to profit from a drop in prices from their subsequent sales of bitcoin
           27
           28
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             1
                 on Bitstamp. Within this single minute, more than 100 bitcoins (worth more than $600,000 at the
             2
                 time) were sold on Bitstamp, causing the price of bitcoin to drop by 2 percent.
             3
                        295.       Because this manipulation led to high but short-lived volatility, most possible
             4
                 manipulators could not have benefitted. A regular trader, even assuming they had the resources to
             5
                 engineer such manipulation, would have struggled to benefit from the dip before it reversed itself.
             6
                        296.       Instead, they would likely have lost money, having sold at a below-market price
             7
                 and unable to enter new orders in time to capitalize on the dip before it recovered.
             8
                        297.       BitMEX, however, profited substantially from these manipulated market
             9
                 movements. The high volatility in the price of the XBTUSD Perpetual Contract on BitMEX
           10
                 resulting from this unusual trading behavior caused an unusually large volume of customers’
           11
                 contract liquidations on BitMEX. As a consequence, the Insurance Fund increased by 750
           12
                 bitcoins, with a value (at the time) of approximately $5.4 million. In comparison, the average
           13
                 daily increase in the Insurance Fund was 140 bitcoins during the week before the event, and 49
           14
                 bitcoins on a daily average basis during the week after.
           15
                        298.       BitMEX, through its Insurance Fund, was therefore uniquely positioned to earn
           16
                 large profits from the high volatility of bitcoin prices on Bitstamp that occurred over this 30-
           17
                 minute period on May 17, 2019, in addition to any trading profits that either BitMEX or its
           18
                 principals may have earned as a direct result of the price manipulation on the two exchanges.
           19
                        299.       On other days during which when Kraken was undergoing scheduled maintenance,
           20
                 similarly suspicious trading activity occurred on Bitstamp and BitMEX. For example, on July 14,
           21
                 2019, Kraken was down for maintenance—thus increasing the weight of Bitstamp on BitMEX’s
           22
                 derivatives products. On that day, the price of ether dropped dramatically due to the sell order on
           23
                 Bitstamp by a single user, causing $164 million worth of liquidations on BitMEX. Again, only
           24
                 BitMEX was in a position to profit from this manipulation.
           25
                        300.       Indeed, BitMEX has consistently profited from suspicious Bitstamp trading that
           26
                 triggered volatility and liquidations on BitMEX. For example, on September 24, 2019, the price
           27
                 of bitcoin on Bitstamp fell 14 percent, from $9,500 to $7,998, between approximately 6:00 PM
           28
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             1
                 and 7:45 PM. The fall was caused by the sudden appearance of an unusually large volume of sell
             2
                 orders on Bitstamp, including unusually large individual sale orders. For example, in a two
             3
                 second period at 6:34 PM, 88 bitcoin, worth more than $800,000, were sold on Bitstamp. This
             4
                 sale was followed 10 minutes later by an unusually large volume of short sales on BitMEX. After
             5
                 falling to a low of $7,998 at approximately 7:45 PM, the price of bitcoin rapidly recovered to
             6
                 $8,500 by 8:45 PM, and to $8,600 around 9:30 PM. The resulting volatility of bitcoin prices
             7
                 caused the BitMEX Insurance Fund to increase by 22.5 bitcoin, worth $193,000, on that day.
             8
                        301.       Similarly, on March 12–13, 2020, the price of bitcoin and the XBTUSD Perpetual
             9
                 Contract on BitMEX also exhibited an unusually high level of volatility. From 10 PM on March
           10
                 12 to 2 AM on March 13, 2020, the price of bitcoin on Bitstamp dropped 38 percent from $5,800
           11
                 to $3,600. At 10:27:46 PM, 401 bitcoin, worth $2.3 million, were sold within one second on
           12
                 Bitstamp. This sale was accompanied by an unusually large volume of short sales on BitMEX
           13
                 during the following hour. The XBTUSD Perpetual Contract price on BitMEX reached a low of
           14
                 $3,600 at 2:15:25 AM on March 13, 2020. The BitMEX trading system then experienced a
           15
                 complete outage between 2:33 AM and 3:00 AM, during which time the price of bitcoin rapidly
           16
                 increased again on Bitstamp. BitMEX liquidated an estimated $5.8 billion worth of positions
           17
                 during a 2.5-hour window containing this outage. By approximately 10 AM on March 13, 2020,
           18
                 the price of bitcoin had recovered to approximately $5,800. As a result of this volatility, and the
           19
                 extended outage of the BitMEX trading system during much of this volatility, the BitMEX
           20
                 Insurance Fund increased by over 2,600 bitcoin, worth $15 million.
           21
                        302.       These instances of manipulation were uniquely structured to profit BitMEX at the
           22
                 expense of its customers. BitMEX knew exactly what changes would cause the most liquidations,
           23
                 and its liquidation system meant that it profited from even very brief periods of high volatility it
           24
                 generated.
           25
                        303.       The timing of server freezes on BitMEX is not random. The most important and
           26
                 profitable time for BitMEX to freeze, as shown, is during a period of high volatility; freezes
           27
                 during high volatility periods allow BitMEX insiders to liquidate more customers through
           28
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             1
                 strategic trading. Because volatility allows it to profit from liquidations, BitMEX is incentivized
             2
                 to freeze its servers during periods of high volatility, allowing BitMEX to liquidate positions
             3
                 while customers are locked out. The evidence compels the conclusion that BitMEX has
             4
                 consistently acted on those incentives.
             5
                         304.      In particular, expert statistical analysis conducted of the freeze periods reported on
             6
                 BitMEX’s website has revealed that the probability of outages is 876 percent higher when the
             7
                 volatility of Bitcoin prices is in the top one percentile. The result is statistically significant at a 95
             8
                 percent confidence level.
             9
                         305.      Expert analysis has shown that the server freezes most often occurred during the
           10
                 highest periods of volatility when BitMEX could effectively liquidate positions. That the timing
           11
                 of its server freezes maximizes BitMEX profits is reflected in a quantitative analysis of the
           12
                 relationship between server freezes and the growth of the Insurance Fund. That quantitative
           13
                 analysis revealed that, over a three-year period, the Insurance Fund grew over three times as fast
           14
                 on days with a server outage than in the surrounding days without a server outage.
           15
                         306.      BitMEX also freezes its servers at the expense of its customers to protect itself
           16
                 from losses. This sort of defensive freeze was demonstrated on March 12, 2020. On that day, the
           17
                 price of bitcoin fell from $7,200 to a 10-month low of $5,678 in just 15 minutes, and continued to
           18
                 fall from there, ultimately dropping below $4,000. As the price plummeted, BitMEX
           19
                 automatically liquidated over $700 million of its customers’ positions.
           20
                         307.      While liquidations are generally profitable for BitMEX, rapid and sustained
           21
                 movement in one direction threatens major losses for the Insurance Fund. If the price of Bitcoin
           22
                 were to continue to fall, bid-ask spread would become so great that BitMEX could not sell the
           23
                 liquidated positions above their bankruptcy price, causing losses that are designed to be covered
           24
                 by the Insurance Fund. This sort of event is exactly why BitMEX claims to maintain the
           25
                 Insurance Fund—BitMEX is supposed to draw from the fund to cover its losses under these
           26
                 circumstances.
           27
           28
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             1
                        308.       As prices fell, however, BitMEX did not immediately sell the positions it obtained
             2
                 through liquidation orders at a loss to its Insurance Fund. Instead, it kept its newly acquired
             3
                 positions open, allowing it to profit from liquidations if prices rose, while also creating a new risk
             4
                 that further declines would exacerbate the losses. This decision created economic liability for
             5
                 BitMEX unless the fall in bitcoin prices stopped and began to recover. This is when BitMEX’s
             6
                 servers froze, supposedly due to technical limitations rather than BitMEX’s economic interests.
             7
                        309.       The servers were only restored after Bitcoin’s price had stabilized, preventing the
             8
                 need for BitMEX to meaningfully deplete its Insurance Fund. Over the next day, BitMEX
             9
                 gradually resold the positions it had acquired through liquidation and the Insurance Fund had hit a
           10
                 new high. But this recovery was not passed along to the traders who had hit their margins during
           11
                 the crash, including those who were unable to exit their positions because of BitMEX’s
           12
                 supposedly frozen servers; they received nothing to compensate them for their $700 million in
           13
                 liquidated assets. In short, a perfectly timed server outage substantially mitigated a potential
           14
                 major loss for BitMEX’s Insurance Fund and helped it hit a new high the next day, while
           15
                 disadvantaging its own customers.
           16
                        310.       BitMEX first blamed the server shutdown on “a hardware issue with our cloud
           17
                 service provider,” before Reed later claimed, with no support, that the server failure was the result
           18
                 of an attack by a “botnet.” Mr. Reed promised to provide further explanation “in the coming
           19
                 days” but has yet to disclose any additional information nearly a year later.
           20
                        311.       This server freeze, like the others designed and intended to profit BitMEX by
           21
                 allowing it to liquidate customers locked in unfavorable positions, was not random or a technical
           22
                 glitch. It was a deliberate decision designed to protect BitMEX’s Insurance Fund at the expense
           23
                 of its customers.
           24
                        312.       To cover up extensive evidence of wrongdoing committed by the BitMEX’s
           25
                 Insider Trading Desk, instead of using their company’s “official” email addresses under the
           26
                 @bitmex.com email domain, Defendants used numerous anonymous “burner” email addresses
           27
                 hosted by public email service providers, such as @gmail.com addresses hosted by Google, Inc.,
           28
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             1
                 to register their own Insider Trading Desk “winner” accounts with BitMEX, in order to prevent
             2
                 the trading histories and associated illegal profits from being traceable back to BitMEX. Those
             3
                 anonymous BitMEX “winner” accounts used by the BitMEX’s own Insider Trading Desk were
             4
                 regularly closed and all associated user identity data and trading history data containing
             5
                 incriminating evidence deleted by Defendants. Therefore, Defendants engaged in active
             6
                 concealment of their fraud.
             7
                        313.       Moreover, the BitMEX’s Insider Trading Desk used numerous helper accounts
             8
                 registered under the names of individuals, often using fake identification documents, and
             9
                 “burner” email addresses, on the three reference spot exchanges (Kraken, Coinbase and
           10
                 BitStamp) that BitMEX used to calculate its index price for XBTUSD Perpetual Swap contracts
           11
                 with the purpose of using those helper accounts to manipulate the .BXBT index price, which
           12
                 controls the price of the XBTUSD Perpetual Swap contracts on BitMEX.
           13
                                          DERIVATIVES TRADED BY PLAINTIFF SOROKIN
           14
                        314.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           15
                 paragraph as if fully set forth herein.
           16
                        315.       On May 13, 2016, BitMEX launched its first swap product, a “perpetual bitcoin
           17
                 U.S. dollar leveraged swap product,” which it has described generally as “the XBTUSD Perpetual
           18
                 Swap” (“XBTUSD Bitcoin/US Dollar Perpetual Inverse Swap Contract”). BitMEX claims its
           19
                 XBTUSD Bitcoin/US Dollar Perpetual Inverse Swap Contract is “the most traded cryptocurrency
           20
           21
           22
           23
           24
           25
           26
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             1
                 product of all time.”
             2
                        316.       Between November 22, 2014 and February 9, 2020, BitMEX has had over 2.5
             3
                 trillion contracts traded on its platform. Most of that volume—more than two trillion contracts—
             4
                 has been in the XBTUSD Bitcoin/US Dollar Perpetual Inverse Swap Contract.
             5
                        317.       During Relevant Period, Plaintiff Sorokin directly traded (bought, sold and owned)
             6
                 the Bitcoin/US Dollar Perpetual Inverse Swap Contract with ticker symbol XBTUSD on both
             7
                 U.S. based Kraken and U.S. based BitMEX exchanges. Bitcoin/U.S. Dollar Swap Contract with
             8
                 ticker symbol XBTUSD traded by Plaintiff Sorokin on BitMEX is priced based on the underlying
             9
                 price is the XBT/USD exchange rate as recorded in the .BXBT Index, which Defendants’ Insider
           10
                 Trading Desk manipulated using automated software tools in conjunction with helper accounts
           11
                 on U.S. based “reference” exchanges Bitstamp, Kraken and Coinbase Pro, as alleged in this
           12
                 Complaint. Both the underlying .BXBT index and the swap contract XBTUSD are quoted in
           13
           14
           15
           16

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           18
           19

           20
           21
                 USD. Margin and PNL are denominated in Bitcoin. The above derivative contract meets the
           22
                 definition of a "swap" under CEA, 7 U.S.C. § 1a(47)(a)(IV), which defines "Swap" as: "(iv) …
           23
                 an agreement, contract, or transaction that is, or in the future becomes, commonly known to the
           24
                 trade as a swap." For example, TradingView, with 15 million monthly active site users and over
           25
                 40,000 publishers, brokerages, and fintechs utilizing its investing tools, is the industry standard
           26
                 used by about every trader out there. It lists both aforesaid XBTUSD contracts from BitMEX and
           27
                 Kraken as "Swaps" (https://www.tradingview.com/symbols/XBTUSD/).
           28
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             1
                           318.    Therefore, the traded Bitcoin/US Dollar Perpetual Inverse Swap Contract with
             2
                 ticker symbol XBTUSD is a swap under CEA 7 U.S.C. § 1a(47)(a)(iv) (agreement, contract, or
             3
                 transaction that is, or in the future becomes, commonly known to the trade as a swap).
             4
                           319.    Defendant HDR itself specifically admitted that its XBTUSD contract is known to
             5
                 the trade as a "swap," thus meeting definition under CEA:
             6
                           320.    In addition, Plaintiff Sorokin traded Ether/U.S. Dollar Swap Contract with ticker
             7
                 symbol ETHUSD on BitMEX, which is also a “swap” under CEA, 7 U.S.C. § 1a(47)(a)(iv).
             8
                 Ether/U.S. Dollar Swap Contract with ticker symbol ETHUSD traded by Plaintiff Sorokin uses
             9
                 the .BETH index price, which Defendants’ Insider Trading Desk manipulated using automated
           10
                 software tools in conjunction with helper accounts on U.S. based exchanges Bitstamp, Kraken
           11
                 and Coinbase Pro, as alleged in this Complaint.
           12
                           321.    Moreover, both aforesaid XBTUSD contracts that Plaintiff traded on BitMEX are
           13
                 also "swaps" to 7 U.S.C. § 1a(47)(a)(iii)(XXII), which defines a “swap” as a “a commodity
           14
                 swap.” Because bitcoin is commodity, both XBTUSD contracts on Kraken and BitMEX are
           15
                 “commodity swaps” under 7 U.S.C. § 1a(47)(a)(iii)(XXII).
           16
                           322.    Yet, furthermore, according to CFTC Complaint, ¶ 125, “products that have traded
           17
                 on BitMEX, including “Perpetual Swaps” or “perpetual contracts” on bitcoin, ether, and litecoin,
           18
                 are swaps as defined by 7 U.S.C. § 1a(47).” Therefore, Plaintiff can pursue his claims under
           19
                 CEA, 7 USC § 25(a)(1)(D), which specifically covers “swaps.”
           20
                           323.    Plaintiff was enticed to trade on BitMEX through BitMEX’s own advertisements
           21
                 specifically directed at Plaintiff and traders like Plaintiff.
           22
                           324.    Some exemplary specific money losing trades of Plaintiff Sorokin and their
           23
                 respective amounts and causes (triggering events) are summarized in the table below, which was
           24
                 prepared based on information and belief of Plaintiff Sorokin:
           25
           26    Plaintiff    Date         Exchange             Order      Trade           Order            Loss          Causation of
                                                                Book       Type                             Amt.             Loss
           27                                                                                                            Automated
                 Sorokin     07/11/       BitMEX             XBTUSD     Liquidation SELL                   0.7889        software tools
           28
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             1                                                                                                        developed by
                             2019                            Swap                    MARKET             6761          Defendant
             2                                                                                                        Reed
                                                                                     ALL                BTC
             3                                                                                                        automatically
                                                                                                                      executing a
             4                                                                                                        large SELL
                                                                                                                      market order
             5                                                                                                        from helper
                                                                                                                      account on
             6
                                                                                                                      BitStamp’s
             7                                                                                                        XBTUSD/BT
                                                                                                                      C order book,
             8                                                                                                        causing
                                                                                                                      artificial
             9                                                                                                        downward
                                                                                                                      price move on
           10
                                                                                                                      XBTUSD
           11                                                                                                         order book,
                                                                                                                      which
           12                                                                                                         propagated,
                                                                                                                      through the
           13                                                                                                         .BXBT index,
                                                                                                                      to XBTUSD
           14
                                                                                                                      order book of
           15                                                                                                         BitMEX and
                                                                                                                      triggered
           16                                                                                                         liquidation of
                                                                                                                      Plaintiff’s
           17                                                                                                         long
           18                                                                                                         XBTUSD
                                                                                                                      position
           19                                                                                                         Automated
                 Sorokin     07/11/       BitMEX             ETHUSD   Liquidation SELL                  1.0213        software tools
           20                                                                                                         developed by
                             2019                            Swap                    MARKET             092
                                                                                                                      Defendant
           21                                                                                                         Reed
                                                                                     ALL                BTC
           22                                                                                                         automatically
                                                                                                                      executing a
           23                                                                                                         large SELL
                                                                                                                      market order
           24                                                                                                         from helper
                                                                                                                      account on
           25                                                                                                         BitStamp
           26                                                                                                         ETH order
                                                                                                                      book, causing
           27                                                                                                         artificial price
                                                                                                                      move, which
           28
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             1                                                                                                       propagated,
                                                                                                                     through the
             2                                                                                                       .BETH index,
             3                                                                                                       to ETHUSD
                                                                                                                     order book of
             4                                                                                                       BitMEX and
                                                                                                                     triggered
             5                                                                                                       liquidation of
                                                                                                                     Plaintiff’s
             6
                                                                                                                     long
             7                                                                                                       ETHUSD
                                                                                                                     position
             8
             9                               CAUSATION CHAIN OF PLAINTIFF’S LOSSES

           10           325.       Plaintiff repeats and re-alleges the allegations contained in every preceding

           11    paragraph as if fully set forth herein.

           12           326.       When automated software tools developed by Defendant Reed, which operated on

           13    a continuous, 24 hour a day, 7 days a week basis, automatically executed a large SELL market

           14    order from helper account on Kraken’s or BitStamp’s XBTUSD/BTC or ETHUSD order book

           15    (step 1 in the diagram), causing artificial downward price move on spot order book of that

           16    exchange (step 2 in the diagram), the aforesaid artificial price move propagated, through the

           17    .BXBT index, to the XBTUSD or ETHUSD Perpetual Swap order books of BitMEX, causing the

           18    corresponding downward price more (step 4 in the diagram) and triggered liquidation of Plaintiff

           19    Sorokin’s long positions there (step 5 in the diagram).10 This sequence repeated during each and

           20    all of the Manipulation Times. The same causation chain resulted when automated software tools

           21    developed by Defendant Reed automatically executed a large SELL market order from helper

           22    account on BitStamp’s ETH order book, which propagated through BitMEX’s .BETH index to

           23    ETHUSD order book of BitMEX and caused Plaintiff’s Sorokin long ETHUSD positions there to

           24    be liquidated.

           25
           26
           27
                 10
                   In addition to propagating from the three spot exchanges to BitMEX, the price moves also
           28    propagate between spot exchanges themselves, due to the widespread use of arbitrage bots.
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           18
                        327.       If automated software tools developed by Defendant Reed did not automatically
           19
                 execute a large SELL market order from helper account on Kraken’s or BitStamp’s
           20
                 XBTUSD/BTC or ETHUSD order books, the above sequence would not have taken place and the
           21
                 Plaintiff Sorokin’s long positions on BitMEX exchange would not have been liquidated.
           22
                 Moreover, liquidation of Plaintiff Sorokin’s long positions on BitMEX exchange was foreseeable
           23
                 consequence of the execution of the large SELL market order from helper account on Kraken’s
           24
                 XBTUSD/BTC order book, which is linked to the BitMEX’s XBTUSD order book via the
           25
                 .BXBT index. In fact, automated execution of the aforesaid large market order on Kraken by
           26
                 automated software tools developed by Defendant Reed was specifically intended to cause
           27
                 liquidation of Plaintiff Sorokin’s long positions on BitMEX exchange, due to the deliberate
           28
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             1
                 design of the .BXBT index by Defendants.
             2
             3                                       THE RACKETEERING ENTERPRISE
                        328.       Plaintiff repeats and re-alleges the allegations contained in every preceding
             4
                 paragraph as if fully set forth herein.
             5
                        329.       Each of the Defendants HDR, ABS, Hayes, Delo and Reed are respective persons
             6
                 or entities capable of holding a legal or beneficial interest in property.
             7
                        330.       From at least January 2017 and until present, Defendants HDR, ABS, Defendant
             8
                 Hayes, Delo and Reed have been a union or group of entities and individuals associated in fact
             9
                 collectively constituting a continuing “enterprise” (“Enterprise”)11 within the meaning of RICO as
           10
                 defined in 18 U.S.C. § 1961. Since at least January of 2017, each of HDR, ABS, Hayes, Delo and
           11
                 Reed has been a person separate and distinct from the Enterprise itself, while, at the same time,
           12
                 being a member of the Enterprise. The purpose of the Enterprise was to fraudulently solicit
           13
                 bitcoin deposits and trading commissions from victims, including Plaintiff, using a laundry list of
           14
                 misrepresentations, half-truths and material omissions of fact and to manipulate markets on
           15
                 BitMEX and price-forming “reference” exchanges Bitstamp, Coinbase Pro and Kraken to
           16
                 misappropriate victims’, including Plaintiff’s, bitcoins deposited with Defendants.
           17
                        331.       The activity of the Enterprise and the predicate acts of racketeering alleged
           18
                 hereinbelow affect interstate or foreign commerce. Specifically, the Enterprise directly engaged
           19
                 in the production, distribution, or acquisition of goods and services in interstate commerce and
           20
                 foreign commerce, including, without limitation, very large volume (up to one trillion U.S.
           21
                 dollars of turnover per year) cryptocurrency derivatives trading services.
           22
                        332.       At various times during the Relevant Period each of the Defendants HDR, ABS,
           23
                 Hayes, Delo and Reed was employed in or associated with the Enterprise as alleged hereinabove.
           24
           25
           26    11
                    This Complaint uses three different RICO enterprise definitions (Association and Fact
           27    Enterprise, HDR Enterprise and ABS Enterprise), plead in the alternative. All the general
                 allegations of this Complaint, the alleged RICO predicate acts and the alleged Roles of
           28    Defendants apply to all three alleged RICO enterprises.
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             1
                                            ROLES OF DEFENDANTS IN THE ENTERPRISE
             2
                        333.       Plaintiff repeats and re-alleges the allegations contained in every preceding
             3
                 paragraph as if fully set forth herein.
             4
                        334.       Plaintiff is informed and believes and thereon alleges that individual Defendants
             5
                 Hayes, Delo and Reed were the masterminds behind the alleged Enterprise and the predicate
             6
                 criminal acts alleged hereinbelow.
             7
                        335.       The individual roles (“Roles”) of all Defendants within the Enterprise are
             8
                 summarized in the below table, prepared according to information and belief of Plaintiff Sorokin,
             9
                 which belief was formed based on public records, public Court records, U.S. DOJ indictment of
           10
                 Defendant Hayes, CFTC civil Complaint against Defendants and crypto market data analysis:
           11
           12
                   Defendant                                           Role of Defendant
           13
                                        Defendant HDR is a holding company. Despite being incorporated in the
           14
                                        Seychelles, Defendant HDR does not have, and never has had, any operations
           15
                                        or employees in the Seychelles. Therefore, it was used by Defendants to avoid
           16
                                        laws, regulators and private lawsuits and hide illegally acquired assets.
           17
                                        Defendant HDR was created by individual Defendants in order to perpetrate
           18
                                        fraud and dodge regulation and taxes. Among other illegal purposes, such as
           19
                                        perpetrating fraud and dodging regulators, Defendants Hayes, Delo and Reed
           20
                 HDR                    formed and used Defendant HDR to hide and then siphon ill-gotten proceeds
           21
                                        from various racketeering activities alleged in this Compliant, including
           22
                                        fraudulent solicitations, omissions and market manipulation, to their personal
           23
                                        bank accounts and bank accounts of their associates and relatives. Defendant
           24
                                        HDR operates, or has operated during the Relevant Period, primarily from San
           25
                                        Francisco office of Defendant ABS and Milwaukee office of Defendant Reed.
           26
                                        Defendant HDR was responsible for, among other things, the planning of the
           27
                                        operation of the BitMEX platform to effectuate the market manipulation,
           28
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             1
                                        including, without limitation deliberate server freezes and fraudulent system
             2
                                        overloads alleged herein as well as effective transfers of market manipulation
             3
                                        winnings from helper accounts to winner accounts and performance of other
             4
                                        illegal acts conducted by the Enterprise as well as hiding income from various
             5
                                        illegal and criminal activities and reinvesting it in the legitimate businesses
             6
                                        and assets.
             7
                                        An April 27, 2017 Service Agreement between HDR and ABS rendered
             8
                                        Defendant ABS’ staff responsible for BitMEX’s business development,
             9
                                        marketing, including advertising, sales, engineering, human resources, payroll,
           10
                                        customer support and software development from its U.S. offices in San
           11
                                        Francisco. According to a sworn Declaration of Defendant Hayes dated
           12
                                        February 27, 2020, Defendant “ABS Global Trading Limited, … provides
           13
                                        software development, software engineering, and digital security services to
           14
                                        HDR Global Trading Limited… including by developing the front-end
           15
                                        interface of the BitMEX platform.” The front-end interface of the BitMEX
           16
                                        platform includes commercial website www.bitmex.com, and Defendant ABS
           17
                 ABS                    Global Trading Limited, is responsible, within the BitMEX Enterprise, for the
           18
                                        commercial website www.bitmex.com, which was used to provide the false
           19
                                        and fraudulent solicitations to Plaintiff Sorokin. Therefore, the alleged false
           20
                                        and fraudulent solicitations and omissions were perpetuated by Defendant
           21
                                        ABS’ staff and emanated from Defendant ABS’ offices in San Francisco.
           22
                                        Defendant ABS designs, develops, implements, operates and supports the
           23
                                        online derivatives trading platform BitMEX from within this District.
           24
                                        Defendant ABS was responsible for, among other things, day to day operations
           25
                                        of the BitMEX platform and effectuating the fraudulent solicitations and
           26
                                        market manipulation, including, without limitation deliberate server freezes
           27
                                        and fraudulent system overloads alleged herein as well as effective transfers of
           28
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             1
                                         market manipulation winnings from helper accounts to winner accounts and
             2
                                         performance of other illegal acts conducted by the Enterprise, as well as
             3
                                         creating custom automated software programs and scripts for using sensitive
             4
                                         insider information of Plaintiff and other traders for estimating potential profit
             5
                                         from liquidating BitMEX traders, including Plaintiff, and performing
             6
                                         automatic market manipulation and automatically implementing server freezes.
             7
                                         Defendant Hayes was responsible for, among other things, conducting overall
             8
                                         planning, oversight and supervision of the affairs of the Enterprise and
             9
                                         coordination between the remaining co-conspirators, as well as controlling
           10
                                         bank accounts and financial flows within the Enterprise. In addition,
           11
                                         Defendant Hayes gave directions to other members of the Enterprise, occupied
           12
                                         the top position in the "chain of command" of the Enterprise through which the
           13
                                         affairs of the Enterprise are conducted and was indispensable to the
           14
                                         achievement of the Enterprise’s goals of maximizing profits and minimizing
           15
                                         trading losses for the Defendants, and each of them, and their co-conspirators,
           16
                 Hayes                   through unlawful trading practices, including market manipulation, concealing
           17
                                         trading gains obtained through unlawful practices from regulatory and tax
           18
                                         authorities using, without limitation, money laundering, generating illicit
           19
                                         income from unlicensed money transmissions, promoting and enhancing the
           20
                                         Racketeering Conspiracy and the activities of the Defendants, and each of
           21
                                         them, and their co-conspirators and concealing the unlawful activities of the
           22
                                         Defendants, and each of them, and their co-conspirators from scrutiny by
           23
                                         cryptocurrency exchanges and law enforcement. In addition, Defendant Hayes
           24
                                         personally authored (e.g. the blog post on the Insider trading Desk), approved
           25
                                         or ratified all fraudulent solicitations and omissions alleged herein.
           26
                                         Defendant Delo was responsible for performing liquidations of user positions
           27    Delo
                                         to rip the benefits of the market manipulation and other illegal acts conducted
           28
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             1
                                         by the Enterprise and depositing the liquidation proceeds into Insurance Fund.
             2
                                         In addition, Defendant Delo gave directions to other members and took
             3
                                         directions from Defendant Hayes, occupied a second position in the "chain of
             4
                                         command" through which the affairs of the Enterprise are conducted,
             5
                                         knowingly and eagerly implemented decisions of Defendant Hayes and was
             6
                                         indispensable to the achievement of the Enterprise’s goals of maximizing
             7
                                         profits and minimizing trading losses for the Defendants, and each of them,
             8
                                         and their co-conspirators, through unlawful trading practices, including market
             9
                                         manipulation, concealing trading gains obtained through unlawful practices
           10
                                         from regulatory and tax authorities using, without limitation, money
           11
                                         laundering, generating illicit income from unlicensed money transmissions,
           12
                                         promoting and enhancing the Racketeering Conspiracy and the activities of the
           13
                                         Defendants, and each of them, and their co-conspirators and concealing the
           14
                                         unlawful activities of the Defendants, and each of them, and their co-
           15
                                         conspirators from scrutiny by cryptocurrency exchanges and law enforcement.
           16
                                         In addition, Defendant Delo personally authored, approved or ratified all
           17
                                         fraudulent solicitations and omissions alleged herein.
           18
                                         Reed was responsible for, among other things, developing automated software
           19
                                         tools for use by Insider Trading Desk for accessing highly sensitive BitMEX
           20
                                         trader (including Plaintiff’s) information and using this information for
           21
                                         manipulating BitMEX markets and markets on the “reference” exchanges
           22
                                         Kraken, Coinbase Pro and BitStamp, planning and initiating the deliberate
           23    Reed
                                         server freezes and fraudulent system overloads on BitMEX as alleged herein
           24
                                         as well as effective transfers of market manipulation winnings from helper
           25
                                         accounts on United States based “reference” spot exchanges Kraken, Coinbase
           26
                                         Pro and BitStamp to winner accounts on BitMEX, by automatically placing
           27
                                         large market orders on those exchanges with maximum slippage to cause large
           28
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             1
                                  artificial moves in the .BXBT and index price and .BETH index price on a
             2
                                  daily basis and performance of other illegal acts conducted by the Enterprise,
             3
                                  by issuing electronic wire transmissions containing trading orders and other
             4
                                  computer system commands and writing, deploying and remotely executing
             5
                                  software scripts from his office located in Milwaukee, WI 53202. Reed was
             6
                                  further responsible for maintaining Defendants’ commercial website
             7
                                  www.bitmex.com, which was used to deliver all false advertisements and
             8
                                  fraudulent solicitations to Plaintiff and laundering a substantial portion of the
             9
                                  tainted proceeds of the illegal activities on the BitMEX platform from
           10
                                  Defendants’ general account (bitcoin wallet) through a real estate investment
           11
                                  scheme involving multiple real estate properties in Wisconsin and
           12
                                  Massachusetts, by concealing the nature of the funds used in acquisition of
           13
                                  said properties and the true state of ownership and control thereof. In
           14
                                  addition, Reed gave directions to other members and took directions from
           15
                                  Defendant Hayes, occupied a third position in the "chain of command" through
           16
                                  which the affairs of the Enterprise are conducted, knowingly and eagerly
           17
                                  implemented decisions of Defendant Hayes and his accomplice Delo and was
           18
                                  indispensable to the achievement of the Enterprise’s goals of maximizing
           19
                                  profits and minimizing trading losses for the Defendants, and each of them,
           20
                                  and their co-conspirators, through unlawful trading practices, including market
           21
                                  manipulation, concealing trading gains obtained through unlawful practices
           22
                                  from regulatory and tax authorities using, without limitation, money
           23
                                  laundering, generating illicit income from unlicensed money transmissions,
           24
                                  promoting and enhancing the Racketeering Conspiracy and the activities of the
           25
                                  Defendants, and each of them, and their co-conspirators and concealing the
           26
                                  unlawful activities of the Defendants, and each of them, and their co-
           27
                                  conspirators from scrutiny by cryptocurrency exchanges and law enforcement.
           28
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             1
                                        In addition, Defendant Reed personally authored, approved or ratified all
             2
                                        fraudulent solicitations and omissions alleged herein.
             3
                        336.       Additional and other facts regarding Defendants’ Roles in the Enterprise are
             4
                 hidden from Plaintiff at this time. Such information is uniquely within Defendants’ possession,
             5
                 custody and control. To date, Defendants provided absolutely no discovery to Plaintiff what so
             6
                 ever. Plaintiff accordingly reserves the right to supplement and amend these allegations, if
             7
                 appropriate or necessary, following completion of relevant fact discovery.
             8
             9          THE RACKETEERING CONSPIRACY AND RACKETEERING ACTIVITY

           10           337.       Plaintiff repeats and re-alleges the allegations contained in every preceding

           11    paragraph as if fully set forth herein.

           12           338.       Pursuant to 18 U.S.C. § 1961, “racketeering activity” for purposes of RICO means

           13    “any act which is indictable under any of the following provisions of title 18, United States

           14    Code: … section 1343 (relating to wire fraud) … section 1956 (relating to the laundering of

           15    monetary instruments), section 1957 (relating to engaging in monetary transactions in property

           16    derived from specified unlawful activity), … section 1960 (relating to illegal money

           17    transmitters), … sections 2314 and 2315 (relating to interstate transportation of stolen property).”

           18           339.       During the Relevant Period, the Defendants, and each of them, solely or together

           19    with other individuals, being persons employed by and associated with Enterprise they engaged in,

           20    and the activities of which affected interstate and foreign commerce, knowingly and intentionally,

           21    conspired to conduct and participate, directly and indirectly, and actually participated in conduct

           22    of the Enterprise’s affairs through a pattern of racketeering activity, as that terms is defined in 18

           23    U.S.C. § 1961, consisting of multiple acts, which are indictable under 18 U.S.C. § 1343, 18 U.S.C.

           24    § 1956, 18 U.S.C. § 1957, 18 U.S.C. § 1960(a) and 18 U.S.C. § 2314.

           25           340.       In addition, during the Relevant Period, the Defendants, and each of them, solely

           26    or together with other individuals, knowingly and intentionally, conspired to use and invest

           27    income derived from a pattern of racketeering activity, as that terms is defined in 18 U.S.C.

           28    § 1961, consisting of multiple acts, which are indictable under 18 U.S.C. § 1343, 18 U.S.C.
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             1
                 § 1956, 18 U.S.C. § 1957, 18 U.S.C. § 1960(a) and 18 U.S.C. § 2314, into the operation of
             2
                 Defendants ABS and HDR, the activities of which affected interstate and foreign commerce
             3
                 (“Racketeering Conspiracy”).
             4
                        341.       It was a part of the Racketeering Conspiracy that each Defendant agreed that a
             5
                 conspirator would commit at least two acts of racketeering activity in the conduct of the affairs of
             6
                 the Enterprise, which also constitute overt acts in furtherance of the Racketeering Conspiracy.
             7
                        342.       The purpose of the alleged Racketeering Conspiracy of the Defendants, and each
             8
                 of them, was to fraudulently solicit, through a commercial website www.bitmex.com, bitcoin
             9
                 deposits and trading commissions from victims, including Plaintiff, using a laundry list of
           10
                 misrepresentations, half-truths and material omissions of fact and to manipulate markets on
           11
                 BitMEX platform and price-forming “reference” exchanges Bitstamp, Coinbase Pro and Kraken
           12
                 to misappropriate victims’, including Plaintiff’s, bitcoins deposited with Defendants, to use or
           13
                 invest the bitcoin deposits and trading commissions so fraudulently solicited and misappropriated
           14
                 from victims, including Plaintiff, in the operation of Defendants ABS and HDR, (collectively
           15
                 “Purpose”). It was a further Purpose of the Racketeering Conspiracy to conduct the affairs of the
           16
                 Enterprise using a pattern of racketeering activities, including fraudulent solicitations, omissions,
           17
                 market manipulation as well as all other illegal acts alleged herein.
           18
           19            OVERT ACTS IN FURTHERANCE OF RACKETEERING CONSPIRACY
                        343.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           20
                 paragraph as if fully set forth herein.
           21
                        344.       In furtherance of the Racketeering Conspiracy, and to achieve its purposes, the
           22
                 Defendants committed and caused to be committed the following acts, among others, alleged in
           23
                 this Complaint, in this District and elsewhere: 1) engaging in fraudulent solicitations of victims’,
           24
                 including Plaintiff’s bitcoin deposits and trading commissions, using a laundry list of material
           25
                 misrepresentations, half-truths and omissions transmitted to victims using wire transmissions over
           26
                 the Internet; 2) operating an Insider Trading Desk with undisclosed informational and trading
           27
                 privileges over BitMEX traders, wherein the Insider Trading Desk was granted ‘God Assess” to
           28
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             1
                 all BitMEX customer information; 3) developing, deploying and utilizing, on a continuous basis,
             2
                 automated market manipulation tools designed to use sensitive insider information of BitMEX
             3
                 traders to automatically liquidate them and misappropriate their bitcoin deposits, when it is
             4
                 particularly profitable for Defendants to do so; 4) providing traders with extremely high trading
             5
                 leverage (up to 100x); 5) deliberately using .BXBT index price for highly liquid derivatives
             6
                 calculated based on prices of two or three illiquid spot exchanges; 6) enabling manipulators and
             7
                 money launderers to avoid detection by providing them with the ability to open unlimited number
             8
                 of anonymous document check-free trading accounts without any trading and withdrawal limits;
             9
                 7) weaponizing deliberate server freezes, using fraudulent “system overload” events to accept
           10
                 some trading orders and reject others during large market moves to exacerbate price fluctuations
           11
                 and cause the most liquidations; 8) regularly manipulating price of cryptocurrencies including,
           12
                 without limitation, bitcoin, by using automated software tools developed in-house to execute
           13
                 large market orders from helper accounts on illiquid “reference” spot exchanges Coinbase Pro,
           14
                 BitStamp and Kraken in order to cause massive liquidations of traders’ derivatives positions on
           15
                 BitMEX and capture resulting market manipulation profits using winner accounts on that
           16
                 exchange; 9) knowingly, willfully and deliberately effectively transmitting market manipulation
           17
                 winnings from the helper accounts to the winner accounts in violation of 18 U.S.C. § 1960(a), 18
           18
                 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314; 10) knowingly, willfully and
           19
                 deliberately transmitting a portion of the money from the winner accounts back to the helper
           20
                 accounts in order to replenish them before next manipulation in violation of 18 U.S.C. § 1960(a),
           21
                 18 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314; and 11) knowingly, willfully
           22
                 and deliberately using or investing the proceeds of the fraudulent solicitations, omissions, market
           23
                 manipulation as well as other illegal acts in the operation of Defendants ABS and HDR. For
           24
                 example, Ex. 3, p. 4 describes how a helper account on BitStamp was used by Defendants on May
           25
                 17, 2019 to effectively transmit 80 times of the amount money spent from that helper account to a
           26
                 winner account on BitMEX. See also Ex. 2, pp. 2-3 describing a similar scheme that used helper
           27
                 accounts on BitStamp to artificially induce massive liquidations of traders, like Plaintiff, on
           28
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             1
                 BitMEX on July 14, 2019, resulting in effective transmission of manipulation winnings from
             2
                 helper accounts on BitStamp to winner accounts on BitMEX. Defendants’ Insider Trading Desk
             3
                 used this unlawful scheme on a regular basis using helper accounts operated on United States
             4
                 based “reference” cryptocurrency spot exchanges BitStamp, Kraken and Coinbase Pro.
             5
                 Additionally, the aforesaid illegal acts of effectively transmitting market manipulation winnings
             6
                 from helper accounts to winner accounts were all perpetrated by Defendants through the same
             7
                 commercial website BitMEX.com, which is accessible and is extensively used, via widely
             8
                 available and inexpensive VPN software, by users located in the United States and this District.
             9
                 Therefore, these illegal acts for which Plaintiff seeks redress in this Complaint were directly
           10
                 related to Defendants’ connections to the United States and this District through their commercial
           11
                 website www.BitMEX.com. Moreover, BitMEX platform is operated from this District, which
           12
                 also houses the three site reliability engineers of BitMEX who personally caused the BitMEX
           13
                 servers to freeze during Manipulation Times.
           14
                        345.       In addition, in furtherance of the Racketeering Conspiracy, and to achieve its
           15
                 purposes, the Defendants committed and caused to be committed, in this District and elsewhere,
           16
                 the overt acts, among others, as alleged in this Complaint.
           17
                        346.       Plaintiff Sorokin was injured in his property by one or more of the foregoing and
           18
                 other overt acts in furtherance of the alleged Racketeering Conspiracy. For example, Plaintiff
           19
                 Sorokin was financially injured when Defendants fraudulently solicited his bitcoin deposits and
           20
                 trading commissions. Moreover, Plaintiff Sorokin was additionally financially injured when
           21
                 Defendants effectively transmitted funds, which was perpetrated willfully and deliberately by
           22
                 Defendants through their commercial website BitMEX.com, and with full knowledge of the
           23
                 nature and purpose of the funds involved in the transfer, in violation of 18 U.S.C. § 1960(a), 18
           24
                 U.S.C. § 1957(a) and 18 U.S.C. § 1956(a) and 18 U.S.C. § 2314 between helper and winner
           25
                 accounts by way of using the helper accounts to perpetrate manipulation by pumping or dumping
           26
                 the cryptocurrency market on the “reference” exchanges, thereby causing a liquidation cascade
           27
                 affecting Plaintiff’s account, and using the winner accounts to capture the financial benefits of the
           28
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             1
                 aforesaid manipulation. As the result of the actions of the Defendants alleged in this Paragraph,
             2
                 the positions of Plaintiff Sorokin was liquidated and Plaintiff’s bitcoins were confiscated.
             3
                        347.       Because the vast majority of BitMEX personnel, as alleged in Paragraph 111,
             4
                 almost the entire engineering team (all but six) as well as all three Site Reliability Engineers, as
             5
                 alleged in Paragraph 112, and almost all vital external service providers to BitMEX, as alleged in
             6
                 Paragraph 94, are located in this District, and because Defendant ABS, which formally employs
             7
                 this personnel is an alter ego of Defendant HDR, this District is the home base of the largest
             8
                 operation of Defendant DHR, the nerve center of the operation of the BitMEX platform, and it is
             9
                 the location where the illegal acts and the resulting injuries as alleged herein took place.
           10
                 Moreover, the alleged illegal acts were all performed on servers and other IT infrastructure owned
           11
                 and operated by United States based Amazon EKS with offices in this District.
           12
                        348.       Moreover, the aforesaid illegal acts of fraudulent solicitation and effectively
           13
                 transmitting market manipulation winnings from helper accounts to winner accounts, which
           14
                 resulted in the injury to Plaintiff, were all perpetrated by Defendants through the same
           15
                 commercial website BitMEX.com, which is accessible and is extensively used, via widely
           16
                 available and inexpensive VPN software, by users located in the United States and this District.
           17
                 Therefore, Defendants’ illegal acts resulting in injuries to Plaintiff, for which Plaintiff seeks
           18
                 redress in this Complaint, were directly related to Defendants’ connections to the United States
           19
                 and this District through their commercial website BitMEX.com.
           20
                     DEFENDANTS OPERATED AND CONTINUE TO OPERATE AN UNLICENSED
           21         MONEY TRANSMITTING BUSINESS IN VIOLATION OF 18 U.S.C. § 1960(a)
           22           349.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           23    paragraph as if fully set forth herein.
           24           350.       Bitcoins and other cryptocurrencies are funds. United States v. Murgio, No. 15-cr-
           25    769, 2016 WL 5107128, at *4 (S.D.N.Y. Sep. 19, 2016); United States v. Budovsky, No. 15-cr-
           26    368, 2015 WL 5602853 (S.D.N.Y. Sep. 23, 2015); United States v. Faiella, 39 F. Supp. 3d 544
           27    (S.D.N.Y. 2014). Therefore, bitcoins are subject to all laws and regulations applicable to fiat
           28
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             1
                 currency monetary transactions.
             2
                        351.       During the Relevant Period, Defendants, and each of them, engaged in conducting,
             3
                 controlling, managing, supervising, directing, or owning all or part of an unlicensed money
             4
                 transmitting business in violation of 18 U.S.C. § 1960(a).
             5
                        352.       To use Defendant HDR’s unlicensed money transmitting services, one creates an
             6
                 account by accessing the Defendant HDR’s website BitMEX.com. A user does not need to
             7
                 provide even the most basic identifying information such as date of birth, address, or other
             8
             9
           10
           11
           12
           13
           14
           15
           16

           17
           18
           19    identifiers. All that Defendant HDR requires is a name, password, and an email address.

           20           353.       Unlike legitimate payment processors or digital currency exchangers, Defendant

           21    HDR does not require its users to validate their identity information by providing official

           22    identification documents, given that Defendant HDR does not require an identity at all to open an

           23    account and start trading with up to 100x leverage. For comparison, a legitimate U.S.

           24    cryptocurrency exchange Kraken requires email address, full name, date of birth, phone number,

           25    and physical address to open the most basic level account.

           26           354.       Thus, a user can create and fund an HDR account with nothing more than an email

           27    address, which often has no relationship to the identity of the actual user. Accounts are therefore

           28    easily opened anonymously, including by customers in the United States within the Northern
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             1
                 District of California. Using such anonymous account, the user is able to make unlimited
             2
                 deposits, unlimited trades with up to 100x leverage, as well as unlimited withdrawals. Instead of
             3
                 performing a proper document check before allowing users to open an account on BitMEX,
             4
                 Defendants deliberately and knowingly use utterly ineffective IP address check, which they all
             5
                 well know is uniformly subverted by very simple, inexpensive and widely available software
             6
                 tools.
             7
                           355.       Moreover, high leverage provided by Defendant HDR to all users enables
             8
                 Defendants and all BitMEX users to launder unlimited funds from one account to another using
             9
                 market manipulation as alleged hereinabove. For example, one helper account may dump a large
           10
                 amount of cryptocurrency on the market using margin, triggering a liquidation cascade and
           11
                 booking a loss, when a separate, second winner account may buy the cryptocurrency at an
           12
                 artificial below market price caused by the liquation cascade. This way, unlimited amount of
           13
                 funds may be laundered from the first helper account to the second winner account virtually
           14
                 anonymously in violation of 18 U.S.C. § 1956(a), which is a RICO predicate offense. Defendants
           15
                 themselves launder funds and enable BitMEX uses to launder funds in the alleged manner by
           16
                 providing high levels of leverage up to 100x and deliberately failing to conduct KYC upon
           17
                 account creation. In addition, the knowing, willful and deliberate effective transmissions of the
           18
                 winnings from market manipulation from the first helper account to the second winner account
           19
                 perpetrated by Defendants on behalf of themselves and/or on behalf of other BitMEX users as
           20
                 described herein, with full knowledge of the nature and purpose of the funds involved in the
           21
                 transfer, constitutes unlicensed money transmitting in violation of 18 U.S.C. § 1960(a), which is
           22
                 also a RICO predicate offense. Finally, the willful and deliberate money transmission from the
           23
                 winner account back to the helper account in order to replenish it before next manipulation cycle,
           24
                 with full knowledge of the nature and purpose of the funds involved in the transfer, also
           25
                 constitutes unlicensed money transmitting in violation of 18 U.S.C. § 1960(a), which is also a
           26
                 RICO predicate offense. The same money transmission further constitutes a monetary transaction
           27
                 in property derived from specified unlawful activity in violation of 18 U.S.C. § 1957(a), interstate
           28
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                 transportation of stolen property in violation of 18 U.S.C. § 2314 and money laundering in
             2
                 violation of 18 U.S.C. § 1956(a), which are also RICO predicate offenses. For example, Ex. 3, p.
             3
                 4 describes how a helper account on BitStamp was used by Defendants on May 17, 2020 to
             4
                 effectively transmit 80 times of the amount money spent from that helper account to a winner
             5
                 account on BitMEX. See also Ex. 7, illustrating a similar scheme, in which Defendants sold
             6
                 $44,000,000 over 22 separate $2,000,0000 orders of XBTUSD Perpetual Swaps on BitMEX on
             7
                 July 27, 2020 to get into a position and then used market orders amounting to some 1000 bitcoins
             8
                 on Coinbase Pro exchange to artificially move the .BXBT index price in a favorable direction in
             9
                 order to close his large BitMEX position at a significant profit. See also Ex. 2, pp. 2-3 describing
           10
                 a similar scheme that used helper accounts on BitStamp to artificially induce massive liquidations
           11
                 of traders, like Plaintiff, on BitMEX on July 14, 2019, resulting in effective transmission of
           12
                 manipulation winnings from helper accounts on BitStamp to winner accounts on BitMEX.
           13
                 Defendants’ Insider Trading Desk used this unlawful scheme on a regular basis utilizing helper
           14
                 accounts on United States based “reference” spot exchanges BitStamp, Kraken and Coinbase Pro
           15
                 and winner accounts on BitMEX.12
           16
                        356.       At all times relevant to this complaint Defendant HDR had no anti-money
           17
                 laundering (“AML”) and/or "Know-Your-Customer” (“KYC”) processes and policies in place or
           18
                 the existing policies lacked any meaningful enforcement, as evidenced, for example, by apparent
           19
                 accepting the United States - based companies, including CMT Capital Markets Trading,
           20
                 Eastmore Group / Eastmore Management, LLC, Clerkenwell Asset Management LLC, Adaptive
           21
                 Fund I, LP and Galois Capital, Swing Trade Pros, FalconX, Cumberland DRW, Circle Partners,
           22
                 Fund3 Capital LP/Fund3 LLC, South Lake Computers, ARK Investment Management LLC,
           23
                 Coincident Capital and Leotank Capital as clients, despite claiming that BitMEX is closed to
           24
                 United States persons. As alleged hereinabove, Defendant HDR collected and continues to
           25
                 collect virtually no customer data at all. Nor did Defendant HDR ever register with FinCEN or
           26
           27
                 12
                   The funds are being transmitted from one exchange to another by way of arbitrage algorithms
           28    that buy cryptocurrency on one platform and simultaneously sell on the other.
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                 perform the required AML and KYC functions.
             2
                        357.       A user can fund a Defendant HDR account in numerous different ways. One way
             3
                 involves funding a Defendant HDR account with a user's existing digital currency. A user with
             4
                 existing digital currency, such as bitcoin, could fund an HDR account directly via bitcoin
             5
                 deposits. Defendant HDR users could also use market manipulation to launder funds from one
             6
                 account to another. Plaintiff is informed and believes and thereon alleges that this served as
             7
                 another conduit for money laundering as it allowed Defendant HDR’s customers and Defendants
             8
                 themselves to withdraw funds from their HDR account and transfer them to other HDR users
             9
                 anonymously.
           10
                        358.       18 U.S.C. § 1960(a) provides: “(a) Whoever knowingly conducts, controls,
           11
                 manages, supervises, directs, or owns all or part of an unlicensed money transmitting business,
           12
                 shall be fined in accordance with this title or imprisoned not more than 5 years, or both.”
           13
                        359.        Pursuant to 18 U.S.C. § 1960(b)(1), “the term “unlicensed money transmitting
           14
                 business” means a money transmitting business which affects interstate or foreign commerce in
           15
                 any manner or degree” and (A) is operated without an appropriate money transmitting license in a
           16
                 State where such operation is punishable as a misdemeanor or a felony under State law, whether
           17
                 or not the defendant knew that the operation was required to be licensed or that the operation was
           18
                 so punishable; (B) fails to comply with the money transmitting business registration requirements
           19
                 under section 5330 of title 31, United States Code, or regulations prescribed under such section;
           20
                 or (C) otherwise involves the transportation or transmission of funds that are known to the
           21
                 defendant to have been derived from a criminal offense or are intended to be used to promote or
           22
                 support unlawful activity.
           23
                        360.       18 U.S.C. § 1960(a) makes it a crime to operate an unlicensed money transmitting
           24
                 business. The term money transmitting includes "transferring funds on behalf of the public by any
           25
                 and all means including but not limited to transfers within this country or to locations abroad by
           26
                 wire, check, draft, facsimile, or courier." This statute makes it a violation to conduct a "money
           27
                 transmitting business" if the business is not registered as a money transmitting business with the
           28
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                 U.S. Secretary of the Treasury as required by a separate statute, 31 U.S.C. § 5330 and federal
             2
                 regulations pursuant to that statute. Moreover, FinCEN Ruling, FIN-2014-R002, at p. 4 provides:
             3
                         361.       In addition, should the Company begin to engage as a business in the exchange of
             4
                 virtual currency against currency of legal tender (or even against other convertible virtual
             5
                 currency), the Company would become a money transmitter under FinCEN's regulations. Under
             6
                 such circumstances, the Company would have to register with FinCEN, implement an effective,
             7
                 risk-based anti-money laundering program, and comply with the recordkeeping, reporting, and
             8
                 transaction monitoring requirements applicable to money transmitters.
             9
                         362.       FinCEN Ruling, FIN-2014-R002, at p. 4. United States Federal District Court
           10
                 decision in U.S. v. Stetkiw, No. 18-20579 (E.D. Mich. Feb. 1, 2019) relied on this Ruling as a
           11
                 basis for denying defendant’s motion to dismiss and holding that defendant’s alleged conduct of
           12
                 converting fiat money into virtual currency constituted money transmitting under 18 U.S.C.
           13
                 § 1960. Thus, Defendant HDR is money transmitter under FinCEN's regulations and California
           14
                 law.
           15
                         363.       The regulations specifically apply to foreign-based money transmitting businesses
           16
                 doing substantial business in the United States. “Several sources close to the company” have
           17
                 disclosed to media sources that nearly 15 percent of the BitMEX’s 2019 trading volume—or
           18
                 about $138 billion worth—is attributable to traders located in the United States. In addition, San
           19
                 Francisco based Galois Capital also acts as liquidity provider on BitMEX generating millions of
           20
                 dollars of business for Defendants. Moreover California-based Coincident Capital actively trades
           21
                 on BitMEX generating over $50,000,000 in trading profits. Therefore, Defendants HDR and
           22
                 ABS are subject to the aforesaid federal and state money transmitter regulations due to its very
           23
                 substantial business in the United States. See 31 C.F.R. §§ 1010.100(ff)(5), 1022380(a)(2).
           24
                         364.       Defendants HDR and ABS fall under the statutory definition of the “unlicensed
           25
                 money transmitting business” under all of 18 U.S.C. § 1960(b)(1)(A), (B) and (C). Defendants’
           26
                 unlicensed money transmitting operation clearly affects interstate and foreign commerce, based at
           27
                 least on the high amounts (tens and even hundreds of millions of United States dollars) of funds
           28
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                 involved in the money transmissions by Defendants.
             2
                        365.       With respect to 18 U.S.C. § 1960(b)(1)(A), Defendants HDR and ABS operate
             3
                 without an appropriate money transmitting license issued by the State of California and by any
             4
                 other State of the United States. Cal. Fin. Code § 2003(q)(3) defines “money transmission” as
             5
                 “receiving money for transmission.” Defendants HDR and ABS clearly meet this definition.
             6
                 Defendants HDR and ABS receive funds in a form of a cryptocurrency from its customers and
             7
                 then transmit cryptocurrency to a wallet address. Cal. Fin. Code § 2030(a) requires persons
             8
                 engaged in money transmission to be licensed. Finally, Cal. Fin. Code § 2152(b) provides that a
             9
                 “person that knowingly engages in an activity for which a license is required under this division
           10
                 without being licensed or exempt from licensure under this division is guilty of a felony.” Thus,
           11
                 Defendants HDR and ABS meet the definition set out in 18 U.S.C. § 1960(b)(1)(A).
           12
                        366.       With respect to 18 U.S.C. § 1960(b)(1)(B), Defendants HDR and ABS failed to
           13
                 register with the U.S. Secretary of the Treasury as required by a separate statute, 31 U.S.C. § 5330
           14
                 and federal regulations pursuant to that statute.
           15
                        367.       With respect to 18 U.S.C. § 1960(b)(1)(C), Defendants HDR and ABS facilitated
           16
                 and continues to facilitate the transfer of funds involved in cryptocurrency market manipulation
           17
                 and money laundering, including, without limitation, transfer of winnings from market
           18
                 manipulation from the helper accounts into the winner accounts as alleged herein above. By way
           19
                 of example and not by way of limitation, Defendants, and each of them, during the Relevant
           20
                 Period, transferred proceeds from illegal price manipulation from BitMEX to other
           21
                 cryptocurrency exchanges, including, without limitation, Coinbase Pro, Kraken and BitStamp in
           22
                 order to replenish helper accounts on those exchanges. Such transfers were performed by
           23
                 Defendants, and each of them on a daily basis, including during each of the specific Manipulation
           24
                 Times, during the Relevant Period. Those proceeds were used by Defendants, and each of them,
           25
                 to perpetrate further market manipulations as alleged hereinabove. In addition, Defendants
           26
                 transmitted funds between different exchange accounts, including, without limitation, helper
           27
                 accounts and winner accounts, by way of market manipulation as alleged hereinabove.
           28
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             1
                        368.       Thus, Defendants HDR and ABS are clearly “unlicensed money transmitting
             2
                 business[es]” under 18 U.S.C. § 1960(b)(1) and, therefore, Defendants, and each of them, while
             3
                 being employed in or associated with the continuing Enterprise as alleged above, knowingly
             4
                 conducted, controlled, managed, supervised, directed, and owned all and part of an unlicensed
             5
                 money transmitting business affecting interstate and foreign commerce in violation of 18 U.S.C.
             6
                 § 1960(a), which constitute the predicate acts of the Defendants, and each of them, racketeering
             7
                 activity under RICO.
             8
                        369.       Defendants have been recently caught red-handed doing at least $100,000,000 of
             9
                 business in New York and California without obtaining a money transmitting license.
           10
                 Specifically, as alleged in Paragraphs above and shown in Ex. 8, California and United States
           11
                 residents generated almost $100,000,000 in trading profits on the BitMEX platform, which
           12
                 clearly exceeds any threshold13 for Defendant HDR having been required to obtain a money
           13
                 transmitter license in the United States and comply with the FinCEN regulations pursuant to 18
           14
                 U.S.C. § 1960(a), which it knowingly and deliberately failed to do. This conclusively establishes
           15
                 the violation of 18 U.S.C. § 1960(a) by Defendants. Had Defendants obtained the money
           16
                 transmitter license from California, registered with FinCEN and complied with FinCEN
           17
                 regulations, as they were required by 18 U.S.C. § 1960(a) and Cal. Fin. Code § 2030(a), they
           18
                 would have been forced to institute the mandatory KYC and AML policies on the BitMEX
           19
                 platform for all traders, as he did on August 14, 2020, and file suspicious activity reports with
           20
                 FinCEN, which would have clearly prevented the rampant market manipulation, money
           21
                 laundering and other nefarious acts, which factually and proximately resulted in Plaintiff’s
           22
                 financial injuries as specifically alleged in this Complaint, from taking place on the BitMEX
           23
                 platform (as alleged in this Complaint, Plaintiff was damaged by acts of money laundering
           24
                 involving effectively transmitting manipulation winnings from helper accounts on spot exchanges
           25
                 13
           26      In United States v. Faiella, 39 F. Supp. 3d 544 (S.D.N.Y. 2014), the threshold for triggering 18
                 U.S.C. § 1960(a) liability was $1,000,000 in unlicensed bitcoin transmissions. In United States v.
           27    Klein, 6:17-cr-03056 (W.D. Mo. 2017), the threshold for triggering 18 U.S.C. § 1960(a) liability
                 was less than $30,000 in unlicensed bitcoin transmissions. Based on these cases, Defendants
           28    exceeded the legal threshold for triggering 18 U.S.C. § 1960(a) liability by a factor of 3,333x.
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                 and winner accounts on BitMEX, which was made possible due to the fact that BitMEX accounts
             2
                 were anonymous, in violation of FinCEN regulations, see Paragraphs above.) If Defendants
             3
                 complied with FinCEN regulations, as required by 18 U.S.C. § 1960(a), this type of money
             4
                 laundering activity would not have been possible on BitMEX due to the fact that winner accounts
             5
                 would be traceable to the helper accounts, and therefore, injuries to Plaintiff would not have
             6
                 occurred). Therefore, Plaintiff’s injuries alleged in this Complaint were directly and proximately
             7
                 caused by Defendants operating the unlicensed money transmitting business and failing to
             8
                 comply with FinCEN regulations in violation of 18 U.S.C. § 1960(a) and Cal. Fin. Code §
             9
                 2030(a), which made BitMEX a hotbed for market manipulation and money laundering.
           10
                        370.       It should be noted that the sheer magnitude of Defendants’ unlicensed money
           11
                 transmitting operation is truly staggering. According to Defendants’ own data, Defendant HDR
           12
                 turnover averages over $3 billion per day. Thus, Defendants illegally transmitted over $3 billion
           13
                 per day without the required state money transmitter license and the required registration with
           14
                 FinCEN in violation of 18 U.S.C. § 1960(a).
           15
                        371.       Defendants, and each of them, charged their customers substantial fees for the
           16
                 unlicensed money transmissions generating substantial illegal income for Defendants.
           17
                        372.       Predicate acts alleged herein, namely operation of an unlicensed money
           18
                 transmitting business in violation of 18 U.S.C. § 1960(a), are related by having the same or
           19
                 similar purposes of engaging in fraudulent solicitation of victims, including Plaintiff, using a
           20
                 laundry list of misrepresentations, half-truths and omissions, manipulating cryptocurrency
           21
                 markets on BitMEX and “reference” exchanges, using at least some of the proceeds of fraudulent
           22
                 solicitations to manipulate prices of Perpetual Swap contracts on BitMEX and “reference”
           23
                 exchanges, generating illicit income and concealing illegal activities from authorities, results,
           24
                 Defendants – participants, victims, methods of commission or are otherwise interrelated by
           25
                 distinguishing characteristics.
           26
                        373.       Predicate acts alleged herein, namely operation of an unlicensed money
           27
                 transmitting business in violation of 18 U.S.C. § 1960(a), are continuous as they constitute an
           28
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                 open-ended scheme, which poses a threat of continuity through the long duration of the alleged
             2
                 misconduct, namely over two years, and the threat of continuing criminal conduct, as the alleged
             3
                 criminal conduct perpetrated by Defendants is still ongoing.
             4
                        374.       Defendants, and each of them, used at least a portion of the income derived from
             5
                 their unlicensed money transmitting operations in violation of 18 U.S.C. § 1960(a) to manipulate
             6
                 spot and derivative markets of cryptocurrencies, as alleged herein, which directly and proximately
             7
                 resulted in the substantial monetary cryptocurrency trading losses to Plaintiff Sorokin as alleged
             8
                 hereinbelow.
             9
                        375.       Defendants’, and each of them, alleged price manipulation schemes, including,
           10
                 without limitation, pumps and dumps, Barts, stop loss hunts and liquidation cascades perpetrated
           11
                 by Defendants, and each of them, to transmit money in violation of 18 U.S.C. § 1960(a) directly
           12
                 and proximately resulted in substantial monetary cryptocurrency trading losses to Plaintiff
           13
                 Sorokin as alleged herein.
           14
                    DEFENDANTS CONSPIRED TO LAUNDER, LAUNDERED AND CONTINUE TO
           15               LAUNDER FUNDS IN VIOLATION OF 18 U.S.C. § 1956
           16           376.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           17    paragraph as if fully set forth herein.
           18           377.       18 U.S.C. § 1956 provides that “whoever, knowing that the property involved in a
           19    financial transaction represents the proceeds of some form of unlawful activity, conducts or
           20    attempts to conduct such a financial transaction which in fact involves the proceeds of specified
           21    unlawful activity (A)(i) with the intent to promote the carrying on of specified unlawful activity;
           22    or (ii) with intent to engage in conduct constituting a violation of section 7201 or 7206 of the
           23    Internal Revenue Code of 1986; or (B) knowing that the transaction is designed in whole or in
           24    part (i) to conceal or disguise the nature, the location, the source, the ownership, or the control of
           25    the proceeds of specified unlawful activity; or (ii) to avoid a transaction reporting requirement
           26    under State or Federal law, shall be sentenced to a fine of not more than $500,000 or twice the
           27    value of the property involved in the transaction, whichever is greater, or imprisonment for not
           28
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                 more than twenty years, or both.”
             2
                        378.       During the Relevant Period, Defendants, and each of them, willfully and
             3
                 knowingly did combine, conspire, confederate, and agree together and with each other to
             4
                 knowingly conduct and attempt to conduct financial transactions affecting interstate commerce
             5
                 and foreign commerce, which transactions involved the proceeds of specified unlawful activity,
             6
                 that in, operation of an unlicensed money transmitting business in violation of 18 U.S.C.
             7
                 § 1960(a), as alleged hereinabove, as well as proceeds of money laundering and unlawful
             8
                 cryptocurrency market manipulation, as alleged hereinbelow.
             9
                        379.       Defendants, and each of them, willfully and knowingly did conduct and continue
           10
                 to conduct financial transactions affecting interstate commerce and foreign commerce, which
           11
                 transactions involved the proceeds of specified unlawful activity, that in, operation of an
           12
                 unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a) as well as proceeds of
           13
                 unlawful cryptocurrency market manipulation.
           14
                        380.       For example, Defendants, and each of them, transferred, on multiple occasions,
           15
                 proceeds from operating of the unlicensed Defendant HDR money transmission business as well
           16
                 as proceeds from illegal bitcoin Perpetual Swap contracts price manipulation from BitMEX to
           17
                 other cryptocurrency exchanges, including, without limitation, Coinbase Pro, BitStamp and
           18
                 Kraken, with intent to employ those transferred proceeds in further unlawful activity or to launder
           19
                 those proceeds by converting them into fiat currencies or through real estate investment schemes.
           20
                 Those proceeds were in fact subsequently used by Defendants, and each of them, to perpetrate
           21
                 further market manipulation in violation of applicable laws. Moreover, Defendants, and each of
           22
                 them, used the hereinabove alleged price manipulation schemes, including, without limitation,
           23
                 pumps and dumps, Barts, stop loss hunts and liquidation cascades to launder funds between
           24
                 different exchange accounts controlled by Defendants or third persons.
           25
                        381.       As a further example, the effective transmissions of the winnings from market
           26
                 manipulation from the first helper account on BitStamp, Kraken or Coinbase Pro to the second
           27
                 winner account on BitMEX perpetrated by Defendants as described herein constitutes money
           28
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                 laundering in violation of 18 U.S.C. § 1956(a).
             2
                        382.       As yet further example, a substantial portion of the bitcoin-denominated proceeds
             3
                 of market manipulation, money laundering, operating of unlicensed money transmitting business
             4
                 and multitude of various other nefarious acts taking place on the BitMEX platform as alleged in
             5
                 this Complaint, were subsequently converted, by all Defendants, through the Unknown Exchange,
             6
                 into various fiat currencies, including United States dollars and Hong Kong dollars. All
             7
                 Defendants knew that these financial transactions were designed in whole or in part to conceal or
             8
                 disguise the nature, the location, the source, the ownership, or the control of the proceeds of the
             9
                 specified unlawful activity, namely cryptocurrency market manipulation, money laundering,
           10
                 operating unlicensed money transmitting business and multitude of various other nefarious acts
           11
                 taking place on the BitMEX platform as alleged in this Complaint.
           12
                        383.        As yet further example, a substantial portion of the bitcoin-denominated proceeds
           13
                 of market manipulation, money laundering and multitude of various other nefarious acts taking
           14
                 place on the BitMEX platform were subsequently converted, by Defendant Reed, Agata Reed,
           15
                 Barbara Reed and Trace Reed, into multiple real estate investments that they set up in Wisconsin
           16
                 and Massachusetts. For this purpose, the aforesaid Defendants employed fraudulent nominee
           17
                 shell companies Grape Park and Mark Sweep to disguise or conceal the true illegal nature of the
           18
                 funds used to acquire the corresponding real estate properties and the acquired real estate’s true
           19
                 ownership or control. All Defendants knew that the aforesaid financial transactions were
           20
                 designed in whole or in part to conceal or disguise the nature, the location, the source, the
           21
                 ownership, or the control of the proceeds of the specified unlawful activity, namely
           22
                 cryptocurrency market manipulation, money laundering, operating unlicensed money transmitting
           23
                 business and multitude of various other nefarious acts taking place on the BitMEX platform as
           24
                 alleged in this Complaint. All Defendants also knew the tainted nature of the funds in the
           25
                 Defendants’ general account (bitcoin wallet), from which the multiple real estate purchases
           26
                 alleged in this Complaint were ultimately funded.
           27
                        384.       Therefore, Defendants, and each of them, while being employed in or associated
           28
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                 with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
             2
                 § 1956, which further constitute the predicate acts of the Defendants’, and each of them,
             3
                 racketeering activity.
             4
                        385.       Predicate acts alleged herein, namely money laundering in violation of 18 U.S.C.
             5
                 § 1956, are related by having the same or similar purposes of engaging in fraudulent solicitation
             6
                 of victims, including Plaintiff, using a laundry list of misrepresentations, half-truths and
             7
                 omissions, manipulating cryptocurrency markets on BitMEX and “reference” exchanges, using at
             8
                 least some of the proceeds of fraudulent solicitations to manipulate prices of Perpetual Swap
             9
                 contracts on BitMEX and “reference” exchanges, generating illicit income, and concealing illegal
           10
                 activities from authorities, results, Defendants – participants, victims, methods of commission or
           11
                 are otherwise interrelated by distinguishing characteristics.
           12
                        386.       Predicate acts alleged herein, namely money laundering in violation of 18 U.S.C.
           13
                 § 1956, are continuous as they constitute an open-ended scheme, which poses a threat of
           14
                 continuity through the long duration of the alleged misconduct, namely two years, and the threat
           15
                 of continuing criminal conduct, as the alleged criminal conduct perpetrated by Defendants is still
           16
                 ongoing.
           17
                        387.       Defendants’, and each of them, alleged price manipulation schemes, including,
           18
                 without limitation, pumps and dumps, Barts, stop loss hunts and liquidation cascades perpetrated
           19
                 by Defendants, and each of them, to launder funds between different exchange accounts
           20
                 controlled by Defendants or third persons in violation of 18 U.S.C. § 1956, directly and
           21
                 proximately resulted in substantial monetary cryptocurrency trading losses to Plaintiff Sorokin as
           22
                 alleged hereinbelow.
           23
                        388.       Defendants, and each of them, used at least a portion of the proceeds derived from
           24
                 their money laundering operation in violation of 18 U.S.C. § 1956 to manipulate spot and
           25
                 derivative markets of cryptocurrencies, as alleged herein, which directly and proximately resulted
           26
                 in the substantial monetary cryptocurrency trading losses to Plaintiff Sorokin as alleged herein.
           27
           28
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CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 139 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                  DEFENDANTS ENGAGED IN MONETARY TRANSACTIONS IN
                                   PROPERTY DERIVED FROM SPECIFIED UNLAWFUL
             2                        ACTIVITY IN VIOLATION OF 18 U.S.C. § 1957
             3          389.       Plaintiff repeats and re-alleges the allegations contained in every preceding
             4   paragraph as if fully set forth herein.
             5          390.       18 U.S.C. § 1957 provides that “(a) Whoever, in any of the circumstances set forth
             6   in subsection (d), knowingly engages or attempts to engage in a monetary transaction in
             7   criminally derived property of a value greater than $10,000 and is derived from specified
             8   unlawful activity, shall be punished as provided in subsection (b).”
             9          391.       Pursuant to 18 USC § 1957(f)(3), the terms “specified unlawful activity” and
           10    “proceeds” shall have the meaning given those terms in 18 U.S.C. § 1956.
           11           392.       During the Relevant Period, Defendants, and each of them, willfully and
           12    knowingly attempted to engage and engaged in monetary transactions affecting interstate
           13    commerce and foreign commerce, which transactions involved the proceeds of specified unlawful
           14    activity, that is, operation of an unlicensed money transmitting business in violation of 18 U.S.C.
           15    § 1960(a), money laundering in violation of 18 U.S.C. § 1956, wire fraud in violation of 18 U.S.C.
           16    § 1343, as well as proceeds of unlawful fraudulent solicitation and cryptocurrency market
           17    manipulation, as alleged hereinbelow.
           18           393.       Defendants, and each of them, willfully and knowingly did conduct and continue
           19    to conduct financial transactions affecting interstate commerce and foreign commerce, which
           20    transactions involved the proceeds of specified unlawful activity, that is, operation of an
           21    unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in
           22    violation of 18 U.S.C. § 1956, wire fraud in violation of 18 U.S.C. § 1343, as well as proceeds of
           23    unlawful fraudulent solicitation and cryptocurrency market manipulation, as alleged herein.
           24           394.       For example, Defendants, and each of them, transferred, on a regular basis,
           25    proceeds from fraudulent solicitations, operating of the unlicensed Defendant HDR money
           26    transmission business as well as illegal bitcoin Perpetual Swap contracts price manipulation from
           27    BitMEX cryptocurrency exchange to other cryptocurrency exchanges, including, without
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 140 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 limitation, Coinbase Pro, BitStamp and Kraken, with intent to employ those transferred proceeds
             2
                 in further unlawful activity. Those proceeds were in fact subsequently used by Defendants, and
             3
                 each of them, to perpetrate further market manipulation in violation of applicable laws. Moreover,
             4
                 Defendants, and each of them, used the hereinabove alleged price manipulation schemes,
             5
                 including, without limitation, pumps and dumps, Barts, stop loss hunts and liquidation cascades
             6
                 to launder funds between different exchange accounts controlled by Defendants or third persons.
             7
                        395.       As a further example, the effective transmissions of the winnings from market
             8
                 manipulation from the first helper account to the second winner account perpetrated by
             9
                 Defendants on behalf of themselves and/or on behalf of other BitMEX users as described herein,
           10
                 with full knowledge of the nature and purpose of the funds involved in the transfer, constitutes
           11
                 violation of 18 U.S.C. § 1957. Defendants were fully aware of the nature of the transferred funds
           12
                 and that such funds were the proceeds of specified unlawful activity within the meaning of 18
           13
                 U.S.C. § 1956.
           14
                        396.       As yet further example, Defendants, and each of them, knowingly converted
           15
                 through multiple monetary transactions, in interstate or foreign commerce, during the Relevant
           16
                 Period, on a daily basis, including during each of the specific Manipulation Times, proceeds of
           17
                 the alleged illegal fraudulent solicitations, omissions and bitcoin Perpetual Swap contracts price
           18
                 manipulation, money laundering, operating unlicensed money transmitting business and other
           19
                 nefarious acts alleged in this Complaint, that took place on the BitMEX platform, into various fiat
           20
                 currencies.
           21
                        397.       Moreover, Defendants, and each of them, knowingly converted through multiple
           22
                 monetary transactions, in interstate or foreign commerce, during the Relevant Period, on or about
           23
                 July 8, 2019 and August 19, 2019, at least $2,325,000 of the fiat currency converted proceeds of
           24
                 the alleged illegal fraudulent solicitation and bitcoin Perpetual Swap contracts price manipulation,
           25
                 money laundering, operating unlicensed money transmitting business and other nefarious acts
           26
                 alleged in this Complaint into real estate investments in the United States, including, without
           27
                 limitations properties located in Lake Tomahawk, WI 54539 and Norwell, MA 02061, Ex. 12, 13.
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 141 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 The specific purpose of the financial transactions alleged herein was to launder those funds
             2
                 through a real estate investment scheme and conceal their true illegal origin as well as ownership
             3
                 and control.
             4
                        398.        Therefore, Defendants, and each of them, while being employed in or associated
             5
                 with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
             6
                 § 1957, which further constitute the predicate acts of the Defendants’, and each of them,
             7
                 racketeering activity.
             8
                        399.       Predicate acts alleged herein, namely engaging in monetary transactions in
             9
                 property derived from specified unlawful activity in violation of 18 U.S.C. § 1957, are related by
           10
                 having the same or similar purposes of engaging in fraudulent solicitation of victims, including
           11
                 Plaintiff, using a laundry list of misrepresentations, half-truths and omissions, manipulating
           12
                 cryptocurrency markets on BitMEX and “reference” exchanges, using at least some of the
           13
                 proceeds of fraudulent solicitations to manipulate prices of Perpetual Swap contracts on BitMEX
           14
                 and “reference” exchanges, generating illicit income, and concealing illegal activities from
           15
                 authorities, results, Defendants – participants, victims, methods of commission or are otherwise
           16
                 interrelated by distinguishing characteristics.
           17
                        400.       Predicate acts alleged herein, namely engaging in monetary transactions in
           18
                 property derived from specified unlawful activity in violation of 18 U.S.C. § 1957, are continuous
           19
                 as they constitute an open-ended scheme, which poses a threat of continuity through the long
           20
                 duration of the alleged misconduct, namely two years, and the threat of continuing criminal
           21
                 conduct, as the alleged criminal conduct perpetrated by Defendants, and each of them, is still
           22
                 ongoing.
           23
                        401.       Defendants’, and each of them, alleged fraudulent solicitations, omissions, price
           24
                 manipulation schemes, including, without limitation, pumps and dumps, Barts, stop loss hunts
           25
                 and liquidation cascades perpetrated by Defendants, and each of them, to transfer funds derived
           26
                 from specified unlawful activity between different exchange accounts controlled by Defendants
           27
                 or third persons in violation of 18 U.S.C. § 1957, directly and proximately resulted in substantial
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 142 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 monetary cryptocurrency trading losses to Plaintiff Sorokin as alleged hereinbelow.
             2
                        402.       Defendants, and each of them, used at least a portion of the proceeds from their
             3
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. § 1957
             4
                 to manipulate spot and derivative markets of cryptocurrencies, as alleged herein, which directly
             5
                 and proximately resulted in the substantial monetary cryptocurrency trading losses to Plaintiff
             6
                 Sorokin as alleged herein.
             7
                                                DEFENDANTS ENGAGED IN WIRE FRAUD
             8                                     IN VIOLATION OF 18 U.S.C. § 1343
             9          403.       Plaintiff repeats and re-alleges the allegations contained in every preceding

           10    paragraph as if fully set forth herein.

           11           404.       18 U.S.C. § 1343 provides that “[w]hoever, having devised or intending to devise

           12    any scheme or artifice to defraud, or for obtaining money or property by means of false or

           13    fraudulent pretenses, representations, or promises, transmits or causes to be transmitted by means

           14    of wire, radio, or television communication in interstate or foreign commerce, any writings, signs,

           15    signals, pictures, or sounds for the purpose of executing such scheme or artifice, shall be fined

           16    under this title or imprisoned not more than 20 years, or both...”

           17           405.       During the Relevant Period, Defendants, and each of them, devised a scheme or

           18    artifice to defraud, namely a manipulative, fraudulent and deceptive scheme to fraudulently solicit

           19    Plaintiff’s bitcoin deposits and trading commissions and to manipulate the prices of certain

           20    cryptocurrency derivatives, including, without limitation, bitcoin Perpetual Swap contracts,

           21    bitcoin swaps, as well as the cash prices of cryptocurrencies, including, without limitation, cash

           22    bitcoin and to obtain money of other traders by way of injecting false information into markets in

           23    order to induce other traders to open highly leveraged positions on BitMEX and then cause their

           24    artificial liquidation in violation of 7 U.S.C. §§ 9(1), (3) and 13(a)(2) (2018). This scheme was

           25    devised and intended to fraudulently benefit Defendants at the expense of Plaintiff by wrongfully

           26    charging Plaintiff trading commissions, obtained by way of fraudulent solicitation, and by

           27    wrongfully confiscating Plaintiff’s bitcoin deposits, also obtained by way of fraudulent

           28    solicitation, by inducing artificial market price moves and using such price moves to force
CONSENSUS LAW
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 143 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 liquidations of Plaintiff’s positions on the BitMEX platform, while simultaneously deliberately
             2
                 freezing BitMEX’s platform to impede Plaintiff’s efforts to salvage his funds. The funds forcibly
             3
                 confiscated from Plaintiff as the result of the liquidations were deposited into the Insurance Fund
             4
                 maintained by Defendants.
             5
                        406.       During the Relevant Period, Defendants, and each of them, used wire signals to
             6
                 transmit various fraudulent solicitations to Plaintiff, containing a laundry list of material
             7
                 misrepresentations, half-truths and omissions, including fraudulent solicitations alleged in
             8
                 Paragraphs 481-577 below, as well as various electronic orders to multiple “reference”
             9
                 cryptocurrency exchanges for the specific purpose of manipulating cryptocurrency derivative
           10
                 markets on BitMEX and misleading traders and investors as to the cryptocurrency market’s
           11
                 natural forces of supply and demand and for manipulating prices of spot cryptocurrencies and
           12
                 cryptocurrency derivatives on those “reference” exchanges. Those actions further constitute wire
           13
                 fraud in violation of 18 U.S.C. § 1343.
           14
                        407.       Plaintiff is informed and believes and thereon alleges that the alleged fraudulent
           15
                 electronic wire transmissions were performed by Defendants on a daily basis, including during
           16
                 each of the specific Manipulation Times, during the Relevant Period and were carried out from
           17
                 Defendants’ offices located in San Francisco, California and Milwaukee, Wisconsin, and to a
           18
                 computer of Plaintiff, computer servers of Amazon EKS as well as computer serves of multiple
           19
                 other United States based “reference” cryptocurrency exchanges that Defendants used to
           20
                 perpetrate their manipulative and fraudulent scheme alleged hereinabove. Plaintiff is informed
           21
                 and believes and thereon alleges that each of Defendants HDR, ABS, Hayes, Delo and Reed used
           22
                 automated market manipulation software tools developed by BitMEX to issue the alleged
           23
                 fraudulent electronic wire transmissions on a daily basis during the Relevant Period, including
           24
                 during each of the specific Manipulation Times.
           25
                        408.       Some of the alleged wire transmissions contained, without limitation, fraudulent
           26
                 solicitations of Plaintiff’s bitcoin deposits and trading commissions using a laundry list of
           27
                 misrepresentations, half-truths and omissions, electronic orders designed to create artificial prices
           28
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CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 144 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 on U.S.-based “reference” exchanges in order to trigger liquidations of Plaintiff’s positions on
             2
                 BitMEX and confiscation of Plaintiff’s bitcoins, electronic orders designed to inject false and
             3
                 misleading information about genuine supply and demand for bitcoin or bitcoin derivatives into
             4
                 the markets and to deceive other participants in the market into believing something untrue,
             5
                 namely that the visible order book accurately reflected market-based forces of supply and
             6
                 demand. These alleged wire transmissions were an illegitimate part of the supply-demand
             7
                 equation, prevented true price discovery, and caused artificial pricing in the cryptocurrency
             8
                 market. The false and misleading information injected by Defendants into the markets was
             9
                 intended to trick other market participants into reacting to an apparent change and imbalance of
           10
                 supply and demand by buying and selling bitcoin Perpetual Swap or spot bitcoin at times, prices
           11
                 and quantities that they otherwise would likely not have traded. Moreover, the alleged wire
           12
                 transmissions further contained, without limitation, electronic orders designed to induce artificial
           13
                 price moves in the cryptocurrency markets in order to force liquidations of traders’ positions on
           14
                 the BitMEX exchange for the benefit of Defendants’ Insurance Fund. In addition, the electronic
           15
                 wire transmissions included Defendants’ electronic commands to deliberately freeze servers of
           16
                 the BitMEX platform and Defendants’ electronic commands to generate the fraudulent system
           17
                 overload messages alleged hereinabove. Finally, the electronic wire transmissions included
           18
                 Defendants’ fraudulent transmissions regarding the fake hardware failure in BitMEX’s servers as
           19
                 well as the fake distributed denial-of-service attack (DDoS attack), which took place on or about
           20
                 March 13, 2020.
           21
                        409.       Plaintiff is informed and believes and thereon alleges that pumps and dumps,
           22
                 Barts, liquidation cascades and spoofing alleged hereinabove are specific examples of the conduct
           23
                 that was specifically designed by Defendants, and each of them, to mislead Plaintiff Sorokin as
           24
                 well as other traders on the cryptocurrencies market.
           25
                        410.       Plaintiff Sorokin as well as other traders were in fact misled by Defendants’, and
           26
                 each of them, manipulative and fraudulent acts intended to mislead and defraud, including,
           27
                 without limitation, by pumps and dumps, Barts and spoofing perpetrated by Defendants, and each
           28
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CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 145 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 of them, and placed orders that they would not have otherwise placed.
             2
                        411.       Plaintiff Sorokin, at the time of the alleged manipulative and fraudulent acts
             3
                 intended to mislead and defraud, including fraudulent solicitations by wire as alleged in
             4
                 Paragraphs 481-577 below, which were perpetrated by Defendants, and each of them, and at the
             5
                 time Plaintiff Sorokin took the trades herein alleged, was ignorant of the manipulative and
             6
                 fraudulent nature of conduct of the Defendants, and each of them, and believed that the apparent
             7
                 market conditions were in fact dictated by market forces of supply and demand and not the result
             8
                 of false information being injected into the markets by Defendants.
             9
                        412.       Plaintiff Sorokin, at the time the alleged manipulative and fraudulent acts intended
           10
                 to mislead and defraud were made by Defendants, and each of them, and at the time Plaintiff
           11
                 Sorokin took the actions herein alleged, was ignorant of secret intentions of Defendants, and each
           12
                 of them, to mislead and defraud Plaintiff Sorokin and other traders and Plaintiff Sorokin could
           13
                 not, in the exercise of reasonable diligence, have discovered the secret intentions of Defendants,
           14
                 and each of them.
           15
                        413.       Had Plaintiff Sorokin known the actual facts, Plaintiff Sorokin would not have
           16
                 taken such alleged actions.
           17
                        414.       If Plaintiff Sorokin had known of the actual intention of Defendants, and each of
           18
                 them, Plaintiff Sorokin would not have taken the alleged trades. Plaintiff Sorokin’s reliance on
           19
                 fraudulent and manipulative conduct of Defendants, and each of them, was justified because
           20
                 Plaintiff Sorokin rightfully assumed that the market conditions of spot bitcoin and bitcoin
           21
                 derivatives markets were due to the actual market forces of supply and demand.
           22
                        415.       The predicate acts alleged herein, namely engaging in wire fraud in violation of 18
           23
                 U.S.C. § 1343, are related by having the same or similar purposes of engaging in fraudulent
           24
                 solicitation of victims, including Plaintiff Sorokin, using a laundry list of misrepresentations, half-
           25
                 truths and omissions, manipulating cryptocurrency markets on BitMEX and “reference”
           26
                 exchanges, using at least some of the proceeds of fraudulent solicitations to manipulate prices of
           27
                 Perpetual Swap contracts on BitMEX and “reference” exchanges, generating illicit income, and
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 146 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 concealing illegal activities from authorities, results, Defendants – participants, victims, methods
             2
                 of commission or are otherwise interrelated by distinguishing characteristics. For example, the
             3
                 numerous wire transmissions containing fraudulent solicitations from Defendants to Plaintiff
             4
                 Sorokin alleged herein were all related because they had similar purposes, results, Defendants –
             5
                 participants, victims, methods of commission or are otherwise interrelated by distinguishing
             6
                 characteristics.
             7
                         416.       The predicate acts alleged herein, namely engaging in wire fraud in violation of 18
             8
                 U.S.C. § 1343, including engaging in wire transmissions containing fraudulent solicitation of
             9
                 victims, including Plaintiff Sorokin, using a laundry list of misrepresentations, half-truths and
           10
                 omissions, are continuous as they constitute an open-ended scheme, which poses a threat of
           11
                 continuity through the long duration of the alleged misconduct, namely three years, and the threat
           12
                 of continuing criminal conduct, as the alleged criminal conduct perpetrated by Defendants is still
           13
                 ongoing.
           14
                         417.       Defendants’ hereinabove alleged use of the electronic wire signals to fraudulently
           15
                 solicit and defraud Plaintiff Sorokin as well as other market participants in violation of 18 U.S.C.
           16
                 § 1343 directly and proximately resulted in the substantial monetary cryptocurrency trading
           17
                 commissions damages, bitcoin loss of use damages and trading losses to Plaintiff Sorokin as
           18
                 alleged hereinbelow.
           19
                         418.       Plaintiff Sorokin is informed and believes and thereon alleges that Defendants, and
           20
                 each of them, used at least a portion of the proceeds derived from wire fraud in violation of 18
           21
                 U.S.C. § 1343 to manipulate spot and derivative markets of cryptocurrencies, as alleged herein,
           22
                 which directly and proximately resulted in the substantial monetary cryptocurrency trading losses
           23
                 to Plaintiff Sorokin as alleged herein.
           24
                    DEFENDANTS ENGAGED IN INTERSTATE TRANSPORTATION OF STOLEN
           25     FUNDS IN VIOLATION OF THE NATIONAL STOLEN PROPERTY ACT 18 U.S.C. §
           26                                   2314
                         419.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           27
                 paragraph as if fully set forth herein.
           28
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CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 147 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        420.       18 U.S.C. § 2314 provides that “[w]hoever transports, transmits, or transfers in
             2
                 interstate or foreign commerce any goods, wares, merchandise, securities or money, of the value
             3
                 of $5,000 or more, knowing the same to have been stolen, converted or taken by fraud … [s]hall
             4
                 be fined under this title or imprisoned not more than ten years, or both.”
             5
                        421.       During the Relevant Period, Defendants, and each of them, willfully and
             6
                 knowingly transmitted and transferred in interstate or foreign commerce cryptocurrency,
             7
                 including, without limitation, bitcoin and stablecoins, knowing that the transferred cryptocurrency
             8
                 was converted or taken by fraud from Plaintiff Sorokin as well as other cryptocurrency traders as
             9
                 the result of fraudulent market manipulation as alleged hereinabove.
           10
                        422.       Defendants, and each of them, knowingly transferred and transmitted, in interstate
           11
                 or foreign commerce, during the Relevant Period, on a daily basis, including during each of the
           12
                 specific Manipulation Times, proceeds of the alleged illegal fraudulent solicitations and/or bitcoin
           13
                 Perpetual Swap contracts price manipulation from manipulation winner accounts as well as other
           14
                 accounts on BitMEX cryptocurrency exchange to accounts on other cryptocurrency exchanges,
           15
                 including, without limitation, “reference” exchanges Coinbase Pro, BitStamp and Kraken, and/or
           16
                 cryptocurrency off-ramp exchanges and OTC trading desks for subsequent conversion of the ill-
           17
                 gotten bitcoins into fiat currencies, including United States dollars and Hong Kong dollars.
           18
                 Moreover, Defendants, and each of them, knowingly transferred and transmitted, in interstate or
           19
                 foreign commerce, on or about July 9, 2019, at least $900,000 of the fiat currency converted
           20
                 proceeds of the alleged illegal bitcoin Perpetual Swap contracts price manipulation from
           21
                 Unknown Exchange to Vilas Title Service Inc., 133 E Division St, Eagle River, WI 54521,
           22
                 United States. Furthermore, Defendants, and each of them, transferred and transmitted, in
           23
                 interstate or foreign commerce, on or about August 16, 2019, at least $1,425,000 of the fiat
           24
                 currency converted proceeds of the alleged illegal bitcoin Perpetual Swap contracts price
           25
                 manipulation from Unknown Exchange to Ligris + Associates, 399 Boylston St f7, Boston, MA
           26
                 02116, United States. The specific purpose of the transfers of funds alleged herein was to launder
           27
                 those funds through a real estate investment scheme and conceal their true illegal origin as well as
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 148 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 ownership and control.
             2
                        423.       Coinbase Pro and Kraken are located in California, while BitStamp is located in
             3
                 New York City, New York. The transferred proceeds were converted or taken by fraud by
             4
                 Defendants from Plaintiff Sorokin as well as other cryptocurrency traders as the result of the
             5
                 fraudulent solicitations and market manipulation as alleged hereinabove. Defendants were fully
             6
                 aware of the true nature of the transferred proceeds.
             7
                        424.       For example, the effective transmissions of the proceeds of the fraudulent
             8
                 solicitations and/or winnings from market manipulation from the first helper account to the
             9
                 second winner account perpetrated by Defendants as described herein constitutes a violation of 18
           10
                 U.S.C. § 2314. Defendants were fully aware of the nature of the transferred funds and that such
           11
                 funds were taken by fraud from Plaintiff Sorokin as well as other cryptocurrency traders.
           12
                        425.       Therefore, Defendants, and each of them, while being employed in or associated
           13
                 with the continuing Enterprise as alleged above, committed multiple acts that violated 18 U.S.C.
           14
                 § 2314, which further constitute the predicate acts of the Defendants’, and each of them,
           15
                 racketeering activity.
           16
                        426.       The predicate acts alleged herein, namely engaging in interstate transportation of
           17
                 stolen funds in violation of 18 U.S.C. § 2314, are related by having the same or similar purposes
           18
                 of engaging in fraudulent solicitation of victims, including Plaintiff Sorokin, using a laundry list
           19
                 of misrepresentations, half-truths and omissions, manipulating cryptocurrency markets on
           20
                 BitMEX and “reference” exchanges, using at least some of the proceeds of fraudulent
           21
                 solicitations to manipulate prices of Perpetual Swap contracts on BitMEX and “reference”
           22
                 exchanges, generating illicit income and concealing illegal activities from authorities, results,
           23
                 Defendants – participants, victims, methods of commission or are otherwise interrelated by
           24
                 distinguishing characteristics.
           25
                        427.       The predicate acts alleged herein, namely engaging in interstate transportation of
           26
                 stolen funds in violation of 18 U.S.C. § 2314, are continuous as they constitute an open-ended
           27
                 scheme, which poses a threat of continuity through the long duration of the alleged misconduct,
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 149 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 namely two years, and the threat of continuing criminal conduct, as the alleged criminal conduct
             2
                 perpetrated by Defendants is still ongoing.
             3
                           428.    Defendants’, and each of them, alleged transfer of proceeds of the alleged illegal
             4
                 fraudulent solicitations as well as bitcoin Perpetual Swap contracts price manipulation from
             5
                 BitMEX cryptocurrency exchange to other cryptocurrency exchanges, including, without
             6
                 limitation, Coinbase Pro, BitStamp and Kraken, in violation of 18 U.S.C. § 2314, enabling
             7
                 Defendants, and each of them, to engage in further market manipulation, directly and proximately
             8
                 resulted in substantial monetary cryptocurrency trading losses to Plaintiff Sorokin as alleged
             9
                 hereinbelow.
           10
                           429.    Defendants, and each of them, used at least a portion of the proceeds derived from
           11
                 the interstate transportation of stolen funds in violation of 18 U.S.C. § 2314 to manipulate spot
           12
                 and derivative markets of cryptocurrencies, as alleged herein, which directly and proximately
           13
                 resulted in the substantial monetary cryptocurrency trading losses to Plaintiff Sorokin as alleged
           14
                 herein.
           15
                           DEFENDANTS ENGAGED IN INTERSTATE AND FOREIGN TRAVEL OR
           16                TRANSPORTATION IN AID OF RACKETEERING ENTERPRISE IN
           17                            VIOLATION OF 18 U.S.C. § 1952
                           430.    Plaintiff repeats and re-alleges the allegations contained in every preceding
           18
                 paragraph as if fully set forth herein.
           19
                           431.    18 U.S.C. § 1952 provides that “[w]hoever travels in interstate or foreign
           20
                 commerce or uses the mail or any facility in interstate or foreign commerce, with intent to (1)
           21
                 distribute the proceeds of any unlawful activity; … or (3) otherwise promote, manage, establish,
           22
                 carry on, or facilitate the promotion, management, establishment, or carrying on, of any unlawful
           23
                 activity, and thereafter performs or attempts to perform—(A) an act described in paragraph (1) or
           24
                 (3) shall be fined under this title, imprisoned not more than 5 years, or both.”
           25
                           432.    During the Relevant Period, Defendants Hayes, Delo and Reed, and each of them,
           26
                 willfully and knowingly traveled between Hong Kong, United States and Seychelles with intent
           27
                 to distribute the proceeds of an unlawful activity, namely fraudulent solicitations, omissions and
           28
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             1
                 market manipulation in violation of CEA, money laundering, operating unlicensed money
             2
                 transmitting business as well as numerous other nefarious acts that took place on the BitMEX
             3
                 platform as alleged in this Complaint. Therefore, Defendants Hayes, Delo and Reed violated 18
             4
                 U.S.C. § 1952.
             5
                           433.    During the Relevant Period, Defendants Hayes, Delo and Reed, and each of them,
             6
                 willfully and knowingly traveled between Hong Kong, United States and Seychelles with intent
             7
                 to promote, manage, establish, carry on, or facilitate the promotion, management, establishment,
             8
                 or carrying on, of unlawful activity namely fraudulent solicitations, omissions and market
             9
                 manipulation in violation of CEA, money laundering, operating unlicensed money transmitting
           10
                 business as well as numerous other nefarious acts that took place on the BitMEX platform as
           11
                 alleged in this Complaint. Therefore, Defendants Hayes, Delo and Reed violated 18 U.S.C.
           12
                 § 1952.
           13
                           434.    During the Relevant Period, Defendant Reed willfully and knowingly traveled
           14
                 between Wisconsin and Massachusetts with intent to distribute and reinvest in United States real
           15
                 estate property situated in Norwell, MA 02061 at least $1,425,000 of the proceeds of an unlawful
           16
                 activity, namely fraudulent solicitations, omissions and market manipulation in violation of CEA,
           17
                 money laundering, operating unlicensed money transmitting business as well as numerous other
           18
                 nefarious acts that took place on the BitMEX platform as alleged in this Complaint. Therefore,
           19
                 Defendant Reed violated 18 U.S.C. § 1952.
           20
                           435.    During the Relevant Period, Defendant Reed willfully and knowingly traveled
           21
                 between Wisconsin and Massachusetts with intent to promote, manage, establish, carry on, or
           22
                 facilitate the promotion, management, establishment, or carrying on, of unlawful activity namely
           23
                 namely fraudulent solicitations, omissions and market manipulation in violation of CEA, money
           24
                 laundering, operating unlicensed money transmitting business as well as numerous other
           25
                 nefarious acts that took place on the BitMEX platform as alleged in this Complaint. Therefore,
           26
                 Defendant Reed violated 18 U.S.C. § 1952.
           27
                           436.    Therefore, Defendants Hayes, Delo and Reed, and each of them, while being
           28
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             1
                 employed in or associated with the continuing Enterprise as alleged above, committed multiple
             2
                 acts that violated 18 U.S.C. § 1952, which further constitute the predicate acts of the Defendants
             3
                 Hayes, Delo and Reed, and each of them, racketeering activity.
             4
                        437.       The predicate acts alleged herein, namely engaging in interstate and foreign travel
             5
                 or transportation in aid of racketeering enterprise in violation of 18 U.S.C. § 1952, are related by
             6
                 having the same or similar purposes of engaging in fraudulent solicitation of victims, including
             7
                 Plaintiff Sorokin, using a laundry list of misrepresentations, half-truths and omissions,
             8
                 manipulating cryptocurrency markets on BitMEX and “reference” exchanges, using at least some
             9
                 of the proceeds of fraudulent solicitations to manipulate prices of Perpetual Swap contracts on
           10
                 BitMEX and “reference” exchanges, generating illicit income and concealing illegal activities
           11
                 from authorities, results, Defendants – participants, victims, methods of commission or are
           12
                 otherwise interrelated by distinguishing characteristics.
           13
                        438.       The predicate acts alleged herein, namely engaging in interstate and foreign travel
           14
                 or transportation in aid of racketeering enterprise in violation of 18 U.S.C. § 1952, are continuous
           15
                 as they constitute an open-ended scheme, which poses a threat of continuity through the long
           16
                 duration of the alleged misconduct, namely three years, and the threat of continuing criminal
           17
                 conduct, as the alleged criminal conduct perpetrated by Defendants is still ongoing.
           18
                        439.       Defendants’, and each of them, alleged interstate and foreign travel or
           19
                 transportation in aid of racketeering enterprise in violation of 18 U.S.C. § 1952, enabling
           20
                 Defendants, and each of them, to benefit from and continue the fraudulent solicitations, omissions
           21
                 and market manipulation in violation of CEA, money laundering, operating unlicensed money
           22
                 transmitting business as well as numerous other nefarious acts that took place on the BitMEX
           23
                 platform as alleged in this Complaint, directly and proximately resulted in substantial monetary
           24
                 cryptocurrency trading losses to Plaintiff Sorokin as alleged hereinbelow.
           25
                            SPECIFIC TIMES OF MARKET MANIPULATION BY DEFENDANTS
           26
                        440.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           27
                 paragraph as if fully set forth herein.
           28
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             1
                        441.       As alleged in the Paragraphs above, the automated software tools developed by
             2
                 BitMEX and operated by the Insider Trading Desk, which used highly sensitive and confidential
             3
                 information about traders and his open positions and orders on BitMEX, automatically
             4
                 manipulated cryptocurrency prices on BitMEX and its United States based “reference”
             5
                 exchanges, by using helper accounts on United States based “reference” spot exchanges Kraken,
             6
                 Coinbase and BitStamp, to place large market orders on those exchanges with maximum slippage
             7
                 to cause large artificial moves in the .BXBT index price and .BETH index price on a daily basis,
             8
                 resulting in liquidation of retail traders and profit for BitMEX, including, on information and
             9
                 belief and without limitation, the following specific manipulation times (“Manipulation
           10
                 Times”)14:
           11
           12
                                                          From                                            To
           13
                 1.              7AM UTC on November 14, 2018                  12AM UTC on November 15, 2018
           14
                 2.              12AM UTC on November 19, 2018                 9AM UTC on November 20, 2018
           15
                 3.              4PM UTC on November 24, 2018                  11PM UTC on November 25, 2018
           16
                 4               6AM UTC on December 24, 2018                  12AM UTC on December 25, 2018
           17
                 5.              4AM UTC on January 10, 2019                   8PM UTC on January 10, 2019
           18
                 6.              12AM UTC on April 2, 2019                     12PM UTC on April 2, 2019
           19
                 7.              2AM UTC on May 17, 2019                       4AM UTC on May 17, 2019
           20
                 8.              7PM UTC on June 26, 2019                      12AM UTC on June 27, 2019
           21
                 9.              12AM UTC on July 10, 2019                     12AM UTC on July 15, 2019
           22
                 10.             4AM UTC on September 22, 2019                 4PM UTC on September 26, 2019
           23
           24
                 14
                    During those specific times, high volume market orders were executed on one or more
           25    “reference” exchanges during a short period of time, amounting to a relatively large fraction of
           26    the corresponding exchange’s regular daily volume. Such trades would normally result in a
                 financial loss for the trader, unless they were used with the purpose of profiting on BitMEX.
           27    Because traders trading millions of dollars are very sophisticated, these market orders were used
                 for purposes of market manipulation on BitMEX. This forms the basis for Plaintiff Sorokin’s
           28    belief as to the specific manipulation dates and times listed in the table.
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             1
                 11.              12AM UTC on November 18, 2019                 12AM UTC on November 20, 2019
             2
                 12.              4AM UTC on March 12, 2020                     4AM UTC on March 13, 2020
             3
                 13.              9PM UTC on July 27, 2020                      2AM UTC on July 28, 2020
             4
                 14.              12AM UTC on August 2, 2020                    6AM UTC on August 2, 2020
             5
             6           442.       Additional and other facts regarding Defendants’ market manipulation activities

             7   are hidden from Plaintiff Sorokin at this time. Such information is uniquely within Defendants’

             8   possession, custody and control. To date, Defendants provided absolutely no discovery to

             9   Plaintiff Sorokin what so ever. Plaintiff Sorokin reserves the right to amend or supplement the

           10    above list of Manipulation Times after he receives discovery from Defendants.

           11          SPECIFIC LOCATIONS AND TIMES OF RICO OVERT ACTS OF DEFENDANTS

           12            443.       Plaintiff repeats and re-alleges the allegations contained in every preceding

           13    paragraph as if fully set forth herein.

           14            444.       RICO overt acts perpetrated by Defendants are described in the table below. All

           15    of those overt acts take place either on United States based cryptocurrency exchanges BitStamp,

           16    Coinbase Pro and Kraken or on BitMEX itself, which has the majority of cloud service providers
                 (Paragraph 94), employees (Paragraph 111), engineering and software development team and the
           17
           18    nerve center of operations in this District. The below table has been prepared based on

           19    information and belief of Plaintiff Sorokin, which belief was formed based on public records,

           20    public Court records, U.S. DOJ indictment of Defendant Hayes, CFTC civil Complaint against

           21    Defendants and crypto market data analysis:

           22
                 RICO
           23    Overt              RICO Conduct Involved                                 Place of Conduct
                   Act
           24    1          Defendants transmitting electronic          This District (BitMEX, having the majority of
           25               wire signals to inject false                cloud service providers (Paragraph 94),
                            information as to market forces of          employees (Paragraph 111), engineering and
           26               supply and demand into                      software development team and the nerve center
                            cryptocurrency markets and                  of operations in this District); BitStamp,
           27               mislead traders to open unfavorable         Coinbase Pro and Kraken, all located in the
                            trading positions to be subsequently        United States
           28
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             1              liquidated (e.g. first leg of a Bart,
                            see paragraphs above)
             2   Plaintiff Sorokin entered into unfavorable       This District (BitMEX, having the majority of
             3   trading positions by executing BUY               cloud service providers (Paragraph 94),
                 MARKET orders, after being misled by false       employees, engineering and software
             4   market forces information injected by            development team and the nerve center of
                 Defendants                                       operations in this District) and Kraken, also
             5                                                    located in this District
                 2          Defendants electronically             BitStamp, Coinbase Pro and Kraken, all located
             6
                            transferring (depositing) funds to be in the United States
             7              used for manipulation into helper
                            account(s)
             8   3          Defendants transmitting electronic    BitStamp, Coinbase Pro and Kraken, all located
                            wire signals to deliberately move     in the United States
             9              BitMEX’s .BXBT index price by
           10               placing large market orders SELL
                            MARKET NN with maximum
           11               slippage from the helper accounts
                            on three illiquid exchanges spot
           12               used by BitMEX to calculate its
                            .BXBT index
           13    Liquidation cascade that resulted in some of     This District (BitMEX, having the majority of
           14    Plaintiff’s damages due to liquidation of        cloud service providers (Paragraph 94),
                 Plaintiff’s XBTUSD Swap positions takes          employees, engineering and software
           15    place, directly and proximately caused by the development team and the nerve center of
                 deliberate .BXBT index price move                operations in this District) and Kraken, also
           16    orchestrated by Defendants                       located in this District
                 4          Defendants transmitting electronic    This District (BitMEX, having the majority of
           17
                            wire signals to capture multiplied    cloud service providers (Paragraph 94),
           18               (due to disparity in liquidity)       employees, engineering and software
                            manipulation profits caused by the    development team and the nerve center of
           19               deliberate index price move using     operations in this District)
                            winner account(s) on BitMEX,
           20               using BUY LIMIT orders
           21    5          Defendants transmitting electronic    This District, where all three site reliability
                            wire signals to freeze BitMEX         engineers of BitMEX, who were responsible for
           22               servers and accepting orders on       the BitMEX trading platform uptime and who
                            only one side of the market to        personally perpetrated the server freezes, were
           23               exacerbate the price moves during     located
                            Manipulation Times
           24    6          Defendants electronically             This District (BitMEX, having the majority of
           25               transferring (withdrawing) funds      cloud service providers (Paragraph 94),
                            from winner account(s) into bitcoin employees, engineering and software
           26               wallet                                development team and the nerve center of
                                                                  operations in this District)
           27    7          Defendants transmitting electronic    BitStamp, Coinbase Pro and Kraken, all located
                            wire signals to convert proceeds of in the United States
           28
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             1             market manipulation into fiat (legal
                           tender) currencies
             2   8.        Defendant Reed reinvesting           Wisconsin and Massachusetts
             3             converted proceeds of market
                           manipulation and money laundering
             4             into United States real estate.

             5           445.      A summary of alleged RICO predicates perpetrated by Defendants is provided in

             6   the table below, which was prepared in accordance with information and belief of Plaintiff

             7   Sorokin. All of those predicates also took place either on United States based cryptocurrency

             8   exchanges BitStamp, Coinbase Pro and Kraken and on BitMEX itself, which has the majority of

             9   cloud service providers, employees, engineering and software development team and the nerve

           10    center of operations in this District:

           11
                 RICO Predicate      RICO                                            Place of Conduct
           12                     Overt Acts
           13    18 U.S.C. § 1960 2, 3, 4, 5, 6,                This District (BitMEX, having the majority of cloud service
                 Unlicensed       7                             providers, employees, engineering and software development
           14    Money                                          team and the nerve center of operations in this District);
                 Transmissions                                  BitStamp, Coinbase Pro and Kraken, all located in the United
           15                                                   States
                 18 U.S.C. § 1956 2, 3, 4, 5, 6,                This District (BitMEX, having the majority of cloud service
           16    Money            7, 8                          providers, employees, engineering and software development
           17    Laundering                                     team and the nerve center of operations in this District);
                                                                BitStamp, Coinbase Pro and Kraken, all located in the United
           18                                                   States, Wisconsin and Massachusetts
                 18 U.S.C. § 1957 2, 3, 4, 5, 6,                This District (BitMEX, having the majority of cloud service
           19    Money            7, 8                          providers, employees, engineering and software development
                 Laundering                                     team and the nerve center of operations in this District);
           20
                                                                BitStamp, Coinbase Pro and Kraken, all located in the United
           21                                                   States, Wisconsin and Massachusetts
                 18 U.S.C. § 1343 1, 2, 3, 4, 5,                This District (BitMEX, having the majority of cloud service
           22    Wire Fraud       6, 7                          providers, employees, engineering and software development
                                                                team and the nerve center of operations in this District);
           23                                                   BitStamp, Coinbase Pro and Kraken, all located in the United
           24                                                   States
                 18 U.S.C. § 2314 2, 3, 4, 5, 6,                This District (BitMEX, having the majority of cloud service
           25    Transportation of 7                            providers, employees, engineering and software development
                 Stolen Property                                team and the nerve center of operations in this District);
           26                                                   BitStamp, Coinbase Pro and Kraken, all located in the United
                                                                States
           27
           28
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             1
                        446.       Additional and other facts regarding Defendants’ RICO overt acts are hidden from
             2
                 Plaintiff Sorokin at this time. Such information is uniquely within Defendants’ possession,
             3
                 custody and control. To date, Defendants provided absolutely no discovery to Plaintiff Sorokin
             4
                 what so ever. Plaintiff Sorokin accordingly reserves the right to supplement and amend these
             5
                 allegations of RICO overt acts, if appropriate or necessary, following completion of relevant fact
             6
                 discovery.
             7
                        447.       A summary of certain specific times of each of the alleged RICO predicates
             8
                 perpetrated by Defendants is provided in the table below. The below table has been prepared
             9
                 based on information and belief of Plaintiff Sorokin, which belief was formed based on public
           10
                 records, public Court records, U.S. DOJ indictment of Defendant Hayes, CFTC civil complaint
           11
                 against Defendants and crypto market data analysis:
           12
           13    RICO Predicate             RICO                  Defendants       Dates When Each RICO Predicate
                                           Overt Acts             Involved in                 Occurred
           14                                                   RICO Predicate
           15    18 U.S.C. § 1960 2, 3, 4, 5, 6,                HDR, ABS,      a. 7AM UTC on November 14, 2018 to
                 Unlicensed       7                             Hayes, Delo,   12AM UTC on November 15, 2018;
           16    Money                                          Reed           b. 12AM UTC on November 19, 2018 to
                                                                               9AM UTC on November 20, 2018;
                 Transmissions                                                 c. 4PM UTC on November 24, 2018 to
           17
                                                                               11PM UTC on November 25, 2018;
           18                                                                  d. 4AM UTC on December 24, 2018 to
                                                                               12AM UTC on December 25, 2018;
           19                                                                  e. 4AM UTC on January 10, 2019 to 8PM
                                                                               UTC on January 10, 2019;
           20                                                                  f. 12AM UTC on April 2, 2019 to 12PM
                                                                               UTC on April 2, 2019;
           21                                                                  g. 2AM UTC on May 17, 2019 to 4AM
                                                                               UTC on May 17, 2019;
           22                                                                  h. 7PM UTC on June 26, 2019 to 12AM
                                                                               UTC on June 27, 2019;
           23                                                                  i. 12AM UTC on July 10, 2019 to 12AM
                                                                               UTC on July 15, 2019;
           24                                                                  j. 4AM UTC on September 22, 2019 to
                                                                               4PM UTC on September 26, 2019
           25                                                                  k. 12AM UTC on November 18, 2019 to
                                                                               12AM UTC on November 20, 2019
           26                                                                  l. 4AM UTC on March 12, 2020 to 4AM
                                                                               UTC on March 13, 2020;
           27                                                                  m. 9PM UTC on July 27, 2020 to 2AM
                                                                               UTC on July 28, 2020; and
           28                                                                  n. 12AM UTC on August 2, 2020 to 6AM
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             1                                                                      UTC on August 2, 2020.
                 18 U.S.C. § 1956 2, 3, 4, 5, 6,                HDR, ABS,           a. 7AM UTC on November 14, 2018 to
             2   Money            7, 8                          Hayes, Delo,        12AM UTC on November 15, 2018;
                 Laundering                                     Reed, Grape         b. 12AM UTC on November 19, 2018 to
             3                                                  Park, Mark          9AM UTC on November 20, 2018;
                                                                Sweep               c. 4PM UTC on November 24, 2018 to
             4                                                                      11PM UTC on November 25, 2018;
                                                                                    d. 4AM UTC on December 24, 2018 to
             5                                                                      12AM UTC on December 25, 2018;
                                                                                    e. 4AM UTC on January 10, 2019 to 8PM
             6                                                                      UTC on January 10, 2019;
                                                                                    f. 12AM UTC on April 2, 2019 to 12PM
             7                                                                      UTC on April 2, 2019;
                                                                                    g. 2AM UTC on May 17, 2019 to 4AM
             8                                                                      UTC on May 17, 2019;
                                                                                    h. 7PM UTC on June 26, 2019 to 12AM
             9                                                                      UTC on June 27, 2019;
                                                                                    i. July 7, 2019;
           10                                                                       j. 12AM UTC on July 10, 2019 to 12AM
                                                                                    UTC on July 15, 2019;
           11                                                                       k. 4AM UTC on September 22, 2019 to
                                                                                    4PM UTC on September 26, 2019
           12                                                                       l. 12AM UTC on November 18, 2019 to
                                                                                    12AM UTC on November 20, 2019
           13                                                                       m. 4AM UTC on March 12, 2020 to 4AM
                                                                                    UTC on March 13, 2020;
           14                                                                       n. 9PM UTC on July 27, 2020 to 2AM
                                                                                    UTC on July 28, 2020; and
           15                                                                       o. 12AM UTC on August 2, 2020 to 6AM
                                                                                    UTC on August 2, 2020.
           16    18 U.S.C. § 1957 2, 3, 4, 5, 6,                HDR, ABS,           a. 7AM UTC on November 14, 2018 to
                 Money            7, 8                          Hayes, Delo,        12AM UTC on November 15, 2018;
           17                                                   Reed, Grape         b. 12AM UTC on November 19, 2018 to
                 Laundering
                                                                Park, Mark          9AM UTC on November 20, 2018;
           18                                                   Sweep               c. 4PM UTC on November 24, 2018 to
                                                                                    11PM UTC on November 25, 2018;
           19                                                                       d. 4AM UTC on December 24, 2018 to
                                                                                    12AM UTC on December 25, 2018;
           20                                                                       e. 4AM UTC on January 10, 2019 to 8PM
                                                                                    UTC on January 10, 2019;
           21                                                                       f. 12AM UTC on April 2, 2019 to 12PM
                                                                                    UTC on April 2, 2019;
           22                                                                       g. 2AM UTC on May 17, 2019 to 4AM
                                                                                    UTC on May 17, 2019;
           23                                                                       h. 7PM UTC on June 26, 2019 to 12AM
                                                                                    UTC on June 27, 2019;
           24                                                                       i. July 7, 2019;
                                                                                    j. 12AM UTC on July 10, 2019 to 12AM
           25                                                                       UTC on July 15, 2019;
                                                                                    k. 4AM UTC on September 22, 2019 to
           26                                                                       4PM UTC on September 26, 2019
                                                                                    l. 12AM UTC on November 18, 2019 to
           27                                                                       12AM UTC on November 20, 2019
                                                                                    m. 4AM UTC on March 12, 2020 to 4AM
           28                                                                       UTC on March 13, 2020;
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             1                                                                      n. 9PM UTC on July 27, 2020 to 2AM
                                                                                    UTC on July 28, 2020; and
             2                                                                      o. 12AM UTC on August 2, 2020 to 6AM
                                                                                    UTC on August 2, 2020.
             3   18 U.S.C. § 1343 1, 2, 3, 4, 5,                HDR, ABS,           a. 7AM UTC on November 14, 2018 to
                 Wire Fraud       6, 7                          Hayes, Delo,        12AM UTC on November 15, 2018;
             4                                                  Reed                b. 12AM UTC on November 19, 2018 to
                                                                                    9AM UTC on November 20, 2018;
             5                                                                      c. 4PM UTC on November 24, 2018 to
                                                                                    11PM UTC on November 25, 2018;
             6                                                                      d. 4AM UTC on December 24, 2018 to
                                                                                    12AM UTC on December 25, 2018;
             7                                                                      e. 4AM UTC on January 10, 2019 to 8PM
                                                                                    UTC on January 10, 2019;
             8                                                                      f. 12AM UTC on April 2, 2019 to 12PM
                                                                                    UTC on April 2, 2019;
             9                                                                      g. 2AM UTC on May 17, 2019 to 4AM
                                                                                    UTC on May 17, 2019;
           10                                                                       h. 7PM UTC on June 26, 2019 to 12AM
                                                                                    UTC on June 27, 2019;
           11                                                                       i. 12AM UTC on July 10, 2019 to 12AM
                                                                                    UTC on July 15, 2019;
           12                                                                       j. 4AM UTC on September 22, 2019 to
                                                                                    4PM UTC on September 26, 2019
           13                                                                       k. 12AM UTC on November 18, 2019 to
                                                                                    12AM UTC on November 20, 2019
           14                                                                       l. 4AM UTC on March 12, 2020 to 4AM
                                                                                    UTC on March 13, 2020;
           15                                                                       m. 9PM UTC on July 27, 2020 to 2AM
                                                                                    UTC on July 28, 2020; and
           16                                                                       n. 12AM UTC on August 2, 2020 to 6AM
                                                                                    UTC on August 2, 2020.
           17    18 U.S.C. § 2314 2, 3, 4, 5, 6,                HDR, ABS,           a. 7AM UTC on November 14, 2018 to
                 Transportation of 7                            Hayes, Delo,        12AM UTC on November 15, 2018;
           18                                                                       b. 12AM UTC on November 19, 2018 to
                 Stolen Property                                Reed
                                                                                    9AM UTC on November 20, 2018;
           19                                                                       c. 4PM UTC on November 24, 2018 to
                                                                                    11PM UTC on November 25, 2018;
           20                                                                       d. 4AM UTC on December 24, 2018 to
                                                                                    12AM UTC on December 25, 2018;
           21                                                                       e. 4AM UTC on January 10, 2019 to 8PM
                                                                                    UTC on January 10, 2019;
           22                                                                       f. 12AM UTC on April 2, 2019 to 12PM
                                                                                    UTC on April 2, 2019;
           23                                                                       g. 2AM UTC on May 17, 2019 to 4AM
                                                                                    UTC on May 17, 2019;
           24                                                                       h. 7PM UTC on June 26, 2019 to 12AM
                                                                                    UTC on June 27, 2019;
           25                                                                       i. 12AM UTC on July 10, 2019 to 12AM
                                                                                    UTC on July 15, 2019;
           26                                                                       j. 4AM UTC on September 22, 2019 to
                                                                                    4PM UTC on September 26, 2019
           27                                                                       k. 12AM UTC on November 18, 2019 to
                                                                                    12AM UTC on November 20, 2019
           28                                                                       l. 4AM UTC on March 12, 2020 to 4AM
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             1                                                                   UTC on March 13, 2020;
                                                                                 m. 9PM UTC on July 27, 2020 to 2AM
             2                                                                   UTC on July 28, 2020; and
                                                                                 n. 12AM UTC on August 2, 2020 to 6AM
             3                                                                   UTC on August 2, 2020.
             4           448.       Additional and other facts regarding Defendants’ RICO overt acts and their timing
             5   are hidden from Plaintiff Sorokin at this time. Such information is uniquely within Defendants’
             6   possession, custody and control. To date, Defendants provided absolutely no discovery to
             7   Plaintiff Sorokin what so ever. Plaintiff Sorokin accordingly reserves the right to supplement and
             8   amend these allegations of RICO overt acts and their timing, if appropriate or necessary,
             9   following completion of relevant fact discovery.
           10            449.       The individual Roles of all Defendants with respect to RICO predicates alleged in
           11    the Paragraphs above are incorporated by reference herein.
           12            450.       Additional and other facts regarding Defendants’ Roles in the Enterprise are
           13    hidden from Plaintiff Sorokin at this time. Such information is uniquely within Defendants’
           14    possession, custody and control. To date, Defendants provided absolutely no discovery to
           15    Plaintiff Sorokin what so ever. Plaintiff Sorokin accordingly reserves the right to supplement and
           16    amend these allegations of Defendants’ Roles in the Enterprise, if appropriate or necessary,
           17    following completion of relevant fact discovery.
           18            451.       Certain specific electronic wire communications alleged herein are summarized in
           19    the following table, prepared based on information and belief of Plaintiff Sorokin, which belief
           20    was formed based on public records, public Court records, U.S. DOJ indictment of Defendant
           21    Hayes, CFTC civil complaint against Defendants and crypto market data analysis:
           22
           23    Type of            Date                   From             To                      Content or Purpose of
                 Comm.                                                                                Communication
           24
                 Wire          11/14/2018          Hayes (New         Delo (Hong              Directions and specific
           25
                                                   York)              Kong)                   instructions on which specific
           26                                                                                 orders to place, software scripts
                                                                                              to execute and computer
           27                                                                                 commands to issue and how to
                                                                                              otherwise manipulate bitcoin
           28
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  ATTORNEYS             COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 160 -     ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                                              market for the benefit of
                                                                                            Defendants.
             2
             3   Wire          11/14/2018          Hayes (New         Reed                  Directions and specific
                                                   York)              (Wisconsin)           instructions on which specific
             4                                                                              orders to place, software scripts
                                                                                            to execute and computer
             5                                                                              commands to issue and how to
                                                                                            otherwise manipulate bitcoin
             6                                                                              market for the benefit of
             7                                                                              Defendants.

             8   Wire          11/14/2018          Reed               BitMEX/ABS            Trading orders (BUY MARKET
                                                   (Wisconsin)        (San Francisco)       NN) to automated software tools
             9                                                                              developed by BitMEX to inject
                                                                                            false information as to market
           10                                                                               forces of supply and demand
           11                                                                               into cryptocurrency markets and
                                                                                            mislead traders to open
           12                                                                               unfavorable trading positions to
                                                                                            be subsequently liquidated, see
           13                                                                               Paragraphs above.
           14    Wire          11/14/2018          Reed               Kraken (San           Trading orders (BUY MARKET
                                                   (Wisconsin)        Francisco)            NN) to automated software tools
           15
                                                                                            developed by BitMEX to inject
           16                                                                               false information as to market
                                                                                            forces of supply and demand
           17                                                                               into cryptocurrency markets and
                                                                                            mislead traders to open
           18                                                                               unfavorable trading positions to
           19                                                                               be subsequently liquidated.

           20    Wire          11/14/2018          Reed               Bitcoin Network       Instruction for automated
                                                   (Wisconsin)        (Cloud)               software tools developed by
           21                                                                               BitMEX for electronically
                                                                                            transferring (depositing) bitcoin
           22                                                                               funds to be used for
                                                                                            manipulation into a helper
           23
                                                                                            account on Kraken, see
           24                                                                               Paragraphs above.

           25    Wire          11/14/2018          Reed               Kraken (San           Electronic computer instruction
                                                   (Wisconsin)        Francisco)            to automated software tools
           26                                                                               developed by BitMEX to
                                                                                            execute large market trading
           27
                                                                                            order (SELL MARKET NN) on
           28                                                                               BTC/USD order book from
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  ATTORNEYS             COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 161 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                                              helper account with maximum
                                                                                            slippage to deliberately move
             2                                                                              BitMEX’s .BXBT index price.
             3
                 Wire          11/14/2018          Reed               BitMEX/ABS            Computer instruction to
             4                                     (Wisconsin)        (San Francisco)       automated software tools
                                                                                            developed by BitMEX to
             5                                                                              execute server freeze application
                                                                                            to freeze BitMEX servers and to
             6                                                                              initiate accepting orders on only
             7                                                                              one side of the market to
                                                                                            exacerbate the price move.
             8
                 Wire          11/14/2018          Delo (Hong         BitMEX/ABS            Computer instruction to
             9                                     Kong)              (San Francisco)       automated software tools
                                                                                            developed by BitMEX to test
           10                                                                               and prepare liquidation engine
           11                                                                               for deployment and deploy
                                                                                            liquidation engine to liquidate
           12                                                                               trader accounts.

           13    Wire          11/14/2018          Reed               BitMEX/ABS            Computer instruction to
                                                   (Wisconsin)        (San Francisco)       automated software tools
           14                                                                               developed by BitMEX to
                                                                                            execute orders to capture
           15
                                                                                            multiplied (due to disparity in
           16                                                                               liquidity) manipulation profits
                                                                                            caused by the deliberate .BXBT
           17                                                                               index price move using winner
                                                                                            account(s) on BitMEX.
           18
                 Wire          11/14/2018          Delo (Hong         BitMEX/ABS            Computer instruction to
           19
                                                   Kong)              (San Francisco)       automated software tools
           20                                                                               developed by BitMEX to
                                                                                            transfer trader liquidation
           21                                                                               proceeds from trader wallets into
                                                                                            Insurance Fund bitcoin wallet.
           22
                 Wire          11/14/2018          Reed               BitMEX/ABS            Computer instruction to
           23                                      (Wisconsin)        (San Francisco)       automated software tools
           24                                                                               developed by BitMEX to
                                                                                            electronically transfer
           25                                                                               (withdraw) funds from winner
                                                                                            account(s) into bitcoin wallet.
           26
                 Wire          11/14/2018          Hayes (New         Bitcoin Network       Instruction to automated
           27                                      York)              (Cloud)               software tools developed by
           28                                                                               BitMEX for electronically
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  ATTORNEYS             COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 162 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                                                transferring (depositing) bitcoin
                                                                                              funds from bitcoin wallet to
             2                                                                                account on Coinbase exchange.
             3
                 Wire          11/14/2018          Hayes (New         Coinbase (San           Instruction to automated
             4                                     York)              Francisco)              software tools developed by
                                                                                              BitMEX to execute trading
             5                                                                                orders to convert bitcoin
                                                                                              proceeds of market manipulation
             6                                                                                into United States dollars.
             7
                 Wire          11/14/2018          Hayes (New         Coinbase (San           Instruction to automated
             8                                     York)              Francisco)              software tools developed by
                                                                                              BitMEX for electronically
             9                                                                                transferring converted U.S.
                                                                                              dollar proceeds of market
           10                                                                                 manipulation to bank accounts
           11                                                                                 of HDR Global Trading Limited,
                                                                                              ABS Global Trading Limited,
           12                                                                                 Hayes, Delo and Reed.

           13    Wire          11/24/2018          Hayes (New         Delo (Hong              Directions and specific
                                                   York)              Kong)                   instructions on which specific
           14                                                                                 orders to place, software scripts
                                                                                              to execute and computer
           15
                                                                                              commands to issue and how to
           16                                                                                 otherwise manipulate bitcoin
                                                                                              market for the benefit of
           17                                                                                 Defendants.
           18    Wire          11/24/2018          Hayes (New         Reed                    Directions and specific
                                                   York)              (Wisconsin)             instructions on which specific
           19
                                                                                              orders to place, software scripts
           20                                                                                 to execute and computer
                                                                                              commands to issue and how to
           21                                                                                 otherwise manipulate bitcoin
                                                                                              market for the benefit of
           22                                                                                 Defendants.
           23    Wire          11/24/2018          Reed               BitMEX/ABS              Trading orders (BUY MARKET
           24                                      (Wisconsin)        (San Francisco)         NN) to inject false information
                                                                                              as to market forces of supply and
           25                                                                                 demand into cryptocurrency
                                                                                              markets and mislead traders to
           26                                                                                 open unfavorable trading
                                                                                              positions to be subsequently
           27
                                                                                              liquidated, see Paragraphs
           28
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  ATTORNEYS             COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 163 -     ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                                              above.
             2   Wire          11/24/2018          Reed               Kraken (San           Trading orders (BUY MARKET
             3                                     (Wisconsin)        Francisco)            NN) to inject false information
                                                                                            as to market forces of supply and
             4                                                                              demand into cryptocurrency
                                                                                            markets and mislead traders to
             5                                                                              open unfavorable trading
                                                                                            positions to be subsequently
             6                                                                              liquidated, see Paragraphs
             7                                                                              above.

             8   Wire          11/24/2018          Reed               Bitcoin Network       Instruction for electronically
                                                   (Wisconsin)        (Cloud)               transferring (depositing) bitcoin
             9                                                                              funds to be used for
                                                                                            manipulation into a helper
           10                                                                               account on Kraken.
           11
                 Wire          11/24/2018          Reed               Kraken (San           Electronic computer instruction
           12                                      (Wisconsin)        Francisco)            to automated software tools
                                                                                            developed by BitMEX to
           13                                                                               execute large market trading
                                                                                            order (SELL MARKET NN) on
           14                                                                               BTC/USD order book from
                                                                                            helper account with maximum
           15
                                                                                            slippage to deliberately move
           16                                                                               BitMEX’s .BXBT index price.

           17    Wire          11/25/2018          Reed               BitMEX/ABS            Computer instruction to
                                                   (Wisconsin)        (San Francisco)       automated software tools
           18                                                                               developed by BitMEX to
                                                                                            execute server freeze application
           19
                                                                                            to freeze BitMEX servers and to
           20                                                                               initiate accepting orders on only
                                                                                            one side of the market to
           21                                                                               exacerbate the price move.
           22    Wire          11/25/2018          Delo (Hong         BitMEX/ABS            Computer instruction to
                                                   Kong)              (San Francisco)       automated software tools
           23                                                                               developed by BitMEX to test
           24                                                                               and prepare liquidation engine
                                                                                            for deployment and deploy
           25                                                                               liquidation engine to liquidate
                                                                                            trader accounts.
           26
                 Wire          11/25/2018          Reed               BitMEX/ABS            Computer instruction to
           27                                      (Wisconsin)        (San Francisco)       automated software tools
           28                                                                               developed by BitMEX to
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  ATTORNEYS             COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 164 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                                              execute orders to capture
                                                                                            multiplied (due to disparity in
             2                                                                              liquidity) manipulation profits
             3                                                                              caused by the deliberate .BXBT
                                                                                            index price move using winner
             4                                                                              account(s) on BitMEX.

             5   Wire          11/25/2018          Delo (Hong         BitMEX/ABS            Computer instruction to
                                                   Kong)              (San Francisco)       automated software tools
             6                                                                              developed by BitMEX to
             7                                                                              transfer trader liquidation
                                                                                            proceeds from trader wallets into
             8                                                                              Insurance Fund bitcoin wallet.

             9   Wire          11/25/2018          Reed               BitMEX/ABS            Computer instruction to
                                                   (Wisconsin)        (San Francisco)       automated software tools
           10                                                                               developed by BitMEX to
           11                                                                               electronically transfer
                                                                                            (withdraw) funds from winner
           12                                                                               account(s) into bitcoin wallet.

           13    Wire          11/25/2018          Hayes (New         Bitcoin Network       Instruction to automated
                                                   York)              (Cloud)               software tools developed by
           14                                                                               BitMEX to for electronically
                                                                                            transferring (depositing) bitcoin
           15
                                                                                            funds from bitcoin wallet to
           16                                                                               account on Coinbase exchange.

           17    Wire          11/25/2018          Hayes (New         Coinbase (San         Computer instruction to
                                                   York)              Francisco)            automated software tools
           18                                                                               developed by BitMEX to
                                                                                            execute trading orders to convert
           19
                                                                                            bitcoin proceeds of market
           20                                                                               manipulation into United States
                                                                                            dollars.
           21
                 Wire          11/25/2018          Hayes (New         Coinbase (San         Instruction to automated
           22                                      York)              Francisco)            software tools developed by
                                                                                            BitMEX to for electronically
           23                                                                               transferring converted U.S.
           24                                                                               dollar proceeds of market
                                                                                            manipulation to bank accounts
           25                                                                               of HDR Global Trading Limited,
                                                                                            ABS Global Trading Limited,
           26                                                                               Hayes, Delo and Reed.
           27    Wire          5/16/2019           Reed               BitMEX/ABS            Trading orders (BUY MARKET
           28                                      (Wisconsin)        (San Francisco)       NN) to inject false information
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  ATTORNEYS             COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 165 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                                              as to market forces of supply and
                                                                                            demand into cryptocurrency
             2                                                                              markets and mislead traders to
             3                                                                              open unfavorable trading
                                                                                            positions to be subsequently
             4                                                                              liquidated, see Paragraphs
                                                                                            above.
             5
                 Wire          5/16/2019           Reed               BitStamp              Trading orders (BUY MARKET
             6                                     (Wisconsin)        (Denver)              NN) to inject false information
             7                                                                              as to market forces of supply and
                                                                                            demand into cryptocurrency
             8                                                                              markets and mislead traders to
                                                                                            open unfavorable trading
             9                                                                              positions to be subsequently
                                                                                            liquidated, see Paragraphs
           10                                                                               above.
           11
                 Wire          5/16/2019           Reed               Bitcoin Network       Instruction to automated
           12                                      (Wisconsin)        (Cloud)               software tools developed by
                                                                                            BitMEX to for electronically
           13                                                                               transferring (depositing) bitcoin
                                                                                            funds to be used for
           14                                                                               manipulation into a helper
           15                                                                               account on BitStamp.

           16    Wire          5/17/2019           Reed               BitStamp              Electronic computer instruction
                                                   (Wisconsin)        (Denver)              to automated software tools
           17                                                                               developed by BitMEX to
                                                                                            execute large market trading
           18                                                                               order (SELL MARKET NN) on
                                                                                            BTC/USD order book from
           19
                                                                                            helper account with maximum
           20                                                                               slippage to deliberately move
                                                                                            BitMEX .BXBT index price.
           21
                 Wire          5/17/2019           Reed               BitMEX/ABS            Computer instruction to
           22                                      (Wisconsin)        (San Francisco)       automated software tools
                                                                                            developed by BitMEX to
           23
                                                                                            execute server freeze application
           24                                                                               to freeze BitMEX servers and to
                                                                                            initiate accepting orders on only
           25                                                                               one side of the market to
                                                                                            exacerbate the price move.
           26
                 Wire          5/17/2019           Delo (Hong         BitMEX/ABS            Computer instruction to
           27
                                                   Kong)              (San Francisco)       automated software tools
           28                                                                               developed by BitMEX to test
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  ATTORNEYS             COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 166 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                                              and prepare liquidation engine
                                                                                            for deployment and deploy
             2                                                                              liquidation engine to liquidate
             3                                                                              trader accounts.

             4   Wire          5/17/2019           Reed               BitMEX/ABS            Computer instruction to
                                                   (Wisconsin)        (San Francisco)       automated software tools
             5                                                                              developed by BitMEX to
                                                                                            automatically execute orders to
             6                                                                              capture multiplied (due to
             7                                                                              disparity in liquidity)
                                                                                            manipulation profits caused by
             8                                                                              the deliberate .BXBT index
                                                                                            price move using winner
             9                                                                              account(s) on BitMEX.
           10    Wire          5/17/2019           Reed               BitMEX/ABS            Computer instruction to
           11                                      (Wisconsin)        (San Francisco)       automated software tools
                                                                                            developed by BitMEX to
           12                                                                               electronically transfer
                                                                                            (withdraw) funds from winner
           13                                                                               account(s) into bitcoin wallet.
           14    Wire          5/17/2019           Delo (Hong         BitMEX/ABS            Computer instruction to
                                                   Kong)              (San Francisco)       automated software tools
           15
                                                                                            developed by BitMEX to
           16                                                                               transfer trader liquidation
                                                                                            proceeds from trader wallets into
           17                                                                               Insurance Fund bitcoin wallet.
           18    Wire          5/17/2019           Hayes (New         Bitcoin Network       Instruction to automated
                                                   York)              (Cloud)               software tools developed by
           19
                                                                                            BitMEX for electronically
           20                                                                               transferring (depositing) bitcoin
                                                                                            funds from bitcoin wallet to
           21                                                                               account on Coinbase exchange.
           22    Wire          5/17/2019           Hayes (New         Coinbase (San         Trading orders to convert bitcoin
                                                   York)              Francisco)            proceeds of market manipulation
           23                                                                               into United States dollars.
           24
                 Wire          5/17/2019           Hayes (New         Coinbase (San         Instruction for electronically
           25                                      York)              Francisco)            transferring converted U.S.
                                                                                            dollar proceeds of market
           26                                                                               manipulation to bank accounts
                                                                                            of HDR Global Trading Limited,
           27                                                                               ABS Global Trading Limited,
           28                                                                               Hayes, Delo and Reed.
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  ATTORNEYS             COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 167 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Wire          7/3/2019            Reed               Coinbase (San          Electronic wire transfer
             2                                     (Wisconsin)        Francisco)             instructions for transferring
                                                                                             $900,000 of converted proceeds
             3                                                                               of money laundering to Vilas
                                                                                             Title Service Inc., 133 E
             4                                                                               Division St, Eagle River, WI
             5                                                                               54521, United States.

             6   Wire          7/3/2019            Reed               Vilas Title            Electronic escrow instructions
                                                   (Wisconsin)        Service Inc., 133      for reinvesting $900,000 of
             7                                                        E Division St,         converted proceeds of money
                                                                      Eagle River, WI        laundering into Real Estate
             8                                                        54521, United          Property 1.
             9                                                        States

           10    Wire          7/3/2019            Barbara Reed       Reed                   Instructions how to conceal or
                                                   (Wisconsin)        (Wisconsin)            disguise the nature, the location,
           11                                                                                the source, the ownership, or the
                                                                                             control of the proceeds of
           12                                                                                unlawful activity taking place on
                                                                                             BitMEX platform using real
           13
                                                                                             estate investments in Wisconsin.
           14
                 Wire          7/3/2019            Trace L.Reed       Reed                   Instructions how to conceal or
           15                                      (Wisconsin)        (Wisconsin)            disguise the nature, the location,
                                                                                             the source, the ownership, or the
           16                                                                                control of the proceeds of
                                                                                             unlawful activity taking place on
           17
                                                                                             BitMEX platform using real
           18                                                                                estate investments in Wisconsin.

           19    Wire          7/14/2019           Reed               BitMEX/ABS             Trading orders (BUY MARKET
                                                   (Wisconsin)        (San Francisco)        NN) to inject false information
           20                                                                                as to market forces of supply and
                                                                                             demand into cryptocurrency
           21                                                                                markets and mislead traders to
           22                                                                                open unfavorable trading
                                                                                             positions to be subsequently
           23                                                                                liquidated, see Paragraphs
                                                                                             above.
           24
                 Wire          7/14/2019           Reed               BitStamp               Trading orders (BUY MARKET
           25                                      (Wisconsin)        (Denver)               NN) to inject false information
           26                                                                                as to market forces of supply and
                                                                                             demand into cryptocurrency
           27                                                                                markets and mislead traders to
                                                                                             open unfavorable trading
           28
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  ATTORNEYS             COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 168 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                                              positions to be subsequently
                                                                                            liquidated, see Paragraphs
             2                                                                              above.
             3
                 Wire          7/14/2019           Reed               Bitcoin Network       Instruction for electronically
             4                                     (Wisconsin)        (Cloud)               transferring (depositing) ether
                                                                                            funds to be used for
             5                                                                              manipulation into a helper
                                                                                            account on BitStamp.
             6
                 Wire          7/14/2019           Reed               BitStamp              Electronic computer instruction
             7
                                                   (Wisconsin)        (Denver)              to automated software tools
             8                                                                              developed by BitMEX to
                                                                                            execute large market trading
             9                                                                              order (SELL MARKET NN) on
                                                                                            ETH/USD order book from
           10                                                                               helper account with maximum
           11                                                                               slippage to deliberately move
                                                                                            BitMEX .BETH index price.
           12
                 Wire          7/14/2019           Reed               BitMEX/ABS            Computer instruction to execute
           13                                      (Wisconsin)        (San Francisco)       server freeze application to
                                                                                            freeze BitMEX servers and to
           14                                                                               initiate accepting orders on only
                                                                                            one side of the market to
           15
                                                                                            exacerbate the price move.
           16
                 Wire          7/14/2019           Delo (Hong         BitMEX/ABS            Computer instruction to test and
           17                                      Kong)              (San Francisco)       prepare liquidation engine for
                                                                                            deployment and deploy
           18                                                                               liquidation engine to liquidate
                                                                                            trader accounts.
           19

           20    Wire          7/14/2019           Reed               BitMEX/ABS            Computer instruction to software
                                                   (Wisconsin)        (San Francisco)       tools developed by BitMEX to
           21                                                                               automatically execute orders to
                                                                                            capture multiplied (due to
           22                                                                               disparity in liquidity)
                                                                                            manipulation profits caused by
           23                                                                               the deliberate index price move
           24                                                                               using winner account(s) on
                                                                                            BitMEX.
           25
                 Wire          7/14/2019           Delo (Hong         BitMEX/ABS            Computer instruction to
           26                                      Kong)              (San Francisco)       automated software tools
                                                                                            developed by BitMEX to
           27                                                                               transfer trader liquidation
           28                                                                               proceeds from trader wallets into
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  ATTORNEYS             COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 169 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                                               Insurance Fund bitcoin wallet.
             2   Wire          7/14/2019           Reed               BitMEX/ABS             Computer instruction to
             3                                     (Wisconsin)        (San Francisco)        automated software tools
                                                                                             developed by BitMEX to
             4                                                                               electronically transfer
                                                                                             (withdraw) funds from winner
             5                                                                               account(s) into bitcoin wallet.
             6   Wire          7/14/2019           Hayes (New         Bitcoin Network        Instruction for electronically
                                                   York)              (Cloud)                transferring (depositing) bitcoin
             7
                                                                                             funds from bitcoin wallet to
             8                                                                               account on Coinbase exchange.

             9   Wire          7/14/2019           Hayes (New         Coinbase (San          Trading orders to automated
                                                   York)              Francisco)             software tools developed by
           10                                                                                BitMEX to convert bitcoin
                                                                                             proceeds of market manipulation
           11
                                                                                             into United States dollars.
           12
                 Wire          7/14/2019           Hayes (New         Coinbase (San          Instruction for electronically
           13                                      York)              Francisco)             transferring converted U.S.
                                                                                             dollar proceeds of market
           14                                                                                manipulation to bank accounts
                                                                                             of HDR Global Trading Limited,
           15                                                                                ABS Global Trading Limited,
           16                                                                                Hayes, Delo and Reed.

           17    Wire          8/16/2019           Reed               Coinbase (San          Electronic wire transfer
                                                   (Wisconsin)        Francisco)             instructions for transferring
           18                                                                                $1,425,000 of converted
                                                                                             proceeds of market manipulation
           19                                                                                to Ligris + Associates, 399
           20                                                                                Boylston St f7, Boston, MA
                                                                                             02116, United States.
           21
                 Wire          8/16/2019           Reed               Ligris +               Electronic escrow instructions
           22                                      (Wisconsin)        Associates, 399        for reinvesting $1,425,000 of
                                                                      Boylston St f7,        converted proceeds of money
           23                                                         Boston, MA             laundering into Real Estate
           24                                                         02116, United          Property 2.
                                                                      States
           25
                 Wire          08/29/2019          Agata Reed         Secretary of the       Order to form Grape Park LLC
           26                                      (Massachusetts)    State of               and to add an officer Agata
                                                                      Delaware               Maria Reed with the purpose to
           27                                                                                conceal or disguise the nature,
                                                                                             the location, the source, the
           28
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  ATTORNEYS             COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 170 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                                                               ownership, or the control of the
                                                                                             proceeds of unlawful activity
             2                                                                               taking place on BitMEX
             3                                                                               platform using real estate
                                                                                             investments in Massachusetts.
             4
                 Wire          11/20/2019          Reed               Agata Reed             Instructions to form Grape Park
             5                                     (Wisconsin)        (Massachusetts)        LLC in Massachusetts, a branch
                                                                                             of Grape Park LLC, with the
             6                                                                               purpose to conceal or disguise
             7                                                                               the nature, the location, the
                                                                                             source, the ownership, or the
             8                                                                               control of the proceeds of
                                                                                             unlawful activity taking place on
             9                                                                               BitMEX platform using real
                                                                                             estate investments in
           10                                                                                Massachusetts.
           11
                 Wire          11/20/2019          Agata Reed         Secretary of the       Order to form Grape Park LLC
           12                                      (Massachusetts)    Commonwealth           and to add an officer Agata
                                                                      of Massachusetts       Maria Reed with the purpose to
           13                                                                                conceal or disguise the nature,
                                                                                             the location, the source, the
           14                                                                                ownership, or the control of the
           15                                                                                proceeds of unlawful activity
                                                                                             taking place on BitMEX
           16                                                                                platform using real estate
                                                                                             investments in Massachusetts.
           17
                 Wire          3/12/2020           Hayes (New         Reed                   Direction to take BitMEX
           18                                      York)              (Wisconsin)            platform offline to liquidate
                                                                                             traders while avoiding tapping
           19
                                                                                             into Insurance Fund.
           20
                 Wire          3/12/2020           Reed               Site Reliability       Instruction to take BitMEX
           21                                      (Wisconsin)        Engineers Jerry        platform offline to liquidate
                                                                      Aldrich, Scott H.      traders while avoiding tapping
           22                                                         and Armando            into Insurance Fund.
                                                                      Cerna (San
           23
                                                                      Francisco)
           24
                         452.       Plaintiff is informed and believes and thereon alleges that the electronic wire
           25
                 transmission alleged in the previous Paragraph were repeated by Defendants, almost exactly,
           26
                 during other Manipulation Times.
           27
                         453.       Additional and other facts regarding Defendants’ fraudulent wire communications
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             1
                 are hidden from Plaintiff Sorokin at this time. Such information is uniquely within Defendants’
             2
                 possession, custody and control. To date, Defendants provided absolutely no discovery to
             3
                 Plaintiff Sorokin what so ever. Plaintiff Sorokin accordingly reserves the right to supplement and
             4
                 amend these allegations of Defendants’ fraudulent wire communications, if appropriate or
             5
                 necessary, following completion of relevant fact discovery.
             6
                      MARKET MANIPULATION EVENT ON AUGUST 2, 2020 AND DELETION OF
             7                    EVIDENCE THEREOF BY DEFENDANTS

             8          454.       Plaintiff repeats and re-alleges the allegations contained in every preceding
             9   paragraph as if fully set forth herein.
           10           455.       Bitcoin suffered a price drop of $1,500 within few minutes on Sunday, August 2,
           11    2020. The sudden slide caught many traders off guard, liquidating nearly $1.4 billion worth of
           12    positions across major exchanges. The price drop triggered $144 million worth of sell
           13    liquidations or forced closure of long positions on BitMEX.
           14           456.       Shortly after the crash, on August 2, 2020, at 8:44PM EDT, a brand new account
           15    suddenly popped up on the number one spot on the BitMEX Leaderboard showing nearly
           16    $120,000,000 in profit. Plaintiff is informed and believes and thereon alleges that the aforesaid
           17    Leaderboard account was the winner account of Defendants Hayes, Delo and Reed, which was
           18    used by said Defendants to capture the manipulation winnings induced by said Defendants
           19    placing large market orders with maximum slippage from helper accounts on United States based
           20    exchanges Kraken, Coinbase Pro and Kraken to deliberately move the .BXBT index price, which
           21    resulted in the aforesaid August 2, 2020, $1,500 bitcoin price crash and the $144 million worth of
           22    sell liquidations of BitMEX Perpetual Swap contracts, which are priced based on the aforesaid
           23    .BXBT index price manipulated by Defendants.
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                        457.        The aforesaid evidence of the winner manipulation account on BitMEX was
           24
                 deleted by Defendants just one hour later, at 9:45PM EDT. Plaintiff is informed and believes and
           25
                 thereon alleges that the aforesaid Leaderboard account was accidentally listed on the BitMEX
           26
                 Leaderboard and then, upon discovery, immediately deleted by Defendants, who tried to cover up
           27
                 their market manipulation acts and destroy relevant evidence. Plaintiff is informed and believes
           28
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             1
                 and thereon alleges that the aforesaid amount of $120,000,000 in the winner account was
             2
                 Defendants’ profit from perpetrating the aforesaid bitcoin market manipulation event of August 2,
             3
                 2020.
             4
                          458.       Plaintiff is informed and believes and thereon alleges that the second highest
             5
                 ranked BitMEX Leaderboard account Quick-Grove-Mind with almost $100,000,000 profit is also
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                 a manipulation winner account of the Defendants that was used to capture market manipulation
           21
                 profits. The multimillion-dollar profit gains in that account exactly match the known bitcoin
           22
                 market manipulation events that took place on or about September 24, 2019, November 18-19,
           23
                 2019 and March 11-12, 2020, when the .BXBT index price of bitcoin was manipulated by
           24
                 Defendants by placing large sell market orders on United States based Kraken, Coinbase Pro and
           25
                 BitStamp “reference” exchanges, the pricing data from which is used in the .BXBT index
           26
                 calculation, based on which the BitMEX Perpetual Swap contract traded by Plaintiff Sorokin is
           27
                 priced, in order to intentionally liquidate BitMEX retail traders, including Plaintiff Sorokin.
           28
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             1
                 Notably, this manipulation winner account also miraculously avoided any and all trading losses,
             2
                 posting only multimillion-dollar market manipulation gains.
             3
                        459.        Plaintiff Sorokin is informed and believes that Defendants engaged in systematic
             4
                 destruction of critical manipulation evidence, including manipulator identities, as alleged, for
             5
                 example, in CFTC Complaint, Ex. 5, p. 16, ¶ 49.
             6
                        460.       Moreover, after instituting KYC and AML check on or about August 14, 2020,
             7
                 Defendants systematically deleted evidence of market manipulation, including manipulator
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           21    identities and their trading records, under the pretense of users’ “right to be forgotten.”

           22
                    ADDITIONAL FACTS SUPPORTING CONCLUSION THAT DEFENDANTS
           23    THEMSELVES CAUSED PLAINTIFF’S INJURIES DURING MANIPULATION TIMES

           24           461.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           25    paragraph as if fully set forth herein.
           26           462.       Centralized crypto exchanges such as BitMEX are inherently opaque as the trading
           27    transactions that take place on the exchange are not written on the public blockchain and take
           28
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             1
                 place entirely within the computer serves of the Defendants, in contrast to decentralized crypto
             2
                 exchanges (DEX), such as UniSwap, which record every transaction on the blockchain.
             3
                 Moreover, BitMEX withdrawals and deposits of funds, which are all in bitcoins, also move past
             4
                 traditional banking system and there are no records or AML checks what so ever. Therefore,
             5
                 there is no source of the information about trading orders, trading transactions and funding
             6
                 transactions on the BitMEX platform other than Defendants themselves. Defendants, on the other
             7
                 hand, have every incentive to suppress any evidence of wrongdoing by them, their Internal
             8
                 Trading Desk or any other parties. In addition to the described inherent lack of any transparency
             9
                 in centralized crypto exchanges such as BitMEX, Defendants took extraordinary additional
           10
                 measures to destroy or otherwise suppress evidence of their own wrongdoing and hinder detection
           11
                 of their market manipulation. First, BitMEX accounts were by design anonymous. Therefore,
           12
                 trading data that is available publicly generally does not permit identification of actors behind
           13
                 specific market manipulation events on BitMEX. This hinders exactly pinpointing Defendants as
           14
                 specific perpetrators behind specific market events. Second, as CFTC clearly stated in its
           15
                 Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted and otherwise destroyed required
           16
                 records including critical trader identity information. Third, BitMEX generally used anonymous
           17
                 “burner” (e.g. @gmail.com) email addresses, as opposed to "official" BitMEX email addresses
           18
                 (e.g. @bitmex.com), to open trading accounts for its own Insider Trading Desk with BitMEX
           19
                 exchange, in order to cover up the tracks of wrongdoing so that the trading histories and illegal
           20
                 manipulation profits cannot be traced back to BitMEX. The “burner” accounts were periodically
           21
                 recycled and corresponding trading records deleted. Therefore, Defendants engaged in active
           22
                 concealment of their fraud.
           23
                        463.       Thus, Defendants made every possible effort to suppress evidence of their own
           24
                 wrongdoing in order to evade liability for their market manipulation misconduct. In fact, account
           25
                 anonymity on BitMEX, as well as the associated lack of the required KYC and AML checks, was
           26
                 the exact reason Defendants were criminally charged by the DOJ with felony failing to prevent
           27
                 money laundering on BitMEX, Ex. 4. It cannot possibly be in the interests of justice to reward
           28
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             1
                 Defendants for their own federal crimes, which crimes involved deliberately making BitMEX
             2
                 accounts anonymous and willfully failing to use KYC and AML, and which also had a side effect
             3
                 of suppressing the evidence of Defendants’ own market manipulation conduct.
             4
                        464.       Because of the BitMEX account anonymity, documented destruction of required
             5
                 records, including critical user identities, by Defendants, as alleged in the CFTC Complaint, Ex.
             6
                 5, p. 16, ¶ 49, and the use of the anonymous “burner” (e.g. @gmail.com) email addresses, as
             7
                 opposed to "official" BitMEX email addresses (e.g. @bitmex.com), to open trading accounts for
             8
                 its own Insider Trading Desk with BitMEX exchange, Defendants are in sole and exclusive
             9
                 possession of facts and any and all documentary evidence relevant to their and third party market
           10
                 manipulation.
           11
                        465.       The fact that it was Defendants who manipulated prices on the BitMEX platform
           12
                 and “reference” spot exchanges BitStamp, Kraken and Coinbase Pro during Manipulation Times,
           13
                 causing alleged losses to Plaintiff Sorokin, is additionally supported by two separate conclusions
           14
                 explained in detail below.
           15
                        466.       First, the fact that during Manipulation Times prices on the “reference” spot
           16
                 exchanges BitStamp, Kraken and Coinbase Pro were intentionally and artificially manipulated is
           17
                 additionally supported the fact that during the Manipulation Times, high volume market orders
           18
                 were executed on one or more relatively thinly traded “reference” exchanges during a short
           19
                 period of time, amounting to a relatively large fraction of the corresponding exchange’s regular
           20
                 daily volume. Such large trades executed on relatively illiquid or thinly traded exchanges would
           21
                 normally result in a significant price slippage and a consequent financial loss for the executing
           22
                 trader, unless they were used with the purpose of profiting on BitMEX. Because traders trading
           23
                 millions of dollars of cryptocurrency are very sophisticated, they would use over-the-counter
           24
                 (OTC) transactions in order to sell large amounts of cryptocurrency without affecting the market
           25
                 price and thereby avoid sustaining a financial losses due to price slippage.15 The fact that very
           26
                 15
                   For example, on May 17, 2019, bitcoin lost 20 percent of its value on Bitstamp for about 30
           27    minutes before recovering. From approximately 2:55 to 3:10 AM (UTC), an unusually large
                 volume of 3,071 bitcoin were sold on Bitstamp, which resulted in an avoidable financial loss for
           28    the trader of over $2,5000,000 due to price slippage. In contrast, during the previous day, only 83
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             1
                 sophisticated traders willingly sustained large and completely avoidable financial losses during
             2
                 Manipulation Times demonstrates that these large market orders were used for purposes of cross-
             3
                 market manipulation in order to benefit from the open derivatives positions on BitMEX, which
             4
                 uses BitStamp as one if its “reference” exchanges. This forms the basis for Plaintiff Sorokin’s
             5
                 belief the during the Manipulation Times, the “reference” markets for bitcoin and ether were
             6
                 artificially manipulated.
             7
                        467.       It is therefore established that market moves that took place during Manipulation
             8
                 Times were caused by manipulators with the purpose of cross-market manipulation and profiting
             9
                 on BitMEX.
           10
                        468.       Second, the fact that it was Defendants and not an unidentified third party who
           11
                 intentionally manipulated bitcoin and ether prices on “reference” spot exchanges BitStamp,
           12
                 Kraken and Coinbase Pro during Manipulation Times is additionally supported by at least the
           13
                 following facts:
           14
                                   a. Defendants’ Insider Trading Desk and Its Custom Automated Market
           15
                                         Manipulation Tools Developed by Bitmex. Defendants operated an
           16
                                         undisclosed Insider Trading Desk managed by Gregory Dwyer with at least
           17
                                         three key employees, including Stuart Elkington and Nick Andrianov. This
           18
                                         desk operated to continuously manipulate markets on the BitMEX platform
           19
                                         and cause artificial prices for BitMEX derivatives, including derivatives of
           20
                                         bitcoin and ether. The operators of the Insider Trading Desk had what
           21
                                         BitMEX internally referred to as “God Access” that allowed them to see all of
           22
                                         the information of all trader accounts, including any hidden orders, leverage
           23
                                         amounts and liquidation points for all orders and all open positions. They were
           24
           25    bitcoins were sold every 15 minutes on average. As another example, on July 14, 2019, a sell
                 order was placed on Bitstamp for 15,000 ETH causing the ether price to plummet from $270 to
           26    $190 and leading to a flash crash on that exchange, resulting in over $600,000 loss over the OTC
                 price. This clearly intentional dump made up around $3.5 million of ETH – some 15% of its
           27    entire ETH trading volume in just one trade. Sophisticated traders would not choose to sustain
                 such large and avoidable losses.
           28
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             1
                                   also provided with automated systems, built by BitMEX, leveraging this highly
             2
                                   sensitive insider information to enable and automate their manipulation that
             3
                                   told them how the market was likely to move by assessing the impact of the
             4
                                   hidden orders and liquidations, when they triggered. Thus, based on the
             5
                                   sensitive insider information of BitMEX traders, the automated system was
             6
                                   able to predict a potential profit for BitMEX from liquidating its traders,
             7
                                   triggered by a potential manipulation. The traders at the Insider Trading Desk
             8
                                   had tools that showed them which liquidations would occur across the entirety
             9
                                   of BitMEX’s platform if prices moved in any given direction, which was used
           10
                                   to predict profitability of potential liquidations. Once predetermined predicted
           11
                                   profitability was met, the manipulative trades were automatically executed by
           12
                                   the BitMEX automated systems, resulting in trader liquidations. To prevent the
           13
                                   conditions of the order book from changing between the profitability
           14
                                   prediction time and actual liquidation time, BitMEX froze its servers,
           15
                                   preventing traders from closing or changing their positions or placing new
           16
                                   orders that could interfere with the manipulation, so that BitMEX would get
           17
                                   the exact profit that was predicted. The access to hidden information thus
           18
                                   provided the operators of the Insider Trading Desk with a substantial and
           19
                                   secret advantage over BitMEX customers. By analyzing the impact of hidden
           20
                                   trade orders and liquidation prices, BitMEX Insider Trading Desk could
           21
                                   determine when placing a large order would cause the liquidations and hidden
           22
                                   orders to trigger. BitMEX could then assess whether these hidden orders would
           23
                                   affect prices in a way that would cause liquidations resulting in a profit for
           24
                                   BitMEX. BitMEX automated system that operated 24 hours a day, 7 days a
           25
                                   week was configured to automatically act based on the results of the prediction
           26
                                   by placing manipulative trades on BitMEX and “reference” exchanges, when
           27
                                   BitMEX servers were frozen for its traders. Defendants would not develop
           28
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             1
                                   such sophisticated automated tools for no reason or “just to have them”. The
             2
                                   fact that Defendants were in possession of such sophisticated automated tools
             3
                                   clearly establishes that they did in fact use them for their intended purpose, to
             4
                                   cross-manipulate cryptocurrency markets and liquidate traders, including
             5
                                   during the specific Manipulation Times.
             6
                             b. Defendants’ Insider Trading Desk Automated Tools Operated on a 24 Hours a
             7
                                   Day, 7 Days a Week Basis, Including Specific Manipulation Times. That
             8
                                   establishes that during the times of the Plaintiff Sorokin’s losses, the
             9
                                   automated tools of the Defendants’ Insider Trading Desk were up and running
           10
                                   and automatically looking for ways to liquidate BitMEX traders, including
           11
                                   Plaintiff Sorokin, to financially benefit Defendants.
           12
                             c. Presence of Server Freezes During Manipulation Times. As stated above, the
           13
                                   server freezes were used by BitMEX to prevent the conditions of the order
           14
                                   book from changing between the profitability prediction time and actual
           15
                                   liquidation time. To accomplish this purpose, BitMEX routinely froze its
           16
                                   servers, preventing traders from closing or changing their positions or placing
           17
                                   new orders that could interfere with the manipulation, so that BitMEX would
           18
                                   get the exact profit that was predicted. Presence of server freezes and system
           19
                                   overloads during Manipulation Times clearly indicates that, in accordance with
           20
                                   Defendants’ modus operandi, the automated tools operated by BitMEX’s
           21
                                   Insider Trading Desk already estimated potential profitability of a market
           22
                                   manipulation, automatically executed manipulative trades on the “reference”
           23
                                   exchanges and deployed server freezes on BitMEX to prevent traders from
           24
                                   escaping their positions and salvaging their funds before they could be
           25
                                   liquidated, so that BitMEX would get the exact profit that was predicted by the
           26
                                   Insider Trading Desk.
           27
                             d. Defendants’ Exclusive Access to Sensitive Insider Information. Only
           28
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  ATTORNEYS      COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 180 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                                         Defendants’ Insider Trading Desk and no third party had access to sensitive
             2
                                         insider information of the BitMEX exchange, including all positions, leverage
             3
                                         amounts, sizes, open orders, hidden orders, etc. This information is critical to
             4
                                         profitably liquidating traders on BitMEX and without it, not such liquidations
             5
                                         are possible. This again points to BitMEX as culprit behind the market moves
             6
                                         during the Manipulation Times.
             7
                                   e. Defendants’ Exclusive Ability to Open Large Positions on BitMEX.
             8
                                         Moreover, only Defendants were able to open sufficiently large
             9
                                         ($100,000,000+) trading positions on BitMEX in order to capture the
           10
                                         manipulation profits. For example, during market event on May 17, 2019,
           11
                                         $2,500,000 was lost on BitStamp due to price slippage to move the .BXBT
           12
                                         index down by 16%. In order for the perpetrator to break even, the
           13
                                         corresponding swap position in BitMEX’s winner account would need to be at
           14
                                         least $15,625,000 ($15,625,000 x 16% = $2,500,000). And in order to make
           15
                                         modest 1000% profit, the corresponding swap position in BitMEX’s winner
           16
                                         account would need to be at least $156,250,000 ($156,250,000 x 16% =
           17
                                         $25,000,000). No other persons except for Defendants were able to open such
           18
                                         large positions on BitMEX in order to make manipulation profitable.16
           19
                                         Therefore, other parties would lose money on manipulation and it was
           20
                                         Defendants who caused market manipulation events during the Manipulation
           21
                                         Times.
           22
                                   f. Defendants’ Financial Motive. Manipulating the .BXBT index of BitMEX is
           23
                                         immensely profitable, with profit reaching 8000% (or 80x). Moreover,
           24
                                         Defendant Hayes publicly admitted to committing bank fraud in connection
           25
                                         with bitcoin transaction where the profit was just 40%, Ex. 10. For
           26
                 16
           27      CFTC regulations impose position limits on exchanges exactly for this reason, to prevent
                 manipulation by making it unprofitable, see, for example, 17 C.F.R. 41.25. Defendants violated
           28    those regulations, which enabled and facilitated profitable manipulation on BitMEX.
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             1
                                         comparison, profit from manipulation using BitMEX .BXBT index at issue
             2
                                         here is 8000%, which would be irresistible for someone who was risking jail
             3
                                         time to make mere 40% profit. 8000% would be clearly too lucrative profit for
             4
                                         Defendants to pass. Moreover, half of BitMEX’s revenue comes from
             5
                                         liquidations of traders like Plaintiff, creating a very strong incentive for
             6
                                         Defendants to engage in a market manipulation resulting in liquidations of
             7
                                         retail traders in order to increase their company revenue. It should be also
             8
                                         noted that of all possible manipulators, BitMEX had the highest financial
             9
                                         incentive to manipulate the .BXBT index. In other words, no third party
           10
                                         financially benefits from the manipulation to the extent Defendants do. This is
           11
                                         explained by the interplay between the exchange itself, the Insurance Fund and
           12
                                         the trading desk, all owned by Defendants. All three of those entities owned
           13
                                         by Defendants benefit from trader liquidations with the exchange collecting
           14
                                         increased trading fees caused by spikes in trading volumes during liquidations,
           15
                                         the trading desk realizing profits associated with betting on the other side of
           16
                                         (against) Plaintiff Sorokin’s trades, and the Insurance Fund collecting an
           17
                                         excess portion of the confiscated Plaintiff Sorokin’s collateral, left after paying
           18
                                         profits to the trading desk. Thus, because Defendants own and control the
           19
                                         exchange itself, the Insurance Fund and the trading desk, they have triple
           20
                                         incentive to engage in market manipulation and liquidate traders. In other
           21
                                         words, due to BitMEX’s design, when a trader is liquidated, the exchange
           22
                                         itself, the Insurance Fund and the trading desk divide all the trader’s
           23
                                         confiscated funds between themselves with no third party getting a dime.
           24
                        469.       Thus, for all the foregoing reasons, it was Defendants and not unidentified third
           25
                 parties, who manipulated prices on the BitMEX platform and “reference” spot exchanges
           26
                 BitStamp, Kraken and Coinbase Pro during Manipulation Times, causing specific trading losses
           27
                 to Plaintiff Sorokin alleged herein.
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 182 -     ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1    MORE THAN HALF OF TOP BITMEX TRADERS EARNING OVER $1B IN PROFITS
                                  ENGAGED IN MONEY LAUNDERING
             2
                        470.       Plaintiff repeats and re-alleges the allegations contained in every preceding
             3
                 paragraph as if fully set forth herein.
             4
                        471.       On or about November 5, 2020, BitMEX updated its leaderboard after supposedly
             5
                 completing KYC and AML verification for all users. Below is a leaderboard from August 2,
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           22
                 2020, with traders who could not pass the KYC and AML verification marked. Spots on the
           23
                 leaderboard are very valuable and traders would not easily forgo being listed there. Thus, more
           24
                 than half of top BitMEX traders earning over $1,000,000,000 in profits were unable to pass KYC
           25
                 and AML checks and, therefore, engaged in money laundering and other illegal acts. This is truly
           26
                 staggering and it proves the truly astonishing amount of money laundering that took place on
           27
                 BitMEX, as alleged herein.
           28
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             1
                        472.       Moreover, the clear manipulator account Quick-Grove-Mind with $100M
             2
                 manipulation profits listed above, whose multi-million-dollar profit spikes exactly match known
             3
                 market manipulation events, magically avoiding all market losses, did not pass the KYC and
             4
                 AML checks instituted by BitMEX after criminal indictments of its founders, which is another
             5
                 indication that this is a market manipulator.
             6
                     MARKET MANIPULATION DRAMATICALLY SUBSIDED AFTER CRIMINAL
             7                INDICTMENTS AND ARRESTS OF DEFENDANTS
             8          473.       Plaintiff repeats and re-alleges the allegations contained in every preceding
             9   paragraph as if fully set forth herein.
           10           474.       Shortly after individual Defendants were criminally indicted by the DOJ and
           11    Defendant Reed was arrested on October 1, 2020, the amount of market manipulation dropped
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           21
                 dramatically and bitcoin steadily rallied in price from under $10,000 to over $65,000. It can be
           22
                 clearly seen that this bitcoin rally was caused, in a large part, by Defendants being taken down by
           23
                 DOJ and CFTC, as well as by private party lawsuits, and by Defendant Reed being prevented
           24
                 from manipulating the markets.
           25
                        475.       It is the general consensus in the crypto industry that Defendants’ persistent
           26
                 manipulation resulted in persistent price suppression for bitcoin and ether and once Defendants’
           27
                 market manipulation was abated on October 1, 2020, with arrest of Reed and criminal indictments
           28
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             1
                 of Hayes, Delo, Reed and Dwyer, the price of bitcoin and ether exploded, as the main bitcoins
             2
                 price suppression factor was removed, see the above chart.
             3
             4                                             COUNT I
                  Fraudulent Solicitation in Violation of 7 U.S.C. §§ 9(1), 25(a)(1)(B), (C)(iv), and Rule 180.1
             5                (False Warranty and Representation) — Against All Defendants
                         476.      Plaintiff repeats and re-alleges the allegations contained in every preceding
             6
                 paragraph as if fully set forth herein.
             7
                         477.      7 U.S.C. § 9(1), makes it unlawful, in relevant part, for any person, directly or
             8
                 indirectly, to:
             9
           10            use or employ, or attempt to use or employ, in connection with any swap, … any
                         manipulative or deceptive device or contrivance, in contravention of such rules and
           11            regulations as the Commission shall promulgate by not later than 1 year after [July 21,
                         2010, the date of enactment of the Dodd-Frank Wall Street Reform and Consumer
           12            Protection Act] …
           13
                         478.      Rule 180.1, 17 C.F.R. § 180.1(a) (2019), provides, in relevant part:
           14
                         It shall be unlawful for any person, directly or indirectly, in connection with any swap, …
           15            to intentionally or recklessly:
           16            (1) Use or employ, or attempt to use or employ, any manipulative device, scheme, or
           17            artifice to defraud;

           18            (2) Make, or attempt to make, any untrue or misleading statement of a material fact or to
                         omit to state a material fact necessary in order to make the statements made not untrue or
           19            misleading;
           20
                         (3) Engage, or attempt to engage, in any act, practice, or course of business, which
           21            operates or would operate as a fraud or deceit upon any person …

           22
                         479.      Bitcoin and ether Perpetual Swaps traded by Plaintiff Sorokin are “swaps” as
           23
                 defined by Section 1a(47)(A) of the CEA, 7 U.S.C. § 1a(47)(A) (2018). Therefore, these bitcoin
           24
                 and ether Perpetual Swaps are also “swaps” within the meaning of 7 U.S.C. § 9(1) and 17 C.F.R.
           25
                 § 180.1(a) (2019).
           26
                         480.      Section 22 of the CEA provides for a private right of action for a plaintiff who
           27
                 made “any swap” through a person or entity whose violation of the CEA resulted in actual
           28
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             1
                 damages to the plaintiff, 7 U.S.C. § 25(a)(1)(B), or who placed through such person or entity “an
             2
                 order for the purchase or sale of ... a swap,” id. § 25(a)(1)(C)(iv).
             3
                        481.       During the Relevant Period, Defendants used a deceptive device or contrivance
             4
                 and fraudulent course of business to benefit themselves at the expense of Plaintiff Sorokin by
             5
                 fraudulently soliciting Plaintiff Sorokin through fraudulent representations, half-truths and
             6
                 omissions to use BitMEX to trade in Perpetual Swaps and thereby pay trading commissions to
             7
                 Defendants and suffer trading losses to benefit BitMEX at the expense of Plaintiff Sorokin.
             8
                        482.       To entice Plaintiff Sorokin to open his trading accounts, deposit his bitcoins, trade
             9
                 on margin on a rigged BitMEX platform and pay trading commissions to Defendants, Defendants
           10
                 engaged in fraudulent solicitation of Plaintiff Sorokin using a laundry list of material
           11
                 misrepresentations, half-truths and omissions.17 Once victims, including Plaintiff Sorokin, were
           12
                 fraudulently induced by Defendants to open trading accounts on BitMEX, Defendants used a
           13
                 psychological phenomenon known as “revenge trading” to keep them trading on their rigged
           14
                 platform. Revenge trading is a natural, emotional response after traders experience a quick or
           15
                 large loss, where the victims will continue trading to his detriment to try to win back the losses,
           16
                 until they are completely financially ruined.
           17
                        483.       On or about June 24, 2019, Defendants, and each of them, through their
           18
                 commercial website www.bitmex.com, which constitutes a front-end interface of their BitMEX
           19
                 platform, personally presented Plaintiff Sorokin with an electronic document containing updated
           20
                 written Terms of Service (“Service Agreement”) for their online BitMEX trading platform and
           21
                 required Plaintiff Sorokin to personally accept it by opening a trading account and using BitMEX
           22
           23
           24
                 17
                   Because Defendants Hayes, Delo and Reed controlled, directly or indirectly, the operation of
           25    the entire BitMEX Enterprise and micro-managed all important aspects of operation of the
           26    BitMEX platform and no significant undertaking could proceed without their direct and personal
                 approval, they each personally authored or at least personally ratified and approved each and
           27    every fraudulent solicitation, other misrepresentation, omission or false advertisement alleged in
                 Paragraphs 481-577 and, as applicable, transmission thereof via wire communication to Plaintiff
           28    Sorokin.
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             1
                 platform.18 The electronic document containing the Service Agreement was transmitted from
             2
                 Defendants’ servers located in San Francisco, California to Plaintiff Sorokin’s personal computer.
             3
                        484.       The written Service Agreement incorporated the following specific Warranty and
             4
                 Representation expressly made by Defendants personally to Plaintiff Sorokin:19
             5
                        6.3: HDR has a trading arm that, amongst other things, transacts in products traded on the
             6
                        Trading Platform. The trading arm primarily trades as a market-maker. The trading arm is
             7
                        organised to be separate and distinct from the business of the Trading Platform.
             8
                        Specifically, no front office personnel are shared between the trading arm and the Trading
             9
                        Platform, the trading arm’s staff are physically separated from the Trading Platform’s staff
           10
                        while performing trades, and the trading arm does not have access to any order flow,
           11
                        execution, customer or other information of the Trading Platform on terms that are not
           12
                        otherwise available to any other platform user. In addition, unless otherwise set forth in
           13
                        the terms of a specific product of HDR, the trading arm receives access and trading
           14
                        privileges only on the same terms as are available to any other user.
           15
                        485.       This express Warranty and Representation made by Defendants to Plaintiff
           16
                 Sorokin in the Service Agreement was, in fact, deliberately and materially false during the entire
           17
                 Relevant Period and constituted a fraudulent solicitation of Plaintiff Sorokin’s bitcoins deposits
           18
                 and trading commissions by Defendants. In truth and in fact, during the entire Relevant Period,
           19
                 the Insider Trading Desk of BitMEX had what BitMEX internally referred to as “God Access” to
           20
                 all customer, order flow, execution and open position information of the entire BitMEX Trading
           21
                 Platform, including, without limitation, all order sizes, leverage amounts and liquidation prices,
           22
                 all parameters of hidden orders, including leverage amounts, as well as sizes and liquidation
           23
           24    18
                    The electronic document containing the updated written Terms of Service was also located at:
                 https://www.bitmex.com/app/terms and is attached hereto as Ex. 19 and is incorporated herein in
           25    its entirety.
                 19
           26       The same Warranty and Representation was additionally posted as a blog post, personally
                 authored by Defendant Hayes, which constituted an advertisement displayed by Defendants
           27    during Relevant Period, at https://blog.bitmex.com/bitmex-market-making-desk/ and which called
                 one of the operators of the Insider Trading Desk “a person [whose] integrity is unquestionable.”
           28    The aforesaid blog post is attached hereto as Ex. 21 and made part hereof.
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             1
                 prices of all open positions on the entire BitMEX platform, further including all these confidential
             2
                 parameters of all Plaintiff Sorokin’s orders and open positions. On the other hand, such
             3
                 information was not available to Plaintiff Sorokin and other platform users, with the exception of
             4
                 Defendants themselves. In fact, the Insider Trading Desk used this very sensitive information to
             5
                 highly successfully trade against, and liquidate customers of BitMEX, including Plaintiff Sorokin.
             6
                        486.       Moreover, this express Warranty and Representation made by Defendants to
             7
                 Plaintiff Sorokin in the Service Agreement was deliberately and materially false during the entire
             8
                 Relevant Period also because the Insider Trading Desk was not subject to server overload freezes
             9
                 and lockouts, thus receiving access and trading privileges not available to other BitMEX users,
           10
                 including Plaintiff Sorokin, who were frequently subject to server overload freezes and lockouts.
           11
                 In fact, the Insider Trading Desk used the server overload lockouts offensively to liquidate traders
           12
                 including Plaintiff Sorokin, while itself not being subject to such freezes and lockouts.20
           13
                 Specifically, the automated software tools operated by the Insider Trading Desk were configured
           14
                 to intentionally and automatically freeze BitMEX’s servers, preventing traders, including Plaintiff
           15
                 Sorokin, from closing or changing their positions or placing new orders that could interfere with
           16
                 the manipulation, so that BitMEX would get the exact profit that was predicted earlier.
           17
                        487.       Plaintiff Sorokin would not have deposited his bitcoins with BitMEX and would
           18
                 not have traded on the BitMEX platform had he known the true facts, as the true facts meant that
           19
                 odds of making any money on BitMEX platform were stacked heavily against Plaintiff Sorokin
           20
                 and in favor of the Insider Trading Desk of BitMEX.
           21
                        488.       In other words, Plaintiff Sorokin believed that he was getting access to
           22
                 cryptoderivative trading services from BitMEX, where the Insider Trading Desk did not receive
           23
                 special informational, technical and trading privileges and where it did not continuously
           24
                 manipulate the markets in order to liquidate Plaintiff Sorokin’s positions, when, in reality, he was
           25
           26    20
                   Defendants have a vastly superior knowledge of the facts relevant to the automated software
           27    tools developed by BitMEX, market manipulation and the operation of the Insider Trading Desk,
                 the confidential trader information it used, as well as the trading privileges it enjoyed, and are in
           28    exclusive possession of the relevant evidence.
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             1
                 not. Thus, Defendants’ false representations mislead Plaintiff Sorokin into believing that he was
             2
                 getting something, namely cryptoderivative trading services from BitMEX, where the Insider
             3
                 Trading Desk did not receive special informational, technical and trading privileges and where it
             4
                 did not continuously manipulate the markets in order to liquidate Plaintiff Sorokin’s positions,
             5
                 that they were not.        Therefore, the false Warranty and Representation actually misled Plaintiff
             6
                 Sorokin into believing something that was not true and was “likely to [so] mislead a reasonable
             7
                 consumer.” Plaintiff Sorokin did not want to use, and would not have used, cryptoderivative
             8
                 trading services if such services included the Insider Trading Desk that received special
             9
                 informational, technical and trading privileges and continuously manipulated the markets in order
           10
                 to liquidate Plaintiff Sorokin’s positions.
           11
                        489.       Plaintiff Sorokin opened account with BitMEX platform and/or used Defendants’
           12
                 cryptoderivative trading services offered from California based on the reliance on the Warranty
           13
                 and Representation contained in Defendants’ Service Agreement. When opening his BitMEX
           14
                 trading account, depositing bitcoins therein and engaging in cryptoderivative trading on BitMEX
           15
                 platform, Plaintiff Sorokin saw and carefully read Defendants' false Warranty and Representation
           16
                 and relied on the truth of the Warranty and Representation in deciding to open BitMEX trading
           17
                 account, deposit bitcoins therein, engage in cryptoderivative trading on BitMEX and pay trading
           18
                 commissions to Defendants.
           19
                        490.       Plaintiff Sorokin was induced to open and/or use BitMEX trading account, deposit
           20
                 bitcoins therein, engage in cryptoderivative trading on the BitMEX platform and pay trading
           21
                 commissions to Defendants and did, in fact, open and/or use BitMEX trading account, deposited
           22
                 bitcoins therein, engaged in cryptoderivative trading on BitMEX platform and paid trading
           23
                 commissions to Defendants due to the reliance on the truth of the Warranty and Representation,
           24
                 which represented to Plaintiff Sorokin that:
           25
                        The trading arm is organised to be separate and distinct from the business of the Trading
           26
                        Platform. Specifically, no front office personnel are shared between the trading arm and
           27
                        the Trading Platform, the trading arm’s staff are physically separated from the Trading
           28
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             1
                        Platform’s staff while performing trades, and the trading arm does not have access to any
             2
                        order flow, execution, customer or other information of the Trading Platform on terms that
             3
                        are not otherwise available to any other platform user. In addition, unless otherwise set
             4
                        forth in the terms of a specific product of HDR, the trading arm receives access and
             5
                        trading privileges only on the same terms as are available to any other user.
             6
                        491.       Plaintiff Sorokin would not have opened and/or used BitMEX trading account,
             7
                 deposited bitcoins therein, engaged in cryptoderivative trading on BitMEX platform and paid
             8
                 trading commissions to Defendants if he knew the true facts and, specifically, that Defendants’
             9
                 exchange was rigged and the Insider Trading Desk trading against Plaintiff Sorokin was provided
           10
                 with informational, access and trading advantages over Plaintiff Sorokin and automated tools,
           11
                 built by BitMEX, to facilitate manipulation.
           12
                        492.        Upon opening and/or using BitMEX trading account, depositing bitcoins therein
           13
                 and engaging in cryptoderivative trading on Defendants’ BitMEX platform, Plaintiff Sorokin was
           14
                 provided with cryptoderivative trading services falsely represented by Defendants’ Warranty and
           15
                 Representation to be fair and honest, deceiving Plaintiff Sorokin and, in reality, causing him to
           16
                 use rigged cryptoderivative trading services he did not want. Defendants' false and fraudulent
           17
                 Warranty and Representation caused Plaintiff Sorokin to spend and lose the money he paid as
           18
                 trading commissions and trading losses.
           19
                        493.       Plaintiff Sorokin has suffered injury and loss of money or property as a result of
           20
                 Defendants' fraud and deceit, and namely as the result of the false and fraudulent Warranty and
           21
                 Representation provided to Plaintiff Sorokin.
           22
                        494.       Plaintiff Sorokin relied upon Defendants’ misrepresentations contained in the
           23
                 Warranty and Representation and was induced to use Defendants’ cryptodetivative trading
           24
                 services he did not want to use and which were unsatisfactory to him, paying trading
           25
                 commissions to Defendants and sustaining monetary losses. Defendants’ deception caused the
           26
                 Plaintiff Sorokin to open account on BitMEX platform, deposit his bitcoins with Defendants and
           27
                 use Defendants’ cryptodetivative trading services he did not want, paying trading commissions to
           28
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             1
                 Defendants and sustaining monetary losses. Therefore, Plaintiff Sorokin suffered injury in fact
             2
                 and lost money or property as a result of the alleged fraud and deception perpetrated by
             3
                 Defendants by means of the false Warranty and Representation.
             4
                        495.       When the Defendants made the aforesaid false and fraudulent Warranty and
             5
                 Representation to Plaintiff Sorokin, they knew it to be materially false, as Defendants themselves
             6
                 created and controlled the Insider Trading Desk and deliberately provided it with the
             7
                 informational and trading priority privileges in order to profitably liquidate traders like Plaintiff
             8
                 Sorokin and confiscate their bitcoins, and this Warranty and Representation was made by
             9
                 Defendants with the intent to defraud and deceive Plaintiff Sorokin and with the intent to induce
           10
                 Plaintiff Sorokin to act in the manner herein alleged and specifically to open an account with
           11
                 BitMEX, deposit bitcoins therein and trade Defendants’ cryptoderivative products on margin, in
           12
                 order to wrongfully collect trading commissions from Plaintiff Sorokin and to confiscate and
           13
                 otherwise misappropriate Plaintiff Sorokin’s property. Therefore, in making the aforesaid false
           14
                 and fraudulent Warranty and Representation to Plaintiff Sorokin, Defendants were motivated by
           15
                 profit, including Plaintiff Sorokin’s bitcoin deposits, trading commissions paid by Plaintiff
           16
                 Sorokin to Defendants, and Plaintiff Sorokin’s bitcoins confiscated by Defendants as the result of
           17
                 liquidations. Each of the Defendants Hayes, Delo and Reed who each own 31.67% of the
           18
                 remaining Defendants had personal financial interest in making the aforesaid false and fraudulent
           19
                 Warranty and Representation in order to fraudulently solicit Plaintiff Sorokin’s business, as the
           20
                 resultant ill-gotten profits collected by Defendant HDR were siphoned by them directly to their
           21
                 personal bank accounts as alleged in Paragraphs above.
           22
                        496.       Plaintiff Sorokin, at the time this Warranty and Representation was made by
           23
                 Defendants and at the time Plaintiff Sorokin took the actions herein alleged, was ignorant of the
           24
                 falsity of Defendants’ Warranty and Representation and believed it to be true. In reliance on
           25
                 these representations, Plaintiff Sorokin was induced to and did in fact deposit his valuable
           26
                 bitcoins with Defendants’ platform, engaged in derivative trading therein on margin to his
           27
                 financial loss and detriment and paid trading commissions to Defendants. For example, in
           28
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             1
                 reliance on Defendants’ false and fraudulent Warranty and Representation, Plaintiff Sorokin
             2
                 deposited21 with Defendants:
             3
             4
                                   Sorokin                           June 24, 2019                0.50831625 bitcoins
             5
                                   Sorokin                           June 26, 2019                   0.03526 bitcoins
             6
             7                     Sorokin                           July 3, 2019                     2.288 bitcoins

             8                     Sorokin                           July 4, 2019                 4.28749672 bitcoins
             9
           10
                        497.       Due to the aforesaid deposits of bitcoins with Defendants, made in reliance on
           11
                 Defendants’ false and fraudulent Warranty and Representation, Plaintiff Sorokin incurred the
           12
                 following bitcoin loss of use damages associated with the fact that Plaintiff Sorokin’s bitcoins
           13
                 were deposited in interest-free BitMEX accounts and not in interest-bearing accounts widely
           14
                 available on the market, at the time, from reputable and financially stable companies including
           15
                 U.S.-based Celsius and BlockFi, which paid 5.95% APY on bitcoin deposits. Had Plaintiff
           16
                 Sorokin not deposited his valuable bitcoins with BitMEX, as he did in reliance on Defendants’
           17
                 false and fraudulent Warranty and Representation, he would have deposited them with either
           18
                 Celsius or BlockFi and earned 5.95% APY thereon. Therefore, Defendants’ false and fraudulent
           19
                 Warranty and Representation was a substantial factor in causing Plaintiff Sorokin’s bitcoin loss of
           20
                 use damages, which were also a natural and foreseeable result of the false and fraudulent
           21
                 Warranty and Representation made by Defendants, which was specifically calculated to
           22
                 fraudulently induce Plaintiff Sorokin to deposit his bitcoins with Defendants, thereby causing the
           23
                 loss of use damages. These bitcoin loss of use damages are separate from and do not include any
           24
           25
                 21
           26      The deposits listed in this table are only exemplary deposits. For example, Plaintiff Sorokin
                 deposited with Defendants over 9.50160197 bitcoins in total, of which Defendants wrongfully
           27    collected from him trading commissions of at least 0.4 bitcoins. In addition, Plaintiff Sorokin
                 sustained net trading losses of about 1.12803878 bitcoins, resulting in his net loss on BitMEX of
           28    1.52803878 bitcoins ($88,626), in addition to the bitcoin loss of use damages.
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             1
                 actual trading losses suffered by Plaintiff Sorokin as the result of any market events, market
             2
                 manipulation, market conditions or liquidations.
             3
             4
                                    Deposit              Deposit     Deposit      Deposit             Market              Loss of Use
             5    Plaintiff
                                    Started               Ended       Days       Amount                 APY                 Damages
             6
                                    June 24,           August 10,               0.50831625                                    0.0030
             7    Sorokin                                              47                              5.95%
                                      2019                 2019                   bitcoins                                   bitcoins
             8
             9                      June 26,           August 10,                0.03526                                     0.00025
                  Sorokin                                              45                              5.95%
           10                         2019                 2019                   bitcoins                                   bitcoins

           11                                          August 10,                  2.288                                    0.014212
                  Sorokin        July 3, 2019                          38                              5.95%
           12                                              2019                   bitcoins                                   bitcoins
           13
                                                       August 10,               4.28749672                                   0.02593
           14     Sorokin        July 4, 2019                          37                              5.95%
                                                           2019                   bitcoins                                   bitcoins
           15
           16                                                                                                               0.043392
                                                                                                       Total:
           17                                                                                                               bitcoins

           18           498.       In further reliance on Defendants’ false and fraudulent Warranty and
           19    Representation, Plaintiff Sorokin traded Defendants’ bitcoin and ether Perpetual Swaps on July
           20    11, 2019 and suffered trading losses of over 1.81027681 bitcoins on that day, when his XBTUSD
           21    and ETHUSD Perpetual Swap long positions were liquidated. In addition, Plaintiff Sorokin paid
           22    at least 0.1 bitcoins in trading commissions to Defendants on that day. The trading losses were
           23    sustained by Plaintiff Sorokin due to Defendants’ Insider Trading Desk having caused Plaintiff
           24    Sorokin’s long Perpetual Swap position on BitMEX to be liquidated, using Plaintiff Sorokin’s
           25    own highly confidential information, to which Insider Trading Desk had what BitMEX internally
           26    referred to as “God access,” in direct violation of the Warranty and Representation. Had Plaintiff
           27    Sorokin known the actual facts, he would not have taken such actions, would not have deposited
           28
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             1
                 bitcoins, traded Perpetual Swaps, suffered such losses and would not have paid trading
             2
                 commissions to Defendants.
             3
                        499.       Due to Plaintiff Sorokin’s decision to trade on Defendants’ BitMEX platform,
             4
                 made in reasonable reliance on Defendants’ false and fraudulent Warranty and Representation,
             5
                 Plaintiff Sorokin incurred the following monetary damages associated with trading commissions22
             6
                 paid by Plaintiff Sorokin to Defendants, irrespective of any and all market moves, market events
             7
                 or market manipulation by Defendants. Therefore, Defendants’ false and fraudulent Warranty
             8
                 and Representation was a substantial factor in causing Plaintiff Sorokin’s damages associated
             9
                 with the trading commissions paid by Plaintiff Sorokin to Defendants, which were also a natural
           10
                 and foreseeable result of the false and fraudulent Warranty and Representation made by
           11
                 Defendants. These trading commissions paid by Plaintiff Sorokin to Defendants are separate
           12
                 from and do not include any trading losses suffered by Plaintiff Sorokin as the result of any
           13
                 market events, market manipulation or market conditions. Plaintiff Sorokin paid at least a portion
           14
                 of the below trading commissions, in the amount of at least 0.015 bitcoins, at the time he opened
           15
                 his initial swap position on BitMEX, in reasonable reliance on Defendants’ false and fraudulent
           16
                 Warranty and Representation, and before any market move or other market event.
           17
           18
                                                                                                       Trading Commissions
           19          Plaintiff                  Trading Started        Trading Ended
                                                                                                                 Damages
           20
                       Sorokin                      June 24, 2019        August 10, 2019                        0.4 bitcoins
           21
           22                                                                  Total:                          0.4 bitcoins

           23
           24
           25
           26    22
                   BitMEX charges traders trading commissions in connection with opening, maintaining and
           27    closing trading positions, irrespective of market moves or other events and irrespective of
                 whether the position is profitable or not. For example, the commission for opening or closing a
           28    margined position is 0.075% of the position size.
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             1
                        500.       Plaintiff Sorokin's reliance on Defendants’ representations was justified because
             2
                 Defendants took extraordinary and active measures to conceal the wrongdoing perpetrated by
             3
                 their Insider Trading Desk. First, Defendants deliberately made all accounts on BitMEX platform
             4
                 anonymous, which hindered specifically pinpointing the origin of manipulation and other illegal
             5
                 acts. Second, according to the CFTC Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted
             6
                 required records, including user identities. Third, Defendants deliberately used anonymous
             7
                 “burner” (e.g. @gmail.com) email addresses, as opposed to "official" BitMEX email addresses
             8
                 (e.g. @bitmex.com), to open trading accounts for their Insider Trading Desk with BitMEX
             9
                 exchange, to cover up the tracks of wrongdoing so the trading histories and illegal manipulation
           10
                 profits cannot be traced back to BitMEX. The “burner” accounts were periodically recycled and
           11
                 corresponding trading records deleted. Accordingly, Defendants engaged in active concealment
           12
                 of their fraud. Therefore, Plaintiff Sorokin, through exercise of reasonable diligence, could not
           13
                 have known the true manner of operation of Defendants’ Insider Trading Desk.
           14
                        501.       According to a sworn Declaration of Defendant Hayes dated February 27, 2020,
           15
                 Defendant “ABS Global Trading Limited, … provides software development, software
           16
                 engineering, and digital security services to HDR Global Trading Limited… including by
           17
                 developing the front-end interface of the BitMEX platform.” The front-end interface of the
           18
                 BitMEX platform includes commercial website www.bitmex.com, which was used to provide the
           19
                 Service Agreement containing the fraudulent Warranty and Representation to Plaintiff Sorokin.
           20
                        502.       Defendant ABS Global Trading Limited, responsible, within the BitMEX
           21
                 Enterprise, for the commercial website www.bitmex.com, was and continues to be located in San
           22
                 Francisco, California. Therefore, the false and fraudulent Warranty and Representation, provided
           23
                 to Plaintiff by Defendants through the commercial website www.bitmex.com, emanated from
           24
                 Defendant’s ABS’ offices in San Francisco, California.
           25
                        503.       Defendants’ fraud and deceit was a substantial factor in causing of the injury to
           26
                 Plaintiff Sorokin in that Plaintiff Sorokin traded in Perpetual Swaps on margin on BitMEX
           27
                 platform as he did, and thus paid 0.4 bitcoins in trading commissions and suffered his trading
           28
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             1
                 losses of at least 1.12803878 bitcoins from such trading, as well as bitcoin loss of use damages of
             2
                 0.043392 bitcoins, as a result of his reasonable reliance on Defendants’ Warranty and
             3
                 Representation and his reasonable failure to know the actual facts. Thus, the total loss sustained
             4
                 by Plaintiff Sorokin was at least 1.57143 bitcoins.
             5
                        504.       Plaintiff Sorokin would not have traded on the BitMEX platform, and thus paid the
             6
                 trading commissions and suffered his net losses from such trading, if he had known the actual
             7
                 facts, as stated above.
             8
                        505.       Thus, it was a foreseeable and natural consequence of the purposes and goals of
             9
                 Defendants’ use of the false and fraudulent Warranty and Representation, as described above, that
           10
                 Plaintiff Sorokin would deposit his bitcoins with Defendants, thereby sustaining bitcoin loss of
           11
                 use damages, pay the trading commissions he paid and suffer the trading loss he suffered, and that
           12
                 Defendants would generate the ill-gotten gains they did.
           13
                        506.       As a direct and proximate result of Defendants’ fraud and deceit and the facts
           14
                 herein alleged, Plaintiff Sorokin deposited his bitcoins and opened margined swap positions on
           15
                 BitMEX platform, which were subsequently deliberately and wrongfully liquidated by the Insider
           16
                 Trading Desk operated by Defendants using Plaintiff Sorokin’s highly confidential order and
           17
                 position information, wherein the Insider Trading Desk had a priority access to the trading order
           18
                 queues and not subject to lockouts, in violation of the express Warranty and Representation, by
           19
                 reason of which Plaintiff Sorokin has been damaged in the sum of 1.57143 bitcoins, which
           20
                 Plaintiff Sorokin demands to be returned to him in kind, as monetary damages would be
           21
                 manifestly unjust due to bitcoin appreciation.
           22
                        507.       Defendants’ false and fraudulent Warranty and Representation constituted the use
           23
                 of a “manipulative or deceptive device or contrivance” under 7 U.S.C. § 9(1), and “manipulative
           24
                 device, scheme, or artifice to defraud,” including “untrue or misleading statement of a material
           25
                 fact or [omission of] a material fact necessary in order to make the statements made not untrue or
           26
                 misleading” and “act, practice, or course of business, which operates or would operate as a fraud
           27
                 or deceit upon” Plaintiff Sorokin, under Rule 180.1, 17 C.F.R. § 180.1(a) (2019). Defendants’
           28
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             1
                 false and fraudulent Warranty and Representation actually deceived Plaintiff Sorokin into altering
             2
                 his position by opening BitMEX accounts, depositing bitcoins, paying trading commissions to
             3
                 Defendants and engaging in cryptoderivative trading on margin on a rigged BitMEX platform.
             4
                        508.       Therefore, Defendants’ conduct violated 7 U.S.C. § 9(1) and Rule 180.1, 17 C.F.R.
             5
                 § 180.1(a) (2019), and, pursuant to 7 U.S.C. §§ 25(a)(1)(B), (C)(iv), Defendants are liable to
             6
                 Plaintiff Sorokin for Plaintiff Sorokin’s damages in the total amount of at least 1.57143 bitcoins.
             7
             8                                            COUNT II
                 Fraudulent Solicitation in Violation of 7 U.S.C. §§ 9(1), 25(a)(1)(B), (C)(iv), and Rule 180.1
             9           (Misrepresentation of Liquidity on BitMEX) — Against All Defendants
                        509.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           10
                 paragraph as if fully set forth herein.
           11
                        510.       During the Relevant Period, Defendants used a deceptive device or contrivance
           12
                 and fraudulent course of business to benefit themselves at the expense of Plaintiff Sorokin by
           13
                 fraudulently soliciting Plaintiff Sorokin through fraudulent representations, half-truths and
           14
                 omissions to use BitMEX to trade in swaps and thereby pay trading commissions to Defendants
           15
                 and suffer trading losses to benefit BitMEX at the expense of Plaintiff Sorokin.
           16
                        511.       During Relevant Period, in soliciting Plaintiff Sorokin’s bitcoin deposits, trading
           17
           18
           19

           20
           21
           22
           23
                 orders and trading commissions, Defendants, and each of them, personally represented to Plaintiff
           24
                 Sorokin, through their commercial website www.bitmex.com, which constitutes a front-end
           25
                 interface of their BitMEX platform, that Defendants' BitMEX platform provides “1500% More
           26
                 Bitcoin/USD liquidity than any other platform” and that “BitMEX's XBTUSD market is the most
           27
                 liquid in the world.” The foresaid representations regarding available liquidity on BitMEX were
           28
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             1
                 made by Defendants, and each of them, by electronically transmitting, through a computer
             2
                 network, a web page document from Defendants’ servers in San Francisco, California directly to
             3
                 respective Plaintiff’s computer, displaying the above representations, front and center.
             4
                 Defendants made the aforesaid representations regarding available liquidity on BitMEX to
             5
                 Plaintiff Sorokin, for example, on June 24, 26, 27, 28 and 29 and July 3, 4, 6, 2019.
             6
                        512.       The amount of liquidity on the BitMEX platform was highly material for Plaintiff
             7
                 Sorokin’s decision to engage in cryptoderivative trading on BitMEX platform and in determining
             8
                 whether or not to trade on BitMEX, as the amount of available liquidity determined the potential
             9
                 profits that Plaintiff Sorokin could realize from cryptoderivative trading. The higher is the
           10
                 available liquidity, the lower is the slippage23 occurring upon execution of large market orders
           11
                 and the higher is the potential trading profit for Plaintiff Sorokin. Also, the higher is the available
           12
                 liquidity, the lower is the magnitude of price swings and the chance of liquidation. Therefore,
           13
                 Plaintiff Sorokin made his decision to open account, make bitcoin deposit(s) and/or trade on
           14
                 BitMEX because of his reliance on the truth of Defendants' representations regarding the
           15
                 available liquidity on BitMEX being 1500% higher than competition.
           16
                        513.       Plaintiff Sorokin justifiably relied on the truth of respective representations
           17
                 regarding available liquidity on BitMEX platform made by Defendants and specifically on the
           18
                 truth of the representation that BitMEX provided “1500% more Bitcoin / USD Liquidity than any
           19
                 other platform.” However, in truth and in fact, the aforesaid representations regarding available
           20
                 liquidity on BitMEX made by Defendants were intentionally and materially false during the entire
           21
                 portion of the Relevant Period when they were used by Defendants to solicit customers. In
           22
                 reality, by no later than October of 2018, BitMEX was overtaken by other crypto exchanges
           23
                 including Binance, Huobi and/or OKEX in terms of Bitcoin / USD liquidity and never regained
           24
                 its top position. For example, analysis of bid-ask spread data from the portion of the Relevant
           25
                 Period when Defendants were using the representations in question, provided by OKEX
           26
           27
                 23
                   Price slippage, which results in diminished profits due to inability to fill market orders at the
           28    current market price, is inversely correlated with liquidity available on the platform.
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             1
                 cryptoderivative exchange, has shown that Bitcoin / USD liquidity, as determined by the average
             2
                 bid-ask spread, customarily used for measuring liquidity on exchanges, was higher on OKEX
             3
                 (with bid-ask spread of -0.14%) than on BitMEX (with bid-ask spread of -0.51%)24. Moreover,
             4
                 analysis of bid-ask spread data from other exchanges further showed that, during the Relevant
             5
                 Period, Bitcoin / USD liquidity on other bitcoin trading platforms such as Binance was at least as
             6
                 high as liquidity on BitMEX. Therefore, in truth and in fact, liquidity on BitMEX was not any
             7
                 higher than on several competing exchanges, let alone 1500% (or 16 times) higher, as Defendants
             8
                 falsely claimed to fraudulently solicit Plaintiff Sorokin’s business. Accordingly, Defendants’
             9
                 claims of providing “1500% [or 16 times] more Bitcoin / USD Liquidity than any other platform”
           10
                 were grossly, materially and deliberately false during the entire Relevant Period.25 In fact, the
           11
                 aforesaid claims of providing “1500% [or 16 times] more Bitcoin / USD Liquidity than any other
           12
                 platform” were materially false even as of September or October of 2018, when they were first
           13
                 made by Defendants.
           14
                        514.       The fact that liquidity on BitMEX was not any higher than on other competing
           15
                 exchanges, let alone 1500% (or 16 times) higher, as Defendants falsely represented to Plaintiff
           16
                 Sorokin, was well known to Defendants themselves, who had a direct access to all relevant data
           17
                 and who nevertheless deliberately decided to use these fraudulent representations to entice
           18
                 unsuspecting traders, including Plaintiff Sorokin, to trade on BitMEX to his financial loss and
           19
                 detriment. In making the false and fraudulent representations regarding available liquidity on
           20
                 BitMEX platform, Defendants were motivated by profit, including Plaintiff Sorokin’s bitcoin
           21
                 deposits, trading commissions paid by Plaintiff Sorokin to Defendants, and Plaintiff Sorokin’s
           22
           23    24
                    Liquidity on an exchange is inversely related to a bid-ask spread. The lower is the bid-ask
                 spread, the higher is the corresponding exchange liquidity.
           24    25
                    In a fraudulent solicitation case SEC v. Kristijan Krstic et al., Case No. 1:21-cv-00529
                 (E.D.N.Y. 2021), brought by SEC under Securities Exchange Act of 1934 [15 U.S.C. § 78j(b)]
           25    and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5], SEC charged defendants with fraudulently
                 soliciting investors to trade digital asset securities by falsely claiming that their Start Options
           26    platform was "the largest Bitcoin exchange in euro volume and liquidity" and "consistently rated
                 the best and most secure Bitcoin exchange by independent news media." These fraudulent
           27    representations that formed the basis for the SEC action were very similar to Defendants’
                 fraudulent claims of providing “1500% More Bitcoin/USD liquidity than any other platform,” the
           28    latter being even more specific and factual.
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             1
                 bitcoins confiscated by Defendants as the result of liquidations. Each of the Defendants Hayes,
             2
                 Delo and Reed who each own 31.67% of the remaining Defendants had personal financial interest
             3
                 in making the aforesaid false and fraudulent representations regarding available liquidity on
             4
                 BitMEX in order to fraudulently solicit Plaintiff Sorokin’s business, as the resultant ill-gotten
             5
                 profits collected by Defendant HDR were siphoned by them directly to their personal bank
             6
                 accounts as alleged in Paragraphs above.
             7
                        515.       In other words, Plaintiff Sorokin believed that he was getting access to
             8
                 cryptoderivative trading services from BitMEX having the best liquidity available in the industry,
             9
                 and 1500% higher than competition, when, in reality, he was not. Thus, Defendants’ false
           10
                 representations mislead Plaintiff Sorokin into believing that he was getting something, namely
           11
                 cryptoderivative trading services from BitMEX having Bitcoin/USD liquidity 1500% higher than
           12
                 competition, that he was not getting. Therefore, Defendants’ false representations regarding
           13
                 liquidity on BitMEX actually misled Plaintiff Sorokin into believing something that was not true
           14
                 and were “likely to [so] mislead a reasonable consumer.” Plaintiff Sorokin did not want to use,
           15
                 and would not have used, cryptoderivative trading services if such services did not provide the
           16
                 Bitcoin/USD liquidity 1500% higher than competition.
           17
                        516.       Plaintiff Sorokin would not have deposited his bitcoins with BitMEX and would
           18
                 not have traded on the BitMEX platform and would not have sustained trading losses and paid
           19
                 trading commissions to Defendants had he known the true facts, as the true facts meant that due
           20
                 to insufficient liquidity, odds of making any money on BitMEX platform were stacked heavily
           21
                 against Plaintiff Sorokin.
           22
                        517.       Plaintiff Sorokin opened account with BitMEX platform and/or used Defendants’
           23
                 cryptoderivative trading services offered and managed by Defendants from California based on
           24
                 reliance on the truth of Defendants' representations regarding liquidity on BitMEX being the best
           25
                 available in the industry and 1500% greater than available on any other platform. When opening
           26
                 his BitMEX trading account, depositing bitcoins therein, engaging in cryptoderivative trading on
           27
                 BitMEX platform and paying trading commissions to Defendants, Plaintiff Sorokin saw and
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 200 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 carefully read Defendants' false representations regarding available liquidity on BitMEX and
             2
                 relied on the truth of these representations in deciding to open BitMEX trading account, deposit
             3
                 bitcoins therein and/or engage in cryptoderivative trading on BitMEX.
             4
                        518.       Plaintiff Sorokin was deceived and fraudulently induced to open his BitMEX
             5
                 trading account, deposit bitcoins therein and engage in cryptoderivative trading on BitMEX
             6
                 platform and did in fact open his BitMEX trading account, deposited bitcoins therein and engaged
             7
                 in cryptoderivative trading on BitMEX platform due to the reliance on Defendants’ false
             8
                 representations regarding available liquidity on BitMEX, which stated to Plaintiff Sorokin that
             9
                 BitMEX platform provided “1500% More Bitcoin/USD liquidity than any other platform.”
           10
                        519.       Plaintiff Sorokin would not have opened BitMEX trading account, deposited
           11
                 bitcoins therein and engaged in cryptoderivative trading on BitMEX platform if he knew the true
           12
                 facts and, specifically that Defendants’ XBTUSD market did not provide “1500% More
           13
                 Bitcoin/USD liquidity than any other platform.”
           14
                        520.        After Plaintiff Sorokin opened BitMEX trading account and deposited bitcoins
           15
                 therein, Defendants provided Plaintiff Sorokin with cryptoderivative trading services having
           16
                 liquidity, which was below competitor exchanges Binance, Huobi and/or OKEX, which
           17
                 Defendants previously falsely described to Plaintiff Sorokin as providing “1500% More
           18
                 Bitcoin/USD liquidity than any other platform.” In doing so, Defendants deceived Plaintiff
           19
                 Sorokin and caused him to use Defendants’ cryptoderivative trading services with insufficient
           20
                 liquidity, which he did not want. Defendants' false representations regarding available liquidity
           21
                 on BitMEX caused Plaintiff Sorokin to spend and lose the money he paid as trading commissions
           22
                 and trading losses.
           23
                        521.       Plaintiff Sorokin has suffered injury and loss of valuable property, namely
           24
                 bitcoins, as a result of Defendants' fraud and deceit, and namely as the result of the false
           25
                 representations regarding available liquidity on BitMEX provided to Plaintiff Sorokin.
           26
                        522.       Plaintiff Sorokin relied upon Defendants’ false representations regarding available
           27
                 liquidity on BitMEX and was induced to use Defendants’ cryptodetivative trading services he did
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 201 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 not want and which were unsatisfactory to him, paying trading commissions to Defendants and
             2
                 sustaining monetary losses. Defendants’ deception caused the Plaintiff Sorokin to open an
             3
                 accounts on BitMEX platform, deposit his bitcoins with Defendants and use Defendants’
             4
                 cryptodetivative trading services he did not want, paying trading commissions to Defendants and
             5
                 sustaining monetary losses. Therefore, Plaintiff Sorokin suffered injury in fact and lost money or
             6
                 property as a result of the alleged fraud and deception perpetrated by Defendants using the false
             7
                 representations regarding available liquidity on BitMEX.
             8
                        523.       When the Defendants made the aforesaid false representations regarding available
             9
                 liquidity on BitMEX to Plaintiff Sorokin, they knew them to be materially false, and these
           10
                 representations regarding available liquidity on BitMEX were made by Defendants with the intent
           11
                 to defraud and deceive Plaintiff Sorokin and with the intent to induce Plaintiff Sorokin to act in
           12
                 the manner herein alleged and specifically to open an account with BitMEX, deposit bitcoins and
           13
                 trade Defendants’ derivative products, in order to wrongfully confiscate Plaintiff Sorokin’s
           14
                 property. Defendants had direct access to and first-hand personal knowledge of the liquidity
           15
                 information for their own BitMEX platform as well as for all competing platforms, including
           16
                 Binance, Huobi and OKEX. Therefore, they knew that their representations regarding available
           17
                 liquidity on BitMEX made to Plaintiff Sorokin was materially false and fraudulent. In fact,
           18
                 Defendants’ misrepresentations were so blatant and so exaggerated, that Defendants simply could
           19
                 not have been ignorant about their falsity. Moreover, at the end of 2018, a former high-ranking
           20
                 employee of BitMEX repeatedly informed Defendants that the aforesaid representations
           21
                 regarding available liquidity on the BitMEX platform were in fact false and requested their
           22
                 removal from the front page of the BitMEX website, which Defendants deliberately refused to do,
           23
                 because they wanted to continue deceiving traders by promising them liquidity they did not have.
           24
                 Furthermore, on or about October 3, 2019, Defendants removed words “than any other platform,”
           25
                 evidencing the fact that Defendants deliberately tried to make the aforesaid representations
           26
                 regarding available liquidity on BitMEX vaguer, which further establishes that Defendants knew
           27
                 that they were false as written. Yet furthermore, Defendants continued to use these false
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 202 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 representations regarding available liquidity on the BitMEX platform on the front page of their
             2
                 website, front and center, until as late as March of 2021, by which time BitMEX fell to the
             3
                 number eight spot in cryptoderivative exchange rankings, and removed those obviously false
             4
                 representations promising 1500% more liquidity than other exchanges only after they were
             5
                 mentioned in related Court cases, Ex. 20. This further establishes that Defendants’ fraud was
             6
                 deliberate.
             7
                        524.       Plaintiff Sorokin, at the time these representations regarding available liquidity on
             8
                 BitMEX were made by Defendants and at the time Plaintiff Sorokin took the actions herein
             9
                 alleged, was ignorant of the falsity of Defendants’ representations regarding available liquidity on
           10
                 BitMEX and believed it to be true. In reliance on these representations, Plaintiff Sorokin was
           11
                 induced to and did in fact deposit his valuable bitcoins with Defendants’ platform and engaged in
           12
                 derivative trading therein to his financial loss and detriment. For example, in reliance on
           13
                 Defendants’ false and fraudulent representations regarding available liquidity on BitMEX,
           14
                 Plaintiff Sorokin deposited26 with Defendants:
           15
           16
                                   Sorokin                           June 24, 2019                0.50831625 bitcoins
           17
                                   Sorokin                           June 26, 2019                   0.03526 bitcoins
           18
           19                      Sorokin                           July 3, 2019                     2.288 bitcoins

           20                      Sorokin                           July 4, 2019                 4.28749672 bitcoins
           21
           22
                        525.       Due to the aforesaid deposits of bitcoins with Defendants, made in reliance on
           23
                 Defendants’ false and fraudulent representations regarding available liquidity on BitMEX,
           24
                 Plaintiff Sorokin incurred the following bitcoin loss of use damages associated with the fact that
           25
                 26
           26      The deposits listed in this table are only exemplary deposits. For example, Plaintiff Sorokin
                 deposited with Defendants over 9.50160197 bitcoins in total, of which Defendants wrongfully
           27    collected from him trading commissions of at least 0.4 bitcoins. In addition, Plaintiff Sorokin
                 sustained net trading losses of about 1.12803878 bitcoins, resulting in his net loss on BitMEX of
           28    1.52803878 bitcoins ($88,626), in addition to the bitcoin loss of use damages.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)        - 203 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Plaintiff Sorokin’s bitcoins were deposited in interest-free BitMEX accounts and not in interest-
             2
                 bearing accounts widely available on the market, at the time, from reputable and financially stable
             3
                 companies including U.S.-based Celsius and BlockFi, which paid 5.95% APY on bitcoin
             4
                 deposits. Had Plaintiff Sorokin not deposited his valuable bitcoins with BitMEX, as he did in
             5
                 reliance on Defendants’ false and fraudulent representations regarding available liquidity on
             6
                 BitMEX, he would have deposited them with either Celsius or BlockFi and earned 5.95% APY
             7
                 thereon. Therefore, Defendants’ false and fraudulent representations regarding available liquidity
             8
                 on BitMEX were a substantial factor in causing Plaintiff Sorokin’s bitcoin loss of use damages,
             9
                 which were also a natural and foreseeable result of the Defendants’ false and fraudulent
           10
                 representations regarding available liquidity on BitMEX, which were specifically calculated to
           11
                 fraudulently induce Plaintiff Sorokin to deposit his bitcoins with Defendants, thereby causing the
           12
                 loss of use damages. These bitcoin loss of use damages are separate from and do not include any
           13
                 actual trading losses suffered by Plaintiff Sorokin as the result of any market events, market
           14
                 manipulation, market conditions or liquidations.
           15
           16
                                    Deposit              Deposit     Deposit     Deposit              Market              Loss of Use
           17     Plaintiff
                                    Started               Ended       Days       Amount                 APY                Damages
           18
                                    June 24,           August 10,               0.50831625                                   0.0030
           19     Sorokin                                              47                              5.95%
                                      2019                 2019                   bitcoins                                   bitcoins
           20
           21                       June 26,           August 10,                0.03526                                     0.00025
                  Sorokin                                              45                              5.95%
           22                         2019                 2019                   bitcoins                                   bitcoins

           23                                          August 10,                  2.288                                    0.014212
                  Sorokin        July 3, 2019                          38                              5.95%
           24                                              2019                   bitcoins                                   bitcoins
           25
                                                       August 10,               4.28749672                                   0.02593
           26     Sorokin        July 4, 2019                          37                              5.95%
                                                           2019                   bitcoins                                   bitcoins
           27
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 204 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                                                                                                                          0.043392
             2                                                                                       Total:
                                                                                                                          bitcoins
             3
             4
                        526.       In further reliance on Defendants’ false and fraudulent representations regarding
             5
                 available liquidity on BitMEX platform, Plaintiff Sorokin traded Defendants’ bitcoin and ether
             6
                 Perpetual Swaps on July 11, 2019 and suffered trading losses of over 1.81027681 bitcoins on that
             7
                 day, when his XBTUSD and ETHUSD Perpetual Swap long positions were liquidated. In
             8
                 addition, Plaintiff Sorokin paid at least 0.1 bitcoins in trading commissions to Defendants on that
             9
                 day. The trading losses were sustained by Plaintiff Sorokin due to wild downward swings in the
           10
                 price of the XBTUSD and ETHUSD Perpetual Swap contracts of BitMEX, which resulted in
           11
                 liquidation of Plaintiff Sorokin’s long positions on BitMEX, which were caused, in substantial
           12
                 part, by the insufficient buy (long) side liquidity on the BitMEX platform. Specifically, on that
           13
                 day, July 11, 2019, liquidity on the buy (long) side of the market for XBTUSD and ETHUSD
           14
                 Perpetual Swaps essentially disappeared, leading to truly staggering price plunges, which
           15
                 precipitated liquidations of Plaintiff Sorokin’s positions. Therefore, Defendants’ false and
           16
                 fraudulent representations regarding available liquidity on BitMEX, which induced Plaintiff
           17
                 Sorokin to trade on margin on BitMEX, were a substantial factor in causing Plaintiff Sorokin’s
           18
                 trading losses in the amount of 1.81027681 bitcoins. Another substantial factor was the
           19
                 downward swings in the price of the XBTUSD and ETHUSD Perpetual Swap contracts of
           20
                 BitMEX, which were exacerbated by the aforesaid buy (long) side liquidity shortages. Moreover,
           21
                 it was foreseeable for Defendants that the insufficient liquidity on BitMEX, which was
           22
                 fraudulently misrepresented by Defendants as being 1500% more than on any other platform,
           23
                 would naturally exacerbate downward price moves and result in staggering price plunges and,
           24
                 consequently, in the liquidations of Plaintiff Sorokin’s margined trading positions.27 Therefore,
           25
                 Plaintiff Sorokin’s trading losses incurred from liquidations of Plaintiff Sorokin’s margined
           26
                 27
           27      It is well-known that liquidity operates by absorbing and softening market price moves. The
                 higher the liquidity, the more tempered price moves are. On the other hand, insufficient liquidity
           28    results in an increased amplitude of market price swings, which leads to more liquidations.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 205 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 positions on BitMEX were within the foreseeable risk or harm created by the Defendants’ false
             2
                 and fraudulent representations regarding available liquidity on BitMEX. In other words, Plaintiff
             3
                 Sorokin’s trading losses incurred from liquidations of Plaintiff Sorokin’s margined positions on
             4
                 BitMEX were reasonably expected to result from the Defendants’ false and fraudulent
             5
                 representations regarding available liquidity on BitMEX.
             6
                        527.       Due to Plaintiff Sorokin’s decision to trade on margin on Defendants’ BitMEX
             7
                 platform, made in reasonable reliance on Defendants’ false and fraudulent representations
             8
                 regarding available liquidity on BitMEX, Plaintiff Sorokin incurred the following monetary
             9
                 damages associated with trading commissions28 paid by Plaintiff Sorokin to Defendants,
           10
                 irrespective of any and all market moves, market events or market manipulation by Defendants.
           11
                 Therefore, Defendants’ false and fraudulent representations regarding available liquidity on
           12
                 BitMEX were a substantial factor in causing Plaintiff Sorokin’s damages associated with trading
           13
                 commissions paid by Plaintiff Sorokin to Defendants, which were also a natural and foreseeable
           14
                 result of the Defendants’ false and fraudulent representations regarding available liquidity on
           15
                 BitMEX. These trading commissions paid by Plaintiff Sorokin to Defendants are separate from
           16
                 and do not include any trading losses suffered by Plaintiff Sorokin as the result of any market
           17
                 events, market manipulation or market conditions. Plaintiff Sorokin paid at least a portion of the
           18
                 below trading commissions, in the amount of at least 0.015 bitcoins, at the time he opened his
           19
                 initial swap position on BitMEX, in reasonable reliance on Defendants’ false and fraudulent
           20
                 representations regarding available liquidity on BitMEX, and before any market move or other
           21
                 market event.
           22
           23
                                                                                                       Trading Commissions
           24          Plaintiff                  Trading Started        Trading Ended
                                                                                                                 Damages
           25
           26    28
                   BitMEX charges traders trading commissions (fees) in connection with opening, maintaining
           27    and closing trading positions, irrespective of market moves or other events and irrespective of
                 whether the position is profitable or not. For example, the trading commission for opening or
           28    closing a margined position is 0.075% of the position size.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 206 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                       Sorokin                      June 24, 2019        August 10, 2019                        0.4 bitcoins
             2
                                                                               Total:                          0.4 bitcoins
             3
             4
             5          528.       If Defendants truly provided 1500% (16x) more liquidity than any other trading

             6   platform, as they falsely represented to Plaintiff Sorokin, such high liquidity would have absorbed

             7   sell orders and dampened the downward price moves, preventing the liquidations from taking

             8   place, and Plaintiff Sorokin would not have sustained the trading losses he did. Had Plaintiff

             9   Sorokin known the actual facts, he would not have taken such actions, would not have deposited

           10    bitcoins, traded Perpetual Swaps on BitMEX on margin, suffered such losses and would not have

           11    paid the trading commissions to Defendants.

           12           529.       Plaintiff Sorokin's reliance on the truth of Defendants’ representations regarding

           13    available liquidity on BitMEX platform was justified because Defendants took extraordinary

           14    measures to keep tight control of the data pertaining to all aspects of operation of BitMEX

           15    platform, including available liquidity. Similarly, operators of other crypto exchanges, such as

           16    Binance, Huobi and OKEX also kept tight control of the data pertaining to all aspects of operation

           17    of their respective trading platforms, including available liquidity.

           18           530.       According to a sworn Declaration of Defendant Hayes dated February 27, 2020,

           19    Defendant “ABS Global Trading Limited, … provides software development, software

           20    engineering, and digital security services to HDR Global Trading Limited… including by

           21    developing the front-end interface of the BitMEX platform.” The front-end interface of the

           22    BitMEX platform includes commercial website www.bitmex.com, which was used to provide the

           23    false and fraudulent representations regarding available liquidity on BitMEX platform to Plaintiff

           24    Sorokin.

           25           531.       Defendant ABS Global Trading Limited, responsible, within the BitMEX

           26    Enterprise, for the commercial website www.bitmex.com, was and continues to be located in San

           27    Francisco, California. Therefore, the false and fraudulent representations regarding available

           28    liquidity on BitMEX platform made to Plaintiff Sorokin by Defendants through the commercial
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             1
                 website www.bitmex.com, emanated from Defendant’s ABS’ offices in San Francisco,
             2
                 California. Accordingly, California law applied to false and fraudulent statements and omissions
             3
                 perpetrated by Defendants in connection with BitMEX platform.
             4
                        532.       An April 27, 2017 Service Agreement between HDR and ABS rendered Defendant
             5
                 ABS’ staff responsible for BitMEX’s business development, marketing, including advertising,
             6
                 sales, engineering, human resources, payroll, customer support and software development from
             7
                 its U.S. offices in San Francisco. Therefore, the false and fraudulent representations regarding
             8
                 available liquidity on the BitMEX platform were perpetuated by Defendant ABS’ staff and
             9
                 emanated from Defendant ABS’ offices in San Francisco.
           10
                        533.       Defendants’ fraud and deceit was a substantial factor in causing of the injury to
           11
                 Plaintiff Sorokin in that Plaintiff Sorokin traded in Perpetual Swaps on margin on BitMEX
           12
                 platform as he did, and thus paid 0.4 bitcoins in trading commissions and suffered his trading
           13
                 losses of 1.12803878 bitcoins from such trading, as well as bitcoin loss of use damages of
           14
                 0.043392 bitcoins, as a result of his reasonable reliance on Defendants’ representations regarding
           15
                 available liquidity on BitMEX and his reasonable failure to know the actual facts. Thus, the total
           16
                 loss sustained by Plaintiff Sorokin was 1.57143 bitcoins.
           17
                        534.       Plaintiff Sorokin would not have traded on the BitMEX platform, and thus paid the
           18
                 trading commissions and suffered his net losses from such trading, if he had known the actual
           19
                 facts, as stated above.
           20
                        535.       Thus, it was a foreseeable and natural consequence of the purposes and goals of
           21
                 Defendants’ use of the false and fraudulent representations regarding available liquidity on
           22
                 BitMEX, as described above, that Plaintiff Sorokin would deposit his bitcoins with Defendants,
           23
                 thereby sustaining bitcoin loss of use damages, pay the trading commissions he paid and suffer
           24
                 the trading loss he suffered, and that Defendants would generate the ill-gotten gains they did.
           25
                        536.       As a direct and proximate result of Defendants’ fraud and deceit and the facts
           26
                 herein alleged, Plaintiff Sorokin deposited his bitcoins and opened margined swap positions on
           27
                 BitMEX platform, which were subsequently deliberately and wrongfully liquidated by the Insider
           28
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             1
                 Trading Desk operated by Defendants using Plaintiff Sorokin’s highly confidential order and
             2
                 position information, wherein the Insider Trading Desk had a priority access to the trading order
             3
                 queues and not subject to lockouts, in violation of the express Warranty and Representation
             4
                 contained in the Service Agreement, by reason of which Plaintiff Sorokin has been damaged in
             5
                 the sum of 1.57143 bitcoins, which Plaintiff Sorokin demands to be returned to him in kind, as
             6
                 monetary damages would be manifestly unjust due to bitcoin appreciation. The insufficient
             7
                 liquidity available on the BitMEX platform, which Defendants falsely and fraudulently
             8
                 represented to Plaintiff Sorokin as providing “1500% More Bitcoin/USD liquidity than any other
             9
                 platform” and “BitMEX’s XBTUSD market [being] the most liquid in the world,” additionally
           10
                 contributed to and exacerbated the above losses of Plaintiff Sorokin. If Defendants indeed
           11
                 provided 1500% (16x) more liquidity than any other trading platform, as they falsely represented
           12
                 to Plaintiff Sorokin, such liquidations would not have occurred and Plaintiff Sorokin would not
           13
                 have sustained the trading losses he did. Therefore, Defendants’ failure to provide 1500% (16x)
           14
                 more liquidity than any other trading platform, as they falsely and fraudulently represented to
           15
                 Plaintiff Sorokin, was a substantial factor in causing the trading loss of 1.12803878 bitcoins by
           16
                 Plaintiff Sorokin on or about July 11, 2019.
           17
                        537.       Defendants’ false and fraudulent representations regarding available liquidity on
           18
                 BitMEX constituted the use of a “manipulative or deceptive device or contrivance” under 7
           19
                 U.S.C. § 9(1), and “manipulative device, scheme, or artifice to defraud,” including “untrue or
           20
                 misleading statement of a material fact or [omission of] a material fact necessary in order to make
           21
                 the statements made not untrue or misleading” and “act, practice, or course of business, which
           22
                 operates or would operate as a fraud or deceit upon” Plaintiff Sorokin, under Rule 180.1, 17
           23
                 C.F.R. § 180.1(a) (2019). Defendants’ false and fraudulent representations regarding available
           24
                 liquidity on BitMEX actually deceived Plaintiff Sorokin into altering his position by opening
           25
                 BitMEX accounts, depositing bitcoins, paying trading commissions to Defendants and engaging
           26
                 in cryptoderivative trading on margin on a rigged BitMEX platform. Therefore, Defendants’
           27
                 conduct violated 7 U.S.C. § 9(1) and Rule 180.1, 17 C.F.R. § 180.1(a) (2019), and, pursuant to 7
           28
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             1
                 U.S.C. §§ 25(a)(1)(B), (C)(iv), Defendants are liable to Plaintiff Sorokin for Plaintiff Sorokin’s
             2
                 damages in the total amount of at least 1.57143 bitcoins.
             3
                                                        COUNT III
             4   Use of Manipulative or Deceptive Device or Contrivance by Active Concealment of Material
                   Facts Related to BitMEX in Violation of 7 U.S.C. §§ 9(1), 25(a)(1)(B), (C)(iv), and Rule
             5                               180.1 — Against All Defendants
             6          538.       Plaintiff repeats and re-alleges the allegations contained in every preceding

             7   paragraph as if fully set forth herein.

             8          539.       During the Relevant Period, Defendants used a deceptive device or contrivance

             9   and fraudulent course of business to benefit themselves at the expense of Plaintiff Sorokin by

           10    fraudulently soliciting Plaintiff Sorokin through fraudulent representations, half-truths and

           11    omissions to use BitMEX to trade in swaps and thereby pay trading commissions to Defendants

           12    and suffer trading losses to benefit BitMEX at the expense of Plaintiff Sorokin.

           13           540.       On or about June 24, 2019, Defendants, and each of them, through their

           14    commercial website www.bitmex.com, which constitutes a front-end interface of their BitMEX

           15    platform, personally presented Plaintiff Sorokin with an electronic document containing updated

           16    written Service Agreement for their online BitMEX trading platform and required Plaintiff

           17    Sorokin to personally accept it by opening a trading account and using BitMEX platform.29 The

           18    electronic document containing the Service Agreement was transmitted from Defendants’ servers

           19    located in San Francisco, California to Plaintiff Sorokin’s personal computer.

           20           541.       The Service Agreement incorporated the following Warranty and Representation

           21    expressly made by Defendants personally to Plaintiff Sorokin:

           22           6.3: HDR has a trading arm that, amongst other things, transacts in products traded on the

           23           Trading Platform. The trading arm primarily trades as a market-maker. The trading arm is

           24           organised to be separate and distinct from the business of the Trading Platform.

           25           Specifically, no front office personnel are shared between the trading arm and the Trading

           26
                 29
           27       The electronic document containing the updated written Terms of Service was also located at:
                 https://www.bitmex.com/app/terms and is attached hereto as Ex. 19 and is incorporated herein in
           28    its entirety.
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             1
                        Platform, the trading arm’s staff are physically separated from the Trading Platform’s staff
             2
                        while performing trades, and the trading arm does not have access to any order flow,
             3
                        execution, customer or other information of the Trading Platform on terms that are not
             4
                        otherwise available to any other platform user. In addition, unless otherwise set forth in
             5
                        the terms of a specific product of HDR, the trading arm receives access and trading
             6
                        privileges only on the same terms as are available to any other user.30
             7
                        542.       In addition, during Relevant Period, in soliciting Plaintiff Sorokin's bitcoin
             8
                 deposits, trading orders and trading commissions, Defendants, and each of them, made the
             9
                 following additional representations personally to Plaintiff Sorokin, through their commercial
           10
                 website www.bitmex.com, which constitutes a front-end interface of their BitMEX platform:
           11
                                   a. “[BitMEX] provides 100 Audits per second. BitMEX's engine constantly
           12
                                         audits the balances and history of all accounts.”
           13
                                   b. “[BitMEX had] 0 Bitcoin lost through intrusion or hacking. BitMEX keeps all
           14
                                         funds in cold storage.”
           15
                                   c. “[BitMEX provides] Leading Security. BitMEX employs the latest in multi-
           16
                                         factor security, inside and out. Safety is our primary concern.”
           17
                                   d. “[BitMEX provides] Advanced API. Our trading engine was built using the
           18
                                         same technology used by investment banks and hedge funds.”
           19
                                   e. “[BitMEX offers] The next generation of bitcoin trading products. Up to 100x
           20
                                         leverage. Trading without expiry dates. Industry-leading security. Welcome to
           21
                                         Bitcoin's most advanced trading platform.”
           22
                        543.       The aforesaid additional representations were made by Defendants, and each of
           23
                 them, by electronically transmitting, through a computer network, a web page document from
           24
                 Defendants’ servers in San Francisco, California directly to respective Plaintiff’s computer,
           25
                 30
           26      The same Warranty and Representation was additionally posted as a blog post, personally
                 authored by Defendant Hayes, which constituted an advertisement displayed by Defendants
           27    during Relevant Period, at https://blog.bitmex.com/bitmex-market-making-desk/ and which called
                 one of the operators of the Insider Trading Desk “a person [whose] integrity is unquestionable.”
           28    The aforesaid blog post is attached hereto as Ex. 21 and made part hereof.
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             1
                 displaying the above additional representations, front and center. Defendants made the aforesaid
             2
                 additional representations to Plaintiff Sorokin, for example, on June 24, 26, 27, 28 and 29 and
             3
                 July 3, 4, 6, 2019.
             4
                          544.       All the above additional representations, the blog post as well as the Warranty and
             5
                 Representation used catchy buzzwords such as “security,” “safety,” “audits,” “unquestionable
             6
                 integrity,” “investment banks and hedge funds,” which were intentionally selected by Defendants
             7
                 to convey an overall message that would create a lasting impression of honesty, trust, integrity
             8
                 and safety with objectively reasonable investors, including Plaintiff Sorokin. For example, the
             9
                 words “integrity,” “investment banks” and “audits” are usually associated, in the minds of
           10
                 objectively reasonable consumers, with regulatory oversight and extensive compliance efforts.
           11
                 However, in truth and in fact, this impression designed to be created and actually created by
           12
                 Defendants with Plaintiff Sorokin was false. In truth and in fact, Defendants lacked any
           13
                 compliance efforts what so ever, actively worked in secret to evade regulators, and secretly
           14
                 engaged in highly unethical, unscrupulous, illegal and even criminal acts on their rigged BitMEX
           15
                 platform, which they had a duty to disclose to Plaintiff Sorokin, pursuant to the Rule 180.1, 17
           16
                 C.F.R. § 180.1(a) (2019), and Cal. Civ. Code §§ 1709 and 1710(3), in order to make the alleged
           17
                 overall message as well as specific representations regarding Defendants’ Insider Trading Desk
           18
                 conveyed by Defendants to Plaintiff Sorokin not misleading. Defendants failed to fulfill this
           19
                 duty.
           20
                          545.       Therefore, during the Relevant Time Period, Defendants made the following
           21
                 fraudulent omissions of material fact to Plaintiff Sorokin, which went to the very center, very core
           22
                 and very essence of the functionality, integrity and profit model of Defendants’ cryptoderivative
           23
                 trading services that Defendants offered to Plaintiff Sorokin, for a fee, through the BitMEX
           24
                 online trading platform and which Defendants, therefore, had a duty to disclose under Rule 180.1,
           25
                 17 C.F.R. § 180.1(a) (2019), and Cal. Civ. Code §§ 1709 and 1710(3), in order to make the
           26
           27
           28
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             1
                 alleged overall message as well as specific representations regarding Defendants’ Insider Trading
             2
                 Desk conveyed by Defendants to Plaintiff Sorokin not misleading31:
             3
                                a. Failing to disclose to Plaintiff Sorokin that Defendants were continuously
             4
                                     operating the Insider Trading Desk, on a 24 hours a day, 7 days a week basis,
             5
                                     which continuously manipulated prices on BitMEX and reference exchanges and
             6
                                     enjoyed informational and trading priority privileges over Plaintiff Sorokin, by
             7
                                     being granted “God access” to highly sensitive and confidential insider
             8
                                     information of Plaintiff Sorokin and other BitMEX traders, including sizes and
             9
                                     leverage amounts for all existing positions and orders, all liquidation prices, stop
           10
                                     loss prices and even all parameters of all hidden orders.
           11
                                b. Failing to disclose to Plaintiff Sorokin that Defendants provided the Insider
           12
                                     Trading Desk with automated systems, built by BitMEX and Defendant ABS,
           13
                                     leveraging this highly sensitive and confidential insider information of BitMEX
           14
                                     traders, including Plaintiff Sorokin, to enable and automate price manipulation that
           15
                                     estimated how the market was likely to move by assessing the impact of the
           16
                                     hidden orders and liquidations, when they triggered. Thus, based on the sensitive
           17
                                     insider information of BitMEX traders, the automated system was able to predict a
           18
                                     potential profit for BitMEX from liquidating its traders, triggered by a potential
           19
                                     manipulation.
           20
                                c. Failing to disclose to Plaintiff Sorokin that the traders at the Insider Trading Desk
           21
                                     had tools that showed them which liquidations would occur across the entirety of
           22
                                     BitMEX’s platform if prices moved in any given direction, which was used to
           23
                                     predict profitability of potential liquidations for BitMEX.
           24
                                d. Failing to disclose to Plaintiff Sorokin that once predetermined predicted
           25
                                     profitability for BitMEX was met, the manipulative trades were automatically
           26
                                     executed by the BitMEX automated systems, resulting in trader liquidations.
           27
           28    31
                      All the alleged omissions pertain to the entire Relevant Period.
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             1
                        e. Failing to disclose to Plaintiff Sorokin that to prevent the conditions of the
             2
                             BitMEX order book from changing between the profitability prediction time and
             3
                             actual liquidation time, BitMEX was configured to intentionally freeze its servers,
             4
                             preventing traders from closing or changing their positions or placing new orders
             5
                             that could interfere with the manipulation, so that BitMEX would get the exact
             6
                             profit that was predicted.
             7
                        f. Failing to disclose to Plaintiff Sorokin that the access to hidden information thus
             8
                             provided the operators of the Insider Trading Desk with a substantial, unfair and
             9
                             secret advantage over BitMEX customers, including Plaintiff Sorokin.
           10
                        g. Failing to disclose to Plaintiff Sorokin that, by analyzing the impact of hidden
           11
                             trade orders and liquidation prices, BitMEX Insider Trading Desk could determine
           12
                             when placing a large order would cause the liquidations and hidden orders to
           13
                             trigger. BitMEX could then assess whether these hidden orders would affect prices
           14
                             in a way that would cause liquidations resulting in a profit for BitMEX.
           15
                        h. Failing to disclose to Plaintiff Sorokin that BitMEX automated system that
           16
                             operated 24 hours a day, 7 days a week was configured to automatically act based
           17
                             on the results of the prediction by placing manipulative trades on BitMEX and
           18
                             “reference” exchanges, when BitMEX servers were frozen for its traders.
           19
                        i. Failing to disclose to Plaintiff Sorokin that Defendants used secret, anonymous
           20
                             accounts to trade against BitMEX customers, including Plaintiff Sorokin.
           21
                        j. Failing to disclose to Plaintiff Sorokin that Defendants granted privileged access to
           22
                             the BitMEX platform to the anonymized accounts, while customers, including
           23
                             Plaintiff Sorokin, were locked out, and by misrepresenting that the Insider Trading
           24
                             Desk did not have such access.
           25
                        k. Failing to disclose to Plaintiff Sorokin that Defendants’ Insider Trading Desk was
           26
                             equipped and designed to and operated to continuously intentionally trigger
           27
                             automatic liquidations of trading positions of BitMEX traders, including Plaintiff
           28
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             1
                             Sorokin, through customer lock-outs and by manipulating prices of underlying
             2
                             cryprtocommodities for its swap cryptoderivative products on reference exchanges
             3
                             and, thus, on the BitMEX platform.
             4
                        l. Failing to disclose to Plaintiff Sorokin that Defendants continuously allowed
             5
                             BitMEX insiders including Hayes, Delo and Reed to freely and continuously trade
             6
                             on the BitMEX platform against BitMEX customers, despite their complete
             7
                             control of the BitMEX trading platform and their “God access” to confidential
             8
                             BitMEX client information, including customer positions, leverage amounts,
             9
                             liquidation points and orders and despite resulting clear conflict of interest,
           10
                             prohibited by CFTC regulations.
           11
                        m. Intentionally misrepresenting to Plaintiff Sorokin that Defendants were using and
           12
                             would continue to use commercially reasonable efforts to prevent customer lock-
           13
                             outs on the BitMEX platform, while failing to disclose to Plaintiff Sorokin that
           14
                             these lock-outs were intentional and specifically designed to facilitate
           15
                             manipulation by Defendants’ Insider Trading Desk.
           16
                        n. Failing to disclose the susceptibility of the BitMEX platform to customer lock-outs
           17
                             and their predictable, negative effects on customers and beneficial effect for
           18
                             BitMEX, including through the operation of the Insurance Fund.
           19
                        o. Failing to disclose to Plaintiff Sorokin that Defendants had no rules or procedures
           20
                             whatsoever sufficient to ensure that: the contracts BitMEX offered to Plaintiff
           21
                             Sorokin was not readily susceptible to manipulation; market participants were
           22
                             prevented from engaging in manipulation or disruptive trading; and market
           23
                             participants who engage in misconduct were subject to discipline, all in violation
           24
                             of CFTC regulations.
           25
                        p. Failing to disclose to Plaintiff Sorokin that Defendants failed to maintain required
           26
                             records, and in fact has actively deleted required records including critical
           27
                             customer identification information, all in violation of CFTC regulations.
           28
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             1
                              q. Failing to disclose to Plaintiff Sorokin that Defendants had no rules whatsoever to
             2
                                   minimize conflicts of interest and allowed insiders, including Defendant Hayes,
             3
                                   Delo, Reed, and numerous other BitMEX employees with access to confidential
             4
                                   trader insider information, including sensitive Plaintiff Sorokin’s information, to
             5
                                   continuously trade on the platform, and that BitMEX’s own internal “market-
             6
                                   making” desk was one of the largest traders on the platform.
             7
                        546.       Therefore, Defendants committed fraudulent omissions during the Relevant Period
             8
                 in at least three main respects.
             9
                        547.       First, Defendants committed fraudulent omissions regarding the nature and
           10
                 operations of the Insider Trading Desk.
           11
                              a. BitMEX’s updated Service Agreement on its website revealed that “BitMEX has a
           12
                                   for-profit trading business that, among other things, transacts in products traded on
           13
                                   the BitMEX platform.” Defendants did not disclose, however, that the Insider
           14
                                   Trading Desk enjoys information, trading and technical advantages over BitMEX
           15
                                   customers, described above, or that the Insider Trading Desk artificially
           16
                                   manipulates the prices of bitcoin and ether on the U.S.-based third-party reference
           17
                                   exchanges, as also described above, in order to make its own trades profitable and
           18
                                   to force customer liquidations.
           19
                        548.       Given that BitMEX trades against its own customers, Plaintiff Sorokin would want
           20
                 to know and reasonably and justifiably expected Defendants to disclose the facts bearing on how
           21
                 BitMEX conducts such trades and the extent to which BitMEX is likely to be successful in
           22
                 conducting such trades, as a reasonable investor would consider this information very important
           23
                 in deciding whether to make an investment in Defendants’ Perpetual Swaps. Pursuant to Rule
           24
                 180.1, 17 C.F.R. § 180.1(a) (2019), Defendants had a duty to avoid making the above partial,
           25
                 misleading representations that effectively concealed material facts from Plaintiff Sorokin. In
           26
                 addition, Defendants had a statutory duty under California law to avoid making the above partial,
           27
                 misleading representations that effectively concealed material facts from Plaintiff Sorokin under
           28
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             1
                 Cal. Civ. Code § 1710(3), which defines deceit as a “suppression of a fact, by one who is bound
             2
                 to disclose it, or who gives information of other facts which are likely to mislead for want of
             3
                 communication of that fact.”
             4
                        549.       Accordingly, pursuant to their duty under Rule 180.1, 17 C.F.R. § 180.1(a) (2019),
             5
                 and statutory duty under Cal. Civ. Code § 1710(3) to avoid making partial, misleading
             6
                 representations about the activity of the Insider Trading Desk, that effectively concealed material
             7
                 facts from Plaintiff Sorokin, Defendants were obligated to (but did not) disclose the information,
             8
                 trading and technical advantages that Insider Trading Desk enjoys over Plaintiff Sorokin and
             9
                 other BitMEX customers and that the Insider Trading Desk artificially manipulates the prices of
           10
                 bitcoin and ether on the U.S.-based third-party reference exchanges, as also described above, in
           11
                 order to make its own trades profitable and to force customer, including Plaintiff Sorokin’s
           12
                 liquidations. Therefore, Defendants’ concealment of material facts from Plaintiff Sorokin
           13
                 actually misled Plaintiff Sorokin into believing something that was not true and was “likely to
           14
                 [so] mislead a reasonable consumer.”
           15
                        550.       Second, Defendants made fraudulent statements and committed fraudulent
           16
                 omissions regarding the nature and scope of the customer lock-outs on BitMEX.
           17
                              a. In early 2019, BitMEX’s website vaguely disclosed that undefined system
           18
                                   overloads might disrupt access to the BitMEX platform. The website has further
           19
                                   stated since that time that the customer lock-outs are a result of technical
           20
                                   limitations regarding the volume of trading the platform can accommodate.
           21
                              b. Defendants did not disclose, however, that any such technical limitations do not
           22
                                   restrict the Insider Trading Desk, which remains able to trade against BitMEX
           23
                                   customers during the lock-outs.
           24
                              c. Where BitMEX trades against its own customers, a reasonable BitMEX customer
           25
                                   would conclude that a lock-out would suspend all trading on the platform, and the
           26
                                   Insider Trading Desk’s ability to use the platform during customer lock-outs
           27
           28
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             1
                                   provided BitMEX with a substantial advantage in trading against BitMEX
             2
                                   customers.
             3
                              d. Accordingly, in order to avoid making partial, misleading representations that
             4
                                   effectively concealed material facts from Plaintiff Sorokin, about the nature and
             5
                                   scope of lock-outs, Defendants were obligated to disclose that the lock-outs do not
             6
                                   restrict the Insider Trading Desk.
             7
                              e. Since early 2019, moreover, referring to the “Services” available on its trading
             8
                                   platform, BitMEX has at least recklessly and falsely claimed that it “shall make
             9
                                   reasonable efforts to ensure that the Services are available to you” and that
           10
                                   BitMEX “will use commercially reasonable efforts to avoid downtime of the
           11
                                   Services during anticipated peak hours.”
           12
                              f. In fact, BitMEX did not intend and has failed to use reasonable or commercially
           13
                                   reasonable efforts to avoid customer lock-outs, and in knowingly or recklessly
           14
                                   claiming otherwise, BitMEX deceived customers into trading on the platform.
           15
                              g. Indeed, on information and belief, for the reasons alleged above, Defendants
           16
                                   knowingly or recklessly intend the customer lock-outs regularly to occur, in
           17
                                   particular during periods of high volatility, to lock out BitMEX customers from
           18
                                   their accounts during large market moves in order to increase the number of
           19
                                   position liquidations.
           20
                              h. Accordingly, in order to make their statements about their purported intent to use
           21
                                   reasonable or commercially reasonable efforts to avoid such lock-outs not partial,
           22
                                   misleading representations that effectively concealed material facts from Plaintiff
           23
                                   Sorokin, Defendants were obligated to disclose their intent to use these lock-outs
           24
                                   to their advantage.
           25
                        551.       Third, Defendants made fraudulent statements and committed fraudulent
           26
                 omissions regarding the supposedly “hidden orders” that Plaintiff Sorokin may place on the
           27
                 BitMEX platform:
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 218 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                              a. The BitMEX website stated throughout the Relevant Period that a “Hidden Order”
             2
                                   is an order “that is not visible on the public orderbook” and that “Traders use this
             3
                                   order type when they don’t want to inform the market of their trading intentions.”
             4
                              b. Defendants did not disclose to Plaintiff Sorokin, however, that these orders are not
             5
                                   hidden from BitMEX and its insiders.
             6
                              c. Based on the information provided by Defendants, Plaintiff Sorokin reasonably
             7
                                   concluded that no one using the BitMEX platform would be able to trade based on
             8
                                   the details of his so-called “hidden” orders and that so-called “hidden” orders
             9
                                   would not provide BitMEX and its insiders with a substantial advantage in trading
           10
                                   against Plaintiff Sorokin. This conclusion was wrong because of fraudulent
           11
                                   omission of critical information about so-called “hidden” orders by Defendants.
           12
                        552.       Accordingly, in order to make its description of a “hidden order” not partial,
           13
                 misleading representations that effectively concealed material facts from Plaintiff Sorokin,
           14
                 Defendants were obligated under Rule 180.1, 17 C.F.R. § 180.1(a) (2019), to disclose to Plaintiff
           15
                 Sorokin that hidden orders were not in fact hidden from BitMEX, and its insiders were obligated
           16
                 to disclose throughout the Relevant Period that BitMEX trades against its customers with
           17
                 knowledge of the details of Plaintiff Sorokin’s hidden orders. Defendants have failed to disclose
           18
                 this critical information to Plaintiff Sorokin, which Plaintiff Sorokin reasonably and justifiably
           19
                 expected Defendants to disclose as the facts in question went to the very core of BitMEX’s
           20
                 operation, integrity and profit model.
           21
                        553.       When the Defendants committed the aforesaid fraudulent omissions to Plaintiff
           22
                 Sorokin, Defendants intentionally omitted a clear disclosure of the facts stated above because
           23
                 giving a clear explanation of how BitMEX platform really operated would have punctured the
           24
                 illusion of risk-free casino-style profits that Defendants promised Plaintiff Sorokin. Defendants’
           25
                 fraudulent omissions to Plaintiff Sorokin was made by Defendants with the intent to defraud and
           26
                 deceive Plaintiff Sorokin and with the intent to induce Plaintiff Sorokin to act in the manner
           27
                 herein alleged.
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 219 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        554.       Defendants knew of and intentionally perpetuated these misrepresentations, half-
             2
                 truths and omissions. BitMEX and the individual Defendants Hayes, Delo and Reed concealed
             3
                 facts that went to the very core of BitMEX’s operation, integrity and profit model and could not
             4
                 reasonably have been unaware of these facts. In making these misrepresentations, half-truths and
             5
                 omissions, Defendants were motivated by profit, including Plaintiff Sorokin’s bitcoin deposits,
             6
                 trading commissions paid by Plaintiff Sorokin to Defendants, and Plaintiff Sorokin’s bitcoins
             7
                 confiscated by Defendants as the result of liquidations. Each of the Defendants Hayes, Delo and
             8
                 Reed who each own 31.67% of the remaining Defendants had personal financial interest in
             9
                 perpetuating these misrepresentations, half-truths and omissions in order to fraudulently solicit
           10
                 Plaintiff Sorokin’s business, as the resultant ill-gotten profits collected by Defendant HDR were
           11
                 siphoned by them directly to their personal bank accounts as alleged in Paragraphs above.
           12
                        555.       Defendants intended that Plaintiff Sorokin rely on these misrepresentations, half-
           13
                 truths and omissions, and Plaintiff Sorokin reasonably did so, given that these statements
           14
                 concerned core aspects of BitMEX’s business.
           15
                        556.       Plaintiff Sorokin, at the time these fraudulent misrepresentations, half-truths and
           16
                 omissions were made by Defendants and at the time Plaintiff Sorokin took the actions herein
           17
                 alleged, was ignorant of the material facts fraudulently omitted by Defendants. In reliance on
           18
                 these misrepresentations, half-truths and omissions, Plaintiff Sorokin was induced to and did in
           19
                 fact deposit his valuable bitcoins with Defendants’ platform and engaged in derivative trading
           20
                 thereon to his financial loss and detriment. For example, in reliance on Defendants’
           21
                 misrepresentations, half-truths and omissions, Plaintiff Sorokin deposited32 with Defendants:
           22
           23
                                   Sorokin                           June 24, 2019                0.50831625 bitcoins
           24
           25
                 32
           26      The deposits listed in this table are only exemplary deposits. For example, Plaintiff Sorokin
                 deposited with Defendants over 9.50160197 bitcoins in total, of which Defendants wrongfully
           27    collected from him trading commissions of at least 0.4 bitcoins. In addition, Plaintiff Sorokin
                 sustained net trading losses of about 1.12803878 bitcoins, resulting in his net loss on BitMEX of
           28    1.52803878 bitcoins ($88,626), in addition to the bitcoin loss of use damages.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)        - 220 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                                   Sorokin                           June 26, 2019                    0.03526 bitcoins
             2
                                   Sorokin                           July 3, 2019                      2.288 bitcoins
             3
             4                     Sorokin                           July 4, 2019                  4.28749672 bitcoins

             5
             6          557.       Due to the aforesaid deposits of bitcoins with Defendants, made in reliance on
             7   Defendants’ misrepresentations, half-truths and omissions, Plaintiff Sorokin incurred the
             8   following bitcoin loss of use damages associated with the fact that Plaintiff Sorokin’s bitcoins
             9   were deposited in interest-free BitMEX accounts and not in interest-bearing accounts widely
           10    available on the market, at the time, from reputable and financially stable companies including
           11    U.S.-based Celsius and BlockFi, which paid 5.95% APY on bitcoin deposits. Had Plaintiff
           12    Sorokin not deposited his valuable bitcoins with BitMEX, as he did in reliance on Defendants’
           13    misrepresentations, half-truths and omissions, he would have deposited them with either Celsius
           14    or BlockFi and earned 5.95% APY thereon. Therefore, Defendants’ misrepresentations, half-
           15    truths and omissions were a substantial factor in causing Plaintiff Sorokin’s bitcoin loss of use
           16    damages, which were also a natural and foreseeable result of the Defendants’ misrepresentations,
           17    half-truths and omissions, which were specifically calculated to fraudulently induce Plaintiff
           18    Sorokin to deposit his bitcoins with Defendants, thereby causing the loss of use damages. These
           19    bitcoin loss of use damages are separate from and do not include any actual trading losses
           20    suffered by Plaintiff Sorokin as the result of any market events, market manipulation, market
           21    conditions or liquidations.
           22
           23                       Deposit              Deposit        Deposit       Deposit              Market              Loss of Use
           24     Plaintiff
                                    Started               Ended          Days         Amount                 APY                Damages
           25
                                    June 24,           August 10,                    0.50831625                                   0.0030
           26     Sorokin                                                  47                               5.95%
                                      2019                 2019                        bitcoins                                   bitcoins
           27
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)        - 221 -     ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                                    June 26,           August 10,               0.03526                                     0.00025
             2    Sorokin                                            45                               5.95%
                                      2019                 2019                  bitcoins                                   bitcoins
             3
                                                       August 10,                 2.288                                    0.014212
             4    Sorokin        July 3, 2019                        38                               5.95%
                                                           2019                  bitcoins                                   bitcoins
             5
             6                                         August 10,              4.28749672                                   0.02593
                  Sorokin        July 4, 2019                        37                               5.95%
             7                                             2019                  bitcoins                                   bitcoins

             8                                                                                                             0.043392
                                                                                                      Total:
             9                                                                                                             bitcoins
           10
           11
                        558.       In further reliance on Defendants’ misrepresentations, half-truths and omissions,
           12
                 Plaintiff Sorokin traded Defendants’ bitcoin and ether Perpetual Swaps on July 11, 2019 and
           13
                 suffered trading losses of over 1.81027681 bitcoins on that day, when his XBTUSD and
           14
                 ETHUSD Perpetual Swap long positions were liquidated. In addition, Plaintiff Sorokin paid at
           15
                 least 0.1 bitcoins in trading commissions to Defendants on that day. The trading losses were
           16
                 sustained by Plaintiff Sorokin due to Defendants’ Insider Trading Desk having caused Plaintiff
           17
                 Sorokin’s Perpetual Swap position on BitMEX to be liquidated, using Plaintiff Sorokin’s own
           18
                 confidential information, to which Insider Trading Desk had what BitMEX internally referred to
           19
                 as “God Access,” in direct violation of the Warranty and Representation. Had Plaintiff Sorokin
           20
                 known the actual facts, he would not have taken such actions, would not have deposited bitcoins,
           21
                 traded Perpetual Swaps, suffered such losses and would not have paid trading commissions to
           22
                 Defendants.
           23
                        559.       Due to Plaintiff Sorokin’s decision to trade on Defendants’ BitMEX platform,
           24
                 made in reasonable reliance on Defendants’ misrepresentations, half-truths and omissions,
           25
                 Plaintiff Sorokin incurred the following monetary damages associated with trading commissions33
           26
                 33
           27      BitMEX charges traders trading commissions in connection with opening, maintaining and
                 closing trading positions, irrespective of market moves or other events and irrespective of
           28    whether the position is profitable or not. For example, the commission for opening or closing a
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 222 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 paid by Plaintiff Sorokin to Defendants, irrespective of any and all market moves, market events
             2
                 or market manipulation by Defendants. Therefore, Defendants’ misrepresentations, half-truths
             3
                 and omissions were a substantial factor in causing Plaintiff Sorokin’s damages associated with
             4
                 trading commissions paid by Plaintiff Sorokin to Defendants, which were also a natural and
             5
                 foreseeable result of the Defendants’ misrepresentations, half-truths and omissions, which were
             6
                 specifically calculated to fraudulently induce Plaintiff Sorokin to pay trading commissions to
             7
                 Defendants. These trading commissions paid by Plaintiff Sorokin to Defendants are separate
             8
                 from and do not include any trading losses suffered by Plaintiff Sorokin as the result of any
             9
                 market events, market manipulation or market conditions. Plaintiff Sorokin paid at least a portion
           10
                 of the below trading commissions, in the amount of at least 0.015 bitcoins, at the time he opened
           11
                 his initial swap position on BitMEX, in reasonable reliance on Defendants’ misrepresentations,
           12
                 half-truths and omissions, and before any market move or other market event.
           13
           14
                                                                                                       Trading Commissions
           15          Plaintiff                  Trading Started        Trading Ended
                                                                                                                 Damages
           16
                       Sorokin                      June 24, 2019        August 10, 2019                        0.4 bitcoins
           17
           18                                                                  Total:                          0.4 bitcoins

           19

           20           560.       Plaintiff Sorokin's reliance on Defendants’ fraudulent misrepresentations, half-
           21    truths and omissions was justified because Defendants took extraordinary measures to conceal the
           22    wrongdoing perpetrated by their Insider Trading Desk from Plaintiff Sorokin, other traders and
           23    regulators. First, Defendants deliberately made all accounts on BitMEX platform anonymous,
           24    which hindered specifically pinpointing the origin of manipulation and other illegal acts. Second,
           25    according to the CFTC Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted required
           26    records, including user identities. Third, Defendants deliberately used anonymous “burner” (e.g.
           27
           28    margined position is 0.075% of the position size.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 223 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 @gmail.com) email addresses, as opposed to "official" BitMEX email addresses (e.g.
             2
                 @bitmex.com), to open trading accounts for their Insider Trading Desk with BitMEX exchange,
             3
                 to cover up the tracks of wrongdoing so the trading histories and illegal manipulation profits
             4
                 cannot be traced back to BitMEX. The “burner” accounts were periodically recycled and
             5
                 corresponding trading records deleted. Accordingly, Defendants engaged in active concealment
             6
                 of their fraud. Therefore, Plaintiff Sorokin, through exercise of reasonable diligence, could not
             7
                 have known the true manner of operation of Defendants’ Insider Trading Desk.
             8
                        561.       Defendants’ fraudulent misrepresentations, half-truths and omissions allowed
             9
                 BitMEX to create the false impression with Plaintiff Sorokin that if BitMEX was trading against
           10
                 Plaintiff Sorokin and its own customers, it nevertheless was not doing so with substantial trading
           11
                 advantages over Plaintiff Sorokin and the customers; that BitMEX would not be able to, and
           12
                 would not, take advantage of customer lock-outs to benefit BitMEX at the expense of Plaintiff
           13
                 Sorokin and the customers; and that the prices of bitcoin and ether used to determine the value of
           14
                 bitcoin and ether derivative products traded on BitMEX were prices that BitMEX had not itself
           15
                 manipulated.
           16
                        562.       With these false impressions established, Defendants were able improperly and
           17
                 fraudulently to induce Plaintiff Sorokin to use the BitMEX platform, to liquidate Plaintiff
           18
                 Sorokin’s trading positions on BitMEX using Plaintiff Sorokin’s very sensitive insider
           19
                 information about Plaintiff Sorokin’s position and open orders, to use the Insider Trading Desk to
           20
                 orchestrate disadvantageous trades for Plaintiff Sorokin, and to manipulate the price of bitcoin
           21
                 and ether on “reference” exchanges to orchestrate further disadvantageous trades and position
           22
                 liquidations for Plaintiff Sorokin.
           23
                        563.       Defendants generated ill-gotten gain from their fraud by collecting trading
           24
                 commissions from Plaintiff Sorokin for trading on the BitMEX platform that occurred as a result
           25
                 of the fraud (Plaintiff Sorokin would each not have used the platform if he had known the truth);
           26
                 prevailing as the counterparty against Plaintiff with respect to trading that occurred as a result of
           27
                 the fraud (Plaintiff Sorokin would not have used the platform or traded as he did if he had known
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 224 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 the truth); and increasing the size of the Insurance Fund through position liquidations that
             2
                 occurred as a result of the fraud (Plaintiff Sorokin would not have used the platform or traded as
             3
                 he did if he had known the truth).
             4
                        564.       Defendants’ fraud was thus a direct and proximate cause of the injury to Plaintiff
             5
                 Sorokin in that Plaintiff Sorokin traded in Perpetual Swaps on margin on BitMEX as he did, and
             6
                 thus paid 0.4 bitcoins in trading commissions and suffered his trading losses from such trading
             7
                 amounting to 1.12803878 bitcoins, in addition to sustaining bitcoin loss of use damages of
             8
                 0.043392 bitcoins, as a result of his reasonable failure to know the actual facts fraudulently
             9
                 concealed from Plaintiff Sorokin by Defendants. Thus, the total loss sustained by Plaintiff
           10
                 Sorokin was 1.57143 bitcoins.
           11
                        565.       Plaintiff Sorokin would not have deposited his bitcoins with BitMEX and traded
           12
                 on the BitMEX platform, and thus paid the trading commissions and suffered his net losses from
           13
                 such trading, if he had known the actual facts, as stated above, fraudulently concealed from
           14
                 Plaintiff Sorokin by Defendants.
           15
                        566.       Thus, it was a foreseeable and natural consequence of the purposes and goals of
           16
                 Defendants’ fraudulent concealment of material facts from Plaintiff Sorokin, as described above,
           17
                 that Plaintiff Sorokin would deposit his bitcoins with Defendants, thereby sustaining bitcoin loss
           18
                 of use damages, pay the trading commissions he paid and suffer the trading losses he suffered,
           19
                 and that Defendants would generate the ill-gotten gains they did.
           20
                        567.       As a direct and proximate result of Defendants’ fraudulent misrepresentations and
           21
                 concealment of material facts from Plaintiff Sorokin, Plaintiff Sorokin deposited his bitcoins and
           22
                 opened margined swap positions on BitMEX platform, which were subsequently deliberately and
           23
                 wrongfully liquidated by the Insider Trading Desk operated by Defendants using Plaintiff
           24
                 Sorokin’s highly confidential and sensitive order and position information, wherein the Insider
           25
                 Trading Desk had priority access to the trading order queues and not subject to lockouts, by
           26
                 reason of which Plaintiff Sorokin has been damaged in the sum of 1.57143 bitcoins, which
           27
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 225 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Plaintiff Sorokin demands to be returned to him in kind, as monetary damages would be
             2
                 manifestly unjust due to bitcoin appreciation.
             3
                        568.       Defendants’ fraudulent concealment of material facts related to the operation of
             4
                 BitMEX from Plaintiff Sorokin constituted the use of a “manipulative or deceptive device or
             5
                 contrivance” under 7 U.S.C. § 9(1), and “manipulative device, scheme, or artifice to defraud,”
             6
                 including “untrue or misleading statement of a material fact or [omission of] a material fact
             7
                 necessary in order to make the statements made not untrue or misleading” and “act, practice, or
             8
                 course of business, which operates or would operate as a fraud or deceit upon” Plaintiff Sorokin,
             9
                 under Rule 180.1, 17 C.F.R. § 180.1(a) (2019). Defendants’ fraudulent concealment of material
           10
                 facts related to the operation of BitMEX actually deceived Plaintiff Sorokin into altering his
           11
                 positions by opening BitMEX accounts, depositing bitcoins, paying trading commissions to
           12
                 Defendants and engaging in cryptoderivative trading on margin on a rigged BitMEX platform.
           13
                        569.       Cal. Civ. Code § 1709 provides: “[o]ne who willfully deceives another with intent
           14
                 to induce him to alter his position to his injury or risk, is liable for any damage which he thereby
           15
                 suffers.”
           16
                        570.       Cal. Civ. Code § 1710(3) defines deceit as a “suppression of a fact, by one who is
           17
                 bound to disclose it, or who gives information of other facts which are likely to mislead for want
           18
                 of communication of that fact.”
           19
                        571.       Defendants “[give] information of other facts which are likely to mislead for want
           20
                 of communication of [the omitted] fact” by providing to Plaintiff Sorokin the false Warranty and
           21
                 Representation without disclosing the informational, technical and trading privileges that the
           22
                 Insider Trading Desk enjoys over Plaintiff Sorokin and other BitMEX customers and the fact that
           23
                 the Insider Trading Desk artificially manipulates the prices of bitcoin and ether on the U.S.-based
           24
                 third-party reference exchanges, as described above, in order to make its own trades profitable
           25
                 and to force customers, including Plaintiff Sorokin, liquidations. This made the Warranty and
           26
                 Representation at least misleading. Accordingly, Defendants’ conduct constituted deceit under
           27
                 Cal. Civ. Code § 1710(3).
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 226 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                           572.       Moreover, California law recognizes four circumstances in which an obligation to
             2
                 disclose may arise: “(1) when the defendant is in a fiduciary relationship with the plaintiff; (2)
             3
                 when the defendant had exclusive knowledge of material facts not known to the plaintiff; (3)
             4
                 when the defendant actively conceals a material fact from the plaintiff; and (4) when the
             5
                 defendant makes partial representations but also suppresses some material facts.” LiMandri v.
             6
                 Judkins, 52 Cal. App. 4th 326, 336 (1997).
             7
                           573.       Defendants had exclusive knowledge of material facts related to the informational,
             8
                 technical and trading privileges that the Insider Trading Desk enjoys over Plaintiff Sorokin and
             9
                 other BitMEX customers and of material fact that the Insider Trading Desk artificially
           10
                 manipulates the prices of bitcoin and ether on the U.S.-based third-party reference exchanges, as
           11
                 described above, in order to make its own trades profitable and to force customer, including
           12
                 Plaintiff Sorokins’ liquidations. These material facts were not known to Plaintiff Sorokin.
           13
                 Therefore, Defendants were obligated to disclose the above information to Plaintiff Sorokin under
           14
                 LiMandri v. Judkins, 52 Cal. App. 4th 326, 336 (1997), which they failed to do.
           15
                           574.       Moreover, Defendants engaged in active concealment of their fraud. First,
           16
                 Defendants deliberately made all accounts on BitMEX platform anonymous, which hindered
           17
                 specifically pinpointing the origin of manipulation and other illegal acts. Second, according to
           18
                 the CFTC Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted required records, including
           19
                 user identities. Third, Defendants deliberately used anonymous “burner” (e.g. @gmail.com)
           20
                 email addresses, as opposed to "official" BitMEX email addresses (e.g. @bitmex.com), to open
           21
                 trading accounts for its Insider Trading Desk with BitMEX exchange, to cover up the tracks of
           22
                 wrongdoing so the trading histories and illegal manipulation profits cannot be traced back to
           23
                 BitMEX. The “burner” accounts were periodically recycled and corresponding trading records
           24
                 deleted. Therefore, Defendants were additionally obligated to disclose the above information to
           25
                 Plaintiff Sorokin under LiMandri v. Judkins, 52 Cal. App. 4th 326, 336 (1997), which they failed
           26
                 to do.
           27
           28
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  ATTORNEYS               COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 227 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                         575.      Furthermore, Defendants “[made] partial representations [about the Insider
             2
                 Trading Desk] but also suppresses some material facts” regarding informational, technical and
             3
                 trading privileges that the Insider Trading Desk enjoys over Plaintiff Sorokin and other BitMEX
             4
                 customers and the fact that the Insider Trading Desk artificially manipulates the prices of bitcoin
             5
                 and ether on the U.S.-based third-party reference exchanges, as described above, in order to make
             6
                 its own trades profitable and to force customers, including Plaintiff Sorokin’s liquidations.
             7
                 Therefore, Defendants were additionally obligated to disclose the above information to Plaintiff
             8
                 Sorokin under LiMandri v. Judkins, 52 Cal. App. 4th 326, 336 (1997), which they failed to do.
             9
                         576.      Accordingly, by failing to disclose the above facts, as they were required to do
           10
                 under California law, Defendants committed fraudulent concealment and, therefore, engaged in
           11
                 “manipulative device, scheme, or artifice to defraud” and further engaged in “act, practice, or
           12
                 course of business, which operates or would operate as a fraud or deceit upon” Plaintiff Sorokin,
           13
                 under Rule 180.1, 17 C.F.R. § 180.1(a) (2019).
           14
                         577.      Therefore, Defendants’ conduct violated 7 U.S.C. § 9(1) (2018) and Rule 180.1,
           15
                 17 C.F.R. § 180.1(a) (2019), and, pursuant to 7 U.S.C. §§ 25(a)(1)(B), (C)(iv), Defendants are
           16
                 liable to Plaintiff Sorokin for Plaintiff Sorokin’s damages in the total amount of at least 1.57143
           17
                 bitcoins.
           18
                                                         COUNT IV
           19      Use of Manipulative Device or Contrivance in Violation of 7 U.S.C. §§ 9(1), 25(a)(1)(B),
                  (C)(iv), and Rule 180.1 (Operating Insider Trading Desk With Undisclosed Informational
           20                         And Trading Privileges) — Against All Defendants
           21            578.      Plaintiff repeats and re-alleges the allegations contained in every preceding

           22    paragraph as if fully set forth herein.

           23            579.      7 U.S.C. § 9(1) (2018), makes it unlawful, in relevant part, for any person, directly

           24    or indirectly, to:

           25            use or employ, or attempt to use or employ, in connection with any swap, … any
                         manipulative or deceptive device or contrivance, in contravention of such rules and
           26
                         regulations as the Commission shall promulgate by not later than 1 year after [July 21,
           27            2010, the date of enactment of the Dodd-Frank Wall Street Reform and Consumer
                         Protection Act] …
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 228 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1             580.    Rule 180.1, 17 C.F.R. § 180.1(a) (2019), provides, in relevant part:
             2             It shall be unlawful for any person, directly or indirectly, in connection with any swap, …
             3             to intentionally or recklessly:

             4             (1) Use or employ, or attempt to use or employ, any manipulative device, scheme, or
                           artifice to defraud …
             5
                           (3) Engage, or attempt to engage, in any act, practice, or course of business, which
             6
                           operates or would operate as a fraud or deceit upon any person …
             7
             8             581.    Bitcoin and ether Perpetual Swaps traded by all Plaintiff Sorokin are “swaps” as

             9   defined by Section 1a(47)(A) of the CEA, 7 U.S.C. § 1a(47)(A) (2018). Therefore, these bitcoin

           10    and ether Perpetual Swaps are also “swaps” within the meaning of 7 U.S.C. § 9(1) and Rule

           11    180.1, 17 C.F.R. § 180.1(a) (2019).

           12              582.    Section 22 of the CEA provides for a private right of action for a plaintiff who

           13    made “any swap” through a person or entity whose violation of the CEA resulted in actual

           14    damages to the plaintiff, 7 U.S.C. § 25(a)(1)(B), or who placed through such person or entity “an

           15    order for the purchase or sale of ... a swap,” id. § 25(a)(1)(C)(iv).

           16              583.    During the Relevant Period, Defendants used a deceptive device or contrivance

           17    and fraudulent course of business to benefit themselves at the expense of Plaintiff Sorokin by

           18    operating and Insider Trading Desk, which had special access to hidden customer information and

           19    priority access to trading queues. Defendants combined these undisclosed and unlawful

           20    advantages with algorithmic tools that displayed in real time which price movements would cause

           21    the greatest number of profitable liquidations for BitMEX. Defendants then used their Insider

           22    Trading Desk to place orders that moved the market, harming customers and profiting themselves

           23    during Relevant Period, including July 11, 2019, when Plaintiff Sorokin suffered the alleged

           24    losses.

           25              584.    Defendants further employed manipulative devices by inducing artificial prices

           26    and price movements on U.S.-based third-party “reference” exchanges, including Coinbase Pro,

           27    Bitstamp, and Kraken, and using such price movements to force liquidations of customer swap

           28    positions on BitMEX, including during customer lock-outs caused by server freezes while the
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             1
                 Insider Trading Desk was not locked out. Defendants deposited into the Insurance Fund a portion
             2
                 of the funds they confiscated through these liquidations of Plaintiff Sorokin.
             3
                           585.       During the Revevant Period, in which Defendants persistently manipulated the
             4
                 prices on BitMEX for bitcoin and ether derivative products, Plaintiff Sorokin transacted in
             5
                 Bitcoin or ether derivative products on the BitMEX platform at artificial and unlawful prices
             6
                 resulting from Defendants’ misconduct, suffered losses as a result of disadvantageous trades, and
             7
                 was subject to liquidations because of these artificial prices, and as a direct result thereof suffered
             8
                 actual damages.
             9
                           586.       Plaintiff Sorokin would not have traded on the BitMEX platform, and thus paid the
           10
                 trading commissions and suffered his net losses from such trading, if they had known the actual
           11
                 facts.
           12
                           587.       The automated software tools built by Defendants and operated by Defendants’
           13
                 Insider Trading Desk, using Plaintiff Sorokin’s highly sensitive and confidential information,
           14
                 continuously manipulated cryptoderivative markets traded by Plaintiff Sorokin on BitMEX
           15
                 platform, as well as price-determining spot markets on reference exchanges, on a 24 hour a day,
           16
                 7 days a week basis, including the specific date and time when Plaintiff Sorokin suffered his
           17
                 bitcoin losses, and namely July 11, 2019. Operation of these automated tools by Defendants’
           18
                 Insider Trading Desk deliberately caused automatic liquidations of Plaintiff Sorokin’s swap
           19
                 positions on BitMEX platform and confiscation of Plaintiff Sorokin’s respective collateral from
           20
                 his BitMEX account on or about July 11, 2019, resulting in a cumulative loss of 1.12803878
           21
                 bitcoins by Plaintiff Sorokin.
           22
                           588.       The documentary evidence of the operation of the aforesaid automated software
           23
                 tools, used by Defendants’ Insider Trading Desk on or about July 11, 2019 to deliberately
           24
                 liquidate Plaintiff Sorokin’s positions, is in sole and exclusive possession, custody and control of
           25
                 Defendants and Plaintiff Sorokin has no realistic way of obtaining this evidence without the
           26
           27
           28
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             1
                 benefit of discovery. Plaintiff Sorokin will amend this complaint once he obtains such
             2
                 documentary evidence through the Court’s discovery process.34
             3
                        589.       Defendants took extraordinary measures to conceal the wrongdoing perpetrated by
             4
                 their Insider Trading Desk from Plaintiff Sorokin, other traders and regulators. First, Defendants
             5
                 deliberately made all accounts on BitMEX platform anonymous, which hindered specifically
             6
                 pinpointing the origin of manipulation and other illegal acts. Second, according to the CFTC
             7
                 Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted required records, including user
             8
                 identities. Third, Defendants deliberately used anonymous “burner” (e.g. @gmail.com) email
             9
                 addresses, as opposed to "official" BitMEX email addresses (e.g. @bitmex.com), to open trading
           10
                 accounts for their Insider Trading Desk with BitMEX exchange, to cover up the tracks of
           11
                 wrongdoing so the trading histories and illegal manipulation profits cannot be traced back to
           12
                 BitMEX. The “burner” accounts were periodically recycled and corresponding trading records
           13
                 deleted. Accordingly, Defendants engaged in active concealment of their fraud. Therefore,
           14
                 Plaintiff Sorokin, through exercise of reasonable diligence, could not have obtained documentary
           15
                 evidence of operation of Defendants’ Insider Trading Desk automated market manipulation tools
           16
                 on or about July 11, 2019.
           17
                        590.       Defendants were fully aware of and intended these price manipulations.
           18
                 Defendants specifically sought and secured the creation of the technical system that gave the
           19
                 Insider Trading Desk its advantages and controlled the manipulation of prices on the reference
           20
                 exchange. Defendants’ manipulation was designed to and did in fact create persistently artificial
           21
                 prices for bitcoin and ether derivative products on BitMEX.
           22
                        591.       On or about July 11, 2019, Plaintiff Sorokin thus entered into bitcoin and ether
           23
                 derivative products through BitMEX and suffered actual damages from trading such swaps as a
           24
           25
           26    34
                   Defendants have a vastly superior knowledge of the facts relevant to the automated software
           27    tools developed by BitMEX, market manipulation and the operation of the Insider Trading Desk,
                 the confidential trader information it used, as well as the trading privileges it enjoyed, and are in
           28    exclusive possession of the relevant evidence.
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             1
                 result of Defendants’ use or employment, in connection with the swaps, of a manipulative device
             2
                 and contrivance in violation of the CEA and Rule 180.1, 17 C.F.R. § 180.1(a) (2019).
             3
                         592.      Plaintiff Sorokin sustained and is entitled to actual damages for the violations of
             4
                 the CEA alleged herein.
             5
                                                          COUNT V
             6      Use of Manipulative Device or Contrivance in Violation of 7 U.S.C. §§ 9(1), 25(a)(1)(B),
                   (C)(iv), and Rule 180.1 (Triggering Intentional Server Freezes and System Overloads) —
             7                                      Against All Defendants
             8           593.      Plaintiff repeats and re-alleges the allegations contained in every preceding

             9   paragraph as if fully set forth herein.

           10            594.      7 U.S.C. § 9(1), makes it unlawful, in relevant part, for any person, directly or

           11    indirectly, to:

           12            use or employ, or attempt to use or employ, in connection with any swap, … any
                         manipulative or deceptive device or contrivance, in contravention of such rules and
           13
                         regulations as the Commission shall promulgate by not later than 1 year after [July 21,
           14            2010, the date of enactment of the Dodd-Frank Wall Street Reform and Consumer
                         Protection Act] …
           15
                         595.      Rule 180.1, 17 C.F.R. § 180.1(a) (2019), provides, in relevant part:
           16

           17            It shall be unlawful for any person, directly or indirectly, in connection with any swap, …
                         to intentionally or recklessly:
           18
                         (1) Use or employ, or attempt to use or employ, any manipulative device, scheme, or
           19            artifice to defraud …
           20            (3) Engage, or attempt to engage, in any act, practice, or course of business, which
           21            operates or would operate as a fraud or deceit upon any person …

           22
                         596.      Bitcoin and ether Perpetual Swaps traded by all Plaintiff Sorokin are “swaps” as
           23
                 defined by Section 1a(47)(A) of the CEA, 7 U.S.C. § 1a(47)(A) (2018). Therefore, these bitcoin
           24
                 and ether Perpetual Swaps are also “swaps” within the meaning of 7 U.S.C. § 9(1) and Rule
           25
                 180.1, 17 C.F.R. § 180.1(a) (2019).
           26
                         597.      Section 22 of the CEA provides for a private right of action for a plaintiff who
           27
                 made “any swap” through a person or entity whose violation of the CEA resulted in actual
           28
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             1
                 damages to the plaintiff, 7 U.S.C. § 25(a)(1)(B), or who placed through such person or entity “an
             2
                 order for the purchase or sale of ... a swap,” id. § 25(a)(1)(C)(iv).
             3
                        598.       During the Relevant Period, Defendants used a deceptive device or contrivance
             4
                 and fraudulent course of business to benefit themselves at the expense of Plaintiff Sorokin by
             5
                 intentionally orchestrating server freezes and system overloads on the BitMEX platform during
             6
                 market moves aimed at preventing traders from escaping their positions during market volatility.
             7
                 On or about July 11, 2019, Plaintiff Sorokin tried to place trading orders to close or hedge his
             8
                 open positions during these server freezes but was unable to do so. As the result, Plaintiff
             9
                 Sorokin was unable to salvage his collateral as the proximate and natural consequence of the
           10
                 intentional server freezes and system overloads orchestrated by Defendants during periods of
           11
                 market volatility, including on or about July 11, 2019, when Plaintiff Sorokin sustained his losses
           12
                 alleged herein. Defendants froze BitMEX servers to prevent the conditions of the BitMEX order
           13
                 book from changing between the time when Defendants’ automated manipulation tools predicted
           14
                 profitability of potential liquidations of Plaintiff Sorokin and the actual liquidation time,
           15
                 preventing Plaintiff Sorokin from closing or changing his positions or placing new orders that
           16
                 could interfere with the manipulation, so that BitMEX would get the exact profit that was
           17
                 predicted.
           18
                        599.       If Defendants did not freeze their servers on or about July 11, 2019, at least a
           19
                 portion of Plaintiff Sorokin’s collateral would have been preserved and not confiscated from
           20
                 Plaintiff Sorokin. Therefore, the server freezes, intentionally orchestrated by Defendants on or
           21
                 about July 11, 2019 constituted a deceptive device or contrivance and fraudulent course of
           22
                 business, and were a substantial factor in Plaintiff Sorokin’s financial losses alleged herein.
           23
                        600.       Plaintiff sustained and are entitled to actual damages for the violations of the CEA
           24
                 alleged herein.
           25
           26
           27
           28
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             1
                                                         COUNT VI
             2    Price Manipulation in Violation of 7 U.S.C. §§ 9(3), 25(a)(1)(B), (C)(iv), and Rule 180.1 —
                                                   Against All Defendants
             3
                        601.       Plaintiff repeats and re-alleges the allegations contained in every preceding
             4
                 paragraph as if fully set forth herein.
             5
                        602.       Section 6(3) of the CEA states in relevant part that “it shall be unlawful for any
             6
                 person, directly or indirectly, to manipulate or attempt to manipulate the price of any swap, or of
             7
                 any commodity.” 7 U.S.C. § 9(3).
             8
                        603.       Section 22(a)(1)(D)(ii) of the CEA, referring back to Section 22(a)(1)(D)(i), makes
             9
                 unlawful the “manipulation of the price of any such contract or swap or the price of the
           10
                 commodity underlying such contract or swap.” 7 U.S.C. § 25(a)(1)(D)(ii).
           11
                        604.       During the Relevant Period, Defendants, using automated software tools that
           12
                 BitMEX specially developed for its Insider Trading Desk and which operated 24 hious a day 7
           13
                 days a week, created persistently artificial prices for their bitcoin and ether Perpetual Swap
           14
                 products. Defendants’ Insider Trading Desk persistently and regularly engaged in trading on their
           15
                 own platform and on U.S.-based third-party “reference” exchanges, including Coinbase Pro,
           16
                 Bitstamp, and Kraken, that was designed to and did manipulate prices of these bitcoin and ether
           17
                 derivative products in order to cause liquidations and profit Defendants.
           18
                        605.       Defendants’ undisclosed Insider Trading Desk had special access to hidden
           19
                 customer information and priority access to trading queues. Defendants combined these
           20
                 undisclosed and unlawful advantages with algorithmic tools that would display in real time which
           21
                 price movements would cause the greatest number of profitable liquidations for BitMEX.
           22
                 Defendants would then use their Insider Trading Desk to place orders that would move the
           23
                 market, harming customers and profiting themselves.
           24
                        606.       Defendants further manipulated prices of their derivative products by inducing
           25
                 artificial prices and price movements for bitcoin and ether on U.S.-based third-party “reference”
           26
                 exchanges, including Coinbase, Bitstamp, and Kraken, and using such price movements to force
           27
                 liquidations of customer swap and futures positions on BitMEX, including during customer lock-
           28
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             1
                 outs while the Insider Trading Desk was not locked out. Defendants deposited into the Insurance
             2
                 Fund a portion of the funds they confiscated through these liquidations.
             3
                        607.       During the Relevant Period, Defendants manipulated U.S.-based third-party
             4
                 “reference” exchanges and thus caused artificial prices on the BitMEX platform because, as
             5
                 alleged above, some of these third-party exchanges were relatively thinly traded exchanges on
             6
                 which relatively small market orders would cause relatively large price movements. Defendants
             7
                 in fact traded sufficient volumes of bitcoin and ether on these exchanges to cause price
             8
                 movements; and the prices of bitcoin and ether on BitMEX for bitcoin and ether derivative
             9
                 products was directly tied to the prices on these third-party exchanges.
           10
                        608.       During the Relevant Period, Defendants specifically intended to cause artificial
           11
                 prices for bitcoin and ether derivative products on the BitMEX platform in order to liquidate their
           12
                 customers, including Plaintiff Sorokin. Defendants thus acted with the purpose and conscious
           13
                 objective of causing and affecting prices that did not reflect the legitimate forces of supply and
           14
                 demand.
           15
                        609.       Defendants possessed the motive and opportunity to cause these artificial prices
           16
                 because they would benefit from them, profiting from both disadvantageous trades for BitMEX
           17
                 customers and from liquidations of customer trading positions resulting from these price
           18
                 movements, and because Defendants possessed sufficient amounts of bitcoin (over 37,300
           19
                 bitcoins) and ether to cause such price movements.
           20
                        610.       Strong circumstantial evidence of Defendants’ conscious misbehavior exists in
           21
                 that, among other such evidence, BitMEX has admitted to trading against its customers for
           22
                 financial advantage, and large trades on the U.S.-based third-party reference exchanges, in
           23
                 volumes of bitcoin and ether that the overwhelming majority of traders did not use to trade,
           24
                 frequently caused BitMEX immediately to benefit from the resulting price movements.
           25
                        611.       Defendants manipulated prices during the Relevant Period from Defendants’
           26
                 offices in San Francisco, California; New York, New York and Milwaukee, Wisconsin, and
           27
           28
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             1
                 transmitted wire signals from those locations to the computer servers of U.S.-based third-party
             2
                 “reference” exchanges.
             3
                        612.       During the Relevant Period, in which Defendants persistently manipulated prices
             4
                 of their bitcoin and ether derivatives, Plaintiff Sorokin transacted in these derivatives on the
             5
                 BitMEX platform at persistently artificial prices resulting from Defendants’ misconduct, suffered
             6
                 losses as a result of disadvantageous trades, and was subject to liquidations because of these
             7
                 persistently artificial prices, and as a direct result thereof suffered actual damages alleged herein.
             8
                        613.       During the Relevant Period, Plaintiff Sorokin thus entered into Perpetual Swaps
             9
                 through BitMEX, and suffered actual damages from such swaps as a result of, in connection with
           10
                 the swaps, Defendants’ manipulation of the price of derivatives of bitcoin and ether offered on
           11
                 BitMEX, in violation of the CEA.
           12
                        614.       As the result of Defendants' wrongful conduct alleged hereinabove,
           13
                 Defendants took the Plaintiff Sorokin’s property amounting to 1.12803878 bitcoins from
           14
                 Plaintiff Sorokin’s possession by way of creating artificial prices for bitcoin and ether
           15
                 Perpetual Swaps and wrongfully liquidating Plaintiff Sorokin’s margined positions.
           16
                        615.       Specifically, automated software tools built by Defendants and operated by
           17
                 Defendants’ Insider Trading Desk, using Plaintiff Sorokin’s highly sensitive and confidential
           18
                 information, continuously manipulated cryptoderivative markets traded by Plaintiff Sorokin on
           19
                 BitMEX platform, as well as price-determining spot markets on reference exchanges, on a 24
           20
                 hour a day, 7 days a week basis, including the specific date and time when Plaintiff Sorokin
           21
                 suffered his bitcoin losses, and namely July 11, 2019. Operation of these automated tools by
           22
                 Defendants’ Insider Trading Desk deliberately caused automatic liquidations of Plaintiff
           23
                 Sorokin’s respective swap positions on BitMEX platform and confiscation of Plaintiff Sorokin’s
           24
                 collateral from his BitMEX accounts on or about July 11, 2019, resulting in a cumulative loss of
           25
                 1.12803878 bitcoins by Plaintiff Sorokin.
           26
                        616.       The documentary evidence of the operation of the aforesaid automated software
           27
                 tools, used by Defendants’ Insider Trading Desk on or about July 11, 2019 to deliberately
           28
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             1
                 liquidate Plaintiff Sorokin’s positions, is in sole and exclusive possession, custody and control of
             2
                 Defendants and Plaintiff Sorokin has no realistic way of obtaining this evidence without the
             3
                 benefit of discovery. Plaintiff Sorokin will amend this complaint once he obtains such
             4
                 documentary evidence through the Court’s discovery process.35
             5
                        617.       Defendants took extraordinary measures to conceal the wrongdoing perpetrated by
             6
                 their Insider Trading Desk from Plaintiff Sorokin, other traders and regulators. For example,
             7
                 Defendants used anonymous “burner” (e.g. @gmail.com) email addresses, as opposed to
             8
                 "official" BitMEX email addresses (e.g. @bitmex.com), to open trading accounts for their Insider
             9
                 Trading Desk with BitMEX exchange, to cover up the tracks of wrongdoing so the trading
           10
                 histories and illegal manipulation profits cannot be traced back to BitMEX. The “burner”
           11
                 accounts were periodically recycled and corresponding trading records deleted. Therefore,
           12
                 Plaintiff Sorokin, through exercise of reasonable diligence, could not have obtained documentary
           13
                 evidence of operation of Defendants’ Insider Trading Desk automated market manipulation tools
           14
                 on or about July 11, 2019.
           15
                        618.       On or about July 11, 2019, Defendants, using the automated market manipulation
           16
                 tools continuously executed by the Insider Trading Desk, took the above-mentioned property,
           17
                 including Plaintiff Sorokin’s valuable bitcoin holdings of 1.12803878 bitcoins, deposited in
           18
                 respective Plaintiff Sorokin’s BitMEX trading accounts from Plaintiff Sorokin’s possession and
           19
                 converted the same to their own use. As BitMEX enterprise principals, Defendants HDR and
           20
                 Hayes are liable for the unlawful conduct of their agents, operators of the BitMEX Insider
           21
                 Trading Desk Gregory Dwyer, Stuart Elkington and Nick Andrianov, who acted, during Relevant
           22
                 Period, within the scope of their agency and employment, when they utilized Insider Trading
           23
                 Desk automated market manipulation tools on or about July 11, 2019, to artificially liquidate
           24
                 Plaintiff Sorokin’s trading positions on BitMEX.
           25
           26    35
                   Defendants have a vastly superior knowledge of the facts relevant to the automated software
           27    tools developed by BitMEX, market manipulation and the operation of the Insider Trading Desk,
                 the confidential trader information it used, as well as the trading privileges it enjoyed, and are in
           28    exclusive possession of the relevant evidence.
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             1
                        619.       Plaintiff Sorokin sustained and are entitled to actual damages for the violations of
             2
                 the CEA alleged herein.
             3
                                                             COUNT VII
             4                     Principal Agent Liability Under CEA — Against All Defendants
             5          620.       Plaintiff repeats and re-alleges the allegations contained in every preceding

             6   paragraph as if fully set forth herein.

             7          621.       The CEA provides in relevant part that the "act, omission, or failure of any

             8   official, agent, or other person acting for any individual, association, partnership, corporation, or

             9   trust within the scope of his employment or office shall be deemed the act, omission, or failure of

           10    such individual, association, partnership, corporation, or trust, as well as of such official, agent, or

           11    other person." 7 U.S.C. § 2(a)(1)(B).

           12           622.       As BitMEX Enterprise principals, Defendants HDR, Hayes, Delo and Reed are

           13    liable for the unlawful conduct of their agents, operators of the BitMEX Insider Trading Desk

           14    Gregory Dwyer, Stuart Elkington and Nick Andrianov, who acted, during Relevant Period, within

           15    the scope of their agency and employment with Defendants HDR, Hayes, Delo and Reed, when

           16    they utilized Insider Trading Desk automated market manipulation tools on or about July 11,

           17    2019, to artificially liquidate Plaintiff Sorokin’s trading positions on BitMEX.

           18           623.       In addition, as BitMEX Enterprise principals, Defendants HDR, Hayes, Delo and

           19    Reed are liable for the unlawful conduct of their agents and employees, who acted, during

           20    Relevant Period, within the scope of their agency and employment with Defendants HDR, Hayes,

           21    Delo and Reed, when they assisted with transmitting fraudulent solicitations to Plaintiff Sorokin

           22    as alleged herein.

           23           624.       Each Defendant is liable under Section 2(a)(1)(B) of the CEA, 7 U.S.C. §

           24    2(a)(1)(B), for the fraudulent and manipulative acts of their agents, representatives, and/or other

           25    persons acting for them in the scope of their employment.

           26           625.       Plaintiff Sorokin sustained and are entitled to actual damages for the violations of

           27    the CEA alleged herein.

           28
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             1
                                                       COUNT VIII
             2     Aiding and Abetting Manipulation Of Bitcoin Swaps And Cash Bitcoin In Violation Of 7
                                        U.S.C. § 25(a)(1) — Against All Defendants
             3
                        626.       Plaintiff repeats and re-alleges the allegations contained in every preceding
             4
                 paragraph as if fully set forth herein.
             5
                        627.       Defendants, and each of them, knowingly aided, abetted, counseled, induced
             6
                 and/or procured the violations of the CEA by Gregory Dwyer, Stuart Elkington and Nick
             7
                 Andrianov, market manipulator under assumed name Quick-Grove-Mind listed on BitMEX
             8
                 Leaderboard as alleged above, and unknown third persons as alleged herein. In addition,
             9
                 Defendant ABS knowingly aided, abetted, counseled, induced and/or procured the violations of
           10
                 the CEA by Defendants HDR, Hayes, Delo and Reed. Each Defendant did so with knowledge of
           11
                 other Defendants' and unknown third persons' manipulation of cryptocurrency prices through
           12
                 manipulative trades, and substantially and willfully intended to assist these manipulations to
           13
                 cause artificial prices, during the Relevant Period, in violation of Sections 13 and 22(a)(1) of the
           14
                 CEA, 7 U.S.C. §§ 13c(a) and 25(a)(1).
           15
                        628.       For example, Defendant HDR knowingly aided and abetted Gregory Dwyer, Stuart
           16
                 Elkington and Nick Andrianov and unknown third persons in violation of the CEA by enabling
           17
                 the price manipulators to open unlimited number of anonymous trading accounts on HDR
           18
                 exchange and thereby hindering detection of said manipulation. Each of the Defendants HDR,
           19
                 Hayes, Delo, Reed was responsible for implementing this policy on the BitMEX exchange.
           20
                 Moreover, Defendant HDR knowingly aided and abetted Gregory Dwyer, Stuart Elkington and
           21
                 Nick Andrianov and unknown third persons in violation of the CEA by providing high leverage,
           22
                 by deliberately designing BitMEX indexes based on price data for cryptocurrencies from just
           23
                 three exchanges - BitStamp, Kraken and Coinbase Pro, all three of which have way lower
           24
                 liquidity than BitMEX and by using deliberate server freezes and fraudulent "system overloads"
           25
                 events to accept some trading orders and reject others during large market moves in order to
           26
                 exacerbate the artificial prices and increase the number of liquidations to benefit Defendants.
           27
                 Moreover, Defendant ABS knowingly aided, abetted, counseled, induced and/or procured the
           28
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             1
                 violations of the CEA by Defendants HDR, Hayes, Delo and Reed by furnishing to said
             2
                 Defendants software tools designed to cause deliberate server freezes alleged hereinabove using
             3
                 services of at least three Site Reliability Engineers: Jerry Aldrich, Scott H. and Armando Cerna,
             4
                 who created those tools and who all reside in and operate from this District.
             5
                             629.   For example, Defendants knew that BitMEX Leaderboard trader with assumed
             6
                 name Quick-Grove-Mind was clearly a notorious market manipulator, who misappropriated
             7
                 bitcoins from Plaintiff Sorokin by way of market manipulation as alleged herein. This market
             8
                 manipulator could not pass the KYC and AML checks once they were instituted by Defendants
             9
                 on or about August 14, 2020. Defendants aided the market manipulator under the assumed name
           10
                 Quick-Grove-Mind in misappropriating Plaintiff Sorokin’s property by, without limitation,
           11
                 providing the manipulator under the assumed name Quick-Grove-Mind with extremely high
           12
                 trading leverage (up to 100x), using .BXBT index price for highly liquid Perpetual Swap
           13
                 contracts calculated based on prices of two or three illiquid spot exchanges to enhance the ability
           14
                 of the manipulator under the assumed name Quick-Grove-Mind to cause large market price
           15
                 swings, enabling the manipulator under the assumed name Quick-Grove-Mind to avoid detection
           16
                 by providing him with the ability to open unlimited number of anonymous document check-free
           17
                 trading accounts without any KYC and AML compliance checks and without any trading and
           18
                 withdrawal limits, weaponizing deliberate server freezes, using fraudulent "system overload"
           19
                 events to accept some trading orders and reject others during large market moves to exacerbate
           20
                 price fluctuations and cause the most liquidations and by deleting evidence of manipulator's
           21
                 identity and manipulator's trading records under the pretense of "right to be forgotten."
           22
                             630.   As a proximate result of the Defendants' actions as alleged herein, Plaintiff
           23
                 Sorokin sustained concrete monetary cryptocurrency Domestic Injury in the amount to be proven
           24
                 at trial.
           25
                             631.   Therefore, Defendants, and each of them, are liable, jointly and severally, to
           26
                 Plaintiff Sorokin under 7 U.S.C. § 25(a) in the amount to be proven at trial.
           27
           28
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  ATTORNEYS             COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 240 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                          COUNT IX
                  Conduct Of, Or Participation In The Conduct Of Enterprise’s Affairs Through A Pattern
             2     Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(c) — Against All Defendants
             3                                (Association In Fact Enterprise)
                        632.       Plaintiff repeats and re-alleges the allegations contained in every preceding
             4
                 paragraph as if fully set forth herein.
             5
                        633.       During Relevant Period, Enterprise engaged in activities that affected interstate
             6
                 and foreign commerce. In addition, the predicate acts of racketeering alleged herein also affected
             7
                 interstate and foreign commerce. Specifically, the Enterprise directly engaged in the production,
             8
                 distribution, or acquisition of goods and services in interstate commerce and foreign commerce,
             9
                 including, without limitation, very large volume (up to one trillion U.S. dollars of turnover per
           10
                 year) cryptocurrency derivatives trading services.
           11
                        634.       During Relevant Period, the Defendants were employed by or associated with the
           12
                 Enterprise.
           13
                        635.       Allegations of specific acts constituting fraudulent solicitations and concealments
           14
                 set forth in Paragraphs 481-577 above are incorporated as if fully set forth herein. Specific wire
           15
                 transmissions of these fraudulent solicitations from Defendants to Plaintiff Sorokin constitute at
           16
                 least some predicates acts of wire fraud by Defendants in violation of 18 U.S.C. § 1343.
           17
                        636.       Defendants agreed to and did conduct and participate in the conduct of the
           18
                 Enterprise’s affairs through a pattern of racketeering activity for the unlawful purpose of
           19
                 intentionally fraudulently soliciting and otherwise defrauding Plaintiff Sorokin as well as other
           20
                 cryptocurrency traders and misappropriating their cryptocurrency holdings as well as the
           21
                 Purposes alleged above. Specifically, Defendants engaged in continuous pattern of racketeering
           22
                 activity involving, among other unlawful acts, operating an unlicensed money transmitting
           23
                 business in violation of 18 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. §
           24
                 1956(a), monetary transactions in property derived from specified unlawful activity in violation
           25
                 of 18 U.S.C. § 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of
           26
                 stolen property in violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in
           27
                 aid of racketeering enterprise in violation of 18 U.S.C. § 1952. The alleged acts were perpetrated
           28
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             1
                 by Defendants during Relevant Period on a daily basis, including during each of the Manipulation
             2
                 Times, and continue to take place.
             3
                        637.       Pursuant to and in furtherance of their fraudulent scheme, Defendants committed
             4
                 multiple related acts of operating an unlicensed money transmitting business in violation of 18
             5
                 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
             6
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
             7
                 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
             8
                 violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
             9
                 racketeering Enterprise in violation of 18 U.S.C. § 1952.
           10
                        638.       The acts of operating an unlicensed money transmitting business in violation of 18
           11
                 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
           12
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           13
                 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
           14
                 violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           15
                 racketeering Enterprise in violation of 18 U.S.C. § 1952 set forth above constitute a pattern of
           16
                 racketeering activity pursuant to 18 U.S.C. § 1961(5).
           17
                        639.       Defendants, and each of them, took part in directing the affairs of the alleged
           18
                 Enterprise by engaging in a continuing pattern of racketeering activity involving, among other
           19
                 unlawful acts, operating an unlicensed money transmitting business in violation of 18 U.S.C. §
           20
                 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
           21
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           22
                 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
           23
                 violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           24
                 racketeering Enterprise in violation of 18 U.S.C. § 1952.
           25
                        640.       Defendants have directly and indirectly conducted and participated in the conduct
           26
                 of the Enterprise’s affairs through the pattern of racketeering and activity described above, in
           27
                 violation of 18 U.S.C. § 1962(c).
           28
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             1
                        641.       Defendants, and each of them, (1) gave or took directions; (2) occupied a position
             2
                 in the "chain of command" through which the affairs of the Enterprise are conducted; (3)
             3
                 knowingly implemented decisions of upper management; and (4) were indispensable to the
             4
                 achievement of the alleged Enterprise’s goals.
             5
                        642.       Defendants, and each of them, conducted or participated in the conduct of the
             6
                 affairs of the alleged Enterprise engaging in a continuing pattern of racketeering activity
             7
                 involving, among other unlawful acts, operating an unlicensed money transmitting business in
             8
                 violation of 18 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging
             9
                 in monetary transactions in property derived from specified unlawful activity in violation of 18
           10
                 U.S.C. § 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen
           11
                 property in violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           12
                 racketeering Enterprise in violation of 18 U.S.C. § 1952.
           13
                        643.       Defendants, and each of them, participated in a pattern of racketeering activity,
           14
                 which included at least two acts of racketeering activity including, without limitation, at least two
           15
                 acts of operating an unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a),
           16
                 at least two acts of money laundering in violation of 18 U.S.C. § 1956, at least two acts of
           17
                 engaging in monetary transactions in property derived from specified unlawful activity in
           18
                 violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of 18 U.S.C. § 1343, at
           19
                 least two acts of interstate transportation of stolen property in violation 18 U.S.C. § 2314 and at
           20
                 least two acts of interstate and foreign travel or transportation in aid of racketeering Enterprise in
           21
                 violation of 18 U.S.C. § 1952. Defendants, and each of them, committed the alleged predicate
           22
                 offenses as a part of conducting or participating in the Enterprise, and, therefore, are liable for the
           23
                 violation of the RICO, 18 U.S.C. § 1964(c).
           24
                        644.       As a direct and proximate result of the Defendants’, and each of them, conduct of
           25
                 or participation in the long-running Enterprise, within the meaning of 18 U.S.C. § 1961(4),
           26
                 engaging in the continuing pattern of racketeering activity involving, among other unlawful acts,
           27
                 operating an unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 243 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary transactions in property
             2
                 derived from specified unlawful activity in violation of 18 U.S.C. § 1957(a), wire fraud in
             3
                 violation 18 U.S.C. § 1343, interstate transportation of stolen property in violation 18 U.S.C.
             4
                 § 2314 and interstate and foreign travel or transportation in aid of racketeering Enterprise in
             5
                 violation of 18 U.S.C. § 1952, Plaintiff Sorokin has been domestically injured in its business and
             6
                 property in the amount to be proven at trial.
             7
                        645.       During the Relevant Period, Defendants engaged in fraudulent solicitations of
             8
                 Plaintiff Sorokin’s bitcoin deposits, orders and trading commissions using a laundry list of
             9
                 misrepresentations, half-truths and omissions and Plaintiff Sorokin suffered actual damages
           10
                 alleged herein as a result of his reasonable and justifiable reliance on these fraudulent solicitations
           11
                 and omissions. These fraudulent solicitations and omissions constituted predicate acts of wire
           12
                 fraud in violation 18 U.S.C. § 1343.
           13
                        646.       Moreover, during the Relevant Period, in which Defendants persistently
           14
                 manipulated prices of their bitcoin and ether Perpetual Swaps, Plaintiff Sorokin transacted in
           15
                 these derivatives on the BitMEX platform at persistently artificial prices resulting from
           16
                 Defendants’ misconduct, suffered losses as a result of disadvantageous trades, and was subject to
           17
                 liquidations because of these persistently artificial prices, and as a direct result thereof suffered
           18
                 actual damages alleged herein. The wire transmissions of the manipulative trading orders by
           19
                 Defendants further constituted predicate acts of wire fraud in violation 18 U.S.C. § 1343.
           20
                        647.       During the Relevant Period, Plaintiff Sorokin thus entered into Perpetual Swaps
           21
                 through BitMEX, and suffered actual damages from such swaps as a result of, in connection with
           22
                 the Perpetual Swaps, Defendants’ manipulation of the price of derivatives of bitcoin and ether
           23
                 offered on BitMEX, in violation of the CEA.
           24
                        648.       As the result of Defendants' wrongful conduct alleged hereinabove,
           25
                 Defendants took the Plaintiff Sorokin’s property amounting to 1.57143 bitcoins from Plaintiff
           26
                 Sorokin’s possession by way of fraudulent solicitations using a laundry list of
           27
                 misrepresentations, half-truths and omissions alleged herein.
           28
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             1
                        649.       Moreover, as the result of Defendants' wrongful conduct alleged hereinabove,
             2
                 Defendants took the Plaintiff Sorokin’s property amounting to 1.12803878 bitcoins from
             3
                 Plaintiff Sorokin’s possession by way of creating artificial prices for bitcoin and ether
             4
                 perpetual swaps and wrongfully liquidating Plaintiff Sorokin’s margined positions.
             5
                        650.       Specifically, automated software tools built by Defendants and operated by
             6
                 Defendants’ Insider Trading Desk, using Plaintiff Sorokin’s highly sensitive and confidential
             7
                 information about Plaintiff Sorokin’s open positions and orders, continuously manipulated
             8
                 cryptoderivative markets traded by Plaintiff Sorokin on BitMEX platform, as well as price-
             9
                 determining spot markets on “reference” exchanges, on a 24 hour a day, 7 days a week basis,
           10
                 including the specific date and time when Plaintiff Sorokin suffered his bitcoin losses, and
           11
                 namely July 11, 2019. Operation of these automated tools by Defendants’ Insider Trading Desk
           12
                 deliberately caused automatic liquidations of Plaintiff Sorokin’s respective swap positions on
           13
                 BitMEX platform and confiscation of Plaintiff Sorokin’s collateral from his BitMEX accounts
           14
                 on or about July 11, 2019, resulting in a cumulative loss of 1.12803878 bitcoins by Plaintiff
           15
                 Sorokin.
           16
                        651.       In causing the alleged financial harm to Plaintiff Sorokin, the aforesaid operation
           17
                 of the automated software tools built by Defendants involved at least two acts of racketeering
           18
                 activity including, without limitation, at least two acts of operating an unlicensed money
           19
                 transmitting business in violation of 18 U.S.C. § 1960(a), at least two acts of money laundering in
           20
                 violation of 18 U.S.C. § 1956, at least two acts of engaging in monetary transactions in property
           21
                 derived from specified unlawful activity in violation of 18 U.S.C. § 1957, at least two acts of wire
           22
                 fraud in violation of 18 U.S.C. § 1343, at least two acts of interstate transportation of stolen
           23
                 property in violation 18 U.S.C. § 2314 and at least two acts of interstate and foreign travel or
           24
                 transportation in aid of racketeering Enterprise in violation of 18 U.S.C. § 1952.
           25
                        652.       The documentary evidence of the operation of the aforesaid automated software
           26
                 tools, used by Defendants’ Insider Trading Desk on or about July 11, 2019 to deliberately
           27
                 liquidate Plaintiff Sorokin’s positions, is in sole and exclusive possession, custody and control of
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 245 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Defendants and Plaintiff Sorokin has no realistic way of obtaining this evidence without the
             2
                 benefit of discovery. Plaintiff Sorokin will amend this complaint once he obtains such
             3
                 documentary evidence through the Court’s discovery process.36
             4
                        653.       Defendants took extraordinary measures to conceal the wrongdoing perpetrated by
             5
                 their Insider Trading Desk from Plaintiff Sorokin, other traders and regulators. First, Defendants
             6
                 deliberately made all accounts on BitMEX platform anonymous, which hindered specifically
             7
                 pinpointing the origin of manipulation and other illegal acts. Second, according to the CFTC
             8
                 Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted required records, including user
             9
                 identities. Third, Defendants deliberately used anonymous “burner” (e.g. @gmail.com) email
           10
                 addresses, as opposed to "official" BitMEX email addresses (e.g. @bitmex.com), to open trading
           11
                 accounts for their Insider Trading Desk with BitMEX exchange, to cover up the tracks of
           12
                 wrongdoing so the trading histories and illegal manipulation profits cannot be traced back to
           13
                 BitMEX. The “burner” accounts were periodically recycled and corresponding trading records
           14
                 deleted. Accordingly, Defendants engaged in active concealment of their fraud. Therefore,
           15
                 Plaintiff Sorokin, through exercise of reasonable diligence, could not have obtained documentary
           16
                 evidence of operation of Defendants’ Insider Trading Desk automated market manipulation tools
           17
                 on or about July 11, 2019.
           18
                        654.       Because the vast majority of BitMEX personnel, almost the entire engineering
           19
                 team (all but six) as well as all three Site Reliability Engineers, and almost all vital external
           20
                 service providers to BitMEX, are located in this District, and because Defendant ABS, which
           21
                 formally employs this personnel is an alter ego of Defendant HDR, this District is the home base
           22
                 of the largest operation of Defendant DHR, the nerve center of the operation of the BitMEX
           23
                 platform, and it is the location where the illegal acts and the resulting injuries as alleged herein
           24
                 took place. For example, Plaintiff is informed and believes and thereon alleges that three Site
           25
           26    36
                   Defendants have a vastly superior knowledge of the facts relevant to the automated software
           27    tools developed by BitMEX, market manipulation and the operation of the Insider Trading Desk,
                 the confidential trader information it used, as well as the trading privileges it enjoyed, and are in
           28    exclusive possession of the relevant evidence.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 246 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Reliability Engineers Jerry Aldrich, Scott H. and Armando Cerna personally caused, from within
             2
                 this District, BitMEX servers to freeze during Manipulation Times, on the direction received from
             3
                 Defendant Reed, who was located in Wisconsin.
             4
                        655.       In addition, Defendant HDR as well its California alter ego Defendant ABS is a
             5
                 single enterprise with extensive presence in this District (over 70 employees). Moreover, the
             6
                 alleged illegal acts were all performed on servers and other IT infrastructure owned and operated
             7
                 by United States based Amazon EKS with offices in this District. Furthermore, the helper
             8
                 accounts that were vital for Defendants to manipulate the prices of cryptocurrencies and
             9
                 cryptocurrency derivatives in violation of CEA and to launder funds in violation of 18 U.S.C. §
           10
                 1956(a), as alleged in this Complaint, were all maintained on United States based “reference”
           11
                 cryptocurrency spot exchanges BitStamp, Kraken and Coinbase Pro, two of which are located in
           12
                 the District. Defendants transferred funds to and from those vital United States based accounts in
           13
                 order to conduct the affairs of the Enterprise.
           14
                        656.       Therefore, Defendants, and each of them, are liable, jointly and severally, to
           15
                 Plaintiff Sorokin under 18 U.S.C. § 1964(c) for the violation of the RICO, 18 U.S.C. § 1962(c) in
           16
                 the amount of triple of Plaintiff Sorokin’s losses to be proven at trial.
           17
                                                        COUNT X
           18     Conspiracy To Conduct Or Participate In The Conduct Of Enterprise’s Affairs Through
           19      A Pattern Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(d) — Against All
                                      Defendants (Association In Fact Enterprise)
           20
                        657.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           21
                 paragraph as if fully set forth herein.
           22
                        658.       As set forth above, the Defendants agreed and conspired to violate 18 U.S.C. §
           23
                 1962(a) (b) and (c). Specifically, Defendants conspired to: (1) use or invest income that is
           24
                 derived from a pattern of racketeering activity alleged hereinabove in the interstate Enterprise (18
           25
                 U.S.C. § 1962(a)); (2) acquire or maintain interests in the Enterprise through a pattern of
           26
                 racketeering activity alleged hereinabove (18 U.S.C. § 1962(b)); and (3) conduct and participate
           27
                 in the conduct of the affairs of the Enterprise through a pattern of racketeering activity alleged
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 247 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 hereinabove (18 U.S.C. § 1962(c)).
             2
                        659.       Defendants have intentionally conspired and agreed to directly and indirectly use
             3
                 or invest income that was derived from a pattern of racketeering activity, including fraudulent
             4
                 solicitations, omissions, market manipulation and other illegal acts in the operation of an
             5
                 interstate Enterprise, acquire or maintain interests in the Enterprise through a pattern of
             6
                 racketeering activity alleged hereinabove, and conduct and participate in the conduct of the affairs
             7
                 of the Enterprise through a pattern of racketeering activity alleged hereinabove. Defendants knew
             8
                 that their predicate acts were part of a pattern of racketeering activity alleged hereinabove and
             9
                 agreed to the commission of those overt acts to further the schemes described above. That
           10
                 conduct constitutes a conspiracy to violate 18 U.S.C. § 1962(a), (b) and (c), in violation of 18
           11
                 U.S.C. § 1962(d). For example, in furtherance of the Racketeering Conspiracy, Defendants HDR,
           12
                 ABS, Hayes, Delo and Reed, invested the illegal income derived from the fraudulent solicitations,
           13
                 omissions, market manipulation and other illegal acts perpetrated by them on the BitMEX
           14
                 platform into the Enterprise, by renting for its benefit an entire floor in one of the most exclusive
           15
                 buildings in Hong Kong, an entire floor in one of the most exclusive buildings in San Francisco
           16
                 and renting three Lamborghinis during the 2018 Consensus conference in New York in order to
           17
                 use these public stunts to attract even more innocent victims to the rigged BitMEX platform,
           18
                 operated by the Enterprise.
           19
                        660.       Allegations of specific overt acts constituting fraudulent solicitations and
           20
                 omissions set forth in Paragraphs 481-577 above are incorporated as if fully set forth herein.
           21
                 Wire transmissions of these fraudulent solicitations from Defendants to Plaintiff Sorokin
           22
                 constitute predicates acts of wire fraud under 18 U.S.C. § 1343 and also constitute overt acts in
           23
                 furtherance of the Racketeering Conspiracy under 18 U.S.C. § 1962(d) alleged herein.
           24
                        661.       Defendants, and each of them, intended to further the operation of an unlicensed
           25
                 money transmitting business in violation of 18 U.S.C. § 1960(a).
           26
                        662.       Defendants, and each of them, intended to further the money laundering endeavor
           27
                 in violation of 18 U.S.C. § 1956.
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 248 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        663.       Defendants, and each of them, intended to further the transactions in property
             2
                 derived from specified unlawful activity in violation of 18 U.S.C. § 1957.
             3
                        664.       Defendants, and each of them, intended to further the wire fraud in violation of 18
             4
                 U.S.C. § 1343, including all acts of using wire transmissions for purposes of fraudulent
             5
                 solicitation and market manipulation alleged herein.
             6
                        665.       Defendants, and each of them, intended to further the interstate transportation of
             7
                 stolen property in violation of 18 U.S.C. § 2314.
             8
                        666.       Defendants, and each of them, intended to further the interstate and foreign travel
             9
                 or transportation in aid of racketeering Enterprise in violation of 18 U.S.C. § 1952.
           10
                        667.       Defendants, and each of them, have been aware of the essential nature and scope
           11
                 of the alleged Enterprise and intended to participate in it.
           12
                        668.       Defendants, and each of them, agreed to commit, or participate in, a pattern of
           13
                 overt predicate acts in furtherance of the Racketeering Conspiracy, namely at least two acts of
           14
                 operating an unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), at least
           15
                 two acts of money laundering in violation of 18 U.S.C. § 1956, at least two acts of engaging in
           16
                 monetary transactions in property derived from specified unlawful activity in violation of 18
           17
                 U.S.C. § 1957, at least two acts of wire fraud in violation of 18 U.S.C. § 1343, at least two acts of
           18
                 interstate transportation of stolen property in violation 18 U.S.C. § 2314 and at least two acts of
           19
                 interstate and foreign travel or transportation in aid of racketeering Enterprise in violation of 18
           20
                 U.S.C. § 1952.
           21
                        669.       In addition, in furtherance of the alleged Racketeering Conspiracy, and to achieve
           22
                 its purposes, the Defendants committed and caused to be committed the following overt acts,
           23
                 among others, alleged in this Complaint, in this District and elsewhere in the United States: 1)
           24
                 engaging in fraudulent solicitations of victims’, including Plaintiff Sorokin’s bitcoin deposits and
           25
                 trading commissions, using a laundry list of material misrepresentations, half-truths and
           26
                 omissions transmitted to victims using wire transmissions over the Internet in violation of 18
           27
                 U.S.C. § 1343; 2) operating an Insider Trading Desk with undisclosed informational and trading
           28
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             1
                 privileges over BitMEX traders, wherein the Insider Trading Desk was granted ‘God Assess” to
             2
                 all BitMEX customer information, including confidential information of Plaintiff Sorokin ; 3)
             3
                 developing, deploying and utilizing, on a continuous basis, automated market manipulation tools
             4
                 designed to use sensitive insider information of BitMEX traders to automatically liquidate them
             5
                 and misappropriate their bitcoin deposits, when it is particularly profitable for Defendants to do
             6
                 so; 4) providing traders with extremely high trading leverage (up to 100x); 5) deliberately using
             7
                 .BXBT index price for highly liquid derivatives calculated based on prices of two or three illiquid
             8
                 spot exchanges; 6) enabling manipulators and money launderers to avoid detection by providing
             9
                 them with the ability to open unlimited number of anonymous document check-free trading
           10
                 accounts without any trading and withdrawal limits; 7) weaponizing deliberate server freezes,
           11
                 using fraudulent “system overload” events to accept some trading orders and reject others during
           12
                 large market moves to exacerbate price fluctuations and cause the most liquidations; 8) regularly
           13
                 manipulating price of cryptocurrencies including, without limitation, bitcoin, by using automated
           14
                 software tools developed in-house to execute large market orders from helper accounts on illiquid
           15
                 “reference” spot exchanges Coinbase Pro, BitStamp and Kraken in order to cause massive
           16
                 liquidations of traders’ derivatives positions on BitMEX and capture resulting market
           17
                 manipulation profits using winner accounts on that exchange; 9) knowingly, willfully and
           18
                 deliberately effectively transmitting market manipulation winnings from the helper accounts to
           19
                 the winner accounts in violation of 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. §
           20
                 1956(a) and 18 U.S.C. § 2314; 10) knowingly, willfully and deliberately transmitting a portion of
           21
                 the money from the winner accounts back to the helper accounts in order to replenish them before
           22
                 next manipulation in violation of 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. §
           23
                 1956(a) and 18 U.S.C. § 2314; and 11) knowingly, willfully and deliberately using or investing
           24
                 the proceeds of the fraudulent solicitations, omissions, market manipulation as well as other
           25
                 illegal racketeering acts into the operation of Defendants ABS and HDR.
           26
                        670.       As direct and proximate result of the Defendants’ conspiracy, the overt acts taken
           27
                 in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Plaintiff Sorokin has
           28
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             1
                 been injured in his business and property in the amount to be proven at trial.
             2
                        671.       As a proximate result of the Defendants’, and each of them, conspiracy to invest
             3
                 the proceeds of the fraudulent solicitations, omissions, market manipulation as well as other
             4
                 illegal racketeering acts into the operation of Defendants ABS and HDR and to conduct or
             5
                 participate in the long-running and continuing Enterprise, within the meaning of 18 U.S.C. §
             6
                 1961(4), engaging in the continuing pattern of racketeering activity involving, among other
             7
                 unlawful acts, at least two acts of operating an unlicensed money transmitting business in
             8
                 violation of 18 U.S.C. § 1960(a), at least two acts of money laundering in violation of 18 U.S.C.
             9
                 § 1956, at least two acts of engaging in monetary transactions in property derived from specified
           10
                 unlawful activity in violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of
           11
                 18 U.S.C. § 1343, at least two acts of interstate and foreign travel or transportation in aid of
           12
                 racketeering Enterprise in violation of 18 U.S.C. § 1952, at least two acts of interstate
           13
                 transportation of stolen property in violation 18 U.S.C. § 2314 and at least two acts as alleged in
           14
                 Paragraphs 481-577 above, Plaintiff Sorokin sustained concrete and certain monetary
           15
                 cryptocurrency trading losses in the amount to be proven at trial.
           16
                        672.       During the Relevant Period, Plaintiff Sorokin was harmed by overt acts, in
           17
                 furtherance of the Racketeering Conspiracy, of wire transmissions of fraudulent solicitations as
           18
                 alleged in Paragraphs 481-577 above, all in violation of 18 U.S.C. § 1343.
           19
                        673.       During the Relevant Period and in furtherance of the Racketeering Conspiracy,
           20
                 Defendants persistently manipulated prices of their bitcoin and ether Perpetual Swaps and
           21
                 Plaintiff Sorokin transacted in these derivatives on the BitMEX platform at persistently artificial
           22
                 prices resulting from Defendants’ misconduct, and suffered losses as a result of disadvantageous
           23
                 trades, and was subject to liquidations because of these persistently artificial prices, and as a
           24
                 direct result thereof suffered actual damages alleged herein.
           25
                        674.       During the Relevant Period, Plaintiff Sorokin thus entered into Perpetual Swaps
           26
                 through BitMEX, and suffered actual damages from owning and trading such Perpetual Swaps as
           27
           28
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             1
                 a result of, in connection with the Perpetual Swaps, Defendants’ manipulation of the price of
             2
                 derivatives of bitcoin and ether offered on BitMEX.
             3
                           675.    As the result of Defendants' wrongful conduct alleged hereinabove, including
             4
                 the overt acts furtherance of the Racketeering Conspiracy, Defendants took the Plaintiff
             5
                 Sorokin’s property amounting to 1.57143 bitcoins from Plaintiff Sorokin’s possession by way
             6
                 of fraudulent solicitations using a laundry list of misrepresentations, half-truths and
             7
                 omissions alleged herein, all in violation of 18 U.S.C. § 1343.
             8
                           676.    Moreover, as the result of Defendants' wrongful conduct alleged hereinabove,
             9
                 including the overt acts furtherance of the Racketeering Conspiracy, Defendants took the
           10
                 Plaintiff Sorokin’s property amounting to 1.12803878 bitcoins from Plaintiff Sorokin’s
           11
                 possession by way of creating artificial prices for bitcoin and ether Perpetual Swaps and
           12
                 wrongfully liquidating Plaintiff Sorokin’s margined positions, in violation of 18 U.S.C.
           13
                 § 1343.
           14
                           677.    Specifically, automated software tools built by Defendants and operated by
           15
                 Defendants’ Insider Trading Desk, using Plaintiff Sorokin’s highly sensitive and confidential
           16
                 information, continuously manipulated cryptoderivative markets traded by Plaintiff Sorokin on
           17
                 BitMEX platform, as well as price-determining spot markets on reference exchanges, on a 24
           18
                 hour a day, 7 days a week basis, including the specific date and time when Plaintiff Sorokin
           19
                 suffered his bitcoin losses, and namely July 11, 2019. Operation of these automated tools by
           20
                 Defendants’ Insider Trading Desk involved multiple overt acts in furtherance of the alleged
           21
                 Racketeering Conspiracy and deliberately caused automatic liquidations of Plaintiff Sorokin’s
           22
                 respective swap positions on BitMEX platform and confiscation of Plaintiff Sorokin’s respective
           23
                 collateral from his BitMEX account on or about July 11, 2019, resulting in a cumulative loss of
           24
                 1.12803878 bitcoins by Plaintiff Sorokin.
           25
                           678.    The documentary evidence of the operation of the aforesaid automated software
           26
                 tools, used by Defendants’ Insider Trading Desk on or about July 11, 2019 to deliberately
           27
                 liquidate Plaintiff Sorokin’s positions, is in sole and exclusive possession, custody and control of
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 252 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Defendants and Plaintiff Sorokin has no realistic way of obtaining this evidence without the
             2
                 benefit of discovery. Plaintiff Sorokin will amend this complaint once he obtains such
             3
                 documentary evidence through the Court’s discovery process.37
             4
                        679.       Defendants took extraordinary measures to conceal the wrongdoing perpetrated by
             5
                 their Insider Trading Desk from Plaintiff Sorokin, other traders and regulators. First, Defendants
             6
                 deliberately made all accounts on BitMEX platform anonymous, which hindered specifically
             7
                 pinpointing the origin of manipulation and other illegal acts. Second, according to the CFTC
             8
                 Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted required records, including user
             9
                 identities. Third, Defendants deliberately used anonymous “burner” (e.g. @gmail.com) email
           10
                 addresses, as opposed to "official" BitMEX email addresses (e.g. @bitmex.com), to open trading
           11
                 accounts for their Insider Trading Desk with BitMEX exchange, to cover up the tracks of
           12
                 wrongdoing so the trading histories and illegal manipulation profits cannot be traced back to
           13
                 BitMEX. The “burner” accounts were periodically recycled and corresponding trading records
           14
                 deleted. Accordingly, Defendants engaged in active concealment of their fraud. Therefore,
           15
                 Plaintiff Sorokin, through exercise of reasonable diligence, could not have obtained documentary
           16
                 evidence of operation of Defendants’ Insider Trading Desk automated market manipulation tools
           17
                 on or about July 11, 2019.
           18
                        680.       On or about July 11, 2019, Defendants, using the automated market manipulation
           19
                 tools continuously executed by the Insider Trading Desk, wrongfully took the above-mentioned
           20
                 property, including Plaintiff Sorokin’s valuable bitcoin holdings of 1.12803878 bitcoins,
           21
                 deposited in respective Plaintiff Sorokin’s BitMEX trading accounts from Plaintiff Sorokin’s
           22
                 possession.
           23
                        681.       Because the vast majority of BitMEX personnel, almost the entire engineering
           24
                 team (all but six) as well as all three Site Reliability Engineers, and almost all vital external
           25
           26    37
                   Defendants have a vastly superior knowledge of the facts relevant to the automated software
           27    tools developed by BitMEX, market manipulation and the operation of the Insider Trading Desk,
                 the confidential trader information it used, as well as the trading privileges it enjoyed, and are in
           28    exclusive possession of the relevant evidence.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 253 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 service providers to BitMEX, are located in this District, and because Defendant ABS, which
             2
                 formally employs this personnel is an alter ego of Defendant HDR, this District is the home base
             3
                 of the largest operation of Defendant DHR, the nerve center of the operation of the BitMEX
             4
                 platform, and it is the location where the illegal acts and the resulting injuries as alleged herein
             5
                 took place. In addition, Defendant HDR as well its California alter ego Defendant ABS is a
             6
                 single enterprise with extensive presence in this District (over 70 employees). Specifically,
             7
                 Plaintiff is informed and believes and thereon alleges that three Site Reliability Engineers Jerry
             8
                 Aldrich, Scott H. and Armando Cerna personally caused, from within this District, BitMEX
             9
                 servers to freeze during Manipulation Times, on the direction received from Defendant Reed,
           10
                 who was located in Wisconsin. Moreover, the alleged illegal acts were all performed on servers
           11
                 and other IT infrastructure owned and operated by United States based Amazon EKS with offices
           12
                 in this District. Furthermore, the helper accounts that were vital for Defendants to manipulate the
           13
                 prices of cryptocurrencies and cryptocurrency derivatives in violation of CEA and to launder
           14
                 funds in violation of 18 U.S.C. § 1956(a), as alleged in this Complaint, were all maintained on
           15
                 United States based “reference” cryptocurrency spot exchanges BitStamp, Kraken and Coinbase
           16
                 Pro, two of which are located in the District. Defendants transferred funds to and from those vital
           17
                 United States based accounts in order to conduct the affairs of the Enterprise.
           18
                        682.       Therefore, Defendants, and each of them, are liable, jointly and severally, to
           19
                 Plaintiff Sorokin under 18 U.S.C. § 1964(c) for the violation of the RICO, 18 U.S.C. § 1962(d) in
           20
                 the amount of triple of Plaintiff Sorokin’s losses to be proven at trial.
           21
                                                        COUNT XI
           22     Conduct Of Or Participation In The Conduct Of Enterprise’s Affairs Through A Pattern
                  Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(c) — Against Defendants ABS,
           23
                                      Hayes, Delo and Reed (HDR Is The Enterprise)
           24           683.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           25    paragraph as if fully set forth herein.
           26           684.       This Count is against Defendants ABS, Hayes, Delo and Reed only, who will be
           27    collectively referred to in this Count as “Defendants,” to the exclusion of HDR, which is not, for
           28
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             1
                 purposes of this Count, one of the “Defendants,” but a RICO Enterprise, separate and distinct
             2
                 from Defendants themselves.
             3
                           685.    From at least January 2017 and until present, Defendant HDR, a legal entity,
             4
                 constituted an “enterprise” (“HDR Enterprise”) within the meaning of RICO as defined in 18
             5
                 U.S.C. § 1961. Since at least January of 2017, each of Defendants ABS, Hayes, Delo and Reed
             6
                 has been a person separate and distinct from the HDR Enterprise itself, while, at the same time,
             7
                 being associated with, or employed by the HDR Enterprise. The purpose of the long-running
             8
                 HDR Enterprise was to use commercial website www.bitmex.com to fraudulently solicit bitcoin
             9
                 deposits and trading commissions from victims, including Plaintiff Sorokin, using a laundry list
           10
                 of misrepresentations, half-truths and material omissions of fact and to manipulate markets on
           11
                 BitMEX and price-forming “reference” exchanges Bitstamp, Coinbase Pro and Kraken to
           12
                 misappropriate victims’, including Plaintiff Sorokin’s, bitcoins deposited with Defendants.
           13
                           686.    During Relevant Period, the activity of the long-running HDR Enterprise and the
           14
                 predicate acts of racketeering alleged herein affected interstate or foreign commerce. Specifically,
           15
                 the HDR Enterprise directly engaged in the production, distribution, or acquisition of goods and
           16
                 services in interstate commerce and foreign commerce, including, without limitation, very large
           17
                 volume (up to one trillion U.S. dollars of turnover per year) cryptocurrency derivatives trading
           18
                 services.
           19
                           687.    Allegations of specific acts constituting fraudulent solicitations set forth in
           20
                 Paragraphs 481-577 above are incorporated as if fully set forth herein. Specific wire
           21
                 transmissions of these fraudulent solicitations from Defendants to Plaintiff Sorokin constitute at
           22
                 least some predicates acts of wire fraud perpetrated by Defendants in violation of 18 U.S.C.
           23
                 § 1343.
           24
                           688.    Defendants agreed to and did conduct and participate in the conduct of the long-
           25
                 running HDR Enterprise’s affairs through a pattern of racketeering activity and for the unlawful
           26
                 purpose of intentionally defrauding Plaintiff Sorokin as well as other cryptocurrency traders and
           27
                 misappropriating their cryptocurrency holdings as well as the Purposes alleged above.
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 255 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Specifically, Defendants engaged in continuous pattern of racketeering activity involving, among
             2
                 other unlawful acts, operating an unlicensed money transmitting business in violation of 18 U.S.C.
             3
                 § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), monetary transactions in
             4
                 property derived from specified unlawful activity in violation of 18 U.S.C. § 1957(a), wire fraud
             5
                 in violation 18 U.S.C. § 1343, interstate transportation of stolen property in violation 18 U.S.C.
             6
                 § 2314 and interstate and foreign travel or transportation in aid of racketeering HDR Enterprise in
             7
                 violation of 18 U.S.C. § 1952. The alleged acts were perpetrated by Defendants during Relevant
             8
                 Period on a daily basis, including during each of the Manipulation Times, and continue to take
             9
                 place.
           10
                           689.       Pursuant to and in furtherance of their fraudulent scheme, Defendants committed
           11
                 multiple related acts of operating an unlicensed money transmitting business in violation of 18
           12
                 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
           13
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           14
                 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
           15
                 violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           16
                 racketeering HDR Enterprise in violation of 18 U.S.C. § 1952.
           17
                           690.       The acts of operating an unlicensed money transmitting business in violation of 18
           18
                 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
           19
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           20
                 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
           21
                 violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           22
                 racketeering HDR Enterprise in violation of 18 U.S.C. § 1952 set forth above constitute a pattern
           23
                 of racketeering activity pursuant to 18 U.S.C. § 1961(5).
           24
                           691.       Defendants, and each of them, took part in directing the affairs of the alleged HDR
           25
                 Enterprise by engaging in a continuing pattern of racketeering activity involving, among other
           26
                 unlawful acts, operating an unlicensed money transmitting business in violation of 18 U.S.C. §
           27
                 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
           28
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  ATTORNEYS               COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 256 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
             2
                 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
             3
                 violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
             4
                 racketeering HDR Enterprise in violation of 18 U.S.C. § 1952.
             5
                        692.       Defendants have directly and indirectly conducted and participated in the conduct
             6
                 of the HDR Enterprise’s affairs through the pattern of racketeering and activity described above,
             7
                 in violation of 18 U.S.C. § 1962(c).
             8
                        693.       Defendants, and each of them, (1) gave or took directions; (2) occupied a position
             9
                 in the "chain of command" through which the affairs of the HDR Enterprise are conducted; (3)
           10
                 knowingly implemented decisions of upper management; and (4) were indispensable to the
           11
                 achievement of the alleged HDR Enterprise’s goals.
           12
                        694.       Defendants, and each of them, conducted or participated in the conduct of the
           13
                 affairs of the alleged HDR Enterprise engaging in a continuing pattern of racketeering activity
           14
                 involving, among other unlawful acts, operating an unlicensed money transmitting business in
           15
                 violation of 18 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging
           16
                 in monetary transactions in property derived from specified unlawful activity in violation of 18
           17
                 U.S.C. § 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen
           18
                 property in violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           19
                 racketeering HDR Enterprise in violation of 18 U.S.C. § 1952.
           20
                        695.       Defendants, and each of them, participated in a pattern of racketeering activity,
           21
                 which included at least two acts of racketeering activity including, without limitation, at least two
           22
                 acts of operating an unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a),
           23
                 at least two acts of money laundering in violation of 18 U.S.C. § 1956, at least two acts of
           24
                 engaging in monetary transactions in property derived from specified unlawful activity in
           25
                 violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of 18 U.S.C. § 1343, at
           26
                 least two acts of interstate transportation of stolen property in violation 18 U.S.C. § 2314 and at
           27
                 least two acts of interstate and foreign travel or transportation in aid of racketeering HDR
           28
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             1
                 Enterprise in violation of 18 U.S.C. § 1952. Defendants, and each of them, committed the alleged
             2
                 predicate offenses as a part of conducting or participating in the HDR Enterprise, and, therefore,
             3
                 are liable for the violation of the RICO, 18 U.S.C. § 1964(c).
             4
                        696.       As a direct and proximate result of the Defendants’, and each of them, conduct of
             5
                 or participation in the long-running HDR Enterprise, within the meaning of 18 U.S.C. § 1961(4),
             6
                 by engaging in the continuing pattern of racketeering activity involving, among other unlawful
             7
                 acts, operating an unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a),
             8
                 money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary transactions in
             9
                 property derived from specified unlawful activity in violation of 18 U.S.C. § 1957(a), wire fraud
           10
                 in violation 18 U.S.C. § 1343, interstate transportation of stolen property in violation 18 U.S.C.
           11
                 § 2314 and interstate and foreign travel or transportation in aid of racketeering HDR Enterprise in
           12
                 violation of 18 U.S.C. § 1952, Plaintiff Sorokin has been domestically injured in his business and
           13
                 property in the amount to be proven at trial.
           14
                        697.       During the Relevant Period, Defendants engaged in fraudulent solicitations of
           15
                 Plaintiff Sorokin’s bitcoin deposits, orders and trading commissions using a laundry list of
           16
                 misrepresentations, half-truths and omissions and Plaintiff Sorokin suffered actual damages
           17
                 alleged herein as a result of his reasonable and justifiable reliance on these fraudulent solicitations
           18
                 and omissions. These fraudulent solicitations and omissions constituted predicate acts of wire
           19
                 fraud in violation 18 U.S.C. § 1343.
           20
                        698.       Moreover, During the Relevant Period, in which Defendants persistently
           21
                 manipulated prices of their bitcoin and ether Perpetual Swaps, Plaintiff Sorokin transacted in
           22
                 these derivatives on the BitMEX platform at persistently artificial prices resulting from
           23
                 Defendants’ misconduct, suffered losses as a result of disadvantageous trades, and was subject to
           24
                 liquidations because of these persistently artificial prices, and as a direct result thereof suffered
           25
                 actual damages alleged herein. The wire transmissions of the manipulative trading orders by
           26
                 Defendants further constituted predicate acts of wire fraud in violation 18 U.S.C. § 1343.
           27
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 258 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        699.       During the Relevant Period, Plaintiff Sorokin thus entered into Perpetual Swaps
             2
                 through BitMEX, and suffered actual damages from such swaps as a result of, in connection with
             3
                 the Perpetual Swaps, Defendants’ manipulation of the price of derivatives of bitcoin and ether
             4
                 offered on BitMEX, in violation of the CEA.
             5
                        700.       As the result of Defendants' wrongful conduct alleged hereinabove,
             6
                 Defendants took the Plaintiff Sorokin’s property amounting to 1.57143 bitcoins from Plaintiff
             7
                 Sorokin’s possession by way of fraudulent solicitations using a laundry list of
             8
                 misrepresentations, half-truths and omissions alleged herein.
             9
                        701.       Moreover, as the result of Defendants' wrongful conduct alleged hereinabove,
           10
                 Defendants took the Plaintiff Sorokin’s property amounting to 1.12803878 bitcoins from
           11
                 Plaintiff Sorokin’s possession by way of creating artificial prices for bitcoin and ether
           12
                 Perpetual Swaps and wrongfully liquidating Plaintiff Sorokin’s margined positions.
           13
                        702.       Specifically, automated software tools built by Defendants and operated by
           14
                 Defendants’ Insider Trading Desk, using Plaintiff Sorokin’s highly sensitive and confidential
           15
                 information, continuously manipulated cryptoderivative markets traded by Plaintiff Sorokin on
           16
                 BitMEX platform, as well as price-determining spot markets on “reference” exchanges, on a 24
           17
                 hour a day, 7 days a week basis, including the specific date and time when Plaintiff Sorokin
           18
                 suffered his bitcoin losses, and namely July 11, 2019. Operation of these automated tools by
           19
                 Defendants’ Insider Trading Desk deliberately caused automatic liquidations of Plaintiff
           20
                 Sorokin’s respective swap positions on BitMEX platform and confiscation of Plaintiff Sorokin’s
           21
                 respective collateral from his BitMEX account on or about July 11, 2019, resulting in a
           22
                 cumulative loss of 1.12803878 bitcoins by Plaintiff Sorokin.
           23
                        703.       In causing the alleged financial harm to Plaintiff Sorokin, the aforesaid operation
           24
                 of the automated software tools built by Defendants involved at least two acts of racketeering
           25
                 activity including, without limitation, at least two acts of operating an unlicensed money
           26
                 transmitting business in violation of 18 U.S.C. § 1960(a), at least two acts of money laundering in
           27
                 violation of 18 U.S.C. § 1956, at least two acts of engaging in monetary transactions in property
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 259 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 derived from specified unlawful activity in violation of 18 U.S.C. § 1957, at least two acts of wire
             2
                 fraud in violation of 18 U.S.C. § 1343, at least two acts of interstate transportation of stolen
             3
                 property in violation 18 U.S.C. § 2314 and at least two acts of interstate and foreign travel or
             4
                 transportation in aid of racketeering HDR Enterprise in violation of 18 U.S.C. § 1952.
             5
                        704.       The documentary evidence of the operation of the aforesaid automated software
             6
                 tools, used by Defendants’ Insider Trading Desk on or about July 11, 2019 to deliberately
             7
                 liquidate Plaintiff Sorokin’s positions, is in sole and exclusive possession, custody and control of
             8
                 Defendants and Plaintiff Sorokin has no realistic way of obtaining this evidence without the
             9
                 benefit of discovery. Plaintiff Sorokin will amend this complaint once he obtains such
           10
                 documentary evidence through the Court’s discovery process.38
           11
                        705.       Defendants took extraordinary measures to conceal the wrongdoing perpetrated by
           12
                 their Insider Trading Desk from Plaintiff Sorokin, other traders and regulators. First, Defendants
           13
                 deliberately made all accounts on BitMEX platform anonymous, which hindered specifically
           14
                 pinpointing the origin of manipulation and other illegal acts. Second, according to the CFTC
           15
                 Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted required records, including user
           16
                 identities. Third, Defendants deliberately used anonymous “burner” (e.g. @gmail.com) email
           17
                 addresses, as opposed to "official" BitMEX email addresses (e.g. @bitmex.com), to open trading
           18
                 accounts for their Insider Trading Desk with BitMEX exchange, to cover up the tracks of
           19
                 wrongdoing so the trading histories and illegal manipulation profits cannot be traced back to
           20
                 BitMEX. The “burner” accounts were periodically recycled and corresponding trading records
           21
                 deleted. Accordingly, Defendants engaged in active concealment of their fraud. Therefore,
           22
                 Plaintiff Sorokin, through exercise of reasonable diligence, could not have obtained documentary
           23
                 evidence of operation of Defendants’ Insider Trading Desk automated market manipulation tools
           24
                 on or about July 11, 2019.
           25
           26    38
                   Defendants have a vastly superior knowledge of the facts relevant to the automated software
           27    tools developed by BitMEX, market manipulation and the operation of the Insider Trading Desk,
                 the confidential trader information it used, as well as the trading privileges it enjoyed, and are in
           28    exclusive possession of the relevant evidence.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 260 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        706.       Because the vast majority of BitMEX personnel, almost the entire engineering
             2
                 team (all but six) as well as all three Site Reliability Engineers, and almost all vital external
             3
                 service providers to BitMEX, are located in this District, and because Defendant ABS, which
             4
                 formally employs this personnel is an alter ego of Defendant HDR, this District is the home base
             5
                 of the largest operation of Defendant DHR, the nerve center of the operation of the BitMEX
             6
                 platform, and it is the location where the illegal acts and the resulting injuries as alleged herein
             7
                 took place. For example, Plaintiff is informed and believes and thereon alleges that three Site
             8
                 Reliability Engineers Jerry Aldrich, Scott H. and Armando Cerna personally caused, from within
             9
                 this District, BitMEX servers to freeze during Manipulation Times, on the direction received from
           10
                 Defendant Reed, who was located in Wisconsin.
           11
                        707.       In addition, Defendant HDR as well its California alter ego Defendant ABS is a
           12
                 single enterprise with extensive presence in this District (over 70 employees). Moreover, the
           13
                 alleged illegal acts were all performed on servers and other IT infrastructure owned and operated
           14
                 by United States based Amazon EKS with offices in this District. Furthermore, the helper
           15
                 accounts that were vital for Defendants to manipulate the prices of cryptocurrencies and
           16
                 cryptocurrency derivatives in violation of CEA and to launder funds in violation of 18 U.S.C. §
           17
                 1956(a), as alleged in this Complaint, were all maintained on United States based “reference”
           18
                 cryptocurrency spot exchanges BitStamp, Kraken and Coinbase Pro, two of which are located in
           19
                 the District. Defendants transferred funds to and from those vital United States based accounts in
           20
                 order to conduct the affairs of the HDR Enterprise.
           21
                        708.       Therefore, Defendants, and each of them, are liable, jointly and severally, to
           22
                 Plaintiff Sorokin under 18 U.S.C. § 1964(c) for the violation of the RICO, 18 U.S.C. § 1962(c) in
           23
                 the amount of triple of Plaintiff Sorokin’s losses to be proven at trial.
           24
                                                      COUNT XII
           25     Conspiracy To Conduct Or Participate In The Conduct Of Enterprise’s Affairs Through
           26       A Pattern Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(d) — Against
                             Defendants ABS, Hayes, Delo and Reed (HDR Is The Enterprise)
           27
                        709.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           28
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             1
                 paragraph as if fully set forth herein.
             2
                        710.       This Count is against Defendants ABS, Hayes, Delo and Reed only, who will be
             3
                 collectively referred to in this Count as “Defendants,” to the exclusion of HDR, which is not, for
             4
                 purposes of this Count, one of the “Defendants,” but a RICO Enterprise, separate and distinct
             5
                 from Defendants themselves.
             6
                        711.       As set forth above, the Defendants agreed and conspired to violate 18 U.S.C. §
             7
                 1962(a) (b) and (c). Specifically, Defendants conspired to: (1) use or invest income that is
             8
                 derived from a pattern of racketeering activity alleged hereinabove in the interstate HDR
             9
                 Enterprise (18 U.S.C. § 1962(a)); (2) acquire or maintain interests in the HDR Enterprise through
           10
                 a pattern of racketeering activity alleged hereinabove (18 U.S.C. § 1962(b)); and (3) conduct and
           11
                 participate in the conduct of the affairs of the HDR Enterprise through a pattern of racketeering
           12
                 activity alleged hereinabove (18 U.S.C. § 1962(c)).
           13
                        712.       Defendants have intentionally conspired and agreed to directly and indirectly use
           14
                 or invest income that was derived from a pattern of racketeering activity, including fraudulent
           15
                 solicitations, market manipulation and other illegal acts in the operation of an interstate HDR
           16
                 Enterprise, acquire or maintain interests in the HDR Enterprise through a pattern of racketeering
           17
                 activity alleged hereinabove, and conduct and participate in the conduct of the affairs of the HDR
           18
                 Enterprise through a pattern of racketeering activity alleged hereinabove. Defendants knew that
           19
                 their predicate acts were part of a pattern of racketeering activity alleged hereinabove and agreed
           20
                 to the commission of those overt acts to further the schemes described above. That conduct
           21
                 constitutes a conspiracy to violate 18 U.S.C. § 1962(a), (b) and (c), in violation of 18 U.S.C. §
           22
                 1962(d). For example, in furtherance of the Racketeering Conspiracy, Defendants ABS, Hayes,
           23
                 Delo and Reed, invested the illegal income derived from the fraudulent solicitations, market
           24
                 manipulation and other illegal acts perpetrated by them on the BitMEX platform into the HDR
           25
                 Enterprise, by renting for its benefit an entire floor in one of the most exclusive buildings in Hong
           26
                 Kong and renting three Lamborghinis during 2018 Consensus conference in New York in order to
           27
                 use these public stunts to attract even more innocent victims to the rigged BitMEX platform,
           28
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             1
                 operated by the HDR Enterprise.
             2
                        713.       Allegations of specific acts constituting fraudulent solicitations set forth in
             3
                 Paragraphs 481-577 above are incorporated as if fully set forth herein. Wire transmissions of
             4
                 these fraudulent solicitations from Defendants to Plaintiff Sorokin constitute predicates acts of
             5
                 wire fraud under 18 U.S.C. § 1343 and also constitute acts in furtherance of the Racketeering
             6
                 Conspiracy alleged herein.
             7
                        714.       Defendants, and each of them, intended to further the operation of an unlicensed
             8
                 money transmitting business in violation of 18 U.S.C. § 1960(a).
             9
                        715.       Defendants, and each of them, intended to further the money laundering endeavor
           10
                 in violation of 18 U.S.C. § 1956.
           11
                        716.       Defendants, and each of them, intended to further the transactions in property
           12
                 derived from specified unlawful activity in violation of 18 U.S.C. § 1957.
           13
                        717.       Defendants, and each of them, intended to further the wire fraud in violation of 18
           14
                 U.S.C. § 1343, including all acts of using wire transmissions for purposes of fraudulent
           15
                 solicitation alleged herein.
           16
                        718.       Defendants, and each of them, intended to further the interstate transportation of
           17
                 stolen property in violation of 18 U.S.C. § 2314.
           18
                        719.       Defendants, and each of them, intended to further the interstate and foreign travel
           19
                 or transportation in aid of racketeering HDR Enterprise in violation of 18 U.S.C. § 1952.
           20
                        720.       Defendants, and each of them, have been aware of the essential nature and scope
           21
                 of the alleged HDR Enterprise and intended to participate in it.
           22
                        721.       Defendants, and each of them, agreed to commit, or participate in, a pattern of
           23
                 overt acts in furtherance of the Racketeering Conspiracy, namely at least two acts of operating an
           24
                 unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), at least two acts of
           25
                 money laundering in violation of 18 U.S.C. § 1956, at least two acts of engaging in monetary
           26
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. § 1957,
           27
                 at least two acts of wire fraud in violation of 18 U.S.C. § 1343, at least two acts of interstate
           28
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             1
                 transportation of stolen property in violation 18 U.S.C. § 2314 and at least two acts of interstate
             2
                 and foreign travel or transportation in aid of racketeering HDR Enterprise in violation of 18
             3
                 U.S.C. § 1952.
             4
                        722.       In addition, in furtherance of the alleged conspiracy, and to achieve its purposes,
             5
                 the Defendants committed and caused to be committed the following overt acts, among others,
             6
                 alleged in this Complaint, in this District and elsewhere in the United States: 1) engaging in
             7
                 fraudulent solicitations of victims’, including Plaintiff Sorokin’s bitcoin deposits and trading
             8
                 commissions, using a laundry list of material misrepresentations, half-truths and omissions
             9
                 transmitted to victims using wire transmissions over the Internet; 2) operating an Insider Trading
           10
                 Desk with undisclosed informational and trading privileges over BitMEX traders, wherein the
           11
                 Insider Trading Desk was granted ‘God Assess” to all BitMEX customer information; 3)
           12
                 developing, deploying and utilizing, on a continuous basis, automated market manipulation tools
           13
                 designed to use sensitive insider information of BitMEX traders to automatically liquidate them
           14
                 and misappropriate their bitcoin deposits, when it is particularly profitable for Defendants to do
           15
                 so; 4) providing traders with extremely high trading leverage (up to 100x); 5) deliberately using
           16
                 .BXBT index price for highly liquid derivatives calculated based on prices of two or three illiquid
           17
                 spot exchanges; 6) enabling manipulators and money launderers to avoid detection by providing
           18
                 them with the ability to open unlimited number of anonymous document check-free trading
           19
                 accounts without any trading and withdrawal limits; 7) weaponizing deliberate server freezes,
           20
                 using fraudulent “system overload” events to accept some trading orders and reject others during
           21
                 large market moves to exacerbate price fluctuations and cause the most liquidations; 8) regularly
           22
                 manipulating price of cryptocurrencies including, without limitation, bitcoin, by using automated
           23
                 software tools developed in-house to execute large market orders from helper accounts on illiquid
           24
                 “reference” spot exchanges Coinbase Pro, BitStamp and Kraken in order to cause massive
           25
                 liquidations of traders’ derivatives positions on BitMEX and capture resulting market
           26
                 manipulation profits using winner accounts on that exchange; 9) knowingly, willfully and
           27
                 deliberately effectively transmitting market manipulation winnings from the helper accounts to
           28
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             1
                 the winner accounts in violation of 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. §
             2
                 1956(a) and 18 U.S.C. § 2314; and 10) knowingly, willfully and deliberately transmitting a
             3
                 portion of the money from the winner accounts back to the helper accounts in order to replenish
             4
                 them before next manipulation in violation of 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18
             5
                 U.S.C. § 1956(a) and 18 U.S.C. § 2314.
             6
                        723.       As direct and proximate result of the Defendants’ conspiracy, the overt acts taken
             7
                 in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Plaintiff Sorokin has
             8
                 been injured in his business and property in the amount to be proven at trial.
             9
                        724.       As a proximate result of the Defendants’, and each of them, conspiracy to conduct
           10
                 or participate in the long-running HDR Enterprise, within the meaning of 18 U.S.C. § 1961(4),
           11
                 engaging in the continuing pattern of racketeering activity involving, among other unlawful acts,
           12
                 at least two acts of operating an unlicensed money transmitting business in violation of 18 U.S.C.
           13
                 § 1960(a), at least two acts of money laundering in violation of 18 U.S.C. § 1956, at least two acts
           14
                 of engaging in monetary transactions in property derived from specified unlawful activity in
           15
                 violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of 18 U.S.C. § 1343, at
           16
                 least two acts of interstate and foreign travel or transportation in aid of racketeering HDR
           17
                 Enterprise in violation of 18 U.S.C. § 1952, at least two acts of interstate transportation of stolen
           18
                 property in violation 18 U.S.C. § 2314 and at least two acts as alleged in Paragraphs 481-577
           19
                 above, Plaintiff Sorokin sustained concrete and certain monetary cryptocurrency trading losses in
           20
                 the amount to be proven at trial.
           21
                        725.       During the Relevant Period, Plaintiff Sorokin was harmed by overt acts, in
           22
                 furtherance of the Racketeering Conspiracy, of wire transmissions of fraudulent solicitations as
           23
                 alleged in Paragraphs 481-577 above.
           24
                        726.       During the Relevant Period and in furtherance of the Racketeering Conspiracy,
           25
                 Defendants persistently manipulated prices of their bitcoin and ether Perpetual Swaps and
           26
                 Plaintiff Sorokin transacted in these derivatives on the BitMEX platform at persistently artificial
           27
                 prices resulting from Defendants’ misconduct, and suffered losses as a result of disadvantageous
           28
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             1
                 trades, and was subject to liquidations because of these persistently artificial prices, and as a
             2
                 direct result thereof suffered actual damages alleged herein.
             3
                        727.       During the Relevant Period, Plaintiff Sorokin thus entered into Perpetual Swaps
             4
                 through BitMEX, and suffered actual damages from such Perpetual Swaps as a result of, in
             5
                 connection with the Perpetual Swaps, Defendants’ manipulation of the price of derivatives of
             6
                 bitcoin and ether offered on BitMEX.
             7
                        728.       As the result of Defendants' wrongful conduct alleged hereinabove, including
             8
                 the overt acts furtherance of the Racketeering Conspiracy, Defendants took the Plaintiff
             9
                 Sorokin’s property amounting to 1.57143 bitcoins from Plaintiff Sorokin’s possession by way
           10
                 of fraudulent solicitations using a laundry list of misrepresentations, half-truths and
           11
                 omissions alleged herein.
           12
                        729.       Moreover, as the result of Defendants' wrongful conduct alleged hereinabove,
           13
                 including the overt acts furtherance of the Racketeering Conspiracy, Defendants took the
           14
                 Plaintiff Sorokin’s property amounting to 1.12803878 bitcoins from Plaintiff Sorokin’s
           15
                 possession by way of creating artificial prices for bitcoin and ether Perpetual Swaps and
           16
                 wrongfully liquidating Plaintiff Sorokin’s margined positions.
           17
                        730.       Specifically, automated software tools built by Defendants and operated by
           18
                 Defendants’ Insider Trading Desk, using Plaintiff Sorokin’s highly sensitive and confidential
           19
                 information, continuously manipulated cryptoderivative markets traded by Plaintiff Sorokin on
           20
                 BitMEX platform, as well as price-determining spot markets on reference exchanges, on a 24
           21
                 hour a day, 7 days a week basis, including the specific date and time when Plaintiff Sorokin
           22
                 suffered his bitcoin losses, and namely July 11, 2019. Operation of these automated tools by
           23
                 Defendants’ Insider Trading Desk involved multiple overt acts in furtherance of the alleged
           24
                 Racketeering Conspiracy and deliberately caused automatic liquidations of Plaintiff Sorokin’s
           25
                 respective Perpetual Swap positions on BitMEX platform and confiscation of Plaintiff Sorokin’s
           26
                 respective collateral from his BitMEX account on or about July 11, 2019, resulting in a
           27
                 cumulative loss of 1.12803878 bitcoins by Plaintiff Sorokin.
           28
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             1
                        731.       The documentary evidence of the operation of the aforesaid automated software
             2
                 tools, used by Defendants’ Insider Trading Desk on or about July 11, 2019 to deliberately
             3
                 liquidate Plaintiff Sorokin’s positions, is in sole and exclusive possession, custody and control of
             4
                 Defendants and Plaintiff Sorokin has no realistic way of obtaining this evidence without the
             5
                 benefit of discovery. Plaintiff Sorokin will amend this complaint once he obtains such
             6
                 documentary evidence through the Court’s discovery process.39
             7
                        732.       Defendants took extraordinary measures to conceal the wrongdoing perpetrated by
             8
                 their Insider Trading Desk from Plaintiff Sorokin, other traders and regulators. First, Defendants
             9
                 deliberately made all accounts on BitMEX platform anonymous, which hindered specifically
           10
                 pinpointing the origin of manipulation and other illegal acts. Second, according to the CFTC
           11
                 Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted required records, including user
           12
                 identities. Third, Defendants deliberately used anonymous “burner” (e.g. @gmail.com) email
           13
                 addresses, as opposed to "official" BitMEX email addresses (e.g. @bitmex.com), to open trading
           14
                 accounts for its Insider Trading Desk with BitMEX exchange, to cover up the tracks of
           15
                 wrongdoing so the trading histories and illegal manipulation profits cannot be traced back to
           16
                 BitMEX. The “burner” accounts were periodically recycled and corresponding trading records
           17
                 deleted. Accordingly, Defendants engaged in active concealment of their fraud. Therefore,
           18
                 Plaintiff Sorokin, through exercise of reasonable diligence, could not have obtained documentary
           19
                 evidence of operation of Defendants’ Insider Trading Desk automated market manipulation tools
           20
                 on or about July 11, 2019.
           21
                        733.       On or about July 11, 2019, Defendants, using the automated market manipulation
           22
                 tools continuously executed by the Insider Trading Desk, wrongfully took the above-mentioned
           23
                 property, including Plaintiff Sorokin’s valuable bitcoin holdings of 1.12803878 bitcoins,
           24
           25
           26    39
                   Defendants have a vastly superior knowledge of the facts relevant to the automated software
           27    tools developed by BitMEX, market manipulation and the operation of the Insider Trading Desk,
                 the confidential trader information it used, as well as the trading privileges it enjoyed, and are in
           28    exclusive possession of the relevant evidence.
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             1
                 deposited in respective Plaintiff Sorokin’s BitMEX trading accounts from Plaintiff Sorokin’s
             2
                 possession.
             3
                        734.       Because the vast majority of BitMEX personnel, almost the entire engineering
             4
                 team (all but six) as well as all three Site Reliability Engineers, and almost all vital external
             5
                 service providers to BitMEX, are located in this District, and because Defendant ABS, which
             6
                 formally employs this personnel is an alter ego of Defendant HDR, this District is the home base
             7
                 of the largest operation of Defendant DHR, the nerve center of the operation of the BitMEX
             8
                 platform, and it is the location where the illegal acts and the resulting injuries as alleged herein
             9
                 took place. In addition, Defendant HDR as well its California alter ego Defendant ABS is a
           10
                 single enterprise with extensive presence in this District (over 70 employees). Specifically,
           11
                 Plaintiff is informed and believes and thereon alleges that three Site Reliability Engineers Jerry
           12
                 Aldrich, Scott H. and Armando Cerna personally caused, from within this District, BitMEX
           13
                 servers to freeze during Manipulation Times, on the direction received from Defendant Reed,
           14
                 who was located in Wisconsin. Moreover, the alleged illegal acts were all performed on servers
           15
                 and other IT infrastructure owned and operated by United States based Amazon EKS with offices
           16
                 in this District. Furthermore, the helper accounts that were vital for Defendants to manipulate the
           17
                 prices of cryptocurrencies and cryptocurrency derivatives in violation of CEA and to launder
           18
                 funds in violation of 18 U.S.C. § 1956(a), as alleged in this Complaint, were all maintained on
           19
                 United States based “reference” cryptocurrency spot exchanges BitStamp, Kraken and Coinbase
           20
                 Pro, two of which are located in the District. Defendants transferred funds to and from those vital
           21
                 United States based accounts in order to conduct the affairs of the HDR Enterprise.
           22
                        735.       Therefore, Defendants, and each of them, are liable, jointly and severally, to
           23
                 Plaintiff Sorokin under 18 U.S.C. § 1964(c) for the violation of the RICO, 18 U.S.C. § 1962(d) in
           24
                 the amount of triple of Plaintiff Sorokin’s losses to be proven at trial.
           25
           26
           27
           28
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             1
                                                        COUNT XIII
             2    Conduct Of Or Participation In The Conduct Of Enterprise’s Affairs Through A Pattern
                  Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(c) — Against Defendants HDR,
             3
                                      Hayes, Delo and Reed (ABS Is The Enterprise)
             4          736.       Plaintiff repeats and re-alleges the allegations contained in every preceding
             5   paragraph as if fully set forth herein.
             6          737.       This Count is against Defendants HDR, Hayes, Delo and Reed only, who will be
             7   collectively referred to in this Count as “Defendants,” to the exclusion of ABS, which is not, for
             8   purposes of this Count, one of the “Defendants,” but a RICO Enterprise, separate and distinct
             9   from Defendants themselves.
           10           738.       From at least April 27, 2017 and until present, Defendant ABS constituted an
           11    “enterprise” (“ABS Enterprise”) within the meaning of RICO as defined in 18 U.S.C. § 1961.
           12    Since at least April 27, 2017, each of Defendants HDR, Hayes, Delo and Reed has been a person
           13    separate and distinct from the ABS Enterprise itself, while, at the same time, being associated
           14    with, or employed by the ABS Enterprise. The purpose of the ABS Enterprise was to design and
           15    operate a website www.bitmex.com to fraudulently solicit bitcoin deposits and trading
           16    commissions from victims, including Plaintiff Sorokin, using a laundry list of misrepresentations,
           17    half-truths and material omissions of fact and to manipulate markets on the BitMEX and price-
           18    forming “reference” exchanges Bitstamp, Coinbase Pro and Kraken to misappropriate victims’,
           19    including Plaintiff Sorokin’s, bitcoins deposited with Defendants.
           20           739.       The activity of the ABS Enterprise and the predicate acts of racketeering alleged
           21    herein affect interstate or foreign commerce. Specifically, the ABS Enterprise directly engaged in
           22    the production, distribution, or acquisition of goods and services in interstate commerce and
           23    foreign commerce, including, without limitation, very large volume (up to one trillion U.S.
           24    dollars of turnover per year) cryptocurrency derivatives trading services.
           25           740.       Allegations of specific acts constituting fraudulent solicitations set forth in
           26    Paragraphs 481-577 above are incorporated as if fully set forth herein. Wire transmissions of
           27    these fraudulent solicitations from Defendants to Plaintiff Sorokin constitute at least some
           28
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             1
                 predicates acts of wire fraud under 18 U.S.C. § 1343.
             2
                           741.       Defendants agreed to and did conduct and participate in the conduct of the ABS
             3
                 Enterprise’s affairs through a pattern of racketeering activity and for the unlawful purpose of
             4
                 intentionally defrauding Plaintiff Sorokin as well as other cryptocurrency traders and
             5
                 misappropriating their cryptocurrency holdings as well as the Purposes alleged above.
             6
                 Specifically, Defendants engaged in continuous pattern of racketeering activity involving, among
             7
                 other unlawful acts, operating an unlicensed money transmitting business in violation of 18 U.S.C.
             8
                 § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), monetary transactions in
             9
                 property derived from specified unlawful activity in violation of 18 U.S.C. § 1957(a), wire fraud
           10
                 in violation 18 U.S.C. § 1343, interstate transportation of stolen property in violation 18 U.S.C.
           11
                 § 2314 and interstate and foreign travel or transportation in aid of racketeering ABS Enterprise in
           12
                 violation of 18 U.S.C. § 1952. The alleged acts were perpetrated by Defendants during Relevant
           13
                 Period on a daily basis, including during each of the Manipulation Times, and continue to take
           14
                 place.
           15
                           742.       Pursuant to and in furtherance of their fraudulent scheme, Defendants committed
           16
                 multiple related acts of operating an unlicensed money transmitting business in violation of 18
           17
                 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
           18
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           19
                 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
           20
                 violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           21
                 racketeering ABS Enterprise in violation of 18 U.S.C. § 1952.
           22
                           743.       The acts of operating an unlicensed money transmitting business in violation of 18
           23
                 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary
           24
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. §
           25
                 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen property in
           26
                 violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           27
                 racketeering ABS Enterprise in violation of 18 U.S.C. § 1952 set forth above constitute a pattern
           28
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             1
                 of racketeering activity pursuant to 18 U.S.C. § 1961(5).
             2
                        744.       Plaintiff is informed and believes and thereon alleges that Defendants, and each of
             3
                 them, took part in directing the affairs of the alleged ABS Enterprise by engaging in a continuing
             4
                 pattern of racketeering activity involving, among other unlawful acts, operating an unlicensed
             5
                 money transmitting business in violation of 18 U.S.C. § 1960(a), money laundering in violation
             6
                 of 18 U.S.C. § 1956(a), engaging in monetary transactions in property derived from specified
             7
                 unlawful activity in violation of 18 U.S.C. § 1957(a), wire fraud in violation 18 U.S.C. § 1343,
             8
                 interstate transportation of stolen property in violation 18 U.S.C. § 2314 and interstate and foreign
             9
                 travel or transportation in aid of racketeering ABS Enterprise in violation of 18 U.S.C. § 1952.
           10
                        745.       Defendants have directly and indirectly conducted and participated in the conduct
           11
                 of the ABS Enterprise’s affairs through the pattern of racketeering and activity described above,
           12
                 in violation of 18 U.S.C. § 1962(c).
           13
                        746.       Defendants, and each of them, (1) gave or took directions; (2) occupied a position
           14
                 in the "chain of command" through which the affairs of the ABS Enterprise are conducted; (3)
           15
                 knowingly implemented decisions of upper management; and (4) were indispensable to the
           16
                 achievement of the alleged ABS Enterprise’s goals.
           17
                        747.       Defendants, and each of them, conducted or participated in the conduct of the
           18
                 affairs of the alleged ABS Enterprise engaging in a continuing pattern of racketeering activity
           19
                 involving, among other unlawful acts, operating an unlicensed money transmitting business in
           20
                 violation of 18 U.S.C. § 1960(a), money laundering in violation of 18 U.S.C. § 1956(a), engaging
           21
                 in monetary transactions in property derived from specified unlawful activity in violation of 18
           22
                 U.S.C. § 1957(a), wire fraud in violation 18 U.S.C. § 1343, interstate transportation of stolen
           23
                 property in violation 18 U.S.C. § 2314 and interstate and foreign travel or transportation in aid of
           24
                 racketeering ABS Enterprise in violation of 18 U.S.C. § 1952.
           25
                        748.       Defendants, and each of them, participated in a pattern of racketeering activity,
           26
                 which included at least two acts of racketeering activity including, without limitation, at least two
           27
                 acts of operating an unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a),
           28
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             1
                 at least two acts of money laundering in violation of 18 U.S.C. § 1956, at least two acts of
             2
                 engaging in monetary transactions in property derived from specified unlawful activity in
             3
                 violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of 18 U.S.C. § 1343, at
             4
                 least two acts of interstate transportation of stolen property in violation 18 U.S.C. § 2314 and at
             5
                 least two acts of interstate and foreign travel or transportation in aid of racketeering ABS
             6
                 Enterprise in violation of 18 U.S.C. § 1952. Defendants, and each of them, committed the alleged
             7
                 predicate offenses as a part of conducting or participating in the ABS Enterprise, and, therefore,
             8
                 are liable for the violation of the RICO, 18 U.S.C. § 1964(c).
             9
                        749.       As a direct and proximate result of the Defendants’, and each of them, conduct of
           10
                 or participation in the long-running ABS Enterprise, within the meaning of 18 U.S.C. § 1961(4),
           11
                 engaging in the continuing pattern of racketeering activity involving, among other unlawful acts,
           12
                 operating an unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), money
           13
                 laundering in violation of 18 U.S.C. § 1956(a), engaging in monetary transactions in property
           14
                 derived from specified unlawful activity in violation of 18 U.S.C. § 1957(a), wire fraud in
           15
                 violation 18 U.S.C. § 1343, interstate transportation of stolen property in violation 18 U.S.C.
           16
                 § 2314 and interstate and foreign travel or transportation in aid of racketeering ABS Enterprise in
           17
                 violation of 18 U.S.C. § 1952, Plaintiff Sorokin has been domestically injured in his business and
           18
                 property in the amount to be proven at trial.
           19
                        750.       During the Relevant Period, Defendants engaged in fraudulent solicitations of
           20
                 Plaintiff Sorokin’s bitcoin deposits, orders and trading commissions using a laundry list of
           21
                 misrepresentations, half-truths and omissions and Plaintiff Sorokin suffered actual damages
           22
                 alleged herein as a result of his reasonable and justifiable reliance on these fraudulent
           23
                 solicitations. These fraudulent solicitations constituted predicate acts of wire fraud in violation
           24
                 18 U.S.C. § 1343.
           25
                        751.       Moreover, During the Relevant Period, in which Defendants persistently
           26
                 manipulated prices of their bitcoin and ether Perpetual Swaps, Plaintiff Sorokin transacted in
           27
                 these derivatives on the BitMEX platform at persistently artificial prices resulting from
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 272 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Defendants’ misconduct, suffered losses as a result of disadvantageous trades, and was subject to
             2
                 liquidations because of these persistently artificial prices, and as a direct result thereof suffered
             3
                 actual damages alleged herein. The wire transmissions of the manipulative trading orders by
             4
                 Defendants further constituted predicate acts of wire fraud in violation 18 U.S.C. § 1343.
             5
                        752.       During the Relevant Period, Plaintiff Sorokin thus entered into Perpetual Swaps
             6
                 through BitMEX, and suffered actual damages from such swaps as a result of, in connection with
             7
                 the Perpetual Swaps, Defendants’ manipulation of the price of derivatives of bitcoin and ether
             8
                 offered on BitMEX, in violation of the CEA.
             9
                        753.       As the result of Defendants' wrongful conduct alleged hereinabove,
           10
                 Defendants took the Plaintiff Sorokin’s property amounting to 1.57143 bitcoins from Plaintiff
           11
                 Sorokin’s possession by way of fraudulent solicitations using a laundry list of
           12
                 misrepresentations, half-truths and omissions alleged herein.
           13
                        754.       Moreover, as the result of Defendants' wrongful conduct alleged hereinabove,
           14
                 Defendants took the Plaintiff Sorokin’s property amounting to 1.12803878 bitcoins from
           15
                 Plaintiff Sorokin’s possession by way of creating artificial prices for bitcoin and ether
           16
                 Perpetual Swaps and wrongfully liquidating Plaintiff Sorokin’s margined positions.
           17
                        755.       Specifically, automated software tools built by Defendants and operated by
           18
                 Defendants’ Insider Trading Desk, using Plaintiff Sorokin’s highly sensitive and confidential
           19
                 information, continuously manipulated cryptoderivative markets traded by Plaintiff Sorokin on
           20
                 BitMEX platform, as well as price-determining spot markets on “reference” exchanges, on a 24
           21
                 hour a day, 7 days a week basis, including the specific date and time when Plaintiff Sorokin
           22
                 suffered his bitcoin losses, and namely July 11, 2019. Operation of these automated tools by
           23
                 Defendants’ Insider Trading Desk deliberately caused automatic liquidations of Plaintiff
           24
                 Sorokin’s respective Perpetual Swap positions on BitMEX platform and confiscation of Plaintiff
           25
                 Sorokin’s respective collateral from his BitMEX account on or about July 11, 2019, resulting in
           26
                 a cumulative loss of 1.12803878 bitcoins by Plaintiff Sorokin.
           27
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 273 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        756.       In causing the alleged financial harm to Plaintiff Sorokin, the aforesaid operation
             2
                 of the automated software tools built by Defendants involved at least two acts of racketeering
             3
                 activity including, without limitation, at least two acts of operating an unlicensed money
             4
                 transmitting business in violation of 18 U.S.C. § 1960(a), at least two acts of money laundering in
             5
                 violation of 18 U.S.C. § 1956, at least two acts of engaging in monetary transactions in property
             6
                 derived from specified unlawful activity in violation of 18 U.S.C. § 1957, at least two acts of wire
             7
                 fraud in violation of 18 U.S.C. § 1343, at least two acts of interstate transportation of stolen
             8
                 property in violation 18 U.S.C. § 2314 and at least two acts of interstate and foreign travel or
             9
                 transportation in aid of racketeering ABS Enterprise in violation of 18 U.S.C. § 1952.
           10
                        757.       The documentary evidence of the operation of the aforesaid automated software
           11
                 tools, used by Defendants’ Insider Trading Desk on or about July 11, 2019 to deliberately
           12
                 liquidate Plaintiff Sorokin’s positions, is in sole and exclusive possession, custody and control of
           13
                 Defendants and Plaintiff Sorokin has no realistic way of obtaining this evidence without the
           14
                 benefit of discovery. Plaintiff Sorokin will amend this complaint once he obtains such
           15
                 documentary evidence through the Court’s discovery process.40
           16
                        758.       Defendants took extraordinary measures to conceal the wrongdoing perpetrated by
           17
                 their Insider Trading Desk from Plaintiff Sorokin, other traders and regulators. First, Defendants
           18
                 deliberately made all accounts on BitMEX platform anonymous, which hindered specifically
           19
                 pinpointing the origin of manipulation and other illegal acts. Second, according to the CFTC
           20
                 Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted required records, including user
           21
                 identities. Third, Defendants deliberately used anonymous “burner” (e.g. @gmail.com) email
           22
                 addresses, as opposed to "official" BitMEX email addresses (e.g. @bitmex.com), to open trading
           23
                 accounts for its Insider Trading Desk with BitMEX exchange, to cover up the tracks of
           24
                 wrongdoing so the trading histories and illegal manipulation profits cannot be traced back to
           25
           26    40
                   Defendants have a vastly superior knowledge of the facts relevant to the automated software
           27    tools developed by BitMEX, market manipulation and the operation of the Insider Trading Desk,
                 the confidential trader information it used, as well as the trading privileges it enjoyed, and are in
           28    exclusive possession of the relevant evidence.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 274 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 BitMEX. The “burner” accounts were periodically recycled and corresponding trading records
             2
                 deleted. Accordingly, Defendants engaged in active concealment of their fraud. Therefore,
             3
                 Plaintiff Sorokin, through exercise of reasonable diligence, could not have obtained documentary
             4
                 evidence of operation of Defendants’ Insider Trading Desk automated market manipulation tools
             5
                 on or about July 11, 2019.
             6
                        759.       Because the vast majority of BitMEX personnel, almost the entire engineering
             7
                 team (all but six) as well as all three Site Reliability Engineers, and almost all vital external
             8
                 service providers to BitMEX, are located in this District, and because Defendant ABS, which
             9
                 formally employs this personnel is an alter ego of Defendant HDR, this District is the home base
           10
                 of the largest operation of Defendant DHR, the nerve center of the operation of the BitMEX
           11
                 platform, and it is the location where the illegal acts and the resulting injuries as alleged herein
           12
                 took place. For example, Plaintiff is informed and believes and thereon alleges that three Site
           13
                 Reliability Engineers Jerry Aldrich, Scott H. and Armando Cerna personally caused, from within
           14
                 this District, BitMEX servers to freeze during Manipulation Times, on the direction received from
           15
                 Defendant Reed, who was located in Wisconsin.
           16
                        760.       In addition, Defendant HDR as well its California alter ego Defendant ABS is a
           17
                 single enterprise with extensive presence in this District (over 70 employees). Moreover, the
           18
                 alleged illegal acts were all performed on servers and other IT infrastructure owned and operated
           19
                 by United States based Amazon EKS with offices in this District. Furthermore, the helper
           20
                 accounts that were vital for Defendants to manipulate the prices of cryptocurrencies and
           21
                 cryptocurrency derivatives in violation of CEA and to launder funds in violation of 18 U.S.C. §
           22
                 1956(a), as alleged in this Complaint, were all maintained on United States based “reference”
           23
                 cryptocurrency spot exchanges BitStamp, Kraken and Coinbase Pro, two of which are located in
           24
                 the District. Defendants transferred funds to and from those vital United States based accounts in
           25
                 order to conduct the affairs of the ABS Enterprise.
           26
                        761.       Therefore, Defendants, and each of them, are liable, jointly and severally, to
           27
                 Plaintiff Sorokin under 18 U.S.C. § 1964(c) for the violation of the RICO, 18 U.S.C. § 1962(c) in
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 275 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 the amount of triple of Plaintiff Sorokin’s losses to be proven at trial.
             2
                                                     COUNT XIV
             3    Conspiracy To Conduct Or Participate In The Conduct Of Enterprise’s Affairs Through
             4      A Pattern Of Racketeering Activity In Violation Of 18 U.S.C. § 1962(d) — Against
                             Defendants HDR, Hayes, Delo and Reed (ABS Is The Enterprise)
             5
                        762.       Plaintiff repeats and re-alleges the allegations contained in every preceding
             6
                 paragraph as if fully set forth herein.
             7
                        763.       This Count is against Defendants HDR, Hayes, Delo and Reed only, who will be
             8
                 collectively referred to in this Count as “Defendants,” to the exclusion of ABS, which is not, for
             9
                 purposes of this Count, one of the “Defendants,” but a RICO Enterprise, separate and distinct
           10
                 from Defendants themselves.
           11
                        764.       As set forth above, the Defendants agreed and conspired to violate 18 U.S.C. §
           12
                 1962(a) (b) and (c). Specifically, Defendants conspired to: (1) use or invest income that is
           13
                 derived from a pattern of racketeering activity alleged hereinabove in the interstate ABS
           14
                 Enterprise (18 U.S.C. § 1962(a)); (2) acquire or maintain interests in the ABS Enterprise through
           15
                 a pattern of racketeering activity alleged hereinabove (18 U.S.C. § 1962(b)); and (3) conduct and
           16
                 participate in the conduct of the affairs of the ABS Enterprise through a pattern of racketeering
           17
                 activity alleged hereinabove (18 U.S.C. § 1962(c)).
           18
                        765.       Defendants have intentionally conspired and agreed to directly and indirectly use
           19
                 or invest income that was derived from a pattern of racketeering activity, including fraudulent
           20
                 solicitations, market manipulation and other illegal acts in the operation of an interstate ABS
           21
                 Enterprise, acquire or maintain interests in the ABS Enterprise through a pattern of racketeering
           22
                 activity alleged hereinabove, and conduct and participate in the conduct of the affairs of the ABS
           23
                 Enterprise through a pattern of racketeering activity alleged hereinabove. Defendants knew that
           24
                 their predicate acts were part of a pattern of racketeering activity alleged hereinabove and agreed
           25
                 to the commission of those overt acts to further the schemes described above. That conduct
           26
                 constitutes a conspiracy to violate 18 U.S.C. § 1962(a), (b) and (c), in violation of 18 U.S.C. §
           27
                 1962(d). For example, in furtherance of the Racketeering Conspiracy, Defendants HDR, Hayes,
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 276 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Delo and Reed, invested the illegal income derived from the fraudulent solicitations, market
             2
                 manipulation and other illegal acts perpetrated by them on the BitMEX platform into the ABS
             3
                 Enterprise, by renting for its benefit an entire floor in one of the most exclusive buildings in San
             4
                 Francisco in order to use this public stunt to attract even more innocent victims to the rigged
             5
                 BitMEX platform operated by the ABS Enterprise.
             6
                        766.       Allegations of specific acts constituting fraudulent solicitations set forth in
             7
                 Paragraphs 481-577 above are incorporated as if fully set forth herein. Wire transmissions of
             8
                 these fraudulent solicitations from Defendants to Plaintiff Sorokin constitute predicates acts of
             9
                 wire fraud under 18 U.S.C. § 1343 and also constitute acts in furtherance of the Racketeering
           10
                 Conspiracy alleged herein.
           11
                        767.       Defendants, and each of them, intended to further the operation of an unlicensed
           12
                 money transmitting business in violation of 18 U.S.C. § 1960(a).
           13
                        768.       Defendants, and each of them, intended to further the money laundering endeavor
           14
                 in violation of 18 U.S.C. § 1956.
           15
                        769.       Defendants, and each of them, intended to further the transactions in property
           16
                 derived from specified unlawful activity in violation of 18 U.S.C. § 1957.
           17
                        770.       Defendants, and each of them, intended to further the wire fraud in violation of 18
           18
                 U.S.C. § 1343, including all acts of using wire transmissions for purposes of fraudulent
           19
                 solicitation alleged herein.
           20
                        771.       Defendants, and each of them, intended to further the interstate transportation of
           21
                 stolen property in violation of 18 U.S.C. § 2314.
           22
                        772.       Defendants, and each of them, intended to further the interstate and foreign travel
           23
                 or transportation in aid of racketeering ABS Enterprise in violation of 18 U.S.C. § 1952.
           24
                        773.       Defendants, and each of them, have been aware of the essential nature and scope
           25
                 of the alleged ABS Enterprise and intended to participate in it.
           26
                        774.       Defendants, and each of them, agreed to commit, or participate in, a pattern of
           27
                 overt acts in furtherance of the Racketeering Conspiracy, namely at least two acts of operating an
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 277 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 unlicensed money transmitting business in violation of 18 U.S.C. § 1960(a), at least two acts of
             2
                 money laundering in violation of 18 U.S.C. § 1956, at least two acts of engaging in monetary
             3
                 transactions in property derived from specified unlawful activity in violation of 18 U.S.C. § 1957,
             4
                 at least two acts of wire fraud in violation of 18 U.S.C. § 1343, at least two acts of interstate
             5
                 transportation of stolen property in violation 18 U.S.C. § 2314 and at least two acts of interstate
             6
                 and foreign travel or transportation in aid of racketeering ABS Enterprise in violation of 18
             7
                 U.S.C. § 1952.
             8
                        775.       In addition, in furtherance of the alleged conspiracy, and to achieve its purposes,
             9
                 the Defendants committed and caused to be committed the following overt acts, among others,
           10
                 alleged in this Complaint, in this District and elsewhere in the United States: 1) engaging in
           11
                 fraudulent solicitations of victims’, including Plaintiff Sorokin’s bitcoin deposits and trading
           12
                 commissions, using a laundry list of material misrepresentations, half-truths and omissions
           13
                 transmitted to victims using wire transmissions over the Internet; 2) operating an Insider Trading
           14
                 Desk with undisclosed informational and trading privileges over BitMEX traders, wherein the
           15
                 Insider Trading Desk was granted ‘God Assess” to all BitMEX customer information; 3)
           16
                 developing, deploying and utilizing, on a continuous basis, automated market manipulation tools
           17
                 designed to use sensitive insider information of BitMEX traders to automatically liquidate them
           18
                 and misappropriate their bitcoin deposits, when it is particularly profitable for Defendants to do
           19
                 so; 4) providing traders with extremely high trading leverage (up to 100x); 5) deliberately using
           20
                 .BXBT index price for highly liquid derivatives calculated based on prices of two or three illiquid
           21
                 spot exchanges; 6) enabling manipulators and money launderers to avoid detection by providing
           22
                 them with the ability to open unlimited number of anonymous document check-free trading
           23
                 accounts without any trading and withdrawal limits; 7) weaponizing deliberate server freezes,
           24
                 using fraudulent “system overload” events to accept some trading orders and reject others during
           25
                 large market moves to exacerbate price fluctuations and cause the most liquidations; 8) regularly
           26
                 manipulating price of cryptocurrencies including, without limitation, bitcoin, by using automated
           27
                 software tools developed in-house to execute large market orders from helper accounts on illiquid
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 278 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 “reference” spot exchanges Coinbase Pro, BitStamp and Kraken in order to cause massive
             2
                 liquidations of traders’ derivatives positions on BitMEX and capture resulting market
             3
                 manipulation profits using winner accounts on that exchange; 9) knowingly, willfully and
             4
                 deliberately effectively transmitting market manipulation winnings from the helper accounts to
             5
                 the winner accounts in violation of 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18 U.S.C. §
             6
                 1956(a) and 18 U.S.C. § 2314; and 10) knowingly, willfully and deliberately transmitting a
             7
                 portion of the money from the winner accounts back to the helper accounts in order to replenish
             8
                 them before next manipulation in violation of 18 U.S.C. § 1960(a), 18 U.S.C. § 1957(a) and 18
             9
                 U.S.C. § 1956(a) and 18 U.S.C. § 2314.
           10
                        776.       As direct and proximate result of the Defendants’ conspiracy, the overt acts taken
           11
                 in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Plaintiff Sorokin has
           12
                 been injured in his business and property in the amount to be proven at trial.
           13
                        777.       As a proximate result of the Defendants’, and each of them, conspiracy to conduct
           14
                 or participate in the long-running and continuous ABS Enterprise, within the meaning of 18
           15
                 U.S.C. § 1961(4), engaging in the continuing pattern of racketeering activity involving, among
           16
                 other unlawful acts, at least two acts of operating an unlicensed money transmitting business in
           17
                 violation of 18 U.S.C. § 1960(a), at least two acts of money laundering in violation of 18 U.S.C.
           18
                 § 1956, at least two acts of engaging in monetary transactions in property derived from specified
           19
                 unlawful activity in violation of 18 U.S.C. § 1957, at least two acts of wire fraud in violation of
           20
                 18 U.S.C. § 1343, at least two acts of interstate and foreign travel or transportation in aid of
           21
                 racketeering ABS Enterprise in violation of 18 U.S.C. § 1952, at least two acts of interstate
           22
                 transportation of stolen property in violation 18 U.S.C. § 2314 and at least two acts as alleged in
           23
                 Paragraphs 481-577 above, Plaintiff Sorokin sustained concrete and certain monetary
           24
                 cryptocurrency trading losses in the amount to be proven at trial.
           25
                        778.       During the Relevant Period, Plaintiff Sorokin was harmed by overt acts, in
           26
                 furtherance of the Racketeering Conspiracy, of wire transmissions of fraudulent solicitations as
           27
                 alleged in Paragraphs 481-577 above.
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 279 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        779.       During the Relevant Period and in furtherance of the Racketeering Conspiracy,
             2
                 Defendants persistently manipulated prices of their bitcoin and ether Perpetual Swaps and
             3
                 Plaintiff Sorokin transacted in these derivatives on the BitMEX platform at persistently artificial
             4
                 prices resulting from Defendants’ misconduct, and suffered losses as a result of disadvantageous
             5
                 trades, and was subject to liquidations because of these persistently artificial prices, and as a
             6
                 direct result thereof suffered actual damages alleged herein.
             7
                        780.       During the Relevant Period, Plaintiff Sorokin thus entered into Perpetual Swaps
             8
                 through BitMEX, and suffered actual damages from such Perpetual Swaps as a result of, in
             9
                 connection with the Perpetual Swaps, Defendants’ manipulation of the price of derivatives of
           10
                 bitcoin and ether offered on BitMEX.
           11
                        781.       As the result of Defendants' wrongful conduct alleged hereinabove, including
           12
                 the overt acts furtherance of the Racketeering Conspiracy, Defendants took the Plaintiff
           13
                 Sorokin’s property amounting to 1.57143 bitcoins from Plaintiff Sorokin’s possession by way
           14
                 of fraudulent solicitations using a laundry list of misrepresentations, half-truths and
           15
                 omissions alleged herein.
           16
                        782.       Moreover, as the result of Defendants' wrongful conduct alleged hereinabove,
           17
                 including the overt acts furtherance of the Racketeering Conspiracy, Defendants took the
           18
                 Plaintiff Sorokin’s property amounting to 1.12803878 bitcoins from Plaintiff Sorokin’s
           19
                 possession by way of creating artificial prices for bitcoin and ether Perpetual Swaps and
           20
                 wrongfully liquidating Plaintiff Sorokin’s margined positions.
           21
                        783.       Specifically, automated software tools built by Defendants and operated by
           22
                 Defendants’ Insider Trading Desk, using Plaintiff Sorokin’s highly sensitive and confidential
           23
                 information, continuously manipulated cryptoderivative markets traded by Plaintiff Sorokin on
           24
                 BitMEX platform, as well as price-determining spot markets on reference exchanges, on a 24
           25
                 hour a day, 7 days a week basis, including the specific date and time when Plaintiff Sorokin
           26
                 suffered his bitcoin losses, and namely July 11, 2019. Operation of these automated tools by
           27
                 Defendants’ Insider Trading Desk involved multiple overt acts in furtherance of the alleged
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 280 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Racketeering Conspiracy and deliberately caused automatic liquidations of Plaintiff Sorokin’s
             2
                 respective Perpetual Swap positions on BitMEX platform and confiscation of Plaintiff Sorokin’s
             3
                 respective collateral from his BitMEX account on or about July 11, 2019, resulting in a
             4
                 cumulative loss of 1.12803878 bitcoins by Plaintiff Sorokin.
             5
                        784.       The documentary evidence of the operation of the aforesaid automated software
             6
                 tools, used by Defendants’ Insider Trading Desk on or about July 11, 2019 to deliberately
             7
                 liquidate Plaintiff Sorokin’s positions, is in sole and exclusive possession, custody and control of
             8
                 Defendants and Plaintiff Sorokin has no realistic way of obtaining this evidence without the
             9
                 benefit of discovery. Plaintiff Sorokin will amend this complaint once he obtains such
           10
                 documentary evidence through the Court’s discovery process.41
           11
                        785.       Defendants took extraordinary measures to conceal the wrongdoing perpetrated by
           12
                 their Insider Trading Desk from Plaintiff Sorokin, other traders and regulators. First, Defendants
           13
                 deliberately made all accounts on BitMEX platform anonymous, which hindered specifically
           14
                 pinpointing the origin of manipulation and other illegal acts. Second, according to the CFTC
           15
                 Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted required records, including user
           16
                 identities. Third, Defendants deliberately used anonymous “burner” (e.g. @gmail.com) email
           17
                 addresses, as opposed to "official" BitMEX email addresses (e.g. @bitmex.com), to open trading
           18
                 accounts for its Insider Trading Desk with BitMEX exchange, to cover up the tracks of
           19
                 wrongdoing so the trading histories and illegal manipulation profits cannot be traced back to
           20
                 BitMEX. The “burner” accounts were periodically recycled and corresponding trading records
           21
                 deleted. Accordingly, Defendants engaged in active concealment of their fraud. Therefore,
           22
                 Plaintiff Sorokin, through exercise of reasonable diligence, could not have obtained documentary
           23
                 evidence of operation of Defendants’ Insider Trading Desk automated market manipulation tools
           24
                 on or about July 11, 2019.
           25
           26    41
                   Defendants have a vastly superior knowledge of the facts relevant to the automated software
           27    tools developed by BitMEX, market manipulation and the operation of the Insider Trading Desk,
                 the confidential trader information it used, as well as the trading privileges it enjoyed, and are in
           28    exclusive possession of the relevant evidence.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 281 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        786.       On or about July 11, 2019, Defendants, using the automated market manipulation
             2
                 tools continuously executed by the Insider Trading Desk, wrongfully took the above-mentioned
             3
                 property, including Plaintiff Sorokin’s valuable bitcoin holdings of 1.12803878 bitcoins,
             4
                 deposited in respective Plaintiff Sorokin’s BitMEX trading accounts from Plaintiff Sorokin’s
             5
                 possession.
             6
                        787.       Because the vast majority of BitMEX personnel, almost the entire engineering
             7
                 team (all but six) as well as all three Site Reliability Engineers, and almost all vital external
             8
                 service providers to BitMEX, are located in this District, and because Defendant ABS, which
             9
                 formally employs this personnel is an alter ego of Defendant HDR, this District is the home base
           10
                 of the largest operation of Defendant DHR, the nerve center of the operation of the BitMEX
           11
                 platform, and it is the location where the illegal acts and the resulting injuries as alleged herein
           12
                 took place. In addition, Defendant HDR as well its California alter ego Defendant ABS is a
           13
                 single enterprise with extensive presence in this District (over 70 employees). Specifically,
           14
                 Plaintiff is informed and believes and thereon alleges that three Site Reliability Engineers Jerry
           15
                 Aldrich, Scott H. and Armando Cerna personally caused, from within this District, BitMEX
           16
                 servers to freeze during Manipulation Times, on the direction received from Defendant Reed,
           17
                 who was located in Wisconsin. Moreover, the alleged illegal acts were all performed on servers
           18
                 and other IT infrastructure owned and operated by United States based Amazon EKS with offices
           19
                 in this District. Furthermore, the helper accounts that were vital for Defendants to manipulate the
           20
                 prices of cryptocurrencies and cryptocurrency derivatives in violation of CEA and to launder
           21
                 funds in violation of 18 U.S.C. § 1956(a), as alleged in this Complaint, were all maintained on
           22
                 United States based “reference” cryptocurrency spot exchanges BitStamp, Kraken and Coinbase
           23
                 Pro, two of which are located in the District. Defendants transferred funds to and from those vital
           24
                 United States based accounts in order to conduct the affairs of the ABS Enterprise.
           25
                        788.       Therefore, Defendants, and each of them, are liable, jointly and severally, to
           26
                 Plaintiff Sorokin under 18 U.S.C. § 1964(c) for the violation of the RICO, 18 U.S.C. § 1962(d) in
           27
                 the amount of triple of Plaintiff Sorokin’s losses to be proven at trial.
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 282 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1                                           COUNT XV
                      Fraud and Deceit (Fraudulent Solicitation by False Warranty and Representation) —
             2                                     Against All Defendants
             3           789.       Plaintiff repeats and re-alleges the allegations contained in every preceding

             4   paragraph as if fully set forth herein.

             5           790.       To entice Plaintiff Sorokin to open his trading account, deposit his bitcoins, trade

             6   on margin on a rigged BitMEX platform and pay trading commissions to Defendants, Defendants

             7   engaged in fraudulent solicitation of Plaintiff Sorokin using a laundry list of material

             8   misrepresentations, half-truths and omissions.42 Once victims, including Plaintiff Sorokin, were

             9   fraudulently induced by Defendants to open trading accounts on BitMEX, Defendants used a

           10    psychological phenomenon known as “revenge trading” to keep them trading on their rigged

           11    platform. Revenge trading is a natural, emotional response after traders experience a quick or

           12    large loss, where the victims will continue trading to his detriment to try to win back the losses,

           13    until they are completely financially ruined.

           14            791.       On or about June 24, 2019, Defendants, and each of them, through their

           15    commercial website www.bitmex.com, which constitutes a front-end interface of their BitMEX

           16    platform, personally presented Plaintiff Sorokin with an electronic document containing updated

           17    written Terms of Service (“Service Agreement”) for their online BitMEX trading platform and

           18    required Plaintiff Sorokin to personally accept it by opening a trading account and using BitMEX

           19    platform.43 The electronic document containing the Service Agreement was transmitted from

           20    Defendants’ servers located in San Francisco, California to Plaintiff Sorokin’s personal computer.

           21
           22
                 42
           23       Because Defendants Hayes, Delo and Reed controlled, directly or indirectly, the operation of
                 the entire BitMEX Enterprise and micro-managed all important aspects of operation of the
           24    BitMEX platform and no significant undertaking could proceed without their direct and personal
                 approval, they each personally authored or at least personally ratified and approved each and
           25    every fraudulent solicitation, other misrepresentation, omission or false advertisement alleged in
           26    Paragraphs 481-577 and, as applicable, transmission thereof via wire communication to Plaintiff
                 Sorokin.
                 43
           27       The electronic document containing the updated written Terms of Service was also located at:
                 https://www.bitmex.com/app/terms and is attached hereto as Ex. 19 and is incorporated herein in
           28    its entirety.
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             1
                        792.       The written Service Agreement incorporated the following specific Warranty and
             2
                 Representation expressly made by Defendants personally to Plaintiff Sorokin:44
             3
                        6.3: HDR has a trading arm that, amongst other things, transacts in products traded on the
             4
                        Trading Platform. The trading arm primarily trades as a market-maker. The trading arm is
             5
                        organised to be separate and distinct from the business of the Trading Platform.
             6
                        Specifically, no front office personnel are shared between the trading arm and the Trading
             7
                        Platform, the trading arm’s staff are physically separated from the Trading Platform’s staff
             8
                        while performing trades, and the trading arm does not have access to any order flow,
             9
                        execution, customer or other information of the Trading Platform on terms that are not
           10
                        otherwise available to any other platform user. In addition, unless otherwise set forth in
           11
                        the terms of a specific product of HDR, the trading arm receives access and trading
           12
                        privileges only on the same terms as are available to any other user.
           13
                        793.       This express Warranty and Representation made by Defendants to Plaintiff
           14
                 Sorokin in the Service Agreement was, in fact, deliberately and materially false during the entire
           15
                 Relevant Period and constituted a fraudulent solicitation of Plaintiff Sorokin’s bitcoins deposits
           16
                 and trading commissions by Defendants. In truth and in fact, during the entire Relevant Period,
           17
                 the Insider Trading Desk of BitMEX had what BitMEX internally referred to as “God Access” to
           18
                 all customer, order flow, execution and open position information of the entire BitMEX Trading
           19
                 Platform, including, without limitation, all order sizes, leverage amounts and liquidation prices,
           20
                 all parameters of hidden orders, including leverage amounts, as well as sizes and liquidation
           21
                 prices of all open positions on the entire BitMEX platform, further including all these confidential
           22
                 parameters of all Plaintiff Sorokin’s orders and open positions. On the other hand, such
           23
                 information was not available to Plaintiff Sorokin and other platform users, with the exception of
           24
           25
                 44
           26      The same Warranty and Representation was additionally posted as a blog post, personally
                 authored by Defendant Hayes, which constituted an advertisement displayed by Defendants
           27    during Relevant Period, at https://blog.bitmex.com/bitmex-market-making-desk/ and which called
                 one of the operators of the Insider Trading Desk “a person [whose] integrity is unquestionable.”
           28    The aforesaid blog post is attached hereto as Ex. 21 and made part hereof.
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             1
                 Defendants themselves. In fact, the Insider Trading Desk used this very sensitive information to
             2
                 highly successfully trade against, and liquidate customers of BitMEX, including Plaintiff Sorokin.
             3
                        794.       Moreover, this express Warranty and Representation made by Defendants to
             4
                 Plaintiff Sorokin in the Service Agreement was deliberately and materially false during the entire
             5
                 Relevant Period also because the Insider Trading Desk was not subject to server overload freezes
             6
                 and lockouts, thus receiving access and trading privileges not available to other BitMEX users,
             7
                 including Plaintiff Sorokin, who were frequently subject to server overload freezes and lockouts.
             8
                 In fact, the Insider Trading Desk used the server overload lockouts offensively to liquidate traders
             9
                 including Plaintiff Sorokin, while itself not being subject to such freezes and lockouts.45
           10
                 Specifically, the automated software tools operated by the Insider Trading Desk were configured
           11
                 to intentionally and automatically freeze BitMEX’s servers, preventing traders, including Plaintiff
           12
                 Sorokin, from closing or changing his positions or placing new orders that could interfere with
           13
                 the manipulation, so that BitMEX would get the exact profit that was predicted earlier.46
           14
                        795.       Plaintiff Sorokin would not have deposited his bitcoins with BitMEX and would
           15
                 not have traded on the BitMEX platform had he known the true facts, as the true facts meant that
           16
                 odds of making any money on BitMEX platform were stacked heavily against Plaintiff Sorokin
           17
                 and in favor of the Insider Trading Desk of BitMEX.
           18
                        796.       In other words, Plaintiff Sorokin believed that he was getting access to
           19
                 cryptoderivative trading services from BitMEX, where the Insider Trading Desk did not receive
           20
                 special informational, technical and trading privileges and where it did not continuously
           21
                 manipulate the markets in order to liquidate Plaintiff Sorokin’s positions, when, in reality, he was
           22
                 not. Thus, Defendants’ false representations misled Plaintiff Sorokin into believing that he was
           23
           24    45
                    Defendants have a vastly superior knowledge of the facts relevant to the automated software
                 tools developed by BitMEX, market manipulation and the operation of the Insider Trading Desk,
           25    the confidential trader information it used, as well as the trading privileges it enjoyed, and are in
           26    exclusive possession of the relevant evidence.
                 46
                    Defendants have a vastly superior knowledge of the facts relevant to the automated software
           27    tools developed by BitMEX, market manipulation and the operation of the Insider Trading Desk,
                 the confidential trader information it used, as well as the trading privileges it enjoyed, and are in
           28    exclusive possession of the relevant evidence.
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             1
                 getting something, namely cryptoderivative trading services from BitMEX, where the Insider
             2
                 Trading Desk did not receive special informational, technical and trading privileges and where it
             3
                 did not continuously manipulate the markets in order to liquidate Plaintiff Sorokin’s positions,
             4
                 that he was not.       Therefore, the false Warranty and Representation actually misled Plaintiff
             5
                 Sorokin into believing something that was not true and was “likely to [so] mislead a reasonable
             6
                 consumer.” Plaintiff Sorokin did not want to use, and would not have used, cryptoderivative
             7
                 trading services if such services included the Insider Trading Desk that received special
             8
                 informational, technical and trading privileges and continuously manipulated the markets in order
             9
                 to liquidate Plaintiff Sorokin’s positions.
           10
                        797.       Plaintiff Sorokin opened account with BitMEX platform and/or used Defendants’
           11
                 cryptoderivative trading services offered from California based on the reliance on the Warranty
           12
                 and Representation contained in Defendants’ Service Agreement. When opening his BitMEX
           13
                 trading account, depositing bitcoins therein and engaging in cryptoderivative trading on BitMEX
           14
                 platform, Plaintiff Sorokin saw and carefully read Defendants' false Warranty and Representation
           15
                 and relied on the truth of the Warranty and Representation in deciding to open his BitMEX
           16
                 trading account, deposit bitcoins therein, engage in cryptoderivative trading on BitMEX and pay
           17
                 trading commissions to Defendants.
           18
                        798.       Plaintiff Sorokin was induced to open and/or use BitMEX trading account, deposit
           19
                 bitcoins therein, engage in cryptoderivative trading on the BitMEX platform and pay trading
           20
                 commissions to Defendants and did, in fact, open and/or use BitMEX trading account, deposited
           21
                 bitcoins therein, engaged in cryptoderivative trading on BitMEX platform and paid trading
           22
                 commissions to Defendants due to the reliance on the truth of the Warranty and Representation,
           23
                 which represented to Plaintiff Sorokin that:
           24
                        The trading arm is organised to be separate and distinct from the business of the Trading
           25
                        Platform. Specifically, no front office personnel are shared between the trading arm and
           26
                        the Trading Platform, the trading arm’s staff are physically separated from the Trading
           27
                        Platform’s staff while performing trades, and the trading arm does not have access to any
           28
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             1
                        order flow, execution, customer or other information of the Trading Platform on terms that
             2
                        are not otherwise available to any other platform user. In addition, unless otherwise set
             3
                        forth in the terms of a specific product of HDR, the trading arm receives access and
             4
                        trading privileges only on the same terms as are available to any other user.
             5
                        799.       Plaintiff Sorokin would not have opened and/or used BitMEX trading account,
             6
                 deposited bitcoins therein, engaged in cryptoderivative trading on BitMEX platform and paid
             7
                 trading commissions to Defendants if he knew the true facts and, specifically, that Defendants’
             8
                 exchange was rigged and the Insider Trading Desk trading against Plaintiff Sorokin was provided
             9
                 with informational, access and trading advantages over Plaintiff Sorokin and automated tools,
           10
                 built by BitMEX, to facilitate manipulation.
           11
                        800.        Upon opening and/or using BitMEX trading account, depositing bitcoins therein
           12
                 and engaging in cryptoderivative trading on Defendants’ BitMEX platform, Plaintiff Sorokin was
           13
                 provided with cryptoderivative trading services falsely represented by Defendants’ Warranty and
           14
                 Representation to be fair and honest, deceiving Plaintiff Sorokin and, in reality, causing him to
           15
                 use rigged cryptoderivative trading services he did not want. Defendants' false and fraudulent
           16
                 Warranty and Representation caused Plaintiff Sorokin to spend and lose the money he paid as
           17
                 trading commissions and trading losses.
           18
                        801.       Plaintiff Sorokin has suffered injury and loss of money or property as a result of
           19
                 Defendants' fraud and deceit, and namely as the result of the false and fraudulent Warranty and
           20
                 Representation provided to Plaintiff Sorokin.
           21
                        802.       Plaintiff Sorokin relied upon Defendants’ misrepresentations contained in the
           22
                 Warranty and Representation and was induced to use Defendants’ cryptodetivative trading
           23
                 services he did not want to use and which were unsatisfactory to him, paying trading
           24
                 commissions to Defendants and sustaining monetary losses. Defendants’ deception caused the
           25
                 Plaintiff Sorokin to open and/or use accounts on BitMEX platform, deposit his bitcoins with
           26
                 Defendants and use Defendants’ cryptodetivative trading services he did not want, paying trading
           27
                 commissions to Defendants and sustaining monetary losses. Therefore, Plaintiff Sorokin suffered
           28
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             1
                 injury in fact and lost money or property as a result of the alleged fraud and deception perpetrated
             2
                 by Defendants by means of the false Warranty and Representation.
             3
                           803.      When the Defendants made the aforesaid false and fraudulent Warranty and
             4
                 Representation to Plaintiff Sorokin, they knew it to be materially false, as Defendants themselves
             5
                 created and controlled the Insider Trading Desk, and this Warranty and Representation was made
             6
                 by Defendants with the intent to defraud and deceive Plaintiff Sorokin and with the intent to
             7
                 induce Plaintiff Sorokin to act in the manner herein alleged and specifically to open and/or use an
             8
                 account with BitMEX, deposit bitcoins therein and trade Defendants’ cryptoderivative products
             9
                 on margin, in order to wrongfully collect trading commissions from Plaintiff Sorokin and to
           10
                 confiscate and otherwise misappropriate Plaintiff Sorokin’s property. Therefore, in making the
           11
                 aforesaid false and fraudulent Warranty and Representation to respective Plaintiff Sorokin,
           12
                 Defendants were motivated by profit, including Plaintiff Sorokin’s bitcoin deposits, trading
           13
                 commissions paid by Plaintiff Sorokin to Defendants, and Plaintiff Sorokin’s bitcoins confiscated
           14
                 by Defendants as the result of liquidations. Each of the Defendants Hayes, Delo and Reed who
           15
                 each own 31.67% of the remaining Defendants had personal financial interest in making the
           16
                 aforesaid false and fraudulent Warranty and Representation in order to fraudulently solicit
           17
                 Plaintiff Sorokin’s business, as the resultant ill-gotten profits collected by Defendant HDR were
           18
                 siphoned by them directly to their personal bank accounts as alleged in Paragraphs above.
           19
                           804.      Plaintiff Sorokin, at the time this Warranty and Representation was made by
           20
                 Defendants and at the time Plaintiff Sorokin took the actions herein alleged, was ignorant of the
           21
                 falsity of Defendants’ Warranty and Representation and believed it to be true. In reliance on
           22
                 these representations, Plaintiff Sorokin was induced to and did in fact deposit his valuable
           23
                 bitcoins with Defendants’ platform, engaged in derivative trading therein on margin to his
           24
                 financial loss and detriment and paid trading commissions to Defendants. For example, in
           25
                 reliance on Defendants’ false and fraudulent Warranty and Representation, Plaintiff Sorokin
           26
                 deposited47 with Defendants:
           27
           28    47
                      The deposits listed in this table are only exemplary deposits. For example, Plaintiff Sorokin
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             1
             2
                                   Sorokin                           June 24, 2019                0.50831625 bitcoins
             3
                                   Sorokin                           June 26, 2019                   0.03526 bitcoins
             4
             5                     Sorokin                           July 3, 2019                     2.288 bitcoins

             6                     Sorokin                           July 4, 2019                 4.28749672 bitcoins
             7
             8
                        805.       Due to the aforesaid deposits of bitcoins with Defendants, made in reliance on
             9
                 Defendants’ false and fraudulent Warranty and Representation, Plaintiff Sorokin incurred the
           10
                 following bitcoin loss of use damages associated with the fact that Plaintiff Sorokin’s bitcoins
           11
                 were deposited in interest-free BitMEX accounts and not in interest-bearing accounts widely
           12
                 available on the market, at the time, from reputable and financially stable companies including
           13
                 U.S.-based Celsius and BlockFi, which paid 5.95% APY on bitcoin deposits. Had Plaintiff
           14
                 Sorokin not deposited his valuable bitcoins with BitMEX, as he did in reliance on Defendants’
           15
                 false and fraudulent Warranty and Representation, he would have deposited them with either
           16
                 Celsius or BlockFi and earned 5.95% APY thereon. Therefore, Defendants’ false and fraudulent
           17
                 Warranty and Representation was a substantial factor in causing Plaintiff Sorokin’s bitcoin loss of
           18
                 use damages, which were also a natural and foreseeable result of the false and fraudulent
           19
                 Warranty and Representation made by Defendants, which was specifically calculated to
           20
                 fraudulently induce Plaintiff Sorokin to deposit his bitcoins with Defendants, thereby causing the
           21
                 loss of use damages. These bitcoin loss of use damages are separate from and do not include any
           22
                 actual trading losses suffered by Plaintiff Sorokin as the result of any market events, market
           23
                 manipulation, market conditions or liquidations.
           24
           25
           26
                 deposited with Defendants over 9.50160197 bitcoins in total, of which Defendants wrongfully
           27    collected from him trading commissions of at least 0.4 bitcoins. In addition, Plaintiff Sorokin
                 sustained net trading losses of about 1.12803878 bitcoins, resulting in his net loss on BitMEX of
           28    1.52803878 bitcoins ($88,626), in addition to the bitcoin loss of use damages.
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             1
                                    Deposit              Deposit     Deposit     Deposit              Market              Loss of Use
             2    Plaintiff
                                    Started               Ended       Days       Amount                 APY                Damages
             3
                                    June 24,           August 10,               0.50831625                                   0.0030
             4    Sorokin                                              47                              5.95%
                                      2019                 2019                   bitcoins                                   bitcoins
             5
             6                      June 26,           August 10,                0.03526                                     0.00025
                  Sorokin                                              45                              5.95%
             7                        2019                 2019                   bitcoins                                   bitcoins

             8                                         August 10,                  2.288                                    0.014212
                  Sorokin        July 3, 2019                          38                              5.95%
             9                                             2019                   bitcoins                                   bitcoins
           10
                                                       August 10,               4.28749672                                   0.02593
           11     Sorokin        July 4, 2019                          37                              5.95%
                                                           2019                   bitcoins                                   bitcoins
           12
           13                                                                                                               0.043392
                                                                                                       Total:
           14                                                                                                               bitcoins

           15
           16           806.       In further reliance on Defendants’ false and fraudulent Warranty and
           17    Representation, Plaintiff Sorokin traded Defendants’ bitcoin and ether Perpetual Swaps on July
           18    11, 2019 and suffered trading losses of over 1.81027681 bitcoins on that day, when his XBTUSD
           19    and ETHUSD Perpetual Swap long positions were liquidated. In addition, Plaintiff Sorokin paid
           20    at least 0.1 bitcoins in trading commissions to Defendants on that day. The trading losses were
           21    sustained by Plaintiff Sorokin due to Defendants’ Insider Trading Desk having caused Plaintiff
           22    Sorokin’s long Perpetual Swap position on BitMEX to be liquidated, using Plaintiff Sorokin’s
           23    own confidential information, to which Insider Trading Desk had what BitMEX internally
           24    referred to as “God access,” in direct violation of the Warranty and Representation. Had Plaintiff
           25    Sorokin known the actual facts, he would not have taken such actions, would not have deposited
           26    bitcoins, traded Perpetual Swaps, suffered such losses and would not have paid trading
           27    commissions to Defendants.
           28
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             1
                        807.       Due to Plaintiff Sorokin’s decision to trade on Defendants’ BitMEX platform,
             2
                 made in reasonable reliance on Defendants’ false and fraudulent Warranty and Representation,
             3
                 Plaintiff Sorokin incurred the following monetary damages associated with trading commissions48
             4
                 paid by Plaintiff Sorokin to Defendants, irrespective of any and all market moves, market events
             5
                 or market manipulation by Defendants. Therefore, Defendants’ false and fraudulent Warranty
             6
                 and Representation was a substantial factor in causing Plaintiff Sorokin’s damages associated
             7
                 with the trading commissions paid by Plaintiff Sorokin to Defendants, which were also a natural
             8
                 and foreseeable result of the false and fraudulent Warranty and Representation made by
             9
                 Defendants. These trading commissions paid by Plaintiff Sorokin to Defendants are separate
           10
                 from and do not include any trading losses suffered by Plaintiff Sorokin as the result of any
           11
                 market events, market manipulation or market conditions. Plaintiff Sorokin paid at least a portion
           12
                 of the below trading commissions, in the amount of at least 0.015 bitcoins, at the time he opened
           13
                 his initial Perpetual Swap position on BitMEX, in reasonable reliance on Defendants’ false and
           14
                 fraudulent Warranty and Representation, and before any market move or other market event.
           15
           16
                                                                                                       Trading Commissions
           17          Plaintiff                  Trading Started        Trading Ended
                                                                                                                 Damages
           18
                       Sorokin                      June 24, 2019        August 10, 2019                        0.4 bitcoins
           19

           20                                                                  Total:                          0.4 bitcoins

           21
           22           808.       Plaintiff Sorokin's reliance on Defendants’ representations was justified because
           23    Defendants took extraordinary measures to conceal the wrongdoing perpetrated by their Insider
           24    Trading Desk. First, Defendants deliberately made all accounts on BitMEX platform anonymous,
           25
           26    48
                   BitMEX charges traders trading commissions in connection with opening, maintaining and
           27    closing trading positions, irrespective of market moves or other events and irrespective of
                 whether the position is profitable or not. For example, the commission for opening or closing a
           28    margined position is 0.075% of the position size.
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             1
                 which hindered specifically pinpointing the origin of manipulation and other illegal acts. Second,
             2
                 according to the CFTC Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted required
             3
                 records, including user identities. Third, Defendants deliberately used anonymous “burner” (e.g.
             4
                 @gmail.com) email addresses, as opposed to "official" BitMEX email addresses (e.g.
             5
                 @bitmex.com), to open trading accounts for its Insider Trading Desk with BitMEX exchange, to
             6
                 cover up the tracks of wrongdoing so the trading histories and illegal manipulation profits cannot
             7
                 be traced back to BitMEX. The “burner” accounts were periodically recycled and corresponding
             8
                 trading records deleted. Accordingly, Defendants engaged in active concealment of their fraud.
             9
                 Therefore, Plaintiff Sorokin, through exercise of reasonable diligence, could not have known the
           10
                 true manner of operation of Defendants’ Insider Trading Desk.
           11
                        809.       According to a sworn Declaration of Defendant Hayes dated February 27, 2020,
           12
                 Defendant “ABS Global Trading Limited, … provides software development, software
           13
                 engineering, and digital security services to HDR Global Trading Limited… including by
           14
                 developing the front-end interface of the BitMEX platform.” The front-end interface of the
           15
                 BitMEX platform includes commercial website www.bitmex.com, which was used to provide the
           16
                 Service Agreement containing the fraudulent Warranty and Representation to Plaintiff Sorokin.
           17
                        810.       Defendant ABS Global Trading Limited, responsible, within the BitMEX
           18
                 Enterprise, for the commercial website www.bitmex.com, was and continues to be located in San
           19
                 Francisco, California. Therefore, the false and fraudulent Warranty and Representation, provided
           20
                 to Plaintiff by Defendants through the commercial website www.bitmex.com, emanated from
           21
                 Defendant’s ABS’ offices in San Francisco, California.
           22
                        811.       Defendants’ fraud and deceit was a substantial factor in causing of the injury to
           23
                 Plaintiff Sorokin in that Plaintiff Sorokin traded in Perpetual Swaps on margin on BitMEX
           24
                 platform as he did, and thus paid 0.4 bitcoins in trading commissions and suffered his trading
           25
                 losses of at least 1.12803878 bitcoins from such trading, as well as bitcoin loss of use damages of
           26
                 0.043392 bitcoins, as a result of his reasonable reliance on Defendants’ Warranty and
           27
           28
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             1
                 Representation and his reasonable failure to know the actual facts. Thus, the total loss sustained
             2
                 by Plaintiff Sorokin was at least 1.57143 bitcoins.
             3
                        812.       Plaintiff Sorokin would not have traded on the BitMEX platform, and thus paid the
             4
                 trading commissions and suffered his net losses from such trading, if he had known the actual
             5
                 facts, as stated above.
             6
                        813.       Thus, it was a foreseeable and natural consequence of the purposes and goals of
             7
                 Defendants’ use of the false and fraudulent Warranty and Representation, as described above, that
             8
                 Plaintiff Sorokin would deposit his bitcoins with Defendants, thereby sustaining bitcoin loss of
             9
                 use damages, pay the trading commissions he paid and suffer the trading loss he suffered, and that
           10
                 Defendants would generate the ill-gotten gains they did.
           11
                        814.       As a direct and proximate result of Defendants’ fraud and deceit and the facts
           12
                 herein alleged, Plaintiff Sorokin deposited his bitcoins and opened margined Perpetual Swap
           13
                 positions on BitMEX platform, which were subsequently deliberately and wrongfully liquidated
           14
                 by the Insider Trading Desk operated by Defendants using Plaintiff Sorokin’s highly confidential
           15
                 order and position information, wherein the Insider Trading Desk had a priority access to the
           16
                 trading order queues and not subject to lockouts, in violation of the express Warranty and
           17
                 Representation, by reason of which Plaintiff Sorokin has been damaged in the sum of 1.57143
           18
                 bitcoins, which Plaintiff Sorokin demands to be returned to him in kind, as monetary damages
           19
                 would be manifestly unjust due to bitcoin appreciation.
           20
                        815.       Cal. Civ. Code § 1709 provides: “[o]ne who willfully deceives another with intent
           21
                 to induce him to alter his position to his injury or risk, is liable for any damage which he thereby
           22
                 suffers.”
           23
                        816.       Cal. Civ. Code § 1710(1) defines deceit as a “suggestion, as a fact, of that which is
           24
                 not true, by one who does not believe it to be true.”
           25
                        817.       Defendants’ false and fraudulent Warranty and Representation constituted deceit
           26
                 under Cal. Civ. Code § 1710(1) and actually deceived Plaintiff Sorokin into altering his position
           27
                 by opening BitMEX accounts, depositing bitcoins, paying trading commissions to Defendants
           28
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             1
                 and engaging in cryptoderivative trading on margin on a rigged BitMEX platform. Therefore,
             2
                 Defendants’ conduct violated Cal. Civ. Code § 1709, pursuant to which Defendants are liable to
             3
                 Plaintiff Sorokin for Plaintiff Sorokin’s damages in the total amount of at least 1.57143 bitcoins.
             4
                        818.       In doing the wrongful acts herein alleged, Defendants, and each of them, acted
             5
                 with oppression, fraud, and malice, and Plaintiff Sorokin is entitled to punitive damages in the
             6
                 amount of $50,000,000 pursuant to Cal. Civ. Code § 3294.
             7
                                                       COUNT XVI
             8    Fraud and Deceit (Fraudulent Solicitation by Misrepresentation of Liquidity on BitMEX)
                                                — Against All Defendants
             9
                        819.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           10
                 paragraph as if fully set forth herein.
           11
                        820.       During Relevant Period, in soliciting Plaintiff Sorokin’s bitcoin deposits, trading
           12
                 orders and trading commissions, Defendants, and each of them, personally represented to Plaintiff
           13
           14
           15
           16

           17
           18
           19    Sorokin, through their commercial website www.bitmex.com, which constitutes a front-end
           20    interface of their BitMEX platform, that Defendants' BitMEX platform provides “1500% More
           21    Bitcoin/USD liquidity than any other platform” and that “BitMEX's XBTUSD market is the most
           22    liquid in the world.” The foresaid representations regarding available liquidity on BitMEX were
           23    made by Defendants, and each of them, by electronically transmitting, through a computer
           24    network, a web page document from Defendants’ servers in San Francisco, California directly to
           25    respective Plaintiff’s computer, displaying the above representations, front and center.
           26    Defendants made the aforesaid representations regarding available liquidity on BitMEX to
           27    Plaintiff Sorokin, for example, on June 24, 26, 27, 28 and 29 and July 3, 4, 6, 2019.
           28
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CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 294 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        821.       The amount of liquidity on the BitMEX platform was highly material for Plaintiff
             2
                 Sorokin’s decision to engage in cryptoderivative trading on BitMEX platform and in determining
             3
                 whether or not to trade on BitMEX, as the amount of available liquidity determined the potential
             4
                 profits that Plaintiff Sorokin could realize from cryptoderivative trading. The higher is the
             5
                 available liquidity, the lower is the slippage49 occurring upon execution of large market orders
             6
                 and the higher is the potential trading profit for Plaintiff Sorokin. Also, the higher is the available
             7
                 liquidity, the lower is the magnitude of price swings and the chance of liquidation. Therefore,
             8
                 Plaintiff Sorokin made his decision to open account, make bitcoin deposit(s) and trade on
             9
                 BitMEX because of his reliance on the truth of Defendants' representations regarding the
           10
                 available liquidity on BitMEX being 1500% higher than competition.
           11
                        822.       Plaintiff Sorokin justifiably relied on the truth of respective representations
           12
                 regarding available liquidity on BitMEX platform made by Defendants and specifically on the
           13
                 truth of the representation that BitMEX provided “1500% more Bitcoin / USD Liquidity than any
           14
                 other platform.” However, in truth and in fact, the aforesaid representations regarding available
           15
                 liquidity on BitMEX made by Defendants were intentionally and materially false during the entire
           16
                 portion of the Relevant Period when they were used by Defendants to solicit customers. In
           17
                 reality, by no later than October of 2018, BitMEX was overtaken by other crypto exchanges
           18
                 including Binance, Huobi and/or OKEX in terms of Bitcoin / USD liquidity and never regained
           19
                 its top position. For example, analysis of bid-ask spread data from the portion of the Relevant
           20
                 Period when Defendants were using the representations in question, provided by OKEX
           21
                 cryptoderivative exchange, has shown that Bitcoin / USD liquidity, as determined by the average
           22
                 bid-ask spread, customarily used for measuring liquidity on exchanges, was higher on OKEX
           23
                 (with bid-ask spread of -0.14%) than on BitMEX (with bid-ask spread of -0.51%)50. Moreover,
           24
                 analysis of bid-ask spread data from other exchanges further showed that, during the Relevant
           25
           26    49
                    Price slippage, which results in diminished profits due to inability to fill market orders at the
           27    current market price, is inversely correlated with liquidity available on the platform.
                 50
                    Liquidity on an exchange is inversely related to a bid-ask spread. The lower is the bid-ask
           28    spread, the higher is the corresponding exchange liquidity.
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 295 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Period, Bitcoin / USD liquidity on other bitcoin trading platforms such as Binance was at least as
             2
                 high as liquidity on BitMEX. Therefore, in truth and in fact, liquidity on BitMEX was not any
             3
                 higher than on several competing exchanges, let alone 1500% (or 16 times) higher, as Defendants
             4
                 falsely claimed to fraudulently solicit Plaintiff Sorokin’s business. Accordingly, Defendants’
             5
                 claims of providing “1500% [or 16 times] more Bitcoin / USD Liquidity than any other platform”
             6
                 were grossly, materially and deliberately false during the entire Relevant Period.51 In fact, the
             7
                 aforesaid claims of providing “1500% [or 16 times] more Bitcoin / USD Liquidity than any other
             8
                 platform” were materially false even as of September or October of 2018, when they were first
             9
                 made by Defendants.
           10
                        823.       The fact that liquidity on BitMEX was not any higher than on other competing
           11
                 exchanges, let alone 1500% (or 16 times) higher, as Defendants falsely represented to Plaintiff
           12
                 Sorokin, was well known to Defendants themselves, who had a direct access to all relevant data
           13
                 and who nevertheless deliberately decided to use these fraudulent representations to entice
           14
                 unsuspecting traders, including Plaintiff Sorokin, to trade on BitMEX to his financial loss and
           15
                 detriment. In making the false and fraudulenKristijan Krstict representations regarding available
           16
                 liquidity on BitMEX platform, Defendants were motivated by profit, including Plaintiff Sorokin’s
           17
                 bitcoin deposits, trading commissions paid by Plaintiff Sorokin to Defendants, and Plaintiff
           18
                 Sorokin’s bitcoins confiscated by Defendants as the result of liquidations. Each of the
           19
                 Defendants Hayes, Delo and Reed who each own 31.67% of the remaining Defendants had
           20
                 personal financial interest in making the aforesaid false and fraudulent representations regarding
           21
                 available liquidity on BitMEX in order to fraudulently solicit Plaintiff Sorokin’s business, as the
           22
           23
           24    51
                    In a fraudulent solicitation case SEC v. Kristijan Krstic et al., Case No. 1:21-cv-00529
                 (E.D.N.Y. 2021), brought by SEC under Securities Exchange Act of 1934 [15 U.S.C. § 78j(b)]
           25    and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5], SEC charged defendants with fraudulently
                 soliciting investors to trade digital asset securities by falsely claiming that their Start Options
           26    platform was "the largest Bitcoin exchange in euro volume and liquidity" and "consistently rated
                 the best and most secure Bitcoin exchange by independent news media." These fraudulent
           27    representations that formed the basis for the SEC action were very similar to Defendants’
                 fraudulent claims of providing “1500% More Bitcoin/USD liquidity than any other platform,” the
           28    latter being even more specific and factual.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 296 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 resultant ill-gotten profits collected by Defendant HDR were siphoned by them directly to their
             2
                 personal bank accounts as alleged in Paragraphs above.
             3
                        824.       In other words, Plaintiff Sorokin believed that he was getting access to
             4
                 cryptoderivative trading services from BitMEX having the best liquidity available in the industry,
             5
                 and 1500% higher than competition, when, in reality, he was not. Thus, Defendants’ false
             6
                 representations mislead Plaintiff Sorokin into believing that he was getting something, namely
             7
                 cryptoderivative trading services from BitMEX having Bitcoin/USD liquidity 1500% higher than
             8
                 competition, that he was not getting. Therefore, Defendants’ false representations regarding
             9
                 liquidity on BitMEX actually misled Plaintiff Sorokin into believing something that was not true
           10
                 and were “likely to [so] mislead a reasonable consumer.” Plaintiff Sorokin did not want to use,
           11
                 and would not have used, cryptoderivative trading services if such services did not provide the
           12
                 Bitcoin/USD liquidity 1500% higher than competition.
           13
                        825.       Plaintiff Sorokin would not have deposited his bitcoins with BitMEX and would
           14
                 not have traded on the BitMEX platform and would not have sustained trading losses and paid
           15
                 trading commissions to Defendants had he known the true facts, as the true facts meant that due
           16
                 to insufficient liquidity, odds of making any money on BitMEX platform were stacked heavily
           17
                 against Plaintiff Sorokin.
           18
                        826.       Plaintiff Sorokin opened account with BitMEX platform and/or used Defendants’
           19
                 cryptoderivative trading services offered and managed by Defendants from California based on
           20
                 reliance on the truth of Defendants' representations regarding liquidity on BitMEX being the best
           21
                 available in the industry and 1500% greater than available on any other platform. When opening
           22
                 his BitMEX trading account, depositing bitcoins therein, engaging in cryptoderivative trading on
           23
                 BitMEX platform and paying trading commissions to Defendants, Plaintiff Sorokin saw and
           24
                 carefully read Defendants' false representations regarding available liquidity on BitMEX and
           25
                 relied on the truth of these representations in deciding to open BitMEX trading account, deposit
           26
                 bitcoins therein and engage in cryptoderivative trading on BitMEX.
           27
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 297 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        827.       Plaintiff Sorokin was deceived and fraudulently induced to open and/or use
             2
                 BitMEX trading account, deposit bitcoins therein and engage in cryptoderivative trading on
             3
                 BitMEX platform and did in fact open and/or use BitMEX trading account, deposited bitcoins
             4
                 therein and engaged in cryptoderivative trading on BitMEX platform due to the reliance on
             5
                 Defendants’ false representations regarding available liquidity on BitMEX, which stated to
             6
                 Plaintiff Sorokin that BitMEX platform provided “1500% More Bitcoin/USD liquidity than any
             7
                 other platform.”
             8
                        828.       Plaintiff Sorokin would not have opened and/or used BitMEX trading account,
             9
                 deposited bitcoins therein and/or engaged in cryptoderivative trading on BitMEX platform if he
           10
                 knew the true facts and, specifically that Defendants’ XBTUSD market did not provide “1500%
           11
                 More Bitcoin/USD liquidity than any other platform.”
           12
                        829.        After Plaintiff Sorokin opened BitMEX trading account and/or deposited bitcoins
           13
                 therein, Defendants provided Plaintiff Sorokin with cryptoderivative trading services having
           14
                 liquidity, which was below competitor exchanges Binance, Huobi and/or OKEX, which
           15
                 Defendants previously falsely described to Plaintiff Sorokin as providing “1500% More
           16
                 Bitcoin/USD liquidity than any other platform.” In doing so, Defendants deceived Plaintiff
           17
                 Sorokin and caused him to use Defendants’ cryptoderivative trading services with insufficient
           18
                 liquidity, which he did not want. Defendants' false representations regarding available liquidity
           19
                 on BitMEX caused Plaintiff Sorokin to spend and lose the money he paid as trading commissions
           20
                 and trading losses.
           21
                        830.       Plaintiff Sorokin has suffered injury and loss of valuable property, namely
           22
                 bitcoins, as a result of Defendants' fraud and deceit, and namely as the result of the false
           23
                 representations regarding available liquidity on BitMEX provided to Plaintiff Sorokin.
           24
                        831.       Plaintiff Sorokin relied upon Defendants’ false representations regarding available
           25
                 liquidity on BitMEX and was induced to use Defendants’ cryptodetivative trading services he did
           26
                 not want and which were unsatisfactory to him, paying trading commissions to Defendants and
           27
                 sustaining monetary losses. Defendants’ deception caused the Plaintiff Sorokin to open and/or
           28
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CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 298 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 use accounts on BitMEX platform, deposit his bitcoins with Defendants and use Defendants’
             2
                 cryptodetivative trading services he did not want, paying trading commissions to Defendants and
             3
                 sustaining monetary losses. Therefore, Plaintiff Sorokin suffered injury in fact and lost money or
             4
                 property as a result of the alleged fraud and deception perpetrated by Defendants using the false
             5
                 representations regarding available liquidity on BitMEX.
             6
                        832.       When the Defendants made the aforesaid false representations regarding available
             7
                 liquidity on BitMEX to Plaintiff Sorokin, they knew them to be materially false, and these
             8
                 representations regarding available liquidity on BitMEX were made by Defendants with the intent
             9
                 to defraud and deceive Plaintiff Sorokin and with the intent to induce Plaintiff Sorokin to act in
           10
                 the manner herein alleged and specifically to open an account with BitMEX, deposit bitcoins and
           11
                 trade Defendants’ derivative products, in order to wrongfully confiscate Plaintiff Sorokin’s
           12
                 property. Defendants had direct access to and first-hand personal knowledge of the liquidity
           13
                 information for their own BitMEX platform as well as for all competing platforms, including
           14
                 Binance, Huobi and OKEX. Therefore, they knew that their representations regarding available
           15
                 liquidity on BitMEX made to Plaintiff Sorokin were materially false and fraudulent. In fact,
           16
                 Defendants’ misrepresentations were so blatant and so exaggerated, that Defendants simply could
           17
                 not have been ignorant about their falsity. Moreover, at the end of 2018, a former high-ranking
           18
                 employee of BitMEX repeatedly informed Defendants that the aforesaid representations
           19
                 regarding available liquidity on the BitMEX platform were in fact false and requested their
           20
                 removal from the front page of the BitMEX website, which Defendants deliberately refused to do,
           21
                 because they wanted to continue deceiving traders by promising them liquidity they did not have.
           22
                 Furthermore, on or about October 3, 2019, Defendants removed words “than any other platform,”
           23
                 evidencing the fact that Defendants deliberately tried to make the aforesaid representations
           24
                 regarding available liquidity on BitMEX vaguer, which further establishes that Defendants knew
           25
                 that they were false as written. Yet furthermore, Defendants continued to use these false
           26
                 representations regarding available liquidity on the BitMEX platform on the front page of their
           27
                 website, front and center, until as late as March of 2021, by which time BitMEX fell to the
           28
CONSENSUS LAW
CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 299 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 number eight spot in cryptoderivative exchange rankings, and removed those obviously false
             2
                 representations promising 1500% more liquidity than other exchanges only after they were
             3
                 mentioned in related Court cases, Ex. 20. This further establishes that Defendants’ fraud was
             4
                 deliberate.
             5
                        833.       Plaintiff Sorokin, at the time these representations regarding available liquidity on
             6
                 BitMEX were made by Defendants and at the time Plaintiff Sorokin took the actions herein
             7
                 alleged, was ignorant of the falsity of Defendants’ representations regarding available liquidity on
             8
                 BitMEX and believed it to be true. In reliance on these representations, Plaintiff Sorokin was
             9
                 induced to and did in fact deposit his valuable bitcoins with Defendants’ platform and engaged in
           10
                 derivative trading therein to his financial loss and detriment. For example, in reliance on
           11
                 Defendants’ false and fraudulent representations regarding available liquidity on BitMEX,
           12
                 Plaintiff Sorokin deposited52 with Defendants:
           13
           14
                                   Sorokin                           June 24, 2019                0.50831625 bitcoins
           15
                                   Sorokin                           June 26, 2019                   0.03526 bitcoins
           16

           17                      Sorokin                           July 3, 2019                     2.288 bitcoins

           18                      Sorokin                           July 4, 2019                 4.28749672 bitcoins
           19

           20
                        834.       Due to the aforesaid deposits of bitcoins with Defendants, made in reliance on
           21
                 Defendants’ false and fraudulent representations regarding available liquidity on BitMEX,
           22
                 Plaintiff Sorokin incurred the following bitcoin loss of use damages associated with the fact that
           23
                 Plaintiff Sorokin’s bitcoins were deposited in interest-free BitMEX accounts and not in interest-
           24
                 bearing accounts widely available on the market, at the time, from reputable and financially stable
           25
                 52
           26      The deposits listed in this table are only exemplary deposits. For example, Plaintiff Sorokin
                 deposited with Defendants over 9.50160197 bitcoins in total, of which Defendants wrongfully
           27    collected from him trading commissions of at least 0.4 bitcoins. In addition, Plaintiff Sorokin
                 sustained net trading losses of about 1.12803878 bitcoins, resulting in his net loss on BitMEX of
           28    1.52803878 bitcoins ($88,626), in addition to the bitcoin loss of use damages.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)        - 300 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 companies including U.S.-based Celsius and BlockFi, which paid 5.95% APY on bitcoin
             2
                 deposits. Had Plaintiff Sorokin not deposited his valuable bitcoins with BitMEX, as he did in
             3
                 reliance on Defendants’ false and fraudulent representations regarding available liquidity on
             4
                 BitMEX, he would have deposited them with either Celsius or BlockFi and earned 5.95% APY
             5
                 thereon. Therefore, Defendants’ false and fraudulent representations regarding available liquidity
             6
                 on BitMEX were a substantial factor in causing Plaintiff Sorokin’s bitcoin loss of use damages,
             7
                 which were also a natural and foreseeable result of the Defendants’ false and fraudulent
             8
                 representations regarding available liquidity on BitMEX, which were specifically calculated to
             9
                 fraudulently induce Plaintiff Sorokin to deposit his bitcoins with Defendants, thereby causing the
           10
                 loss of use damages. These bitcoin loss of use damages are separate from and do not include any
           11
                 actual trading losses suffered by Plaintiff Sorokin as the result of any market events, market
           12
                 manipulation, market conditions or liquidations.
           13
           14
                                    Deposit              Deposit     Deposit      Deposit             Market              Loss of Use
           15     Plaintiff
                                    Started               Ended       Days       Amount                 APY                 Damages
           16
                                    June 24,           August 10,               0.50831625                                    0.0030
           17     Sorokin                                              47                              5.95%
                                      2019                 2019                   bitcoins                                   bitcoins
           18
           19                       June 26,           August 10,                0.03526                                     0.00025
                  Sorokin                                              45                              5.95%
           20                         2019                 2019                   bitcoins                                   bitcoins

           21                                          August 10,                  2.288                                    0.014212
                  Sorokin        July 3, 2019                          38                              5.95%
           22                                              2019                   bitcoins                                   bitcoins
           23
                                                       August 10,               4.28749672                                   0.02593
           24     Sorokin        July 4, 2019                          37                              5.95%
                                                           2019                   bitcoins                                   bitcoins
           25
           26                                                                                                               0.043392
                                                                                                       Total:
           27                                                                                                               bitcoins

           28
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CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 301 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
             2
                        835.       In further reliance on Defendants’ false and fraudulent representations regarding
             3
                 available liquidity on BitMEX platform, Plaintiff Sorokin traded Defendants’ bitcoin and ether
             4
                 Perpetual Swaps on July 11, 2019 and suffered trading losses of over 1.81027681 bitcoins on that
             5
                 day, when his XBTUSD and ETHUSD Perpetual Swap long positions were liquidated. In
             6
                 addition, Plaintiff Sorokin paid at least 0.1 bitcoins in trading commissions to Defendants on that
             7
                 day. The trading losses were sustained by Plaintiff Sorokin due to wild downward swings in the
             8
                 price of the XBTUSD and ETHUSD Perpetual Swap contracts of BitMEX, which resulted in
             9
                 liquidation of Plaintiff Sorokin’s respective long positions on BitMEX, which were caused, in
           10
                 substantial part, by the insufficient buy (long) side liquidity on the BitMEX platform.
           11
                 Specifically, on that day, July 11, 2019, liquidity on the buy (long) side of the market for
           12
                 XBTUSD and ETHUSD Perpetual Swaps essentially disappeared, leading to truly staggering
           13
                 price plunges, which precipitated liquidations of Plaintiff Sorokin’s positions. Therefore,
           14
                 Defendants’ false and fraudulent representations regarding available liquidity on BitMEX, which
           15
                 induced Plaintiff Sorokin to trade on margin on BitMEX, were a substantial factor in causing
           16
                 Plaintiff Sorokin’s trading losses in the amount of 1.81027681 bitcoins. Another substantial
           17
                 factor was the downward swings in the price of the XBTUSD and ETHUSD Perpetual Swap
           18
                 contracts of BitMEX, which were exacerbated by the aforesaid buy (long) side liquidity
           19
                 shortages. Moreover, it was foreseeable for Defendants that the insufficient liquidity on BitMEX,
           20
                 which was fraudulently misrepresented by Defendants as being 1500% more than on any other
           21
                 platform, would naturally exacerbate downward price moves and result in staggering price
           22
                 plunges and, consequently, in the liquidations of Plaintiff Sorokin’s margined trading positions.53
           23
                 Therefore, Plaintiff Sorokin’s trading losses incurred from liquidations of Plaintiff Sorokin’s
           24
                 margined positions on BitMEX were within the foreseeable risk or harm created by the
           25
                 Defendants’ false and fraudulent representations regarding available liquidity on BitMEX. In
           26
                 53
           27      It is well-known that liquidity operates by absorbing and softening market price moves. The
                 higher the liquidity, the more tempered price moves are. On the other hand, insufficient liquidity
           28    results in an increased amplitude of market price swings, which leads to more liquidations.
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CRYPTOCURRENCY
  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 302 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 other words, Plaintiff Sorokin’s trading losses incurred from liquidations of Plaintiff Sorokin’s
             2
                 margined positions on BitMEX were reasonably expected to result from the Defendants’ false and
             3
                 fraudulent representations regarding available liquidity on BitMEX.
             4
                        836.       Due to Plaintiff Sorokin’s decision to trade on margin on Defendants’ BitMEX
             5
                 platform, made in reasonable reliance on Defendants’ false and fraudulent representations
             6
                 regarding available liquidity on BitMEX, Plaintiff Sorokin incurred the following monetary
             7
                 damages associated with trading commissions54 paid by Plaintiff Sorokin to Defendants,
             8
                 irrespective of any and all market moves, market events or market manipulation by Defendants.
             9
                 Therefore, Defendants’ false and fraudulent representations regarding available liquidity on
           10
                 BitMEX were a substantial factor in causing Plaintiff Sorokin’s damages associated with trading
           11
                 commissions paid by Plaintiff Sorokin to Defendants, which were also a natural and foreseeable
           12
                 result of the Defendants’ false and fraudulent representations regarding available liquidity on
           13
                 BitMEX. These trading commissions paid by Plaintiff Sorokin to Defendants are separate from
           14
                 and do not include any trading losses suffered by Plaintiff Sorokin as the result of any market
           15
                 events, market manipulation or market conditions. Plaintiff Sorokin paid at least a portion of the
           16
                 below trading commissions, in the amount of at least 0.015 bitcoins, at the time he opened his
           17
                 initial Perpetual Swap position on BitMEX, in reasonable reliance on Defendants’ false and
           18
                 fraudulent representations regarding available liquidity on BitMEX, and before any market move
           19
                 or other market event.
           20
           21
                                                                                                       Trading Commissions
           22          Plaintiff                  Trading Started        Trading Ended
                                                                                                                 Damages
           23
                       Sorokin                      June 24, 2019        August 10, 2019                        0.4 bitcoins
           24
           25
           26    54
                   BitMEX charges traders trading commissions (fees) in connection with opening, maintaining
           27    and closing trading positions, irrespective of market moves or other events and irrespective of
                 whether the position is profitable or not. For example, the trading commission for opening or
           28    closing a margined position is 0.075% of the position size.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 303 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                                                                               Total:                          0.4 bitcoins
             2
             3
                        837.       If Defendants truly provided 1500% (16x) more liquidity than any other trading
             4
                 platform, as they falsely represented to Plaintiff Sorokin, such high liquidity would have absorbed
             5
                 sell orders and dampened the downward price moves, preventing the liquidations from taking
             6
                 place, and Plaintiff Sorokin would not have sustained the trading losses he did. Had Plaintiff
             7
                 Sorokin known the actual facts, he would not have taken such actions, would not have deposited
             8
                 bitcoins, traded Perpetual Swaps on BitMEX on margin, suffered such losses and would not have
             9
                 paid the trading commissions to Defendants.
           10
                        838.       Plaintiff Sorokin's reliance on the truth of Defendants’ representations regarding
           11
                 available liquidity on BitMEX platform was justified because Defendants took extraordinary
           12
                 measures to keep tight control of the data pertaining to all aspects of operation of BitMEX
           13
                 platform, including available liquidity. Similarly, operators of other crypto exchanges, such as
           14
                 Binance, Huobi and OKEX also kept tight control of the data pertaining to all aspects of operation
           15
                 of their respective trading platforms, including available liquidity.
           16
                        839.       According to a sworn Declaration of Defendant Hayes dated February 27, 2020,
           17
                 Defendant “ABS Global Trading Limited, … provides software development, software
           18
                 engineering, and digital security services to HDR Global Trading Limited… including by
           19
                 developing the front-end interface of the BitMEX platform.” The front-end interface of the
           20
                 BitMEX platform includes commercial website www.bitmex.com, which was used to provide the
           21
                 false and fraudulent representations regarding available liquidity on BitMEX platform to Plaintiff
           22
                 Sorokin.
           23
                        840.       Defendant ABS Global Trading Limited, responsible, within the BitMEX
           24
                 Enterprise, for the commercial website www.bitmex.com, was and continues to be located in San
           25
                 Francisco, California. Therefore, the false and fraudulent representations regarding available
           26
                 liquidity on BitMEX platform made to Plaintiff Sorokin by Defendants through the commercial
           27
                 website www.bitmex.com, emanated from Defendant’s ABS’ offices in San Francisco,
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 304 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 California. Accordingly, California law applied to false and fraudulent statements and omissions
             2
                 perpetrated by Defendants in connection with BitMEX platform.
             3
                        841.       An April 27, 2017 Service Agreement between HDR and ABS rendered Defendant
             4
                 ABS’ staff responsible for BitMEX’s business development, marketing, including advertising,
             5
                 sales, engineering, human resources, payroll, customer support and software development from
             6
                 its U.S. offices in San Francisco. Therefore, the false and fraudulent representations regarding
             7
                 available liquidity on the BitMEX platform were perpetuated by Defendant ABS’ staff and
             8
                 emanated from Defendant ABS’ offices in San Francisco.
             9
                        842.       Defendants’ fraud and deceit was a substantial factor in causing of the injury to
           10
                 Plaintiff Sorokin in that Plaintiff Sorokin traded in Perpetual Swaps on margin on BitMEX
           11
                 platform as he did, and thus paid 0.4 bitcoins in trading commissions and suffered his trading
           12
                 losses of 1.12803878 bitcoins from such trading, as well as bitcoin loss of use damages of
           13
                 0.043392 bitcoins, as a result of his reasonable reliance on Defendants’ representations regarding
           14
                 available liquidity on BitMEX and his reasonable failure to know the actual facts. Thus, the total
           15
                 loss sustained by Plaintiff Sorokin was 1.57143 bitcoins.
           16
                        843.       Plaintiff Sorokin would not have traded on the BitMEX platform, and thus paid the
           17
                 trading commissions and suffered his net losses from such trading, if he had known the actual
           18
                 facts, as stated above.
           19
                        844.       Thus, it was a foreseeable and natural consequence of the purposes and goals of
           20
                 Defendants’ use of the false and fraudulent representations regarding available liquidity on
           21
                 BitMEX, as described above, that Plaintiff Sorokin would deposit his bitcoins with Defendants,
           22
                 thereby sustaining bitcoin loss of use damages, pay the trading commissions he paid and suffer
           23
                 the trading loss he suffered, and that Defendants would generate the ill-gotten gains they did.
           24
                        845.       As a direct and proximate result of Defendants’ fraud and deceit and the facts
           25
                 herein alleged, Plaintiff Sorokin deposited his bitcoins and opened margined Perpetual Swap
           26
                 positions on BitMEX platform, which were subsequently deliberately and wrongfully liquidated
           27
                 by the Insider Trading Desk operated by Defendants using Plaintiff Sorokin’s highly confidential
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 305 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 order and position information, wherein the Insider Trading Desk had a priority access to the
             2
                 trading order queues and not subject to lockouts, in violation of the express Warranty and
             3
                 Representation contained in the Service Agreement, by reason of which Plaintiff Sorokin has
             4
                 been damaged in the sum of 1.57143 bitcoins, which Plaintiff Sorokin demands to be returned to
             5
                 him in kind, as monetary damages would be manifestly unjust due to bitcoin appreciation. The
             6
                 insufficient liquidity available on the BitMEX platform, which Defendants falsely and
             7
                 fraudulently represented to Plaintiff Sorokin as providing “1500% More Bitcoin/USD liquidity
             8
                 than any other platform” and “BitMEX’s XBTUSD market [being] the most liquid in the world,”
             9
                 additionally contributed to and exacerbated the above losses of Plaintiff Sorokin. If Defendants
           10
                 indeed provided 1500% (16x) more liquidity than any other trading platform, as they falsely
           11
                 represented to Plaintiff Sorokin, such liquidations would not have occurred and Plaintiff Sorokin
           12
                 would not have sustained the trading losses he did. Therefore, Defendants’ failure to provide
           13
                 1500% (16x) more liquidity than any other trading platform, as they falsely and fraudulently
           14
                 represented to Plaintiff Sorokin, was a substantial factor in causing the trading loss of 1.12803878
           15
                 bitcoins by Plaintiff Sorokin on or about July 11, 2019.
           16
                        846.       Cal. Civ. Code § 1709 provides: “[o]ne who willfully deceives another with intent
           17
                 to induce him to alter his position to his injury or risk, is liable for any damage which he thereby
           18
                 suffers.”
           19
                        847.       Cal. Civ. Code § 1710(1) defines deceit as a “suggestion, as a fact, of that which is
           20
                 not true, by one who does not believe it to be true.”
           21
                        848.       Defendants’ false and fraudulent representations regarding available liquidity on
           22
                 the BitMEX platform constituted deceit under Cal. Civ. Code § 1710(1) and actually deceived
           23
                 Plaintiff Sorokin into altering his position by opening BitMEX account, depositing bitcoins,
           24
                 paying trading commissions to Defendants and engaging in cryptoderivative trading on margin on
           25
                 a rigged BitMEX platform. Therefore, Defendants’ conduct violated Cal. Civ. Code § 1709,
           26
                 pursuant to which Defendants are liable to Plaintiff Sorokin for Plaintiff Sorokin’s damages in the
           27
                 total amount of at least 1.57143 bitcoins.
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 306 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        849.       In doing the wrongful acts herein alleged, Defendants, and each of them, acted
             2
                 with oppression, fraud, and malice, and Plaintiff Sorokin is entitled to punitive damages in the
             3
                 amount of $50,000,000 pursuant to Cal. Civ. Code § 3294.
             4
                                                              COUNT XVII
             5                                Fraud by Concealment — Against All Defendants
             6          850.       Plaintiff repeats and re-alleges the allegations contained in every preceding

             7   paragraph as if fully set forth herein.

             8          851.       On or about June 24, 2019, Defendants, and each of them, through their

             9   commercial website www.bitmex.com, which constitutes a front-end interface of their BitMEX

           10    platform, personally presented Plaintiff Sorokin with an electronic document containing updated

           11    written Service Agreement for their online BitMEX trading platform and required Plaintiff

           12    Sorokin to personally accept it by opening a trading account and using BitMEX platform.55 The

           13    electronic document containing the Service Agreement was transmitted from Defendants’ servers

           14    located in San Francisco, California to Plaintiff Sorokin’s personal computer.

           15           852.       The Service Agreement incorporated the following Warranty and Representation

           16    expressly made by Defendants personally to Plaintiff Sorokin:

           17           6.3: HDR has a trading arm that, amongst other things, transacts in products traded on the

           18           Trading Platform. The trading arm primarily trades as a market-maker. The trading arm is

           19           organised to be separate and distinct from the business of the Trading Platform.

           20           Specifically, no front office personnel are shared between the trading arm and the Trading

           21           Platform, the trading arm’s staff are physically separated from the Trading Platform’s staff

           22           while performing trades, and the trading arm does not have access to any order flow,

           23           execution, customer or other information of the Trading Platform on terms that are not

           24           otherwise available to any other platform user. In addition, unless otherwise set forth in

           25           the terms of a specific product of HDR, the trading arm receives access and trading

           26
                 55
           27       The electronic document containing the updated written Terms of Service was also located at:
                 https://www.bitmex.com/app/terms and is attached hereto as Ex. 19 and is incorporated herein in
           28    its entirety.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 307 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                          privileges only on the same terms as are available to any other user.56
             2
                          853.       In addition, during Relevant Period, in soliciting Plaintiff Sorokin's bitcoin
             3
                 deposits, trading orders and trading commissions, Defendants, and each of them, made the
             4
                 following additional representations personally to Plaintiff Sorokin, through their commercial
             5
                 website www.bitmex.com, which constitutes a front-end interface of their BitMEX platform:
             6
                                     f. “[BitMEX] provides 100 Audits per second. BitMEX's engine constantly
             7
                                           audits the balances and history of all accounts.”
             8
                                     g. “[BitMEX had] 0 Bitcoin lost through intrusion or hacking. BitMEX keeps all
             9
                                           funds in cold storage.”
           10
                                     h. “[BitMEX provides] Leading Security. BitMEX employs the latest in multi-
           11
                                           factor security, inside and out. Safety is our primary concern.”
           12
                                     i. “[BitMEX provides] Advanced API. Our trading engine was built using the
           13
                                           same technology used by investment banks and hedge funds.”
           14
                                     j. “[BitMEX offers] The next generation of bitcoin trading products. Up to 100x
           15
                                           leverage. Trading without expiry dates. Industry-leading security. Welcome to
           16
                                           Bitcoin's most advanced trading platform.”
           17
                          854.       The aforesaid additional representations were made by Defendants, and each of
           18
                 them, by electronically transmitting, through a computer network, a web page document from
           19
                 Defendants’ servers in San Francisco, California directly to respective Plaintiff’s computer,
           20
                 displaying the above additional representations, front and center. Defendants made the aforesaid
           21
                 representations to Plaintiff Sorokin, for example, on June 24, 26, 27, 28 and 29 and July 3, 4, 6,
           22
                 2019.
           23
                          855.       All the above additional representations, the blog post as well as the Warranty and
           24
                 Representation used catchy buzzwords such as “security,” “safety,” “audits,” “unquestionable
           25
                 56
           26      The same Warranty and Representation was additionally posted as a blog post on the BitMEX
                 commercial website, personally authored by Defendant Hayes, which constitutes an
           27    advertisement, which was available, during Relevant Period, at https://blog.bitmex.com/bitmex-
                 market-making-desk/ and which called one of the operators of the Insider Trading Desk “a person
           28    [whose] integrity is unquestionable.”
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  ATTORNEYS              COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 308 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 integrity,” “investment banks and hedge funds,” which were specifically picked by Defendants to
             2
                 convey an overall message that would create a lasting impression of honesty, trust, integrity and
             3
                 safety with objectively reasonable investors, including Plaintiff Sorokin. For example, the words
             4
                 “investment banks” and “audits” are usually associated, in the minds of objectively reasonable
             5
                 consumers, with regulatory oversight and extensive compliance efforts. However, in truth and in
             6
                 fact, this impression designed to be created and actually created by Defendants with Plaintiff
             7
                 Sorokin was false. In truth and in fact, Defendants lacked any compliance efforts what so ever,
             8
                 actively worked in secret to evade regulators and secretly engaged in highly unethical,
             9
                 unscrupulous, illegal and even criminal acts on their rigged BitMEX platform, which they had a
           10
                 duty to disclose to Plaintiff Sorokin, pursuant to the Rule 180.1, 17 C.F.R. § 180.1(a) (2019), and
           11
                 Cal. Civ. Code §§ 1709 and 1710(3), in order to make the alleged overall message as well as
           12
                 specific representations regarding Defendants’ Insider Trading Desk conveyed by Defendants to
           13
                 Plaintiff Sorokin not misleading. Defendants failed to fulfill this duty.
           14
                           856.      Therefore, during the Relevant Time Period, Defendants made the following
           15
                 fraudulent omissions of material fact to Plaintiff Sorokin, which went to the very center, very core
           16
                 and very essence of the functionality, integrity and profit model of Defendants’ cryptoderivative
           17
                 trading services that Defendants offered to Plaintiff Sorokin, for a fee, through the BitMEX
           18
                 online trading platform and which Defendants, therefore, had a duty to disclose under Rule 180.1,
           19
                 17 C.F.R. § 180.1(a) (2019), and Cal. Civ. Code §§ 1709 and 1710(3), in order to make the
           20
                 alleged overall message as well as specific representations regarding Defendants’ Insider Trading
           21
                 Desk conveyed by Defendants to Plaintiff Sorokin not misleading57:
           22
                                a. Failing to disclose to Plaintiff Sorokin that Defendants were continuously
           23
                                     operating the Insider Trading Desk, on a 24 hours a day, 7 days a week basis,
           24
                                     which continuously manipulated prices on BitMEX and reference exchanges and
           25
                                     enjoyed informational and trading priority privileges over Plaintiff Sorokin, by
           26
                                     being granted “God access” to highly sensitive and confidential insider
           27
           28    57
                      All the alleged omissions pertain to the entire Relevant Period.
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  ATTORNEYS              COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 309 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                             information of Plaintiff Sorokin and other BitMEX traders, including sizes and
             2
                             leverage amounts for all existing positions and orders, all liquidation prices, stop
             3
                             loss prices and even all parameters of all hidden orders.
             4
                        b. Failing to disclose to Plaintiff Sorokin that Defendants provided the Insider
             5
                             Trading Desk with automated systems, built by BitMEX and Defendant ABS,
             6
                             leveraging this highly sensitive and confidential insider information of BitMEX
             7
                             traders, including Plaintiff Sorokin, to enable and automate price manipulation that
             8
                             estimated how the market was likely to move by assessing the impact of the
             9
                             hidden orders and liquidations, when they triggered. Thus, based on the sensitive
           10
                             insider information of BitMEX traders, the automated system was able to predict a
           11
                             potential profit for BitMEX from liquidating its traders, triggered by a potential
           12
                             manipulation.
           13
                        c. Failing to disclose to Plaintiff Sorokin that the traders at the Insider Trading Desk
           14
                             had tools that showed them which liquidations would occur across the entirety of
           15
                             BitMEX’s platform if prices moved in any given direction, which was used to
           16
                             predict profitability of potential liquidations for BitMEX.
           17
                        d. Failing to disclose to Plaintiff Sorokin that once predetermined predicted
           18
                             profitability for BitMEX was met, the manipulative trades were automatically
           19
                             executed by the BitMEX automated systems, resulting in trader liquidations.
           20
                        e. Failing to disclose to Plaintiff Sorokin that to prevent the conditions of the
           21
                             BitMEX order book from changing between the profitability prediction time and
           22
                             actual liquidation time, BitMEX was configured to intentionally freeze its servers,
           23
                             preventing traders from closing or changing their positions or placing new orders
           24
                             that could interfere with the manipulation, so that BitMEX would get the exact
           25
                             profit that was predicted.
           26
           27
           28
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  ATTORNEYS      COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 310 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        f. Failing to disclose to Plaintiff Sorokin that the access to hidden information thus
             2
                             provided the operators of the Insider Trading Desk with a substantial, unfair and
             3
                             secret advantage over BitMEX customers, including Plaintiff Sorokin.
             4
                        g. Failing to disclose to Plaintiff Sorokin that, by analyzing the impact of hidden
             5
                             trade orders and liquidation prices, BitMEX Insider Trading Desk could determine
             6
                             when placing a large order would cause the liquidations and hidden orders to
             7
                             trigger. BitMEX could then assess whether these hidden orders would affect prices
             8
                             in a way that would cause liquidations resulting in a profit for BitMEX.
             9
                        h. Failing to disclose to Plaintiff Sorokin that BitMEX automated system that
           10
                             operated 24 hours a day, 7 days a week was configured to automatically act based
           11
                             on the results of the prediction by placing manipulative trades on BitMEX and
           12
                             “reference” exchanges, when BitMEX servers were frozen for its traders.
           13
                        i. Failing to disclose to Plaintiff Sorokin that Defendants used secret, anonymous
           14
                             accounts to trade against BitMEX customers, including Plaintiff Sorokin.
           15
                        j. Failing to disclose to Plaintiff Sorokin that Defendants granted privileged access to
           16
                             the BitMEX platform to the anonymized accounts, while customers, including
           17
                             Plaintiff Sorokin, were locked out, and by misrepresenting that the Insider Trading
           18
                             Desk did not have such access.
           19
                        k. Failing to disclose to Plaintiff Sorokin that Defendants’ Insider Trading Desk was
           20
                             equipped and designed to and operated to continuously intentionally trigger
           21
                             automatic liquidations of trading positions of BitMEX traders, including Plaintiff
           22
                             Sorokin, through customer lock-outs and by manipulating prices of underlying
           23
                             cryprtocommodities for its swap cryptoderivative products on reference exchanges
           24
                             and, thus, on the BitMEX platform.
           25
                        l. Failing to disclose to Plaintiff Sorokin that Defendants continuously allowed
           26
                             BitMEX insiders including Hayes, Delo and Reed to freely and continuously trade
           27
                             on the BitMEX platform against BitMEX customers, despite their complete
           28
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  ATTORNEYS      COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 311 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                             control of the BitMEX trading platform and their “God access” to confidential
             2
                             BitMEX client information, including customer positions, leverage amounts,
             3
                             liquidation points and orders and despite resulting clear conflict of interest,
             4
                             prohibited by CFTC regulations.
             5
                        m. Intentionally misrepresenting to Plaintiff Sorokin that Defendants were using and
             6
                             would continue to use commercially reasonable efforts to prevent customer lock-
             7
                             outs on the BitMEX platform, while failing to disclose to Plaintiff Sorokin that
             8
                             these lock-outs were intentional and specifically designed to facilitate
             9
                             manipulation by Defendants’ Insider Trading Desk.
           10
                        n. Failing to disclose the susceptibility of the BitMEX platform to customer lock-outs
           11
                             and their predictable, negative effects on customers and beneficial effect for
           12
                             BitMEX, including through the operation of the Insurance Fund.
           13
                        o. Failing to disclose to Plaintiff Sorokin that Defendants had no rules or procedures
           14
                             whatsoever sufficient to ensure that: the contracts BitMEX offered to Plaintiff
           15
                             Sorokin was not readily susceptible to manipulation; market participants were
           16
                             prevented from engaging in manipulation or disruptive trading; and market
           17
                             participants who engage in misconduct were subject to discipline, all in violation
           18
                             of CFTC regulations.
           19
                        p. Failing to disclose to Plaintiff Sorokin that Defendants failed to maintain required
           20
                             records, and in fact has actively deleted required records including critical
           21
                             customer identification information, all in violation of CFTC regulations.
           22
                        q. Failing to disclose to Plaintiff Sorokin that Defendants had no rules whatsoever to
           23
                             minimize conflicts of interest and allowed insiders, including Defendant Hayes,
           24
                             Delo, Reed, and numerous other BitMEX employees with access to confidential
           25
                             trader insider information, including sensitive Plaintiff Sorokin’s information, to
           26
                             continuously trade on the platform, and that BitMEX’s own internal “market-
           27
                             making” desk was one of the largest traders on the platform.
           28
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  ATTORNEYS      COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 312 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        857.       Therefore, Defendants committed fraudulent omissions during the Relevant Period
             2
                 in at least three main respects.
             3
                        858.       First, Defendants committed fraudulent omissions regarding the nature and
             4
                 operations of the Insider Trading Desk.
             5
                              a. BitMEX’s updated Service Agreement on its website revealed that “BitMEX has a
             6
                                   for-profit trading business that, among other things, transacts in products traded on
             7
                                   the BitMEX platform.” Defendants did not disclose, however, that the Insider
             8
                                   Trading Desk enjoys information, trading and technical advantages over BitMEX
             9
                                   customers, described above, or that the Insider Trading Desk artificially
           10
                                   manipulates the prices of bitcoin and ether on the U.S.-based third-party reference
           11
                                   exchanges, as also described above, in order to make its own trades profitable and
           12
                                   to force customer liquidations.
           13
                        859.       Given that BitMEX trades against its own customers, Plaintiff Sorokin would want
           14
                 to know and reasonably and justifiably expected Defendants to disclose the facts bearing on how
           15
                 BitMEX conducts such trades and the extent to which BitMEX is likely to be successful in
           16
                 conducting such trades, as a reasonable investor would consider this information very important
           17
                 in deciding whether to make an investment in Defendants’ Perpetual Swaps. Defendants had a
           18
                 common law duty to avoid making the above partial, misleading representations that effectively
           19
                 concealed material facts from Plaintiff Sorokin. In addition, Defendants had a statutory duty to
           20
                 avoid making the above partial, misleading representations that effectively concealed material
           21
                 facts from Plaintiff Sorokin under Cal. Civ. Code § 1710(3), which defines deceit as a
           22
                 “suppression of a fact, by one who is bound to disclose it, or who gives information of other facts
           23
                 which are likely to mislead for want of communication of that fact.”
           24
                        860.       Accordingly, pursuant to their common law and statutory duty under Cal. Civ.
           25
                 Code § 1710(3) to avoid making partial, misleading representations about the activity of the
           26
                 Insider Trading Desk, that effectively concealed material facts from Plaintiff Sorokin, Defendants
           27
                 were obligated to (but did not) disclose the information, trading and technical advantages that
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 313 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Insider Trading Desk enjoys over Plaintiff Sorokin and other BitMEX customers and that the
             2
                 Insider Trading Desk artificially manipulates the prices of bitcoin and ether on the U.S.-based
             3
                 third-party reference exchanges, as also described above, in order to make its own trades
             4
                 profitable and to force customer, including Plaintiff Sorokin’s liquidations. Therefore,
             5
                 Defendants’ concealment of material facts from Plaintiff Sorokin actually misled Plaintiff
             6
                 Sorokin into believing something that was not true and was “likely to [so] mislead a reasonable
             7
                 consumer.”
             8
                        861.       Second, Defendants made fraudulent statements and committed fraudulent
             9
                 omissions regarding the nature and scope of the customer lock-outs on BitMEX.
           10
                              a. In early 2019, BitMEX’s website vaguely disclosed that undefined system
           11
                                   overloads might disrupt access to the BitMEX platform. The website has further
           12
                                   stated since that time that the customer lock-outs are a result of technical
           13
                                   limitations regarding the volume of trading the platform can accommodate.
           14
                              b. Defendants did not disclose, however, that any such technical limitations do not
           15
                                   restrict the Insider Trading Desk, which remains able to trade against BitMEX
           16
                                   customers during the lock-outs.
           17
                              c. Where BitMEX trades against its own customers, a reasonable BitMEX customer
           18
                                   would conclude that a lock-out would suspend all trading on the platform, and the
           19
                                   Insider Trading Desk’s ability to use the platform during customer lock-outs
           20
                                   provided BitMEX with a substantial advantage in trading against BitMEX
           21
                                   customers.
           22
                              d. Accordingly, in order to avoid making partial, misleading representations that
           23
                                   effectively concealed material facts from Plaintiff Sorokin, about the nature and
           24
                                   scope of lock-outs, Defendants were obligated to disclose that the lock-outs do not
           25
                                   restrict the Insider Trading Desk.
           26
                              e. Since early 2019, moreover, referring to the “Services” available on its trading
           27
                                   platform, BitMEX has at least recklessly and falsely claimed that it “shall make
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 314 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                                   reasonable efforts to ensure that the Services are available to you” and that
             2
                                   BitMEX “will use commercially reasonable efforts to avoid downtime of the
             3
                                   Services during anticipated peak hours.”
             4
                              f. In fact, BitMEX did not intend and has failed to use reasonable or commercially
             5
                                   reasonable efforts to avoid customer lock-outs, and in knowingly or recklessly
             6
                                   claiming otherwise, BitMEX deceived customers into trading on the platform.
             7
                              g. Indeed, on information and belief, for the reasons alleged above, Defendants
             8
                                   knowingly or recklessly intend the customer lock-outs regularly to occur, in
             9
                                   particular during periods of high volatility, to lock out BitMEX customers from
           10
                                   their accounts during large market moves in order to increase the number of
           11
                                   position liquidations.
           12
                              h. Accordingly, in order to make their statements about their purported intent to use
           13
                                   reasonable or commercially reasonable efforts to avoid such lock-outs not partial,
           14
                                   misleading representations that effectively concealed material facts from Plaintiff
           15
                                   Sorokin, Defendants were obligated to disclose their intent to use these lock-outs
           16
                                   to their advantage.
           17
                        862.       Third, Defendants made fraudulent statements and committed fraudulent
           18
                 omissions regarding the supposedly “hidden orders” that Plaintiff Sorokin may place on the
           19
                 BitMEX platform:
           20
                              a. The BitMEX website stated throughout the Relevant Period that a “Hidden Order”
           21
                                   is an order “that is not visible on the public orderbook” and that “Traders use this
           22
                                   order type when they don’t want to inform the market of their trading intentions.”
           23
                              b. Defendants did not disclose to Plaintiff Sorokin, however, that these orders are not
           24
                                   hidden from BitMEX and its insiders.
           25
                              c. Based on the information provided by Defendants, Plaintiff Sorokin reasonably
           26
                                   concluded that no one using the BitMEX platform would be able to trade based on
           27
                                   the details of his so-called “hidden” orders and that so-called “hidden” orders
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 315 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                                   would not provide BitMEX and its insiders with a substantial advantage in trading
             2
                                   against Plaintiff Sorokin. This conclusion was wrong because of fraudulent
             3
                                   omission of critical information about so-called “hidden” orders by Defendants.
             4
                        863.       Accordingly, in order to make its description of a “hidden order” not partial,
             5
                 misleading representations that effectively concealed material facts from Plaintiff Sorokin,
             6
                 Defendants were obligated to disclose to Plaintiff Sorokin that hidden orders were not in fact
             7
                 hidden from BitMEX, and its insiders were obligated to disclose throughout the Relevant Period
             8
                 that BitMEX trades against its customers with knowledge of the details of Plaintiff Sorokin’s
             9
                 hidden orders. Defendants have failed to disclose this critical information to Plaintiff Sorokin,
           10
                 which Plaintiff Sorokin reasonably and justifiably expected Defendants to disclose as the facts in
           11
                 question went to the very core of BitMEX’s operation, integrity and profit model.
           12
                        864.       When the Defendants committed the aforesaid fraudulent omissions to Plaintiff
           13
                 Sorokin, Defendants intentionally omitted a clear disclosure of the facts stated above because
           14
                 giving a clear explanation of how BitMEX platform really operated would have punctured the
           15
                 illusion of risk-free casino-style profits that Defendants promised Plaintiff Sorokin. Defendants’
           16
                 fraudulent omissions to Plaintiff Sorokin was made by Defendants with the intent to defraud and
           17
                 deceive Plaintiff Sorokin and with the intent to induce Plaintiff Sorokin to act in the manner
           18
                 herein alleged.
           19
                        865.       Defendants knew of and intentionally perpetuated these misrepresentations, half-
           20
                 truths and omissions. BitMEX and the individual Defendants Hayes, Delo and Reed concealed
           21
                 facts that went to the very core of BitMEX’s operation, integrity and profit model and could not
           22
                 reasonably have been unaware of these facts. In making these misrepresentations, half-truths and
           23
                 omissions, Defendants were motivated by profit, including Plaintiff Sorokin’s bitcoin deposits,
           24
                 trading commissions paid by Plaintiff Sorokin to Defendants, and Plaintiff Sorokin’s bitcoins
           25
                 confiscated by Defendants as the result of liquidations. Each of the Defendants Hayes, Delo and
           26
                 Reed who each own 31.67% of the remaining Defendants had personal financial interest in
           27
                 perpetuating these misrepresentations, half-truths and omissions in order to fraudulently solicit
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 316 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Plaintiff Sorokin’s business, as the resultant ill-gotten profits collected by Defendant HDR were
             2
                 siphoned by them directly to their personal bank accounts as alleged in Paragraphs above.
             3
                        866.       Defendants intended that Plaintiff Sorokin rely on these misrepresentations, half-
             4
                 truths and omissions, and Plaintiff Sorokin reasonably did so, given that these statements
             5
                 concerned core aspects of BitMEX’s business.
             6
                        867.       Plaintiff Sorokin, at the time these fraudulent misrepresentations, half-truths and
             7
                 omissions were made by Defendants and at the time Plaintiff Sorokin took the actions herein
             8
                 alleged, was ignorant of the material facts fraudulently omitted by Defendants. In reliance on
             9
                 these misrepresentations, half-truths and omissions, Plaintiff Sorokin was induced to and did in
           10
                 fact deposit his valuable bitcoins with Defendants’ platform and engaged in derivative trading
           11
                 thereon to his financial loss and detriment. For example, in reliance on Defendants’
           12
                 misrepresentations, half-truths and omissions, Plaintiff Sorokin deposited58 with Defendants:
           13
           14
                                   Sorokin                           June 24, 2019                0.50831625 bitcoins
           15
                                   Sorokin                           June 26, 2019                   0.03526 bitcoins
           16

           17                      Sorokin                           July 3, 2019                     2.288 bitcoins

           18                      Sorokin                           July 4, 2019                 4.28749672 bitcoins
           19

           20
                        868.       Due to the aforesaid deposits of bitcoins with Defendants, made in reliance on
           21
                 Defendants’ misrepresentations, half-truths and omissions, Plaintiff Sorokin incurred the
           22
                 following bitcoin loss of use damages associated with the fact that Plaintiff Sorokin’s bitcoins
           23
                 were deposited in interest-free BitMEX accounts and not in interest-bearing accounts widely
           24
                 available on the market, at the time, from reputable and financially stable companies including
           25
                 58
           26      The deposits listed in this table are only exemplary deposits. For example, Plaintiff Sorokin
                 deposited with Defendants over 9.50160197 bitcoins in total, of which Defendants wrongfully
           27    collected from him trading commissions of at least 0.4 bitcoins. In addition, Plaintiff Sorokin
                 sustained net trading losses of about 1.12803878 bitcoins, resulting in his net loss on BitMEX of
           28    1.52803878 bitcoins ($88,626), in addition to the bitcoin loss of use damages.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)        - 317 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 U.S.-based Celsius and BlockFi, which paid 5.95% APY on bitcoin deposits. Had Plaintiff
             2
                 Sorokin not deposited his valuable bitcoins with BitMEX, as he did in reliance on Defendants’
             3
                 misrepresentations, half-truths and omissions, he would have deposited them with either Celsius
             4
                 or BlockFi and earned 5.95% APY thereon. Therefore, Defendants’ misrepresentations, half-
             5
                 truths and omissions were a substantial factor in causing Plaintiff Sorokin’s bitcoin loss of use
             6
                 damages, which were also a natural and foreseeable result of the Defendants’ misrepresentations,
             7
                 half-truths and omissions, which were specifically calculated to fraudulently induce Plaintiff
             8
                 Sorokin to deposit his bitcoins with Defendants, thereby causing the loss of use damages. These
             9
                 bitcoin loss of use damages are separate from and do not include any actual trading losses
           10
                 suffered by Plaintiff Sorokin as the result of any market events, market manipulation, market
           11
                 conditions or liquidations.
           12
           13
                                    Deposit              Deposit     Deposit     Deposit              Market              Loss of Use
           14     Plaintiff
                                    Started               Ended       Days       Amount                 APY                Damages
           15
                                    June 24,           August 10,               0.50831625                                   0.0030
           16     Sorokin                                              47                              5.95%
                                      2019                 2019                   bitcoins                                   bitcoins
           17
           18                       June 26,           August 10,                0.03526                                     0.00025
                  Sorokin                                              45                              5.95%
           19                         2019                 2019                   bitcoins                                   bitcoins

           20                                          August 10,                  2.288                                    0.014212
                  Sorokin        July 3, 2019                          38                              5.95%
           21                                              2019                   bitcoins                                   bitcoins
           22
                                                       August 10,               4.28749672                                   0.02593
           23     Sorokin        July 4, 2019                          37                              5.95%
                                                           2019                   bitcoins                                   bitcoins
           24
           25                                                                                                               0.043392
                                                                                                       Total:
           26                                                                                                               bitcoins

           27
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 318 -    ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        869.       In further reliance on Defendants’ misrepresentations, half-truths and omissions,
             2
                 Plaintiff Sorokin traded Defendants’ bitcoin and ether Perpetual Swaps on July 11, 2019 and
             3
                 suffered trading losses of over 1.81027681 bitcoins on that day, when his XBTUSD and
             4
                 ETHUSD Perpetual Swap long positions were liquidated. In addition, Plaintiff Sorokin paid at
             5
                 least 0.1 bitcoins in trading commissions to Defendants on that day. The trading losses were
             6
                 sustained by Plaintiff Sorokin due to Defendants’ Insider Trading Desk having caused Plaintiff
             7
                 Sorokin’s Perpetual Swap position on BitMEX to be liquidated, using Plaintiff Sorokin’s own
             8
                 confidential information, to which Insider Trading Desk had what BitMEX internally referred to
             9
                 as “God Access,” in direct violation of the Warranty and Representation. Had Plaintiff Sorokin
           10
                 known the actual facts, he would not have taken such actions, would not have deposited bitcoins,
           11
                 traded Perpetual Swaps, suffered such losses and would not have paid trading commissions to
           12
                 Defendants.
           13
                        870.       Due to Plaintiff Sorokin’s decision to trade on Defendants’ BitMEX platform,
           14
                 made in reasonable reliance on Defendants’ misrepresentations, half-truths and omissions,
           15
                 Plaintiff Sorokin incurred the following monetary damages associated with trading commissions59
           16
                 paid by Plaintiff Sorokin to Defendants, irrespective of any and all market moves, market events
           17
                 or market manipulation by Defendants. Therefore, Defendants’ misrepresentations, half-truths
           18
                 and omissions were a substantial factor in causing Plaintiff Sorokin’s damages associated with
           19
                 trading commissions paid by Plaintiff Sorokin to Defendants, which were also a natural and
           20
                 foreseeable result of the Defendants’ misrepresentations, half-truths and omissions, which were
           21
                 specifically calculated to fraudulently induce Plaintiff Sorokin to pay trading commissions to
           22
                 Defendants. These trading commissions paid by Plaintiff Sorokin to Defendants are separate
           23
                 from and do not include any trading losses suffered by Plaintiff Sorokin as the result of any
           24
                 market events, market manipulation or market conditions. Plaintiff Sorokin paid at least a portion
           25
           26    59
                   BitMEX charges traders trading commissions in connection with opening, maintaining and
           27    closing trading positions, irrespective of market moves or other events and irrespective of
                 whether the position is profitable or not. For example, the commission for opening or closing a
           28    margined position is 0.075% of the position size.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 319 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 of the below trading commissions, in the amount of at least 0.015 bitcoins, at the time he opened
             2
                 his initial Perpetual Swap position on BitMEX, in reasonable reliance on Defendants’
             3
                 misrepresentations, half-truths and omissions, and before any market move or other market event.
             4
             5
                                                                                                       Trading Commissions
             6         Plaintiff                  Trading Started        Trading Ended
                                                                                                                 Damages
             7
                       Sorokin                      June 24, 2019        August 10, 2019                        0.4 bitcoins
             8
             9                                                                 Total:                          0.4 bitcoins

           10
           11           871.       Plaintiff Sorokin's reliance on Defendants’ fraudulent misrepresentations, half-
           12    truths and omissions was justified because Defendants took extraordinary measures to conceal the
           13    wrongdoing perpetrated by their Insider Trading Desk from Plaintiff Sorokin, other traders and
           14    regulators. First, Defendants deliberately made all accounts on BitMEX platform anonymous,
           15    which hindered specifically pinpointing the origin of manipulation and other illegal acts. Second,
           16    according to the CFTC Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted required
           17    records, including user identities. Third, Defendants deliberately used anonymous “burner” (e.g.
           18    @gmail.com) email addresses, as opposed to "official" BitMEX email addresses (e.g.
           19    @bitmex.com), to open trading accounts for its Insider Trading Desk with BitMEX exchange, to
           20    cover up the tracks of wrongdoing so the trading histories and illegal manipulation profits cannot
           21    be traced back to BitMEX. The “burner” accounts were periodically recycled and corresponding
           22    trading records deleted. Accordingly, Defendants engaged in active concealment of their fraud.
           23    Therefore, Plaintiff Sorokin, through exercise of reasonable diligence, could not have known the
           24    true manner of operation of Defendants’ Insider Trading Desk.
           25           872.       Defendants’ fraudulent misrepresentations, half-truths and omissions allowed
           26    BitMEX to create the false impression with Plaintiff Sorokin that if BitMEX was trading against
           27    Plaintiff Sorokin and its own customers, it nevertheless was not doing so with substantial trading
           28
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             1
                 advantages over Plaintiff Sorokin and the customers; that BitMEX would not be able to, and
             2
                 would not, take advantage of customer lock-outs to benefit BitMEX at the expense of Plaintiff
             3
                 Sorokin and the customers; and that the prices of bitcoin and ether used to determine the value of
             4
                 bitcoin and ether derivative products traded on BitMEX were prices that BitMEX had not itself
             5
                 manipulated.
             6
                        873.       With these false impressions established, Defendants were able improperly and
             7
                 fraudulently to induce Plaintiff Sorokin to use the BitMEX platform, to liquidate Plaintiff
             8
                 Sorokin’s trading positions on BitMEX using Plaintiff Sorokin’s very sensitive insider
             9
                 information about Plaintiff Sorokin’s position and open orders, to use the Insider Trading Desk to
           10
                 orchestrate disadvantageous trades for Plaintiff Sorokin, and to manipulate the price of bitcoin
           11
                 and ether on “reference” exchanges to orchestrate further disadvantageous trades and position
           12
                 liquidations for Plaintiff Sorokin.
           13
                        874.       Defendants generated ill-gotten gain from their fraud by collecting trading
           14
                 commissions from Plaintiff Sorokin for trading on the BitMEX platform that occurred as a result
           15
                 of the fraud (Plaintiff Sorokin would each not have used the platform if he had known the truth);
           16
                 prevailing as the counterparty against Plaintiff with respect to trading that occurred as a result of
           17
                 the fraud (Plaintiff Sorokin would not have used the platform or traded as he did if he had known
           18
                 the truth); and increasing the size of the Insurance Fund through position liquidations that
           19
                 occurred as a result of the fraud (Plaintiff Sorokin would not have used the platform or traded as
           20
                 he did if he had known the truth).
           21
                        875.       Defendants’ fraud was thus a direct and proximate cause as well as substantial
           22
                 factor of the injury to Plaintiff Sorokin in that Plaintiff Sorokin traded in Perpetual Swaps on
           23
                 margin on BitMEX as he did, and thus paid 0.4 bitcoins in trading commissions and suffered his
           24
                 trading losses from such trading amounting to 1.12803878 bitcoins, in addition to sustaining
           25
                 bitcoin loss of use damages of 0.043392 bitcoins, as a result of his reasonable failure to know the
           26
                 actual facts fraudulently concealed from Plaintiff Sorokin by Defendants. Thus, the total loss
           27
                 sustained by Plaintiff Sorokin was 1.57143 bitcoins.
           28
CONSENSUS LAW
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 321 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        876.       Plaintiff Sorokin would not have deposited his bitcoins with BitMEX and traded
             2
                 on the BitMEX platform, and thus paid the trading commissions and suffered his net losses from
             3
                 such trading, if he had known the actual facts, as stated above, fraudulently concealed from
             4
                 Plaintiff Sorokin by Defendants.
             5
                        877.       Thus, it was a foreseeable and natural consequence of the purposes and goals of
             6
                 Defendants’ fraudulent concealment of material facts from Plaintiff Sorokin, as described above,
             7
                 that Plaintiff Sorokin would deposit his bitcoins with Defendants, thereby sustaining bitcoin loss
             8
                 of use damages, pay the trading commissions he paid and suffer the trading losses he suffered,
             9
                 and that Defendants would generate the ill-gotten gains they did.
           10
                        878.       As a direct and proximate result of Defendants’ fraudulent misrepresentations and
           11
                 concealment of material facts from Plaintiff Sorokin, Plaintiff Sorokin deposited his bitcoins and
           12
                 opened margined Perpetual Swap positions on BitMEX platform, which were subsequently
           13
                 deliberately and wrongfully liquidated by the Insider Trading Desk operated by Defendants using
           14
                 Plaintiff Sorokin’s highly confidential and sensitive order and position information, wherein the
           15
                 Insider Trading Desk had priority access to the trading order queues and not subject to lockouts,
           16
                 by reason of which Plaintiff Sorokin has been damaged in the sum of 1.57143 bitcoins, which
           17
                 Plaintiff Sorokin demands to be returned to him in kind, as monetary damages would be
           18
                 manifestly unjust due to bitcoin appreciation.
           19
                        879.       Cal. Civ. Code § 1709 provides: “[o]ne who willfully deceives another with intent
           20
                 to induce him to alter his position to his injury or risk, is liable for any damage which he thereby
           21
                 suffers.”
           22
                        880.       Cal. Civ. Code § 1710(3) defines deceit as a “suppression of a fact, by one who is
           23
                 bound to disclose it, or who gives information of other facts which are likely to mislead for want
           24
                 of communication of that fact.”
           25
                        881.       Defendants “[give] information of other facts which are likely to mislead for want
           26
                 of communication of that fact” by providing to Plaintiff Sorokin the false Warranty and
           27
                 Representation without disclosing the informational, technical and trading privileges that the
           28
CONSENSUS LAW
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 322 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 Insider Trading Desk enjoys over Plaintiff Sorokin and other BitMEX customers and the fact that
             2
                 the Insider Trading Desk artificially manipulates the prices of bitcoin and ether on the U.S.-based
             3
                 third-party reference exchanges, as described above, in order to make its own trades profitable
             4
                 and to force customers, including Plaintiff Sorokin, liquidations. This made the Warranty and
             5
                 Representation at least misleading. Accordingly, Defendants’ conduct constituted deceit under
             6
                 Cal. Civ. Code § 1710(3).
             7
                        882.       Moreover, California law recognizes four circumstances in which an obligation to
             8
                 disclose may arise: “(1) when the defendant is in a fiduciary relationship with the plaintiff; (2)
             9
                 when the defendant had exclusive knowledge of material facts not known to the plaintiff; (3)
           10
                 when the defendant actively conceals a material fact from the plaintiff; and (4) when the
           11
                 defendant makes partial representations but also suppresses some material facts.” LiMandri v.
           12
                 Judkins, 52 Cal. App. 4th 326, 336 (1997).
           13
                        883.       Defendant had exclusive knowledge of material facts related to the informational,
           14
                 technical and trading privileges that the Insider Trading Desk enjoys over Plaintiff Sorokin and
           15
                 other BitMEX customers and of material fact that the Insider Trading Desk artificially
           16
                 manipulates the prices of bitcoin and ether on the U.S.-based third-party reference exchanges, as
           17
                 described above, in order to make its own trades profitable and to force customer, including
           18
                 Plaintiff Sorokins’ liquidations. These material facts were not known to Plaintiff Sorokin.
           19
                 Therefore, Defendants were obligated to disclose the above information to Plaintiff Sorokin under
           20
                 LiMandri v. Judkins, 52 Cal. App. 4th 326, 336 (1997), which they failed to do.
           21
                        884.       Moreover, Defendants engaged in active concealment of their fraud. First,
           22
                 Defendants deliberately made all accounts on BitMEX platform anonymous, which hindered
           23
                 specifically pinpointing the origin of manipulation and other illegal acts. Second, according to
           24
                 the CFTC Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted required records, including
           25
                 user identities. Third, Defendants deliberately used anonymous “burner” (e.g. @gmail.com)
           26
                 email addresses, as opposed to "official" BitMEX email addresses (e.g. @bitmex.com), to open
           27
                 trading accounts for its Insider Trading Desk with BitMEX exchange, to cover up the tracks of
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 323 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 wrongdoing so the trading histories and illegal manipulation profits cannot be traced back to
             2
                 BitMEX. The “burner” accounts were periodically recycled and corresponding trading records
             3
                 deleted. Therefore, Defendants were additionally obligated to disclose the above information to
             4
                 Plaintiff Sorokin under LiMandri v. Judkins, 52 Cal. App. 4th 326, 336 (1997), which they failed
             5
                 to do.
             6
                           885.       Furthermore, Defendants “[made] partial representations [about the Insider
             7
                 Trading Desk] but also suppresses some material facts” regarding informational, technical and
             8
                 trading privileges that the Insider Trading Desk enjoys over Plaintiff Sorokin and other BitMEX
             9
                 customers and the fact that the Insider Trading Desk artificially manipulates the prices of bitcoin
           10
                 and ether on the U.S.-based third-party reference exchanges, as described above, in order to make
           11
                 its own trades profitable and to force customers, including Plaintiff Sorokin’s liquidations.
           12
                 Therefore, Defendants were additionally obligated to disclose the above information to Plaintiff
           13
                 Sorokin under LiMandri v. Judkins, 52 Cal. App. 4th 326, 336 (1997), which they failed to do.
           14
                           886.       Defendants’ misrepresentations, half-truths and omissions constituted deceit under
           15
                 Cal. Civ. Code §§ 1710(1) and (3) and actually deceived Plaintiff Sorokin into altering his
           16
                 position by opening BitMEX accounts, depositing bitcoins, paying trading commissions to
           17
                 Defendants and engaging in cryptoderivative trading on margin on a rigged BitMEX platform.
           18
                 Therefore, Defendants’ conduct violated Cal. Civ. Code § 1709, pursuant to which Defendants
           19
                 are liable to Plaintiff Sorokin for Plaintiff Sorokin’s damages in the total amount of at least
           20
                 1.57143 bitcoins.
           21
                           887.       In doing the wrongful acts herein alleged, Defendants, and each of them, acted
           22
                 with oppression, fraud, and malice, and Plaintiff Sorokin is entitled to punitive damages in the
           23
                 amount of $50,000,000 pursuant to Cal. Civ. Code § 3294.
           24
                                                                 COUNT XVIII
           25                                    Fraudulent Inducement — Against All Defendants
           26              888.       Plaintiff repeats and re-alleges the allegations contained in every preceding

           27    paragraph as if fully set forth herein.

           28
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  ATTORNEYS               COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 324 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                         889.      As alleged in Paragraphs above, the Service Agreement between Defendants and
             2
                 Plaintiff Sorokin was induced by and procured by Defendants through the fraud,
             3
                 misrepresentations and fraudulent omissions of material fact by Defendants, which ultimately
             4
                 conferred no bona fide cryptoderivative trading opportunity or any other benefit upon Plaintiff
             5
                 Sorokin and thus resulted in a total failure of consideration and frustration of its purpose.
             6
                         890.      Plaintiff Sorokin entered into the Service Agreement in justifiable reliance on
             7
                 fraudulent misrepresentations and fraudulent omissions of material fact by Defendants as alleged
             8
                 in Paragraphs above.
             9
                         891.      As a consequence thereof, the Service Agreement is voidable.60 Plaintiff Sorokin
           10
                 intended and intends that his Complaint serve as notice of voiding of the Service Agreement,
           11
                 equitably requiring Defendants to restore to Plaintiff Sorokin all the bitcoin deposits transferred
           12
                 by Plaintiff Sorokin to Defendants as consideration for the Service Agreement and to compensate
           13
                 Plaintiff Sorokin for the loss of use of his bitcoins.
           14
                         892.      Plaintiff Sorokin has been damaged by fraudulent misrepresentations and
           15
                 fraudulent omissions of material fact by Defendants as alleged in Paragraphs above in the sum of
           16
                 1.57143 bitcoins, which Plaintiff Sorokin demands to be returned to him in kind, as monetary
           17
                 damages would be manifestly unjust due to bitcoin appreciation.
           18
           19                                                 COUNT XIX
                                          Negligent Misrepresentation — Against All Defendants
           20            893.      Plaintiff repeats and re-alleges the allegations contained in every preceding
           21    paragraph as if fully set forth herein.
           22            894.      At the time Defendants made the Warranty and Representation and representations
           23    regarding available liquidity on BitMEX referenced above to Plaintiff Sorokin, they had no
           24
           25
           26    60
                   In addition to being voidable for fraud in the inducement, the Service Agreement is also
           27    unenforceable against Plaintiff Sorokin because it is both procedurally and substantively
                 unconscionable. Specifically, it is an utterly one-sided and highly oppressive adhesion
           28    agreement.
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 325 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 reasonable grounds to believe that these representations were true and made them without
             2
                 adequate investigation about their veracity.
             3
                        895.       Cal. Civ. Code § 1710(2) defines deceit as a “assertion, as a fact, of that which is
             4
                 not true, by one who has no reasonable ground for believing it to be true.”
             5
                        896.       Therefore, making of the Warranty and Representation and representations
             6
                 regarding available liquidity on BitMEX by Defendants to Plaintiff Sorokin, for which
             7
                 Defendants had no reasonable grounds to believe that these representations were true, constituted
             8
                 deceit under Cal. Civ. Code § 1710(2).
             9
                        897.       Cal. Civ. Code § 1709 provides: “[o]ne who willfully deceives another with intent
           10
                 to induce him to alter his position to his injury or risk, is liable for any damage which he thereby
           11
                 suffers.”
           12
                        898.       Defendants’ false and fraudulent Warranty and Representation and representations
           13
                 regarding available liquidity on BitMEX constituted deceit under Cal. Civ. Code § 1710(2) and
           14
                 actually deceived Plaintiff Sorokin into altering his position by opening BitMEX accounts,
           15
                 depositing bitcoins and engaging in cryptoderivative trading on margin on a rigged BitMEX
           16
                 platform, suffering trading losses, as the result, and paying trading commissions to Defendants.
           17
                 Therefore, Defendants’ conduct violated Cal. Civ. Code § 1709, pursuant to which Defendants
           18
                 are liable to Plaintiff Sorokin for Plaintiff Sorokin’s damages in the total amount of at least
           19
                 1.57143 bitcoins.
           20
                        899.       As a direct and proximate result of these negligent misrepresentations made by
           21
                 Defendants to Plaintiff Sorokin, Plaintiff Sorokin has been damaged in the sum of 1.57143
           22
                 bitcoins, which Plaintiff Sorokin demands to be returned to him in kind, as monetary damages
           23
                 would be manifestly unjust due to bitcoin appreciation.
           24
                                                           COUNT XX
           25                  Rescission for Negligent Misrepresentation — Against All Defendants
           26           900.       Plaintiff repeats and re-alleges the allegations contained in every preceding

           27    paragraph as if fully set forth herein.

           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 326 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                          901.       As alleged in Paragraphs above, the Service Agreement between Defendants and
             2
                 Plaintiff Sorokin was induced and procured by Defendants through negligent misrepresentations
             3
                 made by them to Plaintiff Sorokin, including the false Warranty and Representation and false
             4
                 representations regarding available liquidity on BitMEX referenced above, which ultimately
             5
                 conferred no bona fide cryptoderivative trading opportunity or any other benefit upon Plaintiff
             6
                 Sorokin and thus resulted in a total failure of consideration and frustration of its purpose.
             7
                 Therefore, Plaintiff Sorokin’s consent to the Service Agreement was not real, mutual or free in
             8
                 that it was obtained through negligent misrepresentations.
             9
                          902.       As a direct and proximate result of the negligent misrepresentations made by
           10
                 Defendants to Plaintiff Sorokin, Plaintiff Sorokin was induced to enter into the Service
           11
                 Agreement and further conduct themselves as herein alleged to his detriment. As a consequence
           12
                 thereof, the Service Agreement is voidable.61 Plaintiff Sorokin intended and intends that his
           13
                 Complaint serves as notice of voiding of the Service Agreement, equitably requiring Defendants
           14
                 to restore to Plaintiff Sorokin all the bitcoin deposits transferred by Plaintiff Sorokin to
           15
                 Defendants as consideration for the Service Agreement and to compensate Plaintiff Sorokin for
           16
                 the loss of use of his bitcoins.
           17
                          903.       Plaintiff Sorokin has been damaged by negligent misrepresentations of Defendants
           18
                 in the sum of 1.57143 bitcoins, which Plaintiff Sorokin demands to be returned to him in kind, as
           19
                 monetary damages would be manifestly unjust due to bitcoin appreciation.
           20
                                                           COUNT XXI
           21         False Advertising in Violation of Cal. Bus. & Prof. Code §§ 17500 et seq. — Against All
                                                             Defendants
           22
                          904.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           23
                 paragraph as if fully set forth herein.
           24
                          905.       Cal. Bus. & Prof. Code § 17500 provides:
           25
           26    61
                   In addition to being voidable for fraud and/or negligent misrepresentation in the inducement,
           27    the Service Agreement is also unenforceable against Plaintiff Sorokin because it is both
                 procedurally and substantively unconscionable. Specifically, it is an utterly one-sided and highly
           28    oppressive adhesion contract.
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  ATTORNEYS              COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 327 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        It is unlawful for any person, firm, corporation or association, or any employee thereof
             2
                        with intent directly or indirectly to … perform services, professional or otherwise, or
             3
                        anything of any nature whatsoever or to induce the public to enter into any obligation
             4
                        relating thereto … to make or disseminate or cause to be made or disseminated from this
             5
                        state before the public in any state, in any newspaper or other publication, or any
             6
                        advertising device, or by public outcry or proclamation, or in any other manner or means
             7
                        whatever, including over the Internet, any statement, concerning … those services,
             8
                        professional or otherwise, or concerning any circumstance or matter of fact connected
             9
                        with the proposed performance or disposition thereof, which is untrue or misleading, and
           10
                        which is known, or which by the exercise of reasonable care should be known, to be
           11
                        untrue or misleading... Any violation of the provisions of this section is a misdemeanor
           12
                        punishable by imprisonment in the county jail not exceeding six months, or by a fine not
           13
                        exceeding two thousand five hundred dollars ($2,500), or by both that imprisonment and
           14
                        fine.
           15
                        906.       An April 27, 2017 Service Agreement between HDR and ABS rendered Defendant
           16
                 ABS’ staff responsible for BitMEX’s business development, marketing, including advertising,
           17
                 sales, engineering, human resources, payroll, customer support and software development from
           18
                 its U.S. offices in San Francisco. Therefore, false advertising perpetrated by Defendants was
           19
                 perpetuated by Defendant ABS’ staff and emanated from Defendant ABS’ offices in San
           20
                 Francisco. Accordingly, Cal. Bus. & Prof. Code § 17500 applied to false advertising perpetrated
           21
                 by Defendants in connection with BitMEX platform.
           22
                        907.       During the Relevant Period, Defendants' cryptoderivative trading services, which
           23
                 defendants offered through the commercial website www.bitmex.com constituted “services”
           24
                 within the meaning of Cal. Bus. & Prof. Code § 17500. Defendants themselves specifically
           25
                 referred to cryptoderivative trading services provided by BitMEX as “services” and used this
           26
                 specific term 94 times in the BitMEX Service Agreement, Ex. 19.
           27
           28
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             1
                        908.       The “intent” required by Cal Bus. & Prof. Code § 17500 is the intent to perform
             2
                 services, and not the intent to mislead the public in the performing of such services.
             3
                        909.       Defendants misled Plaintiff Sorokin and other consumers by making at least the
             4
                 following untrue and misleading statements:
             5
                              a. Stating on their commercial website www.bitmex.com, maintained from
             6
                                   Defendant ABS’ offices in San Francisco, that “HDR has a trading arm that,
             7
                                   amongst other things, transacts in products traded on the Trading Platform. The
             8
                                   trading arm primarily trades as a market-maker. The trading arm is organised to be
             9
                                   separate and distinct from the business of the Trading Platform. Specifically, no
           10
                                   front office personnel are shared between the trading arm and the Trading
           11
                                   Platform, the trading arm’s staff are physically separated from the Trading
           12
                                   Platform’s staff while performing trades, and the trading arm does not have access
           13
                                   to any order flow, execution, customer or other information of the Trading
           14
                                   Platform on terms that are not otherwise available to any other platform user. In
           15
                                   addition, unless otherwise set forth in the terms of a specific product of HDR, the
           16
                                   trading arm receives access and trading privileges only on the same terms as are
           17
                                   available to any other user.” This statement was deliberately and materially false.
           18
                                   In truth and in fact, the Insider Trading Desk of BitMEX had "God assess" to all
           19
                                   customer, order flow, execution and open position information of the BitMEX
           20
                                   Trading Platform, including, without limitation, all order sizes, leverage amounts
           21
                                   and liquidation prices, all parameters of hidden orders, including leverage
           22
                                   amounts, as well as sizes and liquidation prices of all open positions on the entire
           23
                                   BitMEX platform. On the other hand, this information was not available to
           24
                                   Plaintiff Sorokin and other ordinary platform users, with the exception of
           25
                                   Defendants themselves. The Insider Trading Desk used this very sensitive
           26
                                   information to automatically trade against, and liquidate customers of BitMEX,
           27
                                   including Plaintiff Sorokin. Moreover, the Insider Trading Desk was not subject
           28
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             1
                                   to server overload freezes and lockouts, thus receiving access and trading
             2
                                   privileges not available to other BitMEX users, including Plaintiff Sorokin, who
             3
                                   were frequently subject to server overload freezes and lockouts. In fact, the
             4
                                   Insider Trading Desk used the server overload lockouts offensively to liquidate
             5
                                   traders including Plaintiff Sorokin, while itself not being subject to such freezes
             6
                                   and lockouts. Plaintiff Sorokin would not have deposited their 1.57143 bitcoins
             7
                                   with BitMEX and would not have traded on the BitMEX platform had he known
             8
                                   the true facts, as the true facts meant that odds of making any money on BitMEX
             9
                                   platform were stacked heavily against Plaintiff Sorokin and in favor of the Insider
           10
                                   Trading Desk of BitMEX.
           11
                              b. Stating, during Relevant Period, on their commercial website www.bitmex.com,
           12
                                   maintained from Defendant ABS’ offices in San Francisco, that Defendants’
           13
                                   cryptoderivative trading services provided “1500% More Bitcoin/USD liquidity
           14
                                   than any other platform” and that “BitMEX's XBTUSD market is the most liquid
           15
                                   in the world,” see Ex. 16. These statements were materially false, as prior to
           16
                                   October of 2018, BitMEX was overtaken by other crypto exchanges, including
           17
                                   Binance, Huobi and OKEX, in terms of liquidity and never regained its top
           18
                                   position. Plaintiff Sorokin would not have deposited his bitcoins with BitMEX and
           19
                                   would not have traded on the BitMEX platform had he known the true facts.
           20
                        910.       Defendants misled Plaintiff Sorokin and other consumers by making at least the
           21
                 above untrue and misleading statements and making other false statements and material
           22
                 omissions of fact as alleged in Paragraphs above.
           23
                        911.       As a direct and proximate result of Defendants’ misleading and false
           24
                 advertisements, Plaintiff Sorokin has suffered injury in fact and have lost 1.57143 bitcoins. As
           25
                 such, Plaintiff Sorokin request that this Court order Defendants to restore these 1.57143 bitcoins,
           26
                 in kind, to Plaintiff Sorokin, and to enjoin Defendants from continuing these unfair practices in
           27
                 violation of the Cal Bus. & Prof. Code § 17500 in the future. Otherwise, Plaintiff Sorokin and the
           28
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             1
                 broader general public, will be irreparably harmed and/or denied an effective and complete
             2
                 remedy.
             3
                                                    COUNT XXII
             4    Violation of Consumer Legal Remedies Act (Cal. Civ. Code § 1750, et seq.) — Against All
                                                      Defendants
             5
                         912.      Plaintiff repeats and re-alleges the allegations contained in every preceding
             6
                 paragraph as if fully set forth herein.
             7
                         913.      During the Relevant Period, Plaintiff Sorokin was a "consumer"62 as defined by
             8
                 Cal. Civ. Code § 1761(d) and traded on his own personal account.
             9
                         914.      During the Relevant Period, Defendants' cryptoderivative trading services, which
           10
                 defendants offered through the commercial website www.bitmex.com constituted “services” as
           11
                 defined by Cal. Civ. Code § 1761(b). Defendants themselves specifically referred to
           12
                 cryptoderivative trading services provided by BitMEX as “services” and used this specific term
           13
                 94 times in the BitMEX Service Agreement, Ex. 19.
           14
                         915.      During the Relevant Period, Defendants each constituted a “person” as defined by
           15
                 Cal. Civ. Code § 1761(c).
           16
                         916.      At all relevant times, Plaintiff Sorokin’s acceptance of the Service Agreement as
           17
                 well as the use of Defendants’ cryptoderivative trading services provided by BitMEX platform for
           18
                 a fee constituted a "transaction" as defined by Cal. Civ. Code § 1761(e).
           19
                         917.      The Cal. Civ. Code § 1770 provides that it is unlawful to: (i) represent that
           20
                 services have uses, benefits, or quantities that they do not have; (ii) represent that services are of a
           21
                 particular standard, quality, or grade, if they are of another; (iii) advertise services with the intent
           22
                 not to sell them as advertised; or (iv) represent that a transaction confers or involves rights,
           23
                 remedies, or obligations which it does not have or involve, or which are prohibited by law. Cal.
           24
                 Civ. Code §§ 1770(a)(5), (7), (9) and (14).
           25
                 62
           26       To the extent Section 6.4 of the Service Agreement attempts to force Plaintiff Sorokin to waive
                 provisions of the Consumer Legal Remedies Act by forcing Plaintiff Sorokin to represent that
           27    they are not “consumers,” such attempt is unenforceable and void pursuant to Cal. Civ. Code §
                 1751, which provides that “[a]ny waiver by a consumer of the provisions of this title is contrary
           28    to public policy and shall be unenforceable and void.”
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             1
                        918.       Defendants’ acts alleged in Paragraphs above violate at least Cal. Civ. Code §§
             2
                 1770(a)(5), (7), (9) and (14). Above-alleged Defendants’ misrepresentations, half-truths and
             3
                 omissions constituted conduct that is “likely to mislead a reasonable consumer,” and, therefore, it
             4
                 violated the Consumer Legal Remedies Act.
             5
                        919.       Pursuant to Cal. Civ. Code § 1782(a), Plaintiff Sorokin’s counsel will notify
             6
                 Defendants in writing by certified mail, return receipt requested, of the particular violations of
             7
                 Cal. Civ. Code § 1770 and demanded that Defendants rectify the problems associated with the
             8
                 actions detailed above.
             9
                        920.       If Defendants fail to respond to Plaintiff Sorokin’s letter, fail to agree to rectify the
           10
                 problems associated with the actions detailed above within 30 days of the date of written notice,
           11
                 as prescribed by Cal. Civ. Code § 1782, Plaintiff Sorokin will amend this Complaint to pursue
           12
                 claims for actual, punitive, and statutory damages, as appropriate against Defendants. As to this
           13
                 cause of action, at this time, Plaintiff Sorokin seeks only injunctive relief.
           14
                                                       COUNT XXIII
           15     “Unfair” Business Practices in Violation of California Unfair Business Practices Act (Cal.
                               Bus. & Prof. Code § 17200, et seq.) — Against All Defendants
           16
                        921.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           17
                 paragraph as if fully set forth herein.
           18
                        922.       The Cal. Bus. & Prof. Code § 17200 et seq. defines “unfair competition” to
           19
                 include any “unlawful, unfair or fraudulent” act or practice, as well as any “unfair, deceptive,
           20
                 untrue or misleading” advertising as well as any violation of Cal. Bus. & Prof. Code § 17500.
           21
                 Cal. Bus. & Prof. Code § 17200.
           22
                        923.       The Cal. Bus. & Prof. Code § 17200 et seq. imposes strict liability. Plaintiff
           23
                 Sorokin need not prove that Defendants intentionally or negligently engaged in unlawful, unfair,
           24
                 or fraudulent business practices – but only that such practices occurred.
           25
                        924.       According to a sworn Declaration of Defendant Hayes dated February 27, 2020,
           26
                 Defendant “ABS Global Trading Limited, … provides software development, software
           27
                 engineering, and digital security services to HDR Global Trading Limited… including by
           28
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             1
                 developing the front-end interface of the BitMEX platform.” The front-end interface of the
             2
                 BitMEX platform includes commercial website www.bitmex.com, which was used to provide the
             3
                 false the fraudulent representations to Plaintiff Sorokin.
             4
                        925.       Defendant ABS Global Trading Limited, responsible, within the BitMEX
             5
                 Enterprise, for the commercial website www.bitmex.com, was and continues to be located in San
             6
                 Francisco, California. Therefore, the false and fraudulent statements made to Plaintiff by
             7
                 Defendants through the commercial website www.bitmex.com, emanated from Defendant’s ABS’
             8
                 offices in San Francisco, California. Accordingly, Cal. Bus. & Prof. Code § 17200 applied to
             9
                 false and fraudulent statements and omissions perpetrated by Defendants in connection with
           10
                 BitMEX platform.
           11
                        926.       An April 27, 2017 Service Agreement between HDR and ABS rendered Defendant
           12
                 ABS’ staff responsible for BitMEX’s business development, marketing, including advertising,
           13
                 sales, engineering, human resources, payroll, customer support and software development from
           14
                 its U.S. offices in San Francisco. Therefore, false advertising perpetrated by Defendants was
           15
                 perpetuated by Defendant ABS’ staff and emanated from Defendant ABS’ offices in San
           16
                 Francisco. Accordingly, Cal. Bus. & Prof. Code § 17200 applied to false advertising perpetrated
           17
                 by Defendants in connection with BitMEX platform.
           18
                        927.       A business act or practice is “unfair” under the Cal. Bus. & Prof. Code § 17200 if
           19
                 it offends an established public policy or is immoral, unethical, oppressive, unscrupulous or
           20
                 substantially injurious to consumers, and that unfairness is determined by weighing the reasons,
           21
                 justifications and motives of the practice against the gravity of the harm to the alleged victims.
           22
                        928.       Defendants’ actions constitute “unfair” business practices because, as alleged
           23
                 above, Defendants engaged in misleading and deceptive advertising that represented false and
           24
                 fraudulent statements as well as omissions of material fact, which went to the very center, very
           25
                 core and very essence of the functionality, integrity and profit model of Defendants’
           26
                 cryptoderivative trading services that Defendants offered to Plaintiff Sorokin, for a fee, through
           27
                 the BitMEX online trading platform. Defendants’ acts and practices offended an established
           28
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             1
                 public policy of transparency in operation of financial markets, and engaged in immoral,
             2
                 unethical, oppressive, and unscrupulous activities that are substantially injurious to consumers.
             3
                        929.       Pursuant to Cal. Bus. & Prof. Code § 17204, Plaintiff Sorokin has “suffered injury
             4
                 in fact and … lost money or property as a result of the unfair competition” by Defendants,
             5
                 because he would not have opened trading account, deposited his valuable bitcoins with BitMEX,
             6
                 traded derivatives on the BitMEX platform, sustained bitcoin loss of use damages of 0.043392
             7
                 bitcoins, sustained trading losses in the amount of 1.12803878 bitcoins and paid trading
             8
                 commissions in the amount of 0.4 bitcoins to Defendants, but for his reasonable reliance on the
             9
                 truth of the alleged misleading and deceptive advertising by Defendants that incorporated false
           10
                 and fraudulent statements as well as omissions of material fact. The purchase of
           11
                 cryptroderivative trading services that Plaintiff Sorokin would not otherwise have purchased63 but
           12
                 for the alleged misleading and deceptive advertising by Defendants establishes an economic
           13
                 injury-in-fact for Plaintiff Sorokin’s claims under Cal. Bus. & Prof. Code § 17200. Chapman v.
           14
                 Skype Inc., 220 Cal. App. 4th 217 (2013); Kwikset Corp. v. Superior Court, 51 Cal. 4th 310, 328
           15
                 (2011); Chacanaca v. Quaker Oats Co., 752 F. Supp. 2d 1111, 1116 (N.D. Cal. 2010); Chaves v.
           16
                 Blue Sky Natural Beverage Co., 340 Fed. App'x 359, 360-61 (9th Cir. 2009); Kashin v. Hershey
           17
                 Co., 2012 WL 5471153, at *6 (N.D. Cal. Nov. 9, 2012); Carrea v. Dreyer's Grand Ice Cream,
           18
                 Inc., 2011 WL 159381, at *2-3 (N.D. Cal. Jan. 10, 2011); Astiana v. Ben & Jerry's Homemade,
           19
                 Inc. ("Ben & Jerry's"), 2011 WL 2111796, *4 (N.D. Cal. May 26, 2011); Hinojos v. Kohl's Corp.,
           20
                 718 F. 3d 1098 (9th Cir. 2013).
           21
                        930.       The misleading and deceptive advertising by Defendants included, without
           22
                 limitation, the false Warranty and Representation, false representations about available liquidity
           23
                 on BitMEX, as well as fraudulent omissions of material facts alleged above.
           24
           25
                 63
           26       The purchase of cryptroderivative trading services by Plaintiff Sorokin from Defendants
                 resulted in Plaintiff Sorokin’s bitcoin loss of use damages of 0.043392 bitcoins and damages
           27    associated with payment of trading commissions to Defendants in the amount of 0.4 bitcoins,
                 irrespective of, and independently from any profit or loss generated from trading and irrespective
           28    of any market events such as market manipulation.
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             1
                        931.       Moreover, Defendants operating a cryptoderivative trading platform BitMEX as a
             2
                 rigged casino, set up to use sensitive insider information of its traders to automatically liquidate
             3
                 them and misappropriate their money, when it was particularly profitable for Defendants to do so,
             4
                 as specifically alleged in Paragraphs 2-9, 225-313 and 990-993 also constitutes “unfair” business
             5
                 practice under the Cal. Bus. & Prof. Code § 17200, because this practice it unethical, oppressive,
             6
                 unscrupulous and substantially injurious to consumers.
             7
                        932.       Furthermore, Defendants operating a clandestine and highly automated Insider
             8
                 Trading Desk, which enjoys informational, trading and technical advantages over BitMEX
             9
                 customers, described above, and which continuously artificially manipulates the prices of bitcoin
           10
                 and ether on BitMEX and the U.S.-based third-party reference spot exchanges, used for price
           11
                 discovery, as also described above, in order to make its own trades profitable and to force
           12
                 customer liquidations, which directly and proximately resulted in a loss of 1.12803878 bitcoins
           13
                 by Plaintiff Sorokin, as alleged in Paragraphs 990-993 below on or about July 11, 2019, also
           14
                 constitutes “unfair” business practice under the Cal. Bus. & Prof. Code § 17200, because this
           15
                 practice it unethical, oppressive, unscrupulous and substantially injurious to consumers. Pursuant
           16
                 to Cal. Bus. & Prof. Code § 17204, Plaintiff Sorokin has “suffered injury in fact and … lost
           17
                 money or property as a result of the unfair competition” by Defendants because the automated
           18
                 tools operated by the Insider Trading Desk directly and proximately caused a loss of 1.12803878
           19
                 bitcoins by Plaintiff Sorokin, as alleged in Paragraphs 990-993 below, on or about July 11, 2019.
           20
                        933.       Yet furthermore, Defendants intentionally and strategically deploying server
           21
                 freezes to prevent Plaintiff Sorokin from timely closing his open leveraged long Perpetual Swap
           22
                 positions on BitMEX also constitutes “unfair” business practice under the Cal. Bus. & Prof. Code
           23
                 § 17200, because this practice it unethical, oppressive, unscrupulous and substantially injurious to
           24
                 consumers. Pursuant to Cal. Bus. & Prof. Code § 17204, Plaintiff Sorokin has “suffered injury in
           25
                 fact and … lost money or property as a result of the unfair competition” by Defendants because
           26
                 these intentional server freezes were a substantial factor in causing the loss of 1.12803878
           27
           28
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             1
                 bitcoins by Plaintiff Sorokin on or about July 11, 2019, due to Plaintiff Sorokin’s inability to
             2
                 timely close his long positions.
             3
                           934.    The grave financial harm to Plaintiff Sorokin outweighs the utility of Defendants’
             4
                 practices. There were reasonably available alternatives to further Defendants’ legitimate business
             5
                 interests other than the unethical, unscrupulous, misleading and deceptive conduct described
             6
                 herein.
             7
                           935.    By reason of Defendants’, and each of them, fraudulent, deceptive, unfair, and
             8
                 other wrongful conduct as herein alleged, said Defendants, and each of them, have violated Cal.
             9
                 Bus. & Prof. Code § 17200 et seq. by consummating an unfair business practice, designed to
           10
                 deprive Plaintiff Sorokin of his bitcoin holdings in the amount of 1.57143 bitcoins.
           11
                           936.    By reason of the foregoing and as a proximate result of Defendants’, and each of
           12
                 them, violation of Cal. Bus. & Prof. Code § 17200 et seq. as herein alleged, Plaintiff Sorokin has
           13
                 been damaged in the amount of 1.57143 bitcoins, which Plaintiff Sorokin demands to be returned
           14
                 to him in kind, as monetary damages would be manifestly unjust due to bitcoin appreciation.
           15
                                                       COUNT XXIV
           16      “Fraudulent” Business Practices in Violation of California Unfair Business Practices Act
                            (Cal. Bus. & Prof. Code § 17200, et seq.) — Against All Defendants
           17
                           937.    Plaintiff repeats and re-alleges the allegations contained in every preceding
           18
                 paragraph as if fully set forth herein.
           19
                           938.    A business act or practice is “fraudulent” under the Cal. Bus. & Prof. Code §
           20
                 17200 if it is likely to deceive members of the consuming public.
           21
                           939.    Allegations of specific acts constituting fraud and deceit and fraud by omission set
           22
                 forth in Paragraphs above are incorporated as if fully set forth herein. These acts constitute
           23
                 “fraudulent and deceptive” acts for purposes of Cal. Bus. & Prof. Code § 17200 et seq.
           24
                           940.    Defendants’ “fraudulent and deceptive” acts and practices alleged above constitute
           25
                 fraudulent business acts or practices as they have deceived Plaintiff and are highly likely to
           26
                 deceive members of the consuming public. Plaintiff relied on Defendants’ fraudulent and
           27
                 deceptive representations and omissions regarding the functionality, integrity, profit model and
           28
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             1
                 available liquidity of Defendants’ cryptoderivative trading services. These misrepresentations
             2
                 and omissions played a substantial role in Plaintiff Sorokin’s decisions to deposit his valuable
             3
                 bitcoins with BitMEX platform, engage in trading thereon, and pay trading commissions to
             4
                 Defendants, and Plaintiff Sorokin would not have deposited his bitcoins, would not have traded
             5
                 on BitMEX and would not have paid trading commissions without Defendants’
             6
                 misrepresentations and omissions.
             7
                        941.       Pursuant to Cal. Bus. & Prof. Code § 17204, Plaintiff Sorokin has “suffered injury
             8
                 in fact and … lost money or property as a result of the unfair competition” by Defendants,
             9
                 because he would not have opened trading accounts, deposited his valuable bitcoins with
           10
                 BitMEX, traded derivatives on the BitMEX platform, sustained bitcoin loss of use damages of
           11
                 0.043392 bitcoins, sustained trading losses in the amount of 1.12803878 bitcoins and paid trading
           12
                 commissions in the amount of 0.4 bitcoins to Defendants, but for his reasonable reliance on the
           13
                 alleged fraudulent and deceptive representations and omissions regarding the functionality,
           14
                 integrity, profit model and available liquidity of Defendants’ cryptoderivative trading services.
           15
                 The purchase of cryptroderivative trading services that Plaintiff Sorokin would not otherwise
           16
                 have purchased but for the alleged fraudulent and deceptive representations and omissions by
           17
                 Defendants, establishes an economic injury-in-fact for Plaintiff Sorokin’s claims under Cal. Bus.
           18
                 & Prof. Code § 17200. Chapman v. Skype Inc., 220 Cal. App. 4th 217 (2013); Kwikset Corp. v.
           19
                 Superior Court, 51 Cal. 4th 310, 328 (2011); Chacanaca v. Quaker Oats Co., 752 F. Supp. 2d
           20
                 1111, 1116 (N.D. Cal. 2010); Chaves v. Blue Sky Natural Beverage Co., 340 Fed. App'x 359,
           21
                 360-61 (9th Cir. 2009); Kashin v. Hershey Co., 2012 WL 5471153, at *6 (N.D. Cal. Nov. 9,
           22
                 2012); Carrea v. Dreyer's Grand Ice Cream, Inc., 2011 WL 159381, at *2-3 (N.D. Cal. Jan. 10,
           23
                 2011); Astiana v. Ben & Jerry's Homemade, Inc. ("Ben & Jerry's"), 2011 WL 2111796, *4 (N.D.
           24
                 Cal. May 26, 2011); Hinojos v. Kohl's Corp., 718 F. 3d 1098 (9th Cir. 2013).
           25
                        942.       By reason of Defendants’, and each of them, fraudulent, deceptive, unfair, and
           26
                 other wrongful conduct as herein alleged, said Defendants, and each of them, have violated Cal.
           27
           28
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             1
                 Bus. & Prof. Code § 17200 et seq. by consummating a fraudulent business practice, designed to
             2
                 deprive Plaintiff Sorokin of his bitcoin holdings in the amount of 1.57143 bitcoins.
             3
                         943.       By reason of the foregoing and as a proximate result of Defendants’, and each of
             4
                 them, violation of Cal. Bus. & Prof. Code § 17200 et seq. as herein alleged, Plaintiff Sorokin has
             5
                 been damaged in the amount of 1.57143 bitcoins, which Plaintiff Sorokin demands to be returned
             6
                 to him in kind, as monetary damages would be manifestly unjust due to bitcoin appreciation.
             7
                                                       COUNT XXV
             8   “Unlawful” Business Practices in Violation of California Unfair Business Practices Act (Cal.
                              Bus. & Prof. Code § 17200, et seq.) — Against All Defendants
             9
                         944.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           10
                 paragraph as if fully set forth herein.
           11
                         945.       A business act or practice is “unlawful” under the Cal. Bus. & Prof. Code § 17200
           12
                 if it violates any other law or regulation. “The ‘unlawful’ practices prohibited by Cal. Bus. &
           13
                 Prof. Code § 17200 et seq. are any practices forbidden by law, be it civil or criminal, federal,
           14
                 state, or municipal, statutory, regulatory, or court-made.” Watson Labs., Inc. v. Rhone-Poulenc
           15
                 Rorer, Inc., (C.D. Cal. 2001) 178 F. Supp. 2d 1099, 1120; People v. McKale, (1979) 25 Cal. 3d
           16
                 626.
           17
                         946.       Defendants’ acts and practices alleged above constitute unlawful business acts or
           18
                 practices as they have violated state and federal law in connection with their deceptive scheme.
           19
                 The Federal Trade Commission’s Act (“FTCA”) prohibits “unfair or deceptive acts or practices in
           20
                 or affecting commerce” (15 U.S.C. § 45(a)(1)) and prohibits the dissemination of any false
           21
                 advertisements. 15 U.S.C. § 52(a).
           22
                         947.       California law expressly prohibits false advertising schemes run by Defendants.
           23
                 California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code § 17501.
           24
                         948.       Moreover, the Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code § 1770
           25
                 prohibits: (i) represent that services have uses, benefits, or quantities that they do not have; (ii)
           26
                 represent that services are of a particular standard, quality, or grade, if they are of another; (iii)
           27
                 advertise services with the intent not to sell them as advertised; or (iv) represent that a transaction
           28
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             1
                 confers or involves rights, remedies, or obligations which it does not have or involve, or which
             2
                 are prohibited by law. Cal. Civ. Code §§ 1770(a)(5), (7), (9) and (14).
             3
                        949.       The violation of any law constitutes an “unlawful” business practice under the Cal.
             4
                 Bus. & Prof. Code § 17200.
             5
                        950.       As detailed herein, Defendants’ acts and practices alleged in Paragraphs above
             6
                 were intended to or did result in violations of the CEA, the Rule 180.1, 17 C.F.R. § 180.1(a)
             7
                 (2019), the RICO, the FTCA, the FAL, and the CLRA.
             8
                        951.       Defendants’ practices, as set forth in Paragraphs above, have misled Plaintiff and
             9
                 the public in the past and will continue to mislead in the future. Consequently, Defendants’
           10
                 practices constitute an unlawful, fraudulent, and unfair business practice within the meaning of
           11
                 the Cal. Bus. & Prof. Code § 17200.
           12
                        952.       Defendants’ violation of the Cal. Bus. & Prof. Code § 17200, through its unlawful,
           13
                 unfair, and fraudulent business practices, are ongoing and present a continuing threat that the
           14
                 public will be deceived. Pursuant to the Cal. Bus. & Prof. Code § 17200, Plaintiff Sorokin is
           15
                 entitled to preliminary and permanent injunctive relief and an order commanding Defendants to
           16
                 cease this unfair competition, as well as disgorgement and restitution to Plaintiff Sorokin of all
           17
                 Defendants’ revenues associated with its unfair competition, or such portion of those revenues as
           18
                 the Court may find equitable.
           19
                        953.       Pursuant to Cal. Bus. & Prof. Code § 17204, Plaintiff Sorokin has “suffered injury
           20
                 in fact and … lost money or property as a result of the unfair competition” by Defendants,
           21
                 because he would not have opened trading accounts, deposited his valuable bitcoins with
           22
                 BitMEX, traded derivatives on the BitMEX platform, sustained bitcoin loss of use damages of
           23
                 0.043392 bitcoins, sustained trading losses in the amount of 1.12803878 bitcoins and paid trading
           24
                 commissions in the amount of 0.4 bitcoins to Defendants, but for his reasonable reliance on the
           25
                 truth of the alleged fraudulent solicitations and false advertising, which violated the CEA, the
           26
                 Rule 180.1, 17 C.F.R. § 180.1(a) (2019), the RICO, the FTCA, the FAL, the CLRA and Cal. Civ.
           27
                 Code § 1709 et seq. The purchase of cryptroderivative trading services that Plaintiff Sorokin
           28
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             1
                 would not otherwise have purchased, but for the alleged fraudulent solicitations and unlawful
             2
                 false advertising by Defendants that violated the CEA, the Rule 180.1, 17 C.F.R. § 180.1(a)
             3
                 (2019), the RICO, the FTCA, the FAL, the CLRA and Cal. Civ. Code § 1709 et seq., establishes
             4
                 an economic injury-in-fact for Plaintiff Sorokin’s claims under Cal. Bus. & Prof. Code § 17200.
             5
                 Chapman v. Skype Inc., 220 Cal. App. 4th 217 (2013); Kwikset Corp. v. Superior Court, 51 Cal.
             6
                 4th 310, 328 (2011); Chacanaca v. Quaker Oats Co., 752 F. Supp. 2d 1111, 1116 (N.D. Cal.
             7
                 2010); Chaves v. Blue Sky Natural Beverage Co., 340 Fed. App'x 359, 360-61 (9th Cir. 2009);
             8
                 Kashin v. Hershey Co., 2012 WL 5471153, at *6 (N.D. Cal. Nov. 9, 2012); Carrea v. Dreyer's
             9
                 Grand Ice Cream, Inc., 2011 WL 159381, at *2-3 (N.D. Cal. Jan. 10, 2011); Astiana v. Ben &
           10
                 Jerry's Homemade, Inc. ("Ben & Jerry's"), 2011 WL 2111796, *4 (N.D. Cal. May 26, 2011);
           11
                 Hinojos v. Kohl's Corp., 718 F. 3d 1098 (9th Cir. 2013).
           12
                        954.       By reason of Defendants’, and each of them, fraudulent, deceptive, unfair, and
           13
                 other wrongful conduct as herein alleged, said Defendants, and each of them, have violated Cal.
           14
                 Bus. & Prof. Code § 17200 et seq. by consummating an unlawful business practice, designed to
           15
                 deprive Plaintiff Sorokin of his bitcoin holdings in the amount of 1.57143 bitcoins.
           16
                        955.       By reason of the foregoing and as a proximate result of Defendants’, and each of
           17
                 them, violation of Cal. Bus. & Prof. Code § 17200 et seq. as herein alleged, Plaintiff Sorokin has
           18
                 been damaged in the amount of 1.57143 bitcoins, which Plaintiff Sorokin demands to be returned
           19
                 to him in kind, as monetary damages would be manifestly unjust due to bitcoin appreciation.
           20
                                                                   COUNT XXVI
           21                                           Negligence — Against All Defendants
           22           956.       Plaintiff repeats and re-alleges the allegations contained in every preceding

           23    paragraph as if fully set forth herein.

           24           957.       The California Supreme Court recognized an exception to the economic loss rule

           25    in J’Aire Corporation v. Gregory, wherein the rule does not prevent recovery in tort if a special

           26    relationship exists between the plaintiff and the defendant. J’Aire Corporation v. Gregory, 24

           27    Cal. 3d 799, 804 (1979). The exception applies to cases involving contracts for services “where

           28    the parties are in contractual privity.” N. Am. Chem. Co. v. Superior Court, 59 Cal. App. 4th 764,
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             1
                 783 (1997). The J’Aire exception is available if there is a special relationship between plaintiff
             2
                 and defendant.
             3
                        958.       The Service Agreement is one for provision of cryptoderivative trading services
             4
                 and not goods. Therefore, the J’Aire exception is available in the present case. Court cases have
             5
                 extended the application of J’Aire to situations where the parties are in contractual privity.
             6
                        959.       California Courts examine six factors to determine whether a special relationship
             7
                 between plaintiff and defendant exists:
             8
                        (1) the extent to which the transaction was intended to affect the plaintiff, (2) the
             9
                        foreseeability of harm to the plaintiff, (3) the degree of certainty that the plaintiff suffered
           10
                        injury, (4) the closeness of the connection between the defendant's conduct and the injury
           11
                        suffered, (5) the moral blame attached to the defendant's conduct and (6) the policy of
           12
                        preventing future harm. Biakanja v. Irving, 49 Cal. 2d 647, 650 (1958).
           13
                        960.       As alleged herein, and to the extent that it is determined to be applicable to certain
           14
                 claims, Plaintiff Sorokin had a “special relationship with Defendants” as defined in J’Aire
           15
                 Corporation v. Gregory, 24 Cal. 3d 799, 804 (1979). Plaintiff Sorokin undoubtedly had a contract
           16
                 for provision of cryptoderivative trading services with Defendants where he and Defendants were
           17
                 in contractual privity. The services consisted of the provision of access to the BitMEX trading
           18
                 platform, including the ability to place orders, open and close positions and use margin.
           19
                        961.       The transaction between Defendants and Plaintiff Sorokin was undoubtedly meant
           20
                 to benefit Plaintiff Sorokin by providing them the ability to use the cryptoderivative trading
           21
                 services provided by Defendants through their BitMEX platform for all of the purposes which
           22
                 Plaintiff Sorokin expected and which were intended by Defendants. See J’Aire, 24 Cal. 3d at 804.
           23
                        962.       Moreover, it was entirely foreseeable to Defendants that Plaintiff Sorokin would
           24
                 be harmed if he would not longer to be able to access cryptoderivative trading services provided
           25
                 by Defendants due to a server freeze, which would result in Plaintiff Sorokin’s inability to close
           26
                 open trading positions and open new ones. For example, if Plaintiff Sorokin is unable to timely
           27
           28
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             1
                 close his positions during a market move, his open positions would likely be liquidated, resulting
             2
                 in a financial loss to Plaintiff Sorokin.
             3
                         963.      In the present case, Plaintiff Sorokin certainly suffered injury by being deprived of
             4
                 their 1.12803878 bitcoins, which was caused by his inability to timely close his open trading
             5
                 positions due to server freezes that occurred on or about July 11, 2019.
             6
                         964.      As required by J’Aire, there is also a close connection between Defendants’
             7
                 conduct and the injury suffered by Plaintiff Sorokin. But for Defendants’ allowing the servers of
             8
                 BitMEX to freeze, Plaintiff Sorokin would have timely closed his positions and would not have
             9
                 suffered liquidations resulting in the loss of 1.12803878 bitcoins.
           10
                         965.      Defendants’ conduct also involves moral blame. Aware of the vulnerability of its
           11
                 customers in having their positions liquidated due to server freezes, Defendants have done
           12
                 nothing to prevent that practice, including providing extra server capacity or re-writing BitMEX’s
           13
                 high availability software to provide additional protection to its customers’ trading positions
           14
                 during market moves. As one of the world’s most profitable cryptoderivative exchanges, which
           15
                 generated at least billion dollars in profits for Defendants, Defendants have all the resources to do
           16
                 better and yet they turn an indifferent eye to the widespread server freezes resulting in devastating
           17
                 financial losses for their customers. Moreover, evidence summarized above shows that
           18
                 Defendants financially benefit from such sever freezes, which is especially reprehensible conduct
           19
                 in view of the financial devastation that they inflict on retail traders. Defendants are also morally
           20
                 culpable in failing to reign in its own employees’ insider trading on the BitMEX platform using
           21
                 highly confidential “insider” information of Plaintiff Sorokin and other BitMEX customers.
           22
                         966.      Plaintiff Sorokin’s lawsuit fulfills the policy of preventing future harm. J’Aire.
           23
                 Plaintiff Sorokin’s complaint against Defendants has received widespread publicity and has
           24
                 publicized the server freezes and other unconscionable conduct occurring on the BitMEX
           25
                 platform. Because the CFTC is apparently not taking an active role in policing Defendants’
           26
                 violations of the CEA, it is up to private parties like Plaintiff Sorokin in this action through
           27
           28
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             1
                 lawsuits to help stem Defendants’ culpable involvement in practices that is leading to widespread
             2
                 harm to consumers.
             3
                        967.       Thus, for all the foregoing reasons, a special relationship between Defendants and
             4
                 Plaintiff Sorokin existed in this case and Defendants owed a duty to Plaintiff Sorokin to maintain
             5
                 a functional cryptoderivatives trading marketplace, for access to which they charged Plaintiff
             6
                 Sorokin hefty trading commissions. In re Facebook, Inc., IPO Securities and Derivative
             7
                 Litigation, 986 F. Supp. 2d 428 (S.D.N.Y. 2013) (NASDAQ owed investors a duty to properly
             8
                 process orders).
             9
                        968.       Defendants, and each of them, failed to fulfill this duty by failing to prevent server
           10
                 freezes, which occurred on or about July 11, 2019, as alleged herein above, despite BitMEX
           11
                 generating over a billion dollars in profit for Defendants. Irrespective of the origin of the market
           12
                 events on or about July 11, 2019, this negligent operation of Defendants’ BitMEX platform
           13
                 prevented Plaintiff Sorokin from taking a timely corrective actions on the corresponding date of
           14
                 July 10, 2019, which he unsuccessfully attempted to take, to close his open positions, resulting in
           15
                 the wrongful liquidation of Plaintiff Sorokin’s leveraged long XBTUSD and ETHUSD Perpetual
           16
                 Swap positions by Defendants and wrongful confiscation of Plaintiff Sorokin’s 1.12803878
           17
                 bitcoins, now valued at over $65,426.
           18
                        969.       Irrespective of the origin of the market events on or about July 11, 2019,
           19
                 Defendants’ failing to properly maintain a functional BitMEX platform www.bitmex.com was a
           20
                 substantial factor in causing the injury to Plaintiff Sorokin in that Plaintiff Sorokin was prevented
           21
                 from taking a corrective action to timely close his open positions, resulting in Defendants’
           22
                 liquidation thereof, and suffered his trading losses of 1.12803878 bitcoins from such liquidation.64
           23
                 Defendants’ conduct was a substantial factor in causing Plaintiff Sorokin’s trading losses of
           24
                 1.12803878 bitcoins.
           25
           26
                 64
           27      Negligence cause of action is pleaded in the alternative to the conversion cause of action.
                 Allegations of negligence and conversion are multiple possibilities that, even if mutually
           28    exclusive, are permitted under alternative pleading rules.
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             1
                        970.       All three Site Reliability Engineers Jerry Aldrich, Scott H. and Armando Cerna,
             2
                 personally responsible for the server freezes on the BitMEX platform, are located in California.
             3
                 Therefore, California is the location where the breach of Defendants’ duty to Plaintiff Sorokin to
             4
                 maintain a functional cryprtoderivative trading marketplace has occurred. As BitMEX Enterprise
             5
                 principals, Defendants HDR, ABS and Hayes are liable for the negligent conduct of their agents,
             6
                 engineers Jerry Aldrich, Scott H. and Armando Cerna, who acted, during Relevant Period, within
             7
                 the scope of their agency and employment.
             8
                        971.       As a result of Defendants' negligence, Plaintiff Sorokin has been damaged in the
             9
                 amount of 1.12803878 bitcoins, which Plaintiff Sorokin demands to be returned to him in kind, as
           10
                 monetary damages would be manifestly unjust due to bitcoin appreciation.
           11
                                                           COUNT XXVII
           12                         Restitution Under Quasi-Contract — Against All Defendants
           13           972.       Plaintiff repeats and re-alleges the allegations contained in every preceding

           14    paragraph as if fully set forth herein.

           15           973.       As a result of the unlawful actions of Defendants set forth hereinabove,

           16    Defendants, and each of them, have received a financial benefit at the expense of Plaintiff

           17    Sorokin in the amount of at least 1.57143 bitcoins.

           18           974.       Defendants, and each of them, had knowledge of the alleged benefit.

           19           975.       Defendants, and each of them, voluntarily accepted and retained the benefit

           20    obtained.

           21           976.       The circumstances render Defendants’ retention of the benefit inequitable unless

           22    Defendants, and each of them, pay to Plaintiff Sorokin the value of the benefit.

           23           977.       Defendants, and each of them, have been unjustly enriched at the expense of

           24    Plaintiff Sorokin.

           25           978.       Plaintiff Sorokin is entitled to damages as a result of Defendants’, and each of

           26    them, unjust enrichment, including the disgorgement of all benefits unlawfully obtained by

           27    Defendants, and each of them, from Plaintiff Sorokin.

           28
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             1
                        979.       Plaintiff Sorokin is entitled to restitution from Defendants, under California quasi-
             2
                 contract theory, as a result of Defendants’, and each of them, unjust enrichment, including the
             3
                 disgorgement of all benefits unlawfully obtained by Defendants, and each of them, from Plaintiff
             4
                 Sorokin.
             5
                        980.       As a result of the actions of Defendants, and each of them, set forth hereinabove,
             6
                 Defendants, and each of them, became unjustly enriched, and as a result thereof, Plaintiff Sorokin
             7
                 is entitled to damages in the amount to be proven at trial, which constitutes a certain and concrete
             8
                 financial loss of the Plaintiff Sorokin factually (directly) and legally (proximately) caused by
             9
                 Defendants’, and each of them, unlawful conduct.
           10
                                                               COUNT XXVIII
           11                                    Constructive Trust — Against All Defendants
           12           981.       Plaintiff repeats and re-alleges the allegations contained in every preceding

           13    paragraph as if fully set forth herein.

           14           982.       By reason of the fraudulent and otherwise wrongful manner in which the

           15    Defendants, or any of them, obtained their alleged right, claim or interest in and to the property of

           16    Plaintiff Sorokin — namely 1.57143 bitcoins — Defendants and each of them, have no legal or

           17    equitable right, claim or interest therein, but, instead, Defendants, and each of them are

           18    involuntary trustees holding said 1.57143 bitcoins and any appreciation thereof and other profits

           19    therefrom in constructive trust for Plaintiff Sorokin with the duty to convey the same to Plaintiff

           20    Sorokin forthwith.

           21                                                    COUNT XXIX
                                                       Accounting — Against All Defendants
           22
                        983.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           23
                 paragraph as if fully set forth herein.
           24
                        984.       As a result of the actions of Defendants, and each of them, set forth hereinabove,
           25
                 Defendants, and each of them, have received cryptocurrency in the amount of 1.57143 bitcoins,
           26
                 which is due to Plaintiff Sorokin from Defendants, and each of them, as previously alleged.
           27
           28
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             1
                        985.       The amount of cryptocurrency due from Defendants to Plaintiff Sorokin is
             2
                 unknown to Plaintiff Sorokin and cannot be ascertained without an accounting of the receipts and
             3
                 disbursements of Defendants, and each of them, in connection with the alleged unlawful theft
             4
                 perpetrated by Defendants.
             5
                        986.       Plaintiff Sorokin has demanded an accounting of the aforementioned receipts and
             6
                 disbursements of Defendants, and each of them, in connection with the alleged unlawful theft and
             7
                 payment of the amount found due, but Defendants, and each of them, have failed and refused, and
             8
                 continue to fail and refuse, to render such an accounting and to pay such sum.
             9                                                    COUNT XXX
           10                                          Conversion — Against All Defendants
                        987.       Plaintiff repeats and re-alleges the allegations contained in every preceding
           11
                 paragraph as if fully set forth herein.
           12
                        988.       During Relevant Period, Plaintiff Sorokin was and still are the rightful owners and
           13
                 are entitled to the immediate possession of the following property, namely his valuable bitcoin
           14
                 holdings amounting to 1.12803878 bitcoins, that were deposited in Plaintiff Sorokin’s respective
           15
                 BitMEX trading accounts.
           16
                        989.       As the result of Defendants' wrongful conduct alleged hereinabove,
           17
                 Defendants took the aforesaid property amounting to 1.12803878 bitcoins from Plaintiff
           18
                 Sorokin’s possession by fraud and deceit and, therefore, have interfered with the Plaintiff
           19
                 Sorokin’s right to possess and control such property, to which Plaintiff Sorokin had a superior
           20
                 right of possession and control at the time of the conversion.
           21
                        990.       Specifically, automated software tools built by Defendants and operated by
           22
                 Defendants’ Insider Trading Desk, using Plaintiff Sorokin’s highly sensitive and confidential
           23
                 information, continuously manipulated cryptoderivative markets traded by Plaintiff Sorokin on
           24
                 BitMEX platform, as well as price-determining spot markets on reference exchanges, on a 24
           25
                 hour a day, 7 days a week basis, including the specific date and time when Plaintiff Sorokin
           26
                 suffered his bitcoin losses, and namely July 11, 2019. Operation of these automated tools by
           27
                 Defendants’ Insider Trading Desk deliberately caused automatic liquidations of Plaintiff
           28
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             1
                 Sorokin’s respective Perpetual Swap positions on BitMEX platform and confiscation of Plaintiff
             2
                 Sorokin’s respective collateral from his BitMEX account on or about July 11, 2019, resulting in
             3
                 a cumulative loss of 1.12803878 bitcoins by Plaintiff Sorokin.
             4
                        991.       The documentary evidence of the operation of the aforesaid automated software
             5
                 tools, used by Defendants’ Insider Trading Desk on or about July 11, 2019 to deliberately
             6
                 liquidate Plaintiff Sorokin’s positions, is in sole and exclusive possession, custody and control of
             7
                 Defendants and Plaintiff Sorokin has no realistic way of obtaining this evidence without the
             8
                 benefit of discovery. Plaintiff Sorokin will amend this complaint once he obtains such
             9
                 documentary evidence through the Court’s discovery process.65
           10
                        992.       Defendants took extraordinary measures to conceal the wrongdoing perpetrated by
           11
                 their Insider Trading Desk from Plaintiff Sorokin, other traders and regulators. First, Defendants
           12
                 deliberately made all accounts on BitMEX platform anonymous, which hindered specifically
           13
                 pinpointing the origin of manipulation and other illegal acts. Second, according to the CFTC
           14
                 Complaint, Ex. 5, p. 16, ¶ 49, Defendants actively deleted required records, including user
           15
                 identities. Third, Defendants deliberately used anonymous “burner” (e.g. @gmail.com) email
           16
                 addresses, as opposed to "official" BitMEX email addresses (e.g. @bitmex.com), to open trading
           17
                 accounts for its Insider Trading Desk with BitMEX exchange, to cover up the tracks of
           18
                 wrongdoing so the trading histories and illegal manipulation profits cannot be traced back to
           19
                 BitMEX. The “burner” accounts were periodically recycled and corresponding trading records
           20
                 deleted. Accordingly, Defendants engaged in active concealment of their fraud. Therefore,
           21
                 Plaintiff Sorokin, through exercise of reasonable diligence, could not have obtained documentary
           22
                 evidence of operation of Defendants’ Insider Trading Desk automated market manipulation tools
           23
                 on or about July 11, 2019.
           24
           25
           26    65
                   Defendants have a vastly superior knowledge of the facts relevant to the automated software
           27    tools developed by BitMEX, market manipulation and the operation of the Insider Trading Desk,
                 the confidential trader information it used, as well as the trading privileges it enjoyed, and are in
           28    exclusive possession of the relevant evidence.
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             1
                         993.      On or about July 11, 2019, Defendants, using the automated market manipulation
             2
                 tools continuously executed by the Insider Trading Desk, took the above-mentioned property,
             3
                 including Plaintiff Sorokin’s valuable bitcoin holdings of 1.12803878 bitcoins, deposited in
             4
                 respective Plaintiff Sorokin’s BitMEX trading accounts from Plaintiff Sorokin’s possession and
             5
                 converted the same to their own use. As BitMEX Enterprise principals, Defendants HDR, Hayes,
             6
                 Delo and Reed are liable for the tortious conduct of their agents, operators of the BitMEX Insider
             7
                 Trading Desk Gregory Dwyer, Stuart Elkington and Nick Andrianov, who acted, during the
             8
                 Relevant Period, within the scope of their agency and employment, when they utilized Insider
             9
                 Trading Desk automated market manipulation tools on or about July 11, 2019, to artificially
           10
                 liquidate Plaintiff Sorokin’s trading positions on BitMEX.
           11
                         994.      Plaintiff Sorokin did not consent to Defendants' taking of 1.12803878 bitcoins from
           12
                 Plaintiff Sorokin.
           13
                         995.      Defendants refused to return Plaintiff Sorokin’s valuable bitcoin holdings of
           14
                 1.12803878 bitcoins after Plaintiff Sorokin demanded their return.
           15
                         996.      As a result of Defendants' conduct, Plaintiff Sorokin has been damaged in the
           16
                 amount of 1.12803878 bitcoins, which Plaintiff Sorokin demands to be returned to him in kind, as
           17
                 monetary damages would be manifestly unjust due to bitcoin appreciation. Defendants’ conduct
           18
                 was a substantial factor in causing Plaintiff Sorokin’s dispossession of his valuable bitcoin holdings
           19
                 amounting to 1.12803878 bitcoins.
           20
                         997.      In doing the wrongful acts herein alleged, Defendants, and each of them, acted
           21
                 with oppression, fraud, and malice, and Plaintiff Sorokin is entitled to punitive damages in the
           22
                 amount of $50,000,000 pursuant to Cal. Civ. Code § 3294.
           23
                                                            COUNT XXXI
           24                          Aiding and Abetting Conversion — Against All Defendants
           25            998.      Plaintiff repeats and re-alleges the allegations contained in every preceding

           26    paragraph as if fully set forth herein.

           27            999.      During the Relevant Period, Plaintiff Sorokin was and still are the owners and are

           28    entitled to the immediate possession of the following property, namely his valuable bitcoin
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             1
                 holdings amounting to 1.12803878 bitcoins, that were deposited in Plaintiff Sorokin’s respective
             2
                 BitMEX trading accounts.
             3
                        1000. At various times mentioned in this Complaint, Defendants knowingly aided and
             4
                 abetted their co-defendants and/or the Insider Trading Desk in taking the above-mentioned
             5
                 property, including Plaintiff Sorokin’s valuable bitcoin holdings amounting to 1.12803878
             6
                 bitcoins deposited in Plaintiff Sorokin’s respective BitMEX trading accounts from Plaintiff
             7
                 Sorokin’s possession and converting the same to their own use.
             8
                        1001. Plaintiff Sorokin did not consent to Defendants' taking his valuable bitcoins
             9
                 from them.
           10
                        1002. The conduct of Defendants, an each of them, was a substantial factor in causing
           11
                 Plaintiff Sorokin’s damages.
           12
                        1003. Defendants benefited significantly from the laundering of the converted bitcoin, as
           13
                 Defendants earned trading commissions on each transaction involving the bitcoin converted from
           14
                 Plaintiff Sorokin.
           15
                        1004. As a result of Defendants' conduct, Plaintiff Sorokin has been damaged in the
           16
                 amount of 1.12803878 bitcoins, which Plaintiff Sorokin demands to be returned to him in kind, as
           17
                 monetary damages would be manifestly unjust due to bitcoin appreciation.
           18
                        1005. In doing the wrongful acts herein alleged, Defendants, and each of them, acted
           19
                 with oppression, fraud, and malice, and Plaintiff Sorokin is entitled to punitive damages in the
           20
                 amount of $50,000,000 pursuant to Cal. Civ. Code § 3294.
           21                                              COUNT XXXII
           22                           Replevin (Claim and Delivery) — Against All Defendants
                        1006. Plaintiff repeats and re-alleges the allegations contained in every preceding
           23
                 paragraph as if fully set forth herein.
           24
                        1007. During Relevant Period, Plaintiff Sorokin was and still are the rightful owners and
           25
                 are entitled to the immediate possession of the following property, namely his valuable bitcoin
           26
                 holdings amounting to 1.57143 bitcoins, that were deposited in Plaintiff Sorokin’s respective
           27
                 BitMEX trading accounts.
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 349 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        1008. As the result of Defendants' wrongful conduct alleged hereinabove,
             2
                 Defendants took the aforesaid property amounting to 1.57143 bitcoins from Plaintiff Sorokin’s
             3
                 possession by fraud and deceit and, therefore, have interfered with the Plaintiff Sorokin’s right
             4
                 to possess and control such property, to which Plaintiff had a superior right of possession and
             5
                 control at the time of the conversion.
             6
                        1009. Plaintiff Sorokin did not consent to Defendants' taking his valuable bitcoins
             7
                 from them.
             8
                        1010. Defendants’ conduct was a substantial factor in Plaintiff Sorokin’s dispossession of
             9
                 his valuable bitcoin holdings amounting to 1.57143 bitcoins.
           10
                        1011. Defendants are still in possession of the aforesaid property amounting to 1.57143
           11
                 bitcoins taken from Plaintiff Sorokin’s possession by fraud and deceit.
           12
                        1012. Defendants refused to return Plaintiff Sorokin’s valuable bitcoin holdings of
           13
                 1.57143 bitcoins after Plaintiff Sorokin demanded their return.
           14
                        1013. Therefore, Plaintiff Sorokin is entitled to the issuance of a Writ of Replevin for the
           15
                 return of the aforesaid property, namely 1.57143 bitcoins, taken from Plaintiff Sorokin’s
           16
                 possession by fraud and deceit.
           17                                               COUNT XXXIII
           18                         Violation of Cal. Pen. Code § 496 — Against All Defendants

           19           1014. Plaintiff repeats and re-alleges the allegations contained in every preceding

           20    paragraph as if fully set forth herein.

           21           1015. Cal. Pen. Code § 496(a) provides “Every person who buys or receives any

           22    property that has been stolen or that has been obtained in any manner constituting theft or

           23    extortion, knowing the property to be so stolen or obtained, or who conceals, sells, withholds, or

           24    aids in concealing, selling, or withholding any property from the owner, knowing the property to

           25    be so stolen or obtained, shall be punished by imprisonment in a county jail for not more than one

           26    year, or imprisonment pursuant to subdivision (h) of Section 1170.” Cal. Pen. Code § 496(c)

           27    provides that “Any person who has been injured by a violation of subdivision (a) . . . may bring

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             1
                 an action for three times the amount of actual damages, if any, sustained by the plaintiff, costs of
             2
                 suit, and reasonable attorney’s fees.”
             3
                        1016. Defendants, an each of them, violated Cal. Pen. Code § 496(a) by receiving,
             4
                 concealing, selling, withholding, or aiding in concealing, selling, or withholding property stolen
             5
                 from the rightful owners – Plaintiff Sorokin in the form of 1.12803878 bitcoins, knowing the
             6
                 property was stolen or obtained in a manner constituting theft by their co-defendants and/or the
             7
                 Insider Trading Desk.
             8
                        1017. Defendants and each of them knew that the property, in the form of 1.12803878
             9
                 bitcoins, was stolen or had been obtained in a manner constituting theft by their co-defendants
           10
                 and/or the Insider Trading Desk.
           11
                        1018. As a result of Defendants' conduct, Plaintiff Sorokin has been damaged in the
           12
                 amount of 1.12803878 bitcoins, which Plaintiff Sorokin demands to be returned to him in kind, as
           13
                 monetary damages would be manifestly unjust due to Bitcoin appreciation.
           14
                        1019. The conduct of Defendants, an each of them, was a substantial factor in causing
           15
                 Plaintiff Sorokin’s damages.
           16
                        1020. In doing the wrongful acts herein alleged, Defendants, and each of them, acted
           17
                 with oppression, fraud, and malice, and Plaintiff Sorokin is entitled to punitive damages in the
           18
                 amount of $50,000,000 pursuant to Cal. Civ. Code § 3294.
           19
                        1021. Pursuant to Cal. Pen. Code § 496(c), Plaintiff Sorokin seek three times the amount
           20
                 of actual damages sustained, to be paid in kind, costs of suit, and reasonable attorney’s fees.
           21
                                                                     PRAYER
           22
                        By reason of the foregoing, Plaintiff Sorokin respectfully requests that this Court:
           23
                        (a)        enter a judgment that Defendants, and each of them, conducted or participated in
           24
                 the conduct of enterprise’s affairs through a pattern of racketeering activity in violation of 18
           25
                 U.S.C. § 1962(c);
           26
                        (b)        enter a judgment that Defendants, and each of them, conspired to conduct or
           27
                 participate in the conduct of enterprise’s affairs through a pattern of racketeering activity in
           28
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  ATTORNEYS            COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)    - 351 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                 violation of 18 U.S.C. § 1962(d);
             2
                        (c)        pursuant to 18 U.S.C. § 1964(c), award Plaintiff Sorokin threefold the damages he
             3
                 sustained, in the amount of at least 4.71429 bitcoins ($273,428), to be paid in kind, together with
             4
                 the cost of the suit, including a reasonable attorneys’ fees;
             5
                        (d)        enter a judgment that Defendants, and each of them, have used deceptive or
             6
                 manipulative device in connection with cryptocurrencies Perpetual Swap contracts, in violation of
             7
                 7 U.S.C. § 9(1);
             8
                        (e)        enter a judgment that Defendants, and each of them, have manipulated prices of
             9
                 Perpetual Swap contracts in violation of 7 U.S.C. §§ 9(3) and 13(a)(2);
           10
                        (f)        enter a judgment that Defendants, and each of them, have aided and abetted
           11
                 manipulation of prices of cryptocurrencies Perpetual Swap contracts, by the other Defendants and
           12
                 third persons;
           13
                        (g)        enter a judgment that Defendants, and each of them, have perpetrated deceit by
           14
                 fraud upon Plaintiff Sorokin in violation of Cal. Civ. Code §§ 1709 and 1710(1) and (3) by
           15
                 fraudulently soliciting Plaintiff Sorokin to make bitcoin deposits, pay trading commissions and
           16
                 engage in trading on margin on BitMEX;
           17
                        (h)        enter a judgment that Defendants, and each of them, have perpetrated deceit by
           18
                 negligent misrepresentation upon Plaintiff Sorokin in violation of Cal. Civ. Code §§ 1709 and
           19
                 1710(2);
           20
                        (i)        enter a judgment that Defendants, and each of them, have engaged in unfair
           21
                 business practices in violation of Cal. Bus. & Prof. Code § 17200 et seq.;
           22
                        (j)        enter a judgment that Defendants, and each of them, have engaged in false
           23
                 advertising in violation of Cal. Bus. & Prof. Code § 17500 et seq.;
           24
                        (k)        enter a judgment that Defendants, and each of them, violated Cal. Civ. Code §
           25
                 1770(a), and preliminarily and permanently enjoin Defendants, and each of them, their officers,
           26
                 subsidiaries, affiliates distributors, agents, servants, employees, attorneys, and all persons in
           27
                 active concert with them, from any further violation of Cal. Civ. Code § 1770(a);
           28
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             1
                        (l)        enter a judgment that the Service Agreement is null and void as having been
             2
                 procured by fraud and deceit;
             3
                        (m)        enter a judgment that the Service Agreement is null and void as having been
             4
                 procured by deceit by negligent misrepresentation;
             5
                        (n)        preliminarily and permanently enjoin Defendants, and each of them, their officers,
             6
                 subsidiaries, affiliates distributors, agents, servants, employees, attorneys, and all persons in
             7
                 active concert with them, from any further violation of California laws;
             8
                        (o)        enter a judgment that Defendants, and each of them, because unjustly enriched at
             9
                 the expense of Plaintiff Sorokin;
           10
                        (p)        impose a constructive trust over Defendants, and each of them, for the benefit of
           11
                 Plaintiff Sorokin;
           12
                        (q)        order an accounting of the alleged receipts and disbursements of Defendants, and
           13
                 each of them, in connection with the alleged unlawful market manipulation and payment of the
           14
                 amount found due to Plaintiff Sorokin;
           15
                        (r)        enter judgment that Defendants, and each of them, acted with malice, fraud and
           16
                 oppression;
           17
                        (s)        award compensatory damages to Plaintiff Sorokin and against all Defendants, and
           18
                 each of them, jointly and severally, in the amount to be proven at trial;
           19
                        (t)        award to Plaintiff Sorokin and against all Defendants, and each of them, jointly
           20
                 and severally, damages associated with the loss of use of Plaintiff Sorokin’s bitcoins, in the
           21
                 amount of at least 0.043392 bitcoins ($2,516)66, to be paid in kind, or such other amounts to be
           22
                 determined by the Court, to be paid in kind;
           23
                        (u)        award to Plaintiff Sorokin and against all Defendants, and each of them, jointly
           24
                 and severally, damages associated with trading losses incurred by Plaintiff Sorokin on BitMEX,
           25
           26    66
                    Conversion from Bitcoin to U.S. dollar is being provided for reference only and assumes
           27    bitcoin price of $58,000 per bitcoin. Plaintiff Sorokin request the damages to be paid in kind, in
                 bitcoin, as award of monetary damages in fiat currency would be manifestly unjust due to bitcoin
           28    appreciation.
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             1
                 in the amount of at least 1.12803878 bitcoins ($65,426), to be paid in kind, or such other amounts
             2
                 to be determined by the Court, but not less than Plaintiff Sorokin’s respective net trading losses
             3
                 on BitMEX, to be paid in kind;
             4
                        (v)        award to Plaintiff Sorokin and against all Defendants, and each of them, jointly
             5
                 and severally, damages associated with trading commissions wrongfully collected by Defendants
             6
                 from Plaintiff Sorokin, in the amount of at least 0.4 bitcoins ($23,200), to be paid in kind, or such
             7
                 other amounts to be determined by the Court, to be paid in kind;
             8
                        (w)        issue a Writ of Replevin against Defendants and in favor of Plaintiff Sorokin for at
             9
                 least 1.57143 bitcoins ($91,142), to be returned in kind;
           10
                        (x)        pursuant to Cal. Pen. Code § 496(c), award Plaintiff Sorokin three times the
           11
                 amount of actual damages sustained, in the amount of at least 4.71429 bitcoins ($273,428), to be
           12
                 paid in kind;
           13
                        (y)        award reasonable attorney fees, costs and prejudgment interest, payable in kind, to
           14
                 Plaintiff Sorokin and against all Defendants, and each of them, jointly and severally;
           15
                        (z)        award Plaintiff Sorokin exemplary and punitive damages, pursuant to Cal. Civ.
           16
                 Code § 3294, against all Defendants, and each of them, jointly and severally, in the amount of
           17
                 $50,000,000; and
           18
                        (aa)       award Plaintiff Sorokin such other relief as this Court deems just and proper.
           19

           20    Dated: May 12, 2021                                           Respectfully submitted,

           21                                                                  By: /s/ Pavel I. Pogodin
                                                                                      Pavel I. Pogodin
           22
                                                                               CONSENSUS LAW
           23                                                                  Pavel I. Pogodin, Ph.D., Esq.
                                                                               5245 Av. Isla Verde
           24
                                                                               Suite 302
           25                                                                  Carolina, PR 00979
                                                                               United States of America
           26                                                                  Telephone: (650) 469-3750
                                                                               Facsimile: (650) 472-8961
           27                                                                  Email: pp@consensuslaw.io
                                                                               Attorneys for Plaintiff Anatoly Sorokin
           28
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             1                                               DEMAND FOR JURY TRIAL
             2
                         Pursuant to Fed. R. Civ. P. 38, Plaintiff Sorokin demands trial by jury of all issues triable
             3
                 to a jury.
             4
             5   Dated: May 12, 2021                                           Respectfully submitted,
             6                                                                 By: /s/ Pavel I. Pogodin
                                                                                      Pavel I. Pogodin
             7
                                                                               CONSENSUS LAW
             8
                                                                               Pavel I. Pogodin, Ph.D., Esq.
             9                                                                 5245 Av. Isla Verde
                                                                               Suite 302
           10                                                                  Carolina, PR 00979
                                                                               United States of America
           11                                                                  Telephone: (650) 469-3750
                                                                               Facsimile: (650) 472-8961
           12
                                                                               Email: pp@consensuslaw.io
           13                                                                  Attorneys for Plaintiff Anatoly Sorokin

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             1   Pavel I. Pogodin, Ph.D., Esq. (SBN 206441)
                 CONSENSUS LAW
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             3   Suite 302
                 Carolina, PR 00979
             4   United States of America
                 Telephone: (650) 469-3750
             5   Facsimile: (650) 472-8961
                 Email: pp@consensuslaw.io
             6
             7   Attorneys for Plaintiff Anatoly Sorokin

             8                                        UNITED STATES DISTRICT COURT
             9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
           10                                                SAN FRANCISCO DIVISION
           11
           12    Anatoly Sorokin,                                         Case No. 21-CV-

           13                             Plaintiff,                      DECLARATION OF PAVEL POGODIN
           14                                                             PURSUANT TO CIVIL CODE
                                                                          SECTION 1780(d)
           15                     v.
           16

           17    HDR Global Trading Limited (A.K.A.
           18    BitMEX), ABS Global Trading Limited,
                 Arthur Hayes, Ben Delo and Samuel Reed,
           19

           20                             Defendants.

           21
           22
                 I, Pavel I. Pogodin, state and declare as follows:
           23
                 1.     I am an attorney of record in this action for Plaintiff Anatoly Sorokin. I am a member in
           24
                        good standing of the Bar of the State of California, and I am admitted to practice before
           25
                        this Court. I have personal knowledge of the matters set forth in this declaration, except
           26
                        for the matters stated on information and belief, which I believe to be true, and if called
           27
                        upon to do so, I would willingly and competently testify as to those matters.
           28
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             1
                 2.    The Complaint in this action is being filed in the proper place for trial under Civil Code
             2
                       Section 1780(d) in that County of San Francisco is a county in which Defendant(s) reside,
             3
                       have principal place of business and/or are doing business.
             4
                 3.    On information and belief, according to a sworn Declaration of Defendant Hayes dated
             5
                       February 27, 2020, Defendant “ABS Global Trading Limited, … provides software
             6
                       development, software engineering, and digital security services to HDR Global Trading
             7
                       Limited… including by developing the front-end interface of the BitMEX platform.” The
             8
                       front-end interface of the BitMEX platform includes commercial website
             9
                       www.bitmex.com, which was used to provide the Service Agreement containing the
           10
                       fraudulent Warranty and Representation as well as other fraudulent representations and
           11
                       false advertisements to Plaintiff Sorokin.
           12
                 4.    On information and belief, Defendant ABS Global Trading Limited, responsible, within
           13
                       the BitMEX Enterprise, for the commercial website www.bitmex.com, was and continues
           14
                       to be located in San Francisco, California. Therefore, the false and fraudulent Warranty
           15
                       and Representation, as well as other fraudulent representations and false advertisements,
           16
                       provided to Plaintiff by Defendants through the commercial website www.bitmex.com,
           17
                       emanated from Defendant’s ABS’ offices in County of San Francisco.
           18
                 5.    On information and belief, an April 27, 2017 Service Agreement between HDR and ABS
           19
                       rendered Defendant ABS’ staff responsible for BitMEX’s business development,
           20
                       marketing, sales, engineering, human resources, payroll, customer support and software
           21
                       development from its U.S. offices in San Francisco. Marketing generally includes
           22
                       advertising. Therefore, the false and fraudulent representations regarding available
           23
                       liquidity on the BitMEX platform as well as other false representations and
           24
                       advertisements were perpetuated by Defendant ABS’ staff and emanated from Defendant
           25
                       ABS’ offices in County of San Francisco.
           26
                 6.    On information and belief, Defendant ABS Global Trading Limited, responsible, within
           27
                       the BitMEX Enterprise, for the commercial website www.bitmex.com, was and continues
           28
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  ATTORNEYS           COMPLAINT FOR FRAUD (DEMAND FOR JURY TRIAL)   - 357 -   ANATOLY SOROKIN V. HDR ET AL.   CASE NO. 21-CV-03576
             1
                        to be located in San Francisco, California. Therefore, the false and fraudulent
             2
                        representations regarding available liquidity on BitMEX platform made to each Plaintiff
             3
                        by Defendants through the commercial website www.bitmex.com, emanated from
             4
                        Defendant’s ABS’ offices in San Francisco, California.
             5
                 7.     Accordingly, substantial portion of Defendants’ fraud, false advertising and other
             6
                        wrongful conduct alleged in the Complaint emanated from Defendant’s ABS offices
             7
                        located in County of San Francisco.
             8
                 8.     Before filing this Compliant, I made at least four unsuccessful good faith attempts to
             9
                        negotiate extension of the applicable time-based limitation periods with counsel for
           10
                        Defendants. Defendants’ counsel ignored or otherwise rebuffed all these good faith
           11
                        attempts, necessitating filing of this Complaint to preserve the legal rights of Plaintiff
           12
                        Sorokin.
           13
                        I declare under penalty of perjury under the laws of the United States of America that the
           14
                 foregoing is true and correct.
           15
                        Executed on May 12, 2021, in Carolina, Puerto Rico.
           16
                                                                               By: /s/ Pavel I. Pogodin
           17                                                                         Pavel I. Pogodin
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           19

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